3:21-cv-03302-MGL-TJH-RMG   Date Filed 03/21/22   Entry Number 194-2   Page 1 of 108




                               Exhibit 2
3:21-cv-03302-MGL-TJH-RMG          Date Filed 03/21/22    Entry Number 194-2     Page 2 of 108
                                             Brenda Murphy                      February 4, 2022
                            The South Carolina State Conference vs. McMaste,

                                                                                Page 1

  1                   IN THE UNITED STATES DISTRICT COURT
  2                     FOR THE DISTRICT OF SOUTH CAROLINA
  3                                     COLUMBIA DIVISION
  4
  5      CASE NUMBER:          3:21-cv-03302-JMC-TJH-RMG
  6
  7      THE SOUTH CAROLINA STATE CONFERENCE
  8      OF THE NAACP,
  9      and TAIWAN SCOTT, on behalf of himself
 10      and all similarly situated persons,
 11                   Plaintiffs,
 12      vs.
 13      HENRY D. MCMASTER, in his official
 14      capacity as Governor of
 15      South Carolina, et al.,
 16                   Defendants.
 17
 18
 19
 20
 21                                     DEPOSITION
 22                                           OF
 23                                  BRENDA MURPHY
 24                     February 4, 2022 at 9:05 a.m.
 25

                                        Veritext Legal Solutions
      800.743.DEPO (3376)           calendar-carolinas@veritext.com            www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                           Date Filed 03/21/22             Entry Number 194-2              Page 3 of 108
                                                        Brenda Murphy                                              February 4, 2022
                                       The South Carolina State Conference vs. McMaste,
                                                                   Page 2                                                     Page 4
      1 REPORTED BY:                                                         1          APPEARANCES
      2        Jan A. Mann, CSR                                              2
      3      Veritext Legal Solutions                                        3 APPEARING ON BEHALF OF THE PLAINTIFF:
      4      260 North Joachim Street                                        4   NAACP LEGAL DEFENSE & EDUCATIONAL FUND, INC.
      5       Mobile, Alabama 36603                                          5   Mr. Antonio Ingram, II
      6                                                                      6   Ms. Leah Aden
      7                                                                      7   Mr. John Cusick
      8                                                                      8   40 Rector Street, 5th Floor
      9                                                                      9   New York, New York 10006
     10                                                                     10
     11                                                                     11 APPEARING ON BEHALF OF THE HOUSE DEFENDANTS:
     12                                                                     12   NEXSEN PRUET, LLC
     13                                                                     13   Mr. Mark C. Moore
     14                                                                     14   Mr. Michael A. Parente
     15                                                                     15   1230 Main Street, Suite 700
     16                                                                     16   Columbia, South Carolina 29201
     17                                                                     17
     18                                                                     18 APPEARING ON BEHALF OF THE DEFENDANT
     19                                                                     19 GOVERNOR MCMASTER:
     20                                                                     20   OFFICE OF SOUTH CAROLINA GOVERNOR
     21                                                                     21   HENRY MCMASTER
     22                                                                     22   Mr. Thomas Limehouse
     23                                                                     23   Mr. William Grayson Lambert
     24                                                                     24   1100 Gervais Street
     25                                                                     25   Columbia, South Carolina 29201

                                                                   Page 3                                                     Page 5
      1           STIPULATIONS                                               1 APPEARING ON BEHALF OF THE SENATE DEFENDANTS:
      2                                                                      2   ROBINSON, GRAY, STEPP & LAFFITTEE, LLC
      3        IT IS STIPULATED AND AGREED by and between the                3   Mr. Robert E. Tyson
      4 parties through their respective counsel, that the                   4   1310 Gadsden Street
      5 deposition of BRENDA MURPHY may be taken before Jan A.               5   Columbia, South Carolina 29211
      6 Mann, Commissioner, via videoconference on the 4th day               6
      7 of February, 2022.                                                   7 APPEARING ON BEHALF OF ELECTION DEFENDANTS:
      8        IT IS FURTHER STIPULATED AND AGREED that the                  8   Burr & Forman
      9 signature to and the reading of the deposition by the                9   Ms. Jane W. Trinkley
     10 witness is waived, the deposition to have the same force            10   1221 Main Street, Suite 1800
     11 and effect as if full compliance had been had with all              11   Columbia, South Carolina 29201
     12 laws and rules of Court relating to the taking of                   12
     13 depositions.                                                        13 ALSO PRESENT:
     14        IT IS FURTHER STIPULATED AND AGREED that it                  14   Sheree Rabon
     15 shall not be necessary for any objections except as to              15   Cynthia Nygord
     16 form or leading questions, and that counsel for the                 16   Melissia Ford
     17 parties may make objections and assign grounds at the               17
     18 time of the trial, or at the time said deposition is                18
     19 offered in evidence or prior thereto.                               19
     20        IT IS FURTHER STIPULATED AND AGREED that the                 20
     21 notice of filing of the deposition by the Commissioner              21
     22 is waived.                                                          22
     23                                                                     23
     24                                                                     24
     25                                                                     25

                                                                                                                     2 (Pages 2 - 5)
                                                          Veritext Legal Solutions
     800.743.DEPO (3376)                              calendar-carolinas@veritext.com                             www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                          Date Filed 03/21/22              Entry Number 194-2                Page 4 of 108
                                                        Brenda Murphy                                                February 4, 2022
                                       The South Carolina State Conference vs. McMaste,
                                                                  Page 6                                                             Page 8
      1              INDEX                                                  1   named Brenda Murphy so -- and she brings her dog to work
      2   EXAMINATION BY:                           PAGE                    2   and that's one of my favorite parts of the day when I
      3   Mr. Moore                          7                              3   get to see her dog but -- so, Ms. Murphy, have you ever
      4   Mr. Tyson                        204                              4   been deposed before?
      5   Mr. Limehouse                       230                           5        A.    Yes.
      6   Mr. Ingram                       233                              6        Q.    Okay. Can you tell me about that?
      7   Mr. Moore                        240                              7        A.    It was regarding litigation regarding
      8             INDEX OF EXHIBITS                                       8   the Black Bikers Week in Myrtle Beach, South Carolina.
      9   DEFENDANT'S EXHIBITS                                              9        Q.    Was that the case with that went to trial
     10   Exhibit 1 Objection to First Set         39                      10   before Judge Lydon?
     11         of Request for Admissions                                  11        A.    I don't recall the name of the judge
     12   Exhibit 2 Report                    44                           12   but it was -- I was deposed for that situation.
     13   Exhibit 3 Complaint                   66                         13        Q.    And is that the only time you -- I'm
     14   Exhibit 4 Written Testimony 11-10-21          81                 14   sorry. Is that the only time you've ever been deposed?
     15   Exhibit 5 Testimony                   88                         15        A.    Yes.
     16   Exhibit 6 Minutes of Reapportionment          97                 16        Q.    And despite the fact that you may have
     17         Committee Meeting                                          17   been deposed before, I'm required to go over some of the
     18   Exhibit 7 Behind The Lines Video            106                  18   ground rules of the deposition with you. First of all,
     19   Exhibit 8 Letter                  132                            19   you understand you're under oath today in the federal
     20   Exhibit 9 Map                     165                            20   civil proceeding and you must give truthful answers to
     21   Exhibit 10 Mintues 9-30-21              181                      21   all the questions I ask and your answers are subject to
     22   Exhibit 11 Agenda 10-7-21                186                     22   the pains and penalties of perjury. Do you understand
     23   Exhibit 12 Minutes 11-18-21              189                     23   that?
     24   Exhibit 13 Agenda 8-5-21                194                      24        A.    I do, yes.
     25   Exhibit 14 Minutes 8-26-21              198                      25        Q.    Okay. Is there any reason why you don't
                                                                  Page 7                                                             Page 9
      1          I, Jan A. Mann, CSR, a Court Reporter and                  1   believe you could testify under oath today?
      2 Notary Public of the State of Alabama, acting as                    2        A.    No.
      3 Commissioner, do certify that on this date, as provided             3        Q.    Okay. And are you taking any medication
      4 by the Federal Rules of Civil Procedure and the                     4   or anything else that impairs your ability to listen and
      5 foregoing stipulation of counsel, there came before me              5   understand my questions?
      6 via videoconference on February 4, 2022, beginning at               6        A.    No.
      7 9:05 a.m., BRENDA MURPHY, witness in the above cause for            7        Q.    Thank you so much. So I'm going to be
      8 oral examination, whereupon the following proceedings               8   asking you questions and I'm going to try my best to be
      9 were had:                                                           9   clear and concise, but if at any point you don't
     10                                                                    10   understand the question, please ask me to rephrase,
     11              BRENDA MURPHY,                                        11   please tell me you don't understand it, and I'll do my
     12 being first duly sworn, was examined and testified as              12   best to rephrase, okay?
     13 follows:                                                           13        A.    I will.
     14                                                                    14        Q.    And because if I ask a question and you
     15 EXAMINATION BY MOORE:                                              15   answer it, I'm going to assume that you understood my
     16     Q.      So good morning. I'm ready to proceed.                 16   question. Do you understand that?
     17 My name is Mark Moore and I am one of the attorneys for            17        A.    Yes.
     18 the House defendants. Good morning, Ms. Murphy. How                18        Q.    Okay. And if you have questions during
     19 are you?                                                           19   your deposition, you're required to direct your
     20     A.      Good morning. I'm fine. Thank you.                     20   questions to me and not your counsel. Please wait until
     21     Q.      It's a rainy day in Columbia. I'm                      21   I finish my question before answering so the court
     22 assuming you're in Columbia as well?                               22   reporter has an opportunity to take everything down.
     23     A.      I am.                                                  23   It's very important that you and I not try to talk over
     24     Q.      One of our paralegals just mentioned to                24   each other and I'm bad about that and I'm going to try
     25 me that we have a woman who works with us who is also              25   my best not to do it, okay?

                                                                                                                        3 (Pages 6 - 9)
                                                            Veritext Legal Solutions
     800.743.DEPO (3376)                                calendar-carolinas@veritext.com                            www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22                Entry Number 194-2                 Page 5 of 108
                                                    Brenda Murphy                                                  February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                              Page 10                                                             Page 12
      1       A.     Okay.                                               1       A.     No.
      2       Q.     And so please wait again until I finish             2       Q.     Is anyone providing input to you by
      3   my question before you answer and please give verbal           3   phone, text, email or otherwise during the deposition?
      4   responses because the court reporter is required to take       4       A.     No.
      5   everything down. So as I understand it, is that                5       Q.     And as I noted to counsel, I don't
      6   Mr. Ingram with you this morning?                              6   believe that we're going to be able to conclude this
      7       A.     Yes.                                                7   deposition today because the plaintiffs have still not
      8             MR. INGRAM: Yes.                                     8   produced all of the documents that may be relevant to
      9       Q.     Okay. And Mr. Ingram is going to be                 9   your deposition.
     10   defending the deposition. Is that correct?                    10            We just received the first production
     11       A.     Yes.                                               11   from the plaintiffs last night, and so while I may ask
     12       Q.     Okay. And so while Mr. Ingram may object           12   some questions about some documents that were produced
     13   to the form of certain questions, if he makes such an         13   last night, we're going to hold this deposition open and
     14   objection, you still have to answer my question unless        14   we will finish this deposition, if necessary, at a later
     15   he instructs you not to answer. Do you understand?            15   date after we -- after your document production is
     16       A.     Yes.                                               16   complete and after we've had a meaningful opportunity to
     17       Q.     Okay. And if you need to take a break,             17   review those items. Do you understand that?
     18   use the restroom, to go get a glass of water, just ask        18       A.     I do.
     19   and we'll take a break. The only thing I ask is if we         19       Q.     Okay. I intend to ask you questions
     20   take a break, I would need you to answer the question         20   about your personal knowledge, okay. If Mr. Ingram
     21   that's pending before we take a break. Do you                 21   objects to my questions, under our rules and under our
     22   understand that?                                              22   local rules, he can object but he cannot object in a way
     23       A.     Yes.                                               23   that suggests to you an answer. The extent of his
     24       Q.     Okay. And when we take a break, if you             24   objections other than to the form, if he directs you not
     25   have any conversations with counsel about the substance       25   to answer on the basis of privilege. Do you understand
                                                              Page 11                                                             Page 13
      1   of your testimony, I'm going to be allowed to ask about        1   these instructions?
      2   those conversations. Do you understand that?                   2       A.     Yes.
      3       A.     Yes.                                                3       Q.     And do you have any questions before we
      4       Q.     And I do want this understood upfront and           4   get started?
      5   I may say it again when I get to certain questions but I       5       A.     I do not.
      6   want to be very clear that I'm not seeking confidential        6       Q.     Okay. Thank you so much, Ms. Murphy.
      7   information or communications between you and your             7             MR. INGRAM: One clarification point,
      8   counsel. And so if you can't answer a question without         8   Mark. You are asking questions as to her personal
      9   getting into that sort of information, just please let         9   knowledge as president of the NAACP South Carolina
     10   me know, okay?                                                10   chapter and this is not a 30(b)(6) deposition.
     11       A.     I will.                                            11             MR. MOORE: This is not a 30(b)(6)
     12       Q.     Okay. And so where are you located                 12   deposition. As I mentioned to Mr. Bryant (sic), while
     13   today? Where are you physically located?                      13   we are I guess having a lot of flexibility in terms of
     14       A.     At the South Carolina State Conference             14   scheduling depositions, I believe that a true 30(b)(6)
     15   office in --                                                  15   deposition has to be -- notice as to be provided with
     16       Q.     Okay. I'm sorry.                                   16   respect to topics and those topics have to be discussed.
     17       A.     In Columbia, South Carolina.                       17   This is not a 30(b)(6) deposition.
     18       Q.     Okay. And is anyone in the room with you           18             MR. INGRAM: Thank you.
     19   other than Mr. Ingram?                                        19             MR. MOORE: Yes, sir. And if I ask a
     20       A.     No.                                                20   question that you think veers into that realm, Mr.
     21       Q.     Okay. Do you have any materials in front           21   Ingram, I'm sure you will object.
     22   of you?                                                       22             MR. INGRAM: Correct.
     23       A.     No.                                                23       Q.     Okay. So there are a number of attorneys
     24       Q.     Okay. Did you bring any materials to               24   who I guess are here today for the plaintiffs. Mr.
     25   this deposition?                                              25   Ingram, Mr. Cusick, Ms. Aden. Are all of those your

                                                                                                                   4 (Pages 10 - 13)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                  www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2                Page 6 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                             Page 14                                                           Page 16
      1   attorneys, Ms. Murphy?                                        1   conducted via Zoom or by phone?
      2       A.     They are attorneys but all are from LDF            2       A.      They were not in person. They were by
      3   and are part of a coalition that was formed in I think        3   Zoom.
      4   around August of last year.                                   4       Q.      And when were they?
      5       Q.     And so who do you believe represents you           5       A.      Those were this week.
      6   in the South Carolina Chapter of the NAACP?                   6       Q.      Okay. Can you tell me what days and for
      7       A.     For today, Mr. Ingram, Attorney Ingram.            7   how long?
      8       Q.     Okay. What about Mr. Cusick and Ms.                8       A.      One was I think it was Tuesday or
      9   Aden? Do they represent you as well?                          9   Wednesday. You know, in terms of my schedule, it's
     10       A.     They are attorneys that are on the                10   been pretty busy. And then for a period yesterday.
     11   coalition, yes.                                              11       Q.      Okay. About how long was the first one,
     12       Q.     Okay. And who else represents you in              12   the first session?
     13   this lawsuit if you know?                                    13       A.      I would say approximately an hour.
     14       A.     There were several members of the                 14       Q.      Okay. And the second session?
     15   coalition. ACLU was also one of the members, partners        15       A.      Both were about the same.
     16   in the coalition.                                            16       Q.      Okay. And did you review any documents
     17       Q.     Okay. And I'm going to ask about the              17   in those sessions?
     18   coalition. I'm going to ask a number of questions later      18       A.      No.
     19   but are you paying anyone to represent you in this case?     19       Q.      Okay. Have you reviewed any documents to
     20       A.     No.                                               20   prepare yourself for your testimony here today?
     21       Q.     Okay. And are you paying Mr. Ingram to            21       A.      No, I have not reviewed -- I haven't
     22   be here with you today?                                      22   had time because of the notice given for this
     23       A.     No.                                               23   deposition today with everything else I had going on.
     24       Q.     Okay. So none of the attorneys who are            24       Q.      Okay. So did you review the complaints
     25   representing the NAACP are being paid by the NAACP. Is       25   that have been filed in federal court? And I guess now
                                                             Page 15                                                           Page 17
      1   that right or wrong?                                          1   there are three, an initial complaint, an amended
      2        A.    That's correct.                                    2   complaint, and a second amended complaint. Have you
      3        Q.    Okay. And so I don't want to go into any           3   reviewed those documents, Ms. Murphy?
      4   conversations you had with your lawyers but could you         4       A.     I received copies of those complaints,
      5   tell me what you've done to prepare for this deposition       5   yes.
      6   today?                                                        6       Q.     Okay. Did you review them?
      7        A.    The only thing that I have done is                 7       A.     We review and I am speaking on behalf
      8   basically make sure I have a clear understanding of           8   of the South Carolina State Conference. We have
      9   what to expect, and when I say what to expect, that is        9   reviewed those documents as a coalition. In terms of
     10   some of the same things that you talked to me about          10   the complaints, we all as a coalition discussed the
     11   and that's it basically.                                     11   complaints that -- prior to submission and all were in
     12        Q.    Okay. So did you meet with someone to             12   agreement.
     13   prepare yourself for your deposition?                        13       Q.     So you reviewed each of these complaints
     14        A.    Yes, I did.                                       14   prior to their submission to the federal court?
     15        Q.    And who did you meet with and when and            15       A.     The coalition reviewed them.
     16   for how long?                                                16       Q.     Okay. Were you a part of the coalition
     17        A.    It was the LDF staff, the ones that are           17   that conducted that review I guess is my question?
     18   online here today. And basically there were two              18       A.     Yes.
     19   opportunities for me to ask for clarification in terms       19       Q.     Okay. So did you personally review them
     20   of what to expect, not in terms -- just what to              20   is my question?
     21   expect.                                                      21       A.     I reviewed them in concert with the
     22        Q.    Okay. So you had two separate meetings.           22   coalition.
     23   Is that right?                                               23       Q.     And did you review any of the discovery
     24        A.    Correct.                                          24   that has been submitted in this case?
     25        Q.    Were those meetings in person or                  25       A.     Some of it, not all of it because that

                                                                                                                5 (Pages 14 - 17)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2                 Page 7 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                             Page 18                                                           Page 20
      1   I received late as well.                                      1   currently have lived most of my life here in Columbia.
      2       Q.     And were you asked to produce any                  2       Q.    Okay. And so you were born in Ridgeway.
      3   documents to your lawyers?                                    3   When did you move to Columbia?
      4       A.     We were asked to produce documents and             4       A.    Six years old.
      5   we submitted those documents.                                 5       Q.    Okay. All right. And where do you
      6       Q.     And when were those documents -- what              6   reside in Columbia? What's your address?
      7   were the documents that were asked to be submitted and        7       A.    115 Saxonbury Drive, Columbia, South
      8   when were they submitted?                                     8   Carolina.
      9       A.     Minutes of our coalition meetings.                 9       Q.    Okay. Do you know what House district
     10   Well, any meetings regarding redistricting so those          10   you reside in?
     11   included our coalition meetings. Training, documents         11       A.    Yes.
     12   regarding training that we had had regarding                 12       Q.    And what House district is that?
     13   redistricting, and any minutes that the South Carolina       13       A.    77.
     14   State Conference executive committee may have                14       Q.    Okay. And you know who the current
     15   submitted regarding redistricting.                           15   representative is for that House district?
     16       Q.     So were you asked to submit any documents         16       A.    Yes, I do.
     17   other than the minutes and these training materials that     17       Q.    And who is that?
     18   you just mentioned?                                          18       A.    Leon Howard.
     19       A.     No.                                               19       Q.    Okay. And you know Mr. Howard?
     20       Q.     And when did you submit these documents?          20       A.    Yes, I know him as a representative. I
     21       A.     I think we began the submission                   21   certainly do.
     22   Wednesday.                                                   22       Q.    Okay. Do you speak to him on a regular
     23       Q.     Okay. But when were you asked to submit           23   basis?
     24   them? Were you asked to submit them on the day you           24       A.    I wouldn't say I speak to him on a
     25   began the submission?                                        25   regular basis. Only an as-need basis.
                                                             Page 19                                                           Page 21
      1        A.    I think it was either Monday or -- it              1       Q.      Do you know other representatives who are
      2   was maybe Monday of this week.                                2   currently in the House of Representatives?
      3        Q.    Okay. All right. So before that time,              3       A.      Yes.
      4   no one had asked you for any documents?                       4       Q.      And who else do you know personally?
      5        A.    No.                                                5       A.      I don't know any of them personally.
      6        Q.    And no one had attempted to collect any            6       Q.      Okay. Do you socialize with any of them?
      7   documents from you to your knowledge?                         7       A.      No.
      8        A.    What was that question again?                      8       Q.      Okay. Do you meet with them on occasion?
      9        Q.    No one had collected any documents from            9       A.      On an as-need basis.
     10   you to your knowledge?                                       10       Q.      Okay. So let me ask this question.
     11        A.    No.                                               11   Prior to the submission of this first complaint in
     12        Q.    Okay. And from your organization. Is              12   October of 2021, did you meet with any members of the
     13   that correct?                                                13   House of Representatives to discuss any redistricting
     14        A.    Yes.                                              14   matters?
     15        Q.    And from this broader coalition? To your          15       A.      No.
     16   knowledge, were any documents asked to be collected from     16       Q.      Okay. All right. Between the time that
     17   this broader coalition if you know?                          17   that initial complaint was presented and the House and
     18        A.    I do know that because the minutes are            18   Senate passed a plan, did you meet with any House
     19   kept by our staff so, no, none were.                         19   members of the House of Representatives?
     20        Q.    Okay. All right. And we've talked for a           20       A.      No.
     21   few minutes but I always need to know a little bit about     21       Q.      Did not meet with them at all to discuss
     22   the person I'm talking to. Can you tell me, Ms. Murphy,      22   redistricting?
     23   where are you from?                                          23       A.      The only -- in terms of -- we've had
     24        A.    I am a South Carolinian born in a                 24   meetings. I can think of one occasion where perhaps a
     25   little town called Ridgeway, South Carolina but              25   NAACP member that was a member -- that is also a

                                                                                                                6 (Pages 18 - 21)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                   Date Filed 03/21/22              Entry Number 194-2             Page 8 of 108
                                                   Brenda Murphy                                           February 4, 2022
                                  The South Carolina State Conference vs. McMaste,
                                                           Page 22                                                      Page 24
      1   member of the NAACP participated in one of our              1   political -- if somebody is there to talk politics in
      2   community meetings. I would say meetings with               2   a way, that is not acceptable. We do not consider it.
      3   presidents and members interested in attending. That        3   And the work that we do even in terms of redistricting
      4   was the only occasion.                                      4   has been done in such a way that it's for the people
      5        Q.    When you use the term "we", to whom do           5   and we have not considered an incumbent.
      6   you refer?                                                  6       Q.     This meeting that you refer to, where was
      7        A.    I am talking about the coalition.                7   the meeting held?
      8        Q.    Okay. And who is this representative to          8       A.     It was a Zoom meeting.
      9   whom you refer?                                             9       Q.     Okay. Were members of the public invited
     10        A.    I --                                            10   to attend?
     11             MR. INGRAM: Objection. Asking for --             11       A.     It was for presidents of -- the
     12   I'm going to instruct my client not to answer. That's      12   leadership of the branches throughout the state. It
     13   asking for the identity of a NAACP member.                 13   included presidents and their members who wanted to
     14             MR. MOORE: I don't believe that's --             14   join the meeting.
     15   is that a privileged -- you're instructing your client     15       Q.     And why was this representative there?
     16   not to answer when I ask her who she met with. Is          16       A.     He's a member of the NAACP.
     17   that correct?                                              17       Q.     Was this meeting open to all members of
     18             MR. INGRAM: The answer would reveal              18   the NAACP?
     19   the name of a member and a partial disclosure of a         19       A.     It was.
     20   membership list and we would be happy to submit a          20       Q.     Okay. Was it announced publicly to all
     21   motion under Federal Rules of Civil Procedure              21   members of the NAACP?
     22   30(b)(1) and there's Supreme Court case law, NAACP v.      22       A.     It was announced -- it was announced to
     23   Alabama that places precedent as a compelling sort of      23   presidents and secretaries and they were to invite
     24   prevention of this disclosure.                             24   members that wanted to attend.
     25             MR. MOORE: Well, then you're going to            25       Q.     And how many people attended this
                                                           Page 23                                                      Page 25
      1   need to file a motion for protective order.                 1   meeting?
      2       Q.     And so, Ms. Murphy --                            2       A.      If I recall, approximately a hundred.
      3       A.     Yes.                                             3   It may have been more but I know -- I know -- I would
      4       Q.     -- have you met with any member of the           4   say approximately a hundred.
      5   House of Representatives or have you been at any meeting    5       Q.      And was redistricting discussed?
      6   where a member of the House of Representatives, whether     6       A.      We talked about redistricting, sharing
      7   they are or aren't a member of the NAACP, has attended      7   the maps -- mapping that had been done by the House
      8   those meetings prior to the passage of the Senate and       8   subcommittee, Senate subcommittee and feedback --
      9   House plans?                                                9   requested feedback from those individuals that were
     10       A.     Now, are you asking if I met --                 10   present.
     11       Q.     I'm asking if you met or were at a              11       Q.      And when was this meeting?
     12   meeting when one of those House of Representatives         12       A.      I don't have the minutes in front of
     13   members attended?                                          13   me. I don't know.
     14       A.     He attended -- the person attended as a         14       Q.      Were there minutes of that meeting kept?
     15   member of the NAACP. We are a non -- may I make a          15       A.      That was a coalition meeting. I
     16   comment?                                                   16   don't -- I don't think -- no, minutes were not kept
     17       Q.     Yes, ma'am.                                     17   because that was a general meeting and it involved all
     18       A.     We are a nonpartisan organization,              18   coalition members and it was basically for the
     19   nonprofit, and if there's anything that I do is make       19   membership, the leadership and membership of the NAACP
     20   sure that all discussions are nonpartisan. Any             20   to provide feedback regarding mapping.
     21   discussion that we have, it is done in such a              21       Q.      So I've seen -- I saw produced late last
     22   manner -- we are concerned about the citizens, the         22   night a number of minutes of a number of meetings. Do
     23   black citizens of this state and their -- ensuring         23   you keep minutes for all of the meetings of the
     24   justice in terms of their rights.                          24   coalition that you just mentioned?
     25             There is no discussion about a                   25       A.      We keep the minutes for our weekly

                                                                                                           7 (Pages 22 - 25)
                                                  Veritext Legal Solutions
     800.743.DEPO (3376)                      calendar-carolinas@veritext.com                            www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                   Date Filed 03/21/22              Entry Number 194-2              Page 9 of 108
                                                  Brenda Murphy                                             February 4, 2022
                                 The South Carolina State Conference vs. McMaste,
                                                          Page 26                                                         Page 28
      1   meetings. They are scheduled weekly. Sometimes we do       1        Q.     Okay. I'm wondering why there were no
      2   not meet dependent on the need but we have scheduled       2   minutes of this particular meeting.
      3   meetings for the coalition weekly.                         3        A.     Well, I guess, as you asked, were some
      4       Q.     Do you keep minutes of those?                   4   of the lawyers or I would refer to them as our
      5       A.     Yes.                                            5   partners that have been associated with us for years
      6       Q.     Okay. Were minutes kept of this meeting?        6   in terms of providing information not only for this,
      7       A.     No.                                             7   in terms of redistricting but, you know, assisting
      8       Q.     Can you tell me why minutes were not kept       8   during the time of COVID in terms of providing
      9   of this particular meeting?                                9   supplies to us, providing information to us as we
     10       A.     Well, it really wasn't my -- my                10   educate our members and communities regarding in this
     11   meeting, the state conference meeting. It was more of     11   case what redistricting is all about, what it means,
     12   a meeting of the coalition to listen to the               12   the importance of being involved as members of the
     13   membership.                                               13   community.
     14       Q.     What membership?                               14             So, yes, they were there and, yes, they
     15       A.     The NAACP leadership, presidents from          15   have been there since the coalition was formed and
     16   throughout the state of South Carolina and their          16   they were invited because of their resourcefulness in
     17   members.                                                  17   terms of having some of the tools that we don't have,
     18       Q.     Were the members of your coalition also        18   as I said earlier, in terms of the analytics that
     19   invited? For example, were folks from the ACLU invited?   19   relate -- regarding mapping, assisting with the
     20       A.     Yes, it was -- yes, they were in               20   interpretation --
     21   attendance as a matter of fact. They were there as --     21        Q.     I hate to cut you off but that really
     22   and also receiving feedback because in terms of           22   isn't responsive to my question. My question was simply
     23   mapping and recommendations for mappings, we have to      23   this. You have minutes from a number of other meetings.
     24   use our resources to help us with this because I don't    24   Who made the decision that you weren't going to have
     25   have the luxury of having the staff that can do the       25   minutes for this meeting and who made the decision that
                                                          Page 27                                                         Page 29
      1   analytical work that needs to be done. So we have to       1   those minutes would not identify this legislator that
      2   depend on our partners who have worked with us over        2   you refuse to identify?
      3   the years.                                                 3       A.     Minutes were not even discussed as
      4             Redistricting is not a new initiative            4   being an option because this was an open forum.
      5   for the South Carolina State Conference. It is             5       Q.     Open to -- when you say it was an open
      6   something that has been happening here for the -- at       6   forum, could I have attended?
      7   least I can say the last thirty years. We have always      7       A.     Well, if you wanted to, yes.
      8   used resources. LDF and ACLU, AFL-CIO, others that I       8       Q.     Okay. So I could have attended?
      9   could name that are participants and I think you have      9       A.     Yes.
     10   a list of who our coalition is. We have worked            10       Q.     I'll come back to this in a minute. So
     11   together for years when it comes to using them,           11   let me ask you this. Do you vote?
     12   consulting with them as need be. So this is nothing       12       A.     Do I what?
     13   new that has happened this year.                          13       Q.     Do you vote?
     14        Q.    I understand that, ma'am. I'm just             14       A.     Yes, I vote.
     15   trying to figure out how many -- who all was in           15       Q.     Okay. And how many elections would you
     16   attendance. For example, were some of the lawyers who     16   say you voted for since 2000?
     17   are with you today, were they in attendance at that       17       A.     I voted in every election.
     18   meeting?                                                  18       Q.     Okay. And do you make political
     19        A.    Yes. I just stated they were.                  19   contributions?
     20        Q.    Okay. And I've seen a number of minutes        20       A.     No.
     21   and we're going to get to those in a little bit. And      21       Q.     Okay. Are you affiliated with a
     22   those minutes reflect everyone who is in attendance       22   particular political party?
     23   whether they are or aren't a member of the NAACP. Is      23       A.     Sir, whenever -- do I -- no, I don't
     24   that right?                                               24   say whether I am an affiliate of any party. No, I do
     25        A.    Yes.                                           25   not.

                                                                                                            8 (Pages 26 - 29)
                                                 Veritext Legal Solutions
     800.743.DEPO (3376)                     calendar-carolinas@veritext.com                              www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2               Page 10 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                             Page 30                                                          Page 32
       1       Q.    Okay. How do you typically tend to vote?           1            MR. INGRAM: She is a representative in
       2   Do you tend to vote more for the Democratic Party or the     2   the capacity of the South Carolina State Conference, not
       3   Republican Party?                                            3   individual plaintiff. Your questions are beyond the
       4       A.    I vote for the person that's going to              4   scope.
       5   represent my needs in -- and is reflective of what the       5            MR. MOORE: Okay. So you're instructing
       6   needs of my community is.                                    6   her not to answer --
       7       Q.    Okay. But that doesn't really answer my            7            MR. INGRAM: Correct.
       8   question. Do you tend to vote more for candidates of         8            MR. MOORE: -- so I'm clear?
       9   one party over another?                                      9            MR. INGRAM: Correct. She does not have
      10            MR. INGRAM: Objection. Relevance.                  10   to disclose her personal political preferences for the
      11       Q.    Okay. You may answer.                             11   scope of this litigation.
      12       A.    My answer is the same. I do not vote              12            MR. MOORE: Well, I guess that's a
      13   and I have not counted the number of times that I           13   question the Court will have to answer because you're
      14   voted democratic or republic. My vote is for the best       14   going to need to file a protective order motion.
      15   person that serves the needs of the community.              15       Q.     So what do you do for a living, Ms.
      16       Q.    Have you voted for a Republican candidate         16   Murphy?
      17   in any presidential election since 2000?                    17       A.     I am a retired nurse.
      18            MR. INGRAM: Objection. Outside the                 18       Q.     Okay. And can you tell me a little bit
      19   scope. She's not a personal plaintiff. She's a              19   about your educational background? Where did you go to
      20   president of NAACP South Carolina branch.                   20   school?
      21       Q.    You may answer, Ms. Murphy. Ms. Murphy,           21       A.     I received my bachelor's degree and my
      22   I need an answer from you.                                  22   master's degree from the University of South Carolina,
      23       A.    My vote for president has been                    23   the Columbia campus.
      24   Democratic.                                                 24       Q.     And when did you graduate?
      25       Q.    Okay. Have you voted for any Republican           25       A.     In --
                                                             Page 31                                                          Page 33
       1   candidate for governor since 2000?                           1       Q.    To the best of your recollection.
       2              MR. INGRAM: Objection.                            2       A.    I can tell you when I graduated.
       3        A.     May I ask a question?                            3       Q.    Okay.
       4        Q.     No, ma'am. Oh, you may ask a question to         4       A.    I graduated in 1975.
       5   me, yes, ma'am.                                              5       Q.    Okay. And as a nurse, did you work --
       6        A.     This hearing is about the South                  6   what sort of work -- did you work in a hospital? Did
       7   Carolina State Conference and its work regarding             7   you work in a doctor's office? What sort of work did
       8   redistricting. How is the way that I vote related to         8   you do?
       9   redistricting?                                               9       A.    I worked for the veterans of this
      10        Q.     I'm not going to answer that question.          10   country. I am a retired Department of Veterans
      11   You can ask me questions about process. I posed a           11   Affairs nurse working primarily starting as a clinical
      12   question to you. Have you voted for any Republican          12   nurse and my last position was associate chief nurse.
      13   candidate for governor since 2000? Could you please         13       Q.    And so did you work at the Veterans
      14   answer --                                                   14   Administration Hospital here in Columbia?
      15              MR. INGRAM: Objection. Asked and                 15       A.    I worked at the VA hospital here in
      16   answered.                                                   16   Columbia, Brooklyn, New York, New York City, and
      17              MR. MOORE: I've never gotten an answer,          17   Charleston, South Carolina.
      18   Mr. Ingram.                                                 18       Q.    Okay. And so when you were working in
      19        Q.     Could you please answer my question,            19   Brooklyn, did you live in Brooklyn, Ms. Murphy?
      20   Representative Murphy -- Ms. Murphy?                        20       A.    Yes, I did.
      21              MR. INGRAM: I'm going to instruct my             21       Q.    And so how long did you live in Brooklyn?
      22   client not to answer.                                       22       A.    I was in Brooklyn I think it was four
      23              MR. MOORE: On what basis? Are you                23   years.
      24   instructing your client not to answer on the basis that     24       Q.    Okay. And I hate to ask a lady her age
      25   it's privileged?                                            25   so I'm not going to ask you your age but about how many

                                                                                                                9 (Pages 30 - 33)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                 Date Filed 03/21/22               Entry Number 194-2                Page 11 of 108
                                                  Brenda Murphy                                              February 4, 2022
                                 The South Carolina State Conference vs. McMaste,
                                                         Page 34                                                            Page 36
       1   years would you say you've lived in the state of South    1        A.    The Daughters of South Carolina. The
       2   Carolina? Just give me a ballpark.                        2   Golden Circle. These are all Prince Hall affiliated
       3       A.     Most of my life. All but -- in South           3   Masonic Orders.
       4   Carolina, all but five years.                             4        Q.    Yes, ma'am.
       5       Q.     Okay. And have you lived in any other          5        A.    I am a member of the American Nurses
       6   area of South Carolina other than Columbia? You           6   Association, the South Carolina Nurses Association.
       7   mentioned Charleston. Did you live in the Charleston      7   Also Chi Eta Phi Nursing Sorority. I'm a founding
       8   area for a time?                                          8   member of that sorority. Those are the primary ones.
       9       A.     Yes, I did.                                    9        Q.    And so do you know how many members the
      10       Q.     Okay. And how long did you live there?        10   South Carolina State Conference of the NAACP has
      11       A.     Nine years.                                   11   currently?
      12       Q.     Okay. And are you married, Ms. Murphy?        12        A.    Approximately thirteen thousand.
      13       A.     Yes, I'm married. And let me just add         13        Q.    Okay. And how does one become a member?
      14   also, I served as -- in the U.S. Army Nurse Corps        14        A.    You simply become a member by -- if you
      15   reserve unit.                                            15   desire to join, then you just complete an application.
      16       Q.     Yes, ma'am. And what does your husband        16        Q.    Okay. Do you have to pay dues or
      17   do? Is he also retired?                                  17   anything of that nature?
      18       A.     He's retired.                                 18        A.    Yes. Dues are required.
      19       Q.     Okay. And where is he from?                   19        Q.    Okay. And what are the dues?
      20       A.     Here in Columbia, South Carolina.             20        A.    There is a thirty dollar cost for an
      21       Q.     Okay. And do you have any children?           21   annual membership. You can also buy -- purchase a
      22       A.     I have three children. Yes.                   22   lifetime membership.
      23       Q.     Okay. And do they live in the Columbia        23        Q.    Okay. What's the cost of the lifetime
      24   area or do they live elsewhere?                          24   membership, Ms. Murphy?
      25             MR. INGRAM: Objection.                         25        A.    There are three different categories.
                                                         Page 35                                                            Page 37
       1       Q.    You may answer, Ms. Murphy.                     1   Well, Junior Life is one you have to purchase before
       2       A.    Yes, all in Columbia.                           2   moving up to Diamond and Silver. I would say the cost
       3       Q.    Okay. And so what areas of the state of         3   would be -- a member without having to pay any other
       4   South Carolina would you say you're familiar with?        4   dues is six hundred -- seven hundred and fifty
       5       A.    All of them.                                    5   dollars.
       6       Q.    Okay. And how long have you been a              6       Q.     Okay. And when you say this approximate
       7   member of the NAACP?                                      7   thirteen thousand figure, that's -- those are folks who
       8       A.    Since nineteen eighty -- around 1985.           8   are members of the South Carolina State Conference of
       9   I'm thinking '85.                                         9   the NAACP. Is that right?
      10       Q.    And how long have you been in the role of      10       A.     Yes. We are a conference of branches
      11   the president of the NAACP?                              11   so the branches make up the membership of the state
      12       A.    Four years.                                    12   conference. So branches that are located in the
      13       Q.    Okay. Prior to that time, did you serve        13   different counties, that's -- our membership comes
      14   in any sort of leadership role?                          14   from those branches. So it's a conference of
      15       A.    I was the advisor for the youth and            15   branches. So within that conference of branches, it's
      16   college division.                                        16   approximately thirteen thousand members, yes.
      17       Q.    Okay. Are you a member of any other            17       Q.     Is the state conference somehow related
      18   organizations?                                           18   to the national conference of the NAACP?
      19       A.    I am.                                          19       A.     Yes, we are.
      20       Q.    Can you tell me the other organizations        20       Q.     Okay. And could you explain that
      21   that you are a member of?                                21   relationship to me?
      22       A.    I am a member of (unintelligible).             22       A.     Organizationally, they have oversight
      23            (Court reporter clarification.)                 23   of the South Carolina State Conference. So is that
      24       A.    The Order of Eastern Stars.                    24   clear?
      25       Q.    Yes, ma'am. What others?                       25       Q.     Yes, ma'am.

                                                                                                            10 (Pages 34 - 37)
                                                Veritext Legal Solutions
     800.743.DEPO (3376)                    calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22               Entry Number 194-2              Page 12 of 108
                                                     Brenda Murphy                                              February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                              Page 38                                                         Page 40
       1       A.     Okay.                                              1   1, Ms. Rabon. I don't see it. Is it up?
       2       Q.     And what's the relationship between the            2              MR. INGRAM: We're refreshing now. Let's
       3   national conference of the NAACP and the Legal Defense        3   see if it loads on the platform.
       4   Fund if you know?                                             4              MR. MOORE: Who's on for Veritext?
       5       A.     They are two separate organizations.               5              MR. INGRAM: It popped up on our end.
       6       Q.     Okay. Do they work together if you know?           6              MR. MOORE: It has? You do have it?
       7       A.     They do work -- I wouldn't say they                7              MR. INGRAM: Exhibit 1.
       8   work together on everything but they do work together.        8       Q.      Take a look at that document, Ms. Murphy.
       9   And I'm not able to say how the national and the              9   Have you ever seen that document before? Have you seen
      10   national LDF, how they work together. You know, my           10   that document, Ms. Murphy?
      11   association is primarily with the -- here at the state       11       A.      I'm reviewing it now.
      12   level so that would need to be something that would          12       Q.      Yes, ma'am.
      13   need to be clarified regarding how they work together        13       A.      I'm looking at it. This is request for
      14   by the national and the national office of LDF.              14   documents?
      15       Q.     Okay. And you mentioned earlier that you          15       Q.      It's an objection to a request for
      16   consider your organization to be nonpartisan. Is that        16   documents.
      17   right?                                                       17              MR. PARENTE: I don't see it on that big
      18       A.     That's right.                                     18   screen.
      19       Q.     Okay. Explain that. Why do you consider           19              MR. INGRAM: This is actually objection
      20   your organization to be nonpartisan?                         20   to the first set of request for admissions.
      21       A.     We do not engage in political                     21              MR. MOORE: That's correct.
      22   activities with one particular party. We do not              22              MR. INGRAM: Not documents.
      23   advocate for one party or the other. It's just not a         23       Q.      Have you seen this document before, Ms.
      24   part of our agenda.                                          24   Murphy?
      25       Q.     Does your organization -- and I'm                 25              MR. MOORE: You're correct, Mr. Ingram.
                                                              Page 39                                                         Page 41
       1   referring to the South Carolina State Conference of the       1   Thank you.
       2   NAACP. Do you endorse candidates in --                        2        A.     Okay. Now --
       3       A.      No.                                               3             MR. INGRAM: Is there a specific portion
       4       Q.      You do not?                                       4   of the document that Ms. Murphy should be looking at?
       5       A.      No, we do not. No.                                5             MR. MOORE: Well, I've asked the question
       6       Q.      Have you ever gone to -- do you support           6   first of all if she's ever seen the document. I would
       7   particular candidates?                                        7   like a response to that question and then I will point
       8       A.      No, I do not.                                     8   her to a particular portion.
       9       Q.      Okay. Have you ever gone to a campaign            9        A.     Okay. I can't say -- I've had so many
      10   rally for a particular candidate?                            10   documents, I can't say that I have not, okay. So is
      11             MR. INGRAM: Objection.                             11   there a particular area that you want --
      12       A.      No.                                              12        Q.     I'm about to focus you there as soon as I
      13       Q.      You may answer, Ms. Murphy.                      13   got a response to my question. If you could turn to
      14       A.      No.                                              14   page 8.
      15       Q.      Okay. All right. And so have you                 15        A.     Page 8. Okay. I'm on page 8.
      16   reviewed your organization's responses to our -- have        16        Q.     Okay. Do you see request number six?
      17   you reviewed your objections and responses to our first      17   And are you looking at a hard copy document or are you
      18   set of request for admissions?                               18   looking at the document on the screen?
      19       A.      No.                                              19        A.     On the screen.
      20       Q.      Okay. So I'm going to put a document up          20        Q.     Okay. All right. And so where it says
      21   on the screen.                                               21   request number six, do you see that?
      22              (Whereupon, Defendant's                           22        A.     Yes.
      23              Exhibit 1 was marked for                          23        Q.     Okay. It says admit the SCNAACP's
      24              identification.)                                  24   federal employee identification number is XX-XXXXXXX.
      25             MR. MOORE: Let's put up Exhibit Number             25   And there's an objection. Do you know if that is the

                                                                                                               11 (Pages 38 - 41)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22               Entry Number 194-2               Page 13 of 108
                                                     Brenda Murphy                                              February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                              Page 42                                                          Page 44
       1   SCNAACP's EIN number?                                         1   this document that I put before you says that the NAACP
       2       A.     I provided the EIN number.                         2   admits that its EIN number is XX-XXXXXXX. That's what
       3       Q.     You provided -- so what is the EIN number          3   this document says, does it not?
       4   that you provided, Ms. Murphy?                                4        A.    The documents states that, yes.
       5       A.     I don't have that directly in front of             5             (Whereupon, Defendant's
       6   me.                                                           6             Exhibit 2 was marked for
       7       Q.     Well, if you flip over to the next page,           7             identification.)
       8   page 9, it says that that is admitted. Do you see that?       8        Q.    All right. So let's put up Exhibit
       9       A.     Okay. Just one second. Page 9?                     9   Number 2 and let us know when it's on your screen. Is
      10       Q.     Yes, ma'am.                                       10   it your on your screen yet?
      11       A.     Okay.                                             11        A.    No.
      12       Q.     Do you see that?                                  12             MR. MOORE: Erin, are you on?
      13       A.     Okay. Admit -- we submitted it. Now I             13             MR. INGRAM: Give us one second.
      14   see that other number. That's different, isn't it?           14             MR. PARENTE: You may need to refresh
      15   I'd have to scroll back to look at that but we               15   after he introduces it.
      16   provided that number that was requested.                     16             MS. RABON: Technical difficulties. It's
      17       Q.     Let me ask you this question. What's the          17   showing up in the marked exhibit folder.
      18   official name of your organization?                          18        A.    Okay. What would you like me to look
      19       A.     The South Carolina State Conference --            19   at it?
      20   NAACP South Carolina State Conference of Branches.           20        Q.    Do you see it now? Is it on your screen?
      21       Q.     Okay. And where was it established?               21        A.    Yes.
      22       A.     It was established in 1939.                       22        Q.    Okay. Have you seen this document
      23       Q.     And when was it established?                      23   before, Ms. Murphy? It's a document we sent to your
      24       A.     I think it's April, March or April.               24   counsel several days ago.
      25       Q.     And do you agree that your request for            25        A.    Okay. Okay. What do you want me to
                                                              Page 43                                                          Page 45
       1   admission, it meant that the SC NAACP is unincorporated,      1   look at?
       2   it is an association as well as a 501(c)(4 organization       2       Q.     Well, do you know if you have seen this
       3   and that its employment identification number is the          3   document before is my first question?
       4   number that we just saw? You see that on the site. Is         4       A.     We file this report annually.
       5   that right, Ms. Murphy?                                       5       Q.     Okay. All right. And it says South
       6        A.     I'm looking at page 9 and what my                 6   Carolina State Conference of the NAACP and it lists you
       7   statement is I can't validate that without looking at         7   as the registered agent. Is that right?
       8   the number. I don't know it by, you know -- I just            8       A.     Yes, my name is there.
       9   can't tell you what it is but I will say that we              9       Q.     And it lists you at 611 North Main
      10   provided the EIN number for the state conference.            10   Street. Is that the office of the South Carolina State
      11        Q.     Okay. Well, if you look at page 8 and            11   Conference of the NAACP?
      12   page 9 together, would you agree with me that it admits      12       A.     It is.
      13   that the EIN number is XX-XXXXXXX?                           13       Q.     Okay. And it lists a federal employers
      14        A.     I will have to validate the number. I            14   identification number as XX-XXXXXXX. Do you see that?
      15   will say this, that our EIN numbers, we don't generate       15       A.     Yes.
      16   them. Our EIN numbers are provided to us by the              16       Q.     Okay. Can you explain to me why that
      17   national office.                                             17   document lists a different EIN number than the
      18        Q.     I understand that, ma'am. It's a very            18   XX-XXXXXXX document that your attorneys have admitted is
      19   simple question. The request to admit that has been          19   your EIN number?
      20   filed by your organization admit that that is your EIN       20       A.     What date is on this report? I'm
      21   number based on this document, correct?                      21   looking to see a date.
      22        A.     I will admit that the number that I              22       Q.     I believe if you look at the bottom of
      23   gave to -- when it was requested was the EIN number of       23   the page it says filed on 6/10/2021.
      24   record.                                                      24       A.     Okay. This is a report that our
      25        Q.     Well, but you would agree with me that           25   treasurer files. Now the one thing -- as I have said

                                                                                                               12 (Pages 42 - 45)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2                       Page 14 of 108
                                                    Brenda Murphy                                                      February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                             Page 46                                                                Page 48
       1   before, the number that we gave you was the one that         1     Q.     The South Carolina State Conference of
       2   we've been given by the national office, this one,           2 the NAACP. Can you tell me why you decided to sue
       3   and, you know, I have to defer to the national office        3 Speaker Lucas, Chairman Murphy, and Chairman Jordan over
       4   in terms of the response to this because I do know           4 the House plans?
       5   there was a change in our EIN number and it may have         5     A.     Because of -- and it wasn't just I. It
       6   been after this report was filed. That's the only            6 was the coalition's decision that we were very
       7   answer I can give to that.                                   7 concerned that the mapping that was approved was
       8       Q.     When was that change?                             8 detrimental to black voters.
       9       A.     I can't give you an exact date.                   9     Q.     How?
      10       Q.     Okay. Can you tell me as you sit here            10     A.     In terms of representation. In terms
      11   today what is the correct EIN number?                       11 of how the vote -- the influence of the vote has been
      12       A.     Yes. The number, the number, most                12 minimized. It has created a situation where there is
      13   recent number that was given to -- reported as being        13 the potential for less representation by black
      14   our EIN number was the most recent number given to us       14 individuals.
      15   by the national office as our EIN number.                   15           When we look at the numbers,
      16       Q.     And what number is that? And you keep            16 potentially we had -- there were opportunity districts
      17   looking at Mr. Ingram. What number --                       17 that no longer exists. We have black -- where there
      18       A.     I'm looking because I think I said               18 are black representatives, you know, we have -- we now
      19   several times I cannot confirm which one of those two       19 have -- those have been -- some of those districts
      20   numbers is -- I know the one that was given is the one      20 have been combined and we're looking at even a further
      21   that's correct.                                             21 decrease in the opportunity for an African American or
      22       Q.     But as you sit here today, you can't tell        22 a black person to be a representative for their
      23   me if the 57 or the 23 number is the correct one. Is        23 constituents, their communities.
      24   that right or wrong?                                        24     Q.     Okay. I'm going to get into the
      25             MR. INGRAM: Objection. Asked and                  25 specifics in a moment but you decided to sue before the

                                                             Page 47                                                                Page 49
       1   answered.                                                    1 maps were even passed. Is that right?
       2        Q.    Please answer my question, Ms. Murphy.            2     A.     No.
       3        A.    If you will allow me, since I'm in my             3     Q.     Your organization sued in October of this
       4   office, to give you the most recent number we were           4 year before the House and the Senate passed maps in
       5   given, then I can answer that question.                      5 December, correct?
       6        Q.    My question to you right now is as you            6     A.     That was due to timeliness.
       7   sit here right now, can you tell me if the 57 number is      7     Q.     My question was were you involved in that
       8   correct or the 23 number --                                  8 decision to bring that first lawsuit?
       9             MR. INGRAM: Object to the form.                    9     A.     That was a decision of the coalition.
      10        A.    No, I cannot. No, I cannot.                      10     Q.     My question was were you involved in that
      11        Q.    Okay. Thank you. So has your agency              11 decision, Ms. Murphy?
      12   previously been involved in a litigation against the        12     A.     As a member of the coalition, I was.
      13   House of Representatives or any member or any officer of    13     Q.     Okay. The coalition is not a named
      14   the House of Representatives?                               14 plaintiff here. However, it's South Carolina State
      15        A.    I can't answer that question.                    15 Conference of the NAACP and Taiwan Scott were the named
      16        Q.    You can't answer it because --                   16 plaintiffs, correct?
      17        A.    Not since I have been president.                 17     A.     That's correct.
      18             (Simultaneous crosstalk.)                         18     Q.     Okay. Do you know Taiwan Scott?
      19        Q.    I'm sorry. I'm sorry. I'm talking over           19     A.     No, I don't personally.
      20   you and I need to stop. Please answer the question.         20     Q.     Okay. And so why was it decided that the
      21        A.    Not as I have been president.                    21 South Carolina State Conference of the NAACP was the
      22        Q.    Okay. All right. So I want to talk               22 plaintiff and not this coalition?
      23   about this lawsuit. I mean you are the president of         23     A.     Well, the South Carolina State
      24   this organization. Is that right?                           24 Conference was the initiator or first coalition. So
      25        A.    Yes.                                             25 in terms of I guess playing a leading role, the South

                                                                                                                      13 (Pages 46 - 49)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                                       www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2                Page 15 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                             Page 50                                                           Page 52
       1   Carolina State Conference did. We have membership            1   expert witnesses in this case. Are you familiar with
       2   throughout the state of South Carolina, and because of       2   that?
       3   the concerns that we heard from our membership               3       A.    No, I'm not.
       4   throughout the state, it was something we watched very       4       Q.    Okay. Do you know how much those experts
       5   carefully in terms of how mapping was done and the           5   charge?
       6   concerns of our membership.                                  6       A.    No, I do not.
       7        Q.    But again you made the decision to file           7       Q.    Okay. And do you know who is paying
       8   before the mapping was completed, correct?                   8   them?
       9             MR. INGRAM: Objection. Asked and                   9       A.    No, I do not.
      10   answered.                                                   10       Q.    Okay. It's not your agency? It's not
      11        Q.    Please answer my question, Ms. Murphy.           11   your branch? Is that correct?
      12        A.    I repeat the same answer. The filing             12       A.    No. No.
      13   before the mapping was completed, it was related to a       13            MR. MOORE: We've been going for almost
      14   different issue. It was regarding timeliness of the         14   an hour and fifteen minutes. Let's take about a
      15   committee to do its work.                                   15   five-minute break, okay?
      16        Q.    Who is funding this litigation for you?          16            MR. INGRAM: Sounds good.
      17        A.    No one.                                          17            (Brief recess.)
      18        Q.    Who is paying for it?                            18       Q.    (BY MR. MOORE:) Ms. Murphy, did you talk
      19        A.    There has been no cost associated that           19   to your counsel during the break?
      20   I have knowledge of. No one has given me a price or a       20       A.    General conversation. Nothing about
      21   cost for this litigation.                                   21   this.
      22        Q.    Okay. Well, I mean your organization --          22       Q.    You didn't talk about the substance of
      23   and I'm getting there. I'm going to get there in a          23   your testimony. Is that right?
      24   minute but your organization submitted a number of maps,    24       A.    No, I did not.
      25   is that right, for consideration?                           25       Q.    So with respect to the timing issues,
                                                             Page 51                                                           Page 53
       1       A.     We did submit a map as well as other              1   you're aware that the census data came out late. Is
       2   people. So, you know, our concern is more in terms of        2   that right?
       3   the map being reflective of feedback given at the            3       A.     Yes, I'm aware of the date that it came
       4   hearings. There were hearings. You know, in terms of         4   out.
       5   individuals being able to participate in the hearings,       5       Q.     And you're aware that the late release of
       6   you know, I have concerns about that but --                  6   that data, it has affected redistricting. Is that
       7       Q.     But that isn't my question.                       7   right?
       8       A.     Okay.                                             8       A.     That was a factor I'm told.
       9       Q.     My question is simply this. Someone had           9       Q.     Okay. And you're aware the Census Bureau
      10   to pay for an expert to draw these maps. Who paid for       10   releases its data every ten years. Is that right?
      11   the expert to draw these maps?                              11       A.     Yes.
      12       A.     We did not -- we did not pay for                 12       Q.     And it releases that data to the state
      13   experts to draw these maps. As a matter of fact, I          13   after it conducts its census. Is that right?
      14   think I shared with you, when we came together, it was      14       A.     Yes.
      15   basically with our partners, our affiliates that we've      15       Q.     And states must use that data to properly
      16   been involved in over the years in terms of this            16   apportion new legislatures. Is that correct?
      17   redistricting process and we utilize the resources          17       A.     Yes.
      18   available to assist with the drawing of the maps at no      18       Q.     Okay. And you understand that the
      19   cost to us.                                                 19   redistricting process takes some period of time to
      20       Q.     So let me ask you this question. Are you         20   gather public input and have lawmakers propose districts
      21   familiar with the fact that there are five experts who      21   with respect to redistricting. Is that right?
      22   have submitted expert reports in this case?                 22       A.     Yes.
      23       A.     I don't know what you mean.                      23       Q.     Okay. And you actually attended several
      24       Q.     Well, there are five experts who                 24   of the public hearings on the House districts. Is that
      25   submitted expert reports who apparently plan to be          25   right?

                                                                                                               14 (Pages 50 - 53)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                   Date Filed 03/21/22               Entry Number 194-2               Page 16 of 108
                                                    Brenda Murphy                                             February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                            Page 54                                                          Page 56
       1        A.    Yes, I did.                                      1        Q.     No relief was granted under that initial
       2        Q.    How many hearings did you attend?                2   complaint, correct?
       3        A.    Two -- I think two in person, one                3        A.     Somebody is talking and I can't
       4   virtually.                                                  4   understand you.
       5        Q.    Okay. Where were the two in persons?             5             (Off-the-record discussion.)
       6        A.    Columbia.                                        6        A.     Okay. Would you restate that, please?
       7        Q.    And do you understand that there's a lag         7        Q.     I said there was no relief granted under
       8   period between the release of the census data and the       8   the initial complaint, right?
       9   enactment of properly apportioned maps every ten years?     9        A.     No. No.
      10   Is that right?                                             10        Q.     And so with respect to the amended
      11        A.    I understand. Yes.                              11   complaint that was filed on December 23, 2021, did you
      12        Q.    Okay. So would you agree with me that           12   review that complaint before it was signed? You
      13   the lawsuit that was brought in October was premature?     13   personally, Ms. Murphy?
      14        A.    No, I will not agree with that.                 14        A.     We reviewed it as a coalition before
      15        Q.    Okay. What was the purpose of it?               15   any signature was placed on it.
      16        A.    As you probably recall, there were --           16        Q.     Okay. Were you one of the people who
      17   the House was not in session for some periods during       17   reviewed it as a coalition?
      18   that time.                                                 18        A.     Yes.
      19        Q.    Well, at the time that that lawsuit was         19        Q.     Okay. And do you know about how long
      20   filed, the House had begun the process of having public    20   after the enactment of Act Number 117 did you file the
      21   meetings around the state, had it not?                     21   amended complaint?
      22        A.    It had started but it still was                 22        A.     I'm not looking at the dates. I can't
      23   delayed.                                                   23   tell you that.
      24        Q.    Why was the filing of the lawsuit               24        Q.     Would you disagree with me if I told you
      25   necessary?                                                 25   that the act was signed into law on December 10th and
                                                            Page 55                                                          Page 57
       1       A.     To protect the rights of the people in           1   you didn't file an amended complaint until December 23rd
       2   terms --                                                    2   around midnight?
       3       Q.     I'm sorry. Please continue.                      3       A.    Yes.
       4       A.     In terms of having adequate time to              4       Q.    You would agree with that?
       5   know who candidates would be for their respective           5       A.    Yes.
       6   districts and to learn or to understand what their          6       Q.    Can you tell me why it took so long after
       7   platform is all about, would be all about.                  7   the amendment of the new House districts to file an
       8       Q.     Would you agree that that complaint was          8   amended complaint?
       9   mooted by the amended complaint that was filed in           9       A.    Well, we have to -- we had to evaluate
      10   December of 2021?                                          10   the mapping that had been submitted in terms of were
      11       A.     It was amended, yes.                            11   there any -- was there consideration given to
      12       Q.     Okay. My question was, was it mooted in         12   testimony that was provided by individuals at the
      13   your view?                                                 13   hearings, which was much, and to make an informed
      14             MR. INGRAM: Objection. Calls for a               14   decision about was there still impact on those
      15   legal conclusion.                                          15   opportunity districts.
      16       Q.     You may answer, Ms. Murphy.                     16       Q.    Well, so isn't one of your organization's
      17       A.     Would you -- I'm not an attorney so             17   stated concerns about delay in the enactment of maps?
      18   would you explain what that means, please?                 18       A.    Please clarify.
      19       Q.     Did you believe that the complaint was          19       Q.    Hasn't your organization taken the
      20   any longer operative or needed to be acted on by the       20   position that the map drawing process and then the
      21   Court in any way?                                          21   review of those maps through the litigation period has
      22             MR. INGRAM: Objection. Calls for a               22   taken too long?
      23   legal conclusion.                                          23            MR. INGRAM: Objection. Asked and
      24       Q.     Please continue, Ms. Murphy.                    24   answered.
      25       A.     I would say no.                                 25       Q.    You may answer, Ms. Murphy.

                                                                                                             15 (Pages 54 - 57)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22                Entry Number 194-2               Page 17 of 108
                                                    Brenda Murphy                                                February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                              Page 58                                                          Page 60
       1        A.   Yes, in terms of the completion of                  1       Q.     -- that there was purpose -- all right.
       2   those maps and time to review those maps, that was            2   So I would like you to tell me what evidence you had
       3   affected by the delay in the processes of getting             3   before you when you filed this amended complaint that
       4   those maps -- the maps completed, yes.                        4   the House of Representatives had engaged in purposeful
       5        Q.   Well, but the longer it takes -- your               5   racial discrimination?
       6   organization was concerned about litigation and the           6             MR. INGRAM: Objection. Asked and
       7   delay that it would take for litigation to be complete.       7   answered.
       8   That's one of the positions they took. Is that correct        8             MR. MOORE: I don't believe that's been
       9   or incorrect?                                                 9   asked and answered, Mr. Ingram.
      10        A.   Yes.                                               10       Q.     Can you please answer the question, Ms.
      11        Q.   Okay. And the longer it takes you to               11   Murphy?
      12   file documents in court means longer delay. Correct or       12       A.     I will restate what I said previously.
      13   incorrect?                                                   13   When you look at the outcome, the opportunity for
      14            MR. INGRAM: Objection. Argumentative.               14   black people to have -- at least participate in a
      15        Q.   Please answer, Ms. Murphy.                         15   district are fewer districts now that actually are
      16        A.   I will answer it takes time for maps to            16   competitive was reduced.
      17   be reviewed after they were completed and submitted in       17       Q.     Are you telling me that just looking at
      18   terms of evaluating what has been actually changed           18   the outcome is the only evidence that you have in front
      19   about -- what has changed about those maps. It takes         19   of you to support the allegation that there was
      20   time to do that.                                             20   purposeful racial discrimination?
      21        Q.   Okay.                                              21             MR. INGRAM: Objection. Argumentative.
      22        A.   And that's all a part of this process              22       Q.     Please answer my question, Ms. Murphy.
      23   and why it's important that things are done in a             23       A.     There are more factors that we look at,
      24   timely manner.                                               24   not just in terms of discrimination. When we say
      25        Q.   All right. So I'm going to -- I'm about            25   discrimination, you have to look at outcomes in terms
                                                              Page 59                                                          Page 61
       1   to ask you a question and I don't want -- I don't want        1   of the overall -- in terms of how the maps was done
       2   you to share with me any information that your lawyers        2   and the opportunity for black people to at least have
       3   have provided to you but I want to ask you this               3   an opportunity or be in a competitive district was
       4   question. The amended complaint alleges purposeful            4   reduced. That is my answer.
       5   racial discrimination on the part of the House of             5        Q.    Okay. Well, I'm going to ask it again
       6   Representatives. Is that right?                               6   because you have not answered my question. I would like
       7       A.      I will say the outcome of the maps                7   you to tell me what specific evidence you have in front
       8   indicate that there was discrimination in terms of            8   of you that the members of the House of Representatives
       9   black voters and the opportunity for black voters             9   who passed this legislation engaged in purposeful,
      10   to -- opportunity to be in that process of the               10   because that's the word that you use, purposeful racial
      11   districts in terms of it being competitive.                  11   discrimination?
      12       Q.      Well, I didn't ask you a question about          12            MR. INGRAM: Objection. Asked and
      13   competitive. Okay. I asked you a very simple question.       13   answered.
      14   An allegation in this complaint is that in drawing           14        Q.    Please answer my question, Ms. Murphy.
      15   certain districts, the House of Representatives engaged      15        A.    My answer is the same.
      16   in purposeful racial discrimination. That's an               16        Q.    Okay. So can you identify any specific
      17   allegation that your organization has made, is it not?       17   evidence that you had in front of you that the House of
      18       A.      When you look at the outcome of the              18   Representatives engaged in purposeful racial
      19   maps, that would be the opinion.                             19   discrimination?
      20       Q.      Ma'am, I asked you a very simple                 20            MR. INGRAM: Objection. Asked and
      21   question. Is it a yes or no? You can answer.                 21   answered.
      22             MR. INGRAM: Objection. Asked and                   22        Q.    Please answer my question, Ms. Murphy.
      23   answered.                                                    23        A.    My answer is the same.
      24       Q.      Did your organization allege --                  24        Q.    Can you -- as we sit here today, can you
      25       A.      Yes.                                             25   tell me a specific piece of evidence that you relied on

                                                                                                               16 (Pages 58 - 61)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2                Page 18 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                             Page 62                                                           Page 64
       1   to make the allegation that the House of Representatives     1   three members would be party to engaging in purposeful
       2   engaged in purposeful racial discrimination?                 2   racial discrimination?
       3             MR. INGRAM: Objection. Badgering the               3       A.     Sir, I can't read the minds of those
       4   witness. Asked and answered.                                 4   individuals. I only can look at the outcome in terms
       5             MR. MOORE: I'm not getting any answer to           5   of the mapping and the results of who it has -- will
       6   my question, Mr. Murphy (sic). You can object to the         6   impact, not has the potential but will impact and that
       7   form, okay, as is appropriate under our rules.               7   is people that are black.
       8       Q.     I'm going to ask the question again. Ms.          8       Q.     And do you know if Representative Henegan
       9   Murphy, do you have any specific evidence upon which you     9   is African American?
      10   relied to make the allegation of purposeful racial          10       A.     I know she's African American, yes.
      11   discrimination? I think I've given you several              11       Q.     Do you know if Mr. Bamberg is African
      12   opportunities to provide me with a piece of information.    12   American?
      13   I haven't heard any so I'm going to give you one final      13       A.     I know he's African American.
      14   opportunity and I'm going to move on.                       14       Q.     All right. And --
      15             MR. INGRAM: Objection. Asked and                  15       A.     Also incumbent.
      16   answered and badgering the witness at this point.           16       Q.     And the person who attended this meeting
      17       Q.     You may answer, Ms. Murphy.                      17   that you refuse to name, was that person an incumbent?
      18       A.     I am going to say again we have to look          18       A.     Yes.
      19   at outcomes, and when you look at the mapping that is       19       Q.     Okay. Is it Representative Jerry Govan?
      20   present, there is decreased opportunity --                  20             MR. INGRAM: Objection. Not going to
      21   opportunities for black people that are black to -- in      21   disclose membership lists or names.
      22   terms of districts competitive -- to be -- to run           22             MR. MOORE: Well, Mr. Ingram, just so you
      23   competitively in competitive districts.                     23   know, the documents that you provided us in discovery
      24       Q.     All right. Do you know any of the                24   last night and I'm going over them at the end of this
      25   members of the ad hoc committee who served in this          25   deposition, they provide us names and identifications of
                                                             Page 63                                                           Page 65
       1   matter?                                                      1   members of the South Carolina State Conference of the
       2       A.    No, I do not.                                      2   NAACP. So I do not believe that that is a valid
       3       Q.    Okay. Do you know --                               3   objection.
       4       A.    I know -- may I -- I know                          4             MR. INGRAM: If there are public
       5   representatives.                                             5   documents, you can point to names, by all means, but we
       6       Q.    So do you know, for example, Beth                  6   will not be confirming or denying any membership names
       7   Bernstein who is a representative in the Columbia area?      7   or lists.
       8   Do you know her?                                             8        Q.     I didn't ask you for a list at this
       9       A.    No. Only as a representative.                      9   point. I simply asked you if Representative Govan was a
      10       Q.    Okay. Have you ever spoken to her if you          10   person who attended this meeting for which there are no
      11   know?                                                       11   minutes?
      12       A.    No, I have not.                                   12             MR. INGRAM: I'm instructing my client
      13       Q.    Okay. Do you know Representative Pat              13   not to answer. That is an NAACP meeting and you're
      14   Henegan?                                                    14   asking my client to confirm a membership identity.
      15       A.    Only as a representative.                         15        Q.     Are you a member of the South Carolina
      16       Q.    Okay. Have you spoken with her?                   16   Conference of the NAACP, Ms. Murphy? Are you? I need
      17       A.    No, I have not.                                   17   an answer, Ms. Murphy.
      18       Q.    Okay. Do you know Representative Justin           18        A.     That is a rhetorical question.
      19   Bamberg?                                                    19        Q.     Well, it may be a rhetorical question but
      20       A.    No, I do not. Only as a                           20   it's a yes or no. Are you a member of the South
      21   representative.                                             21   Carolina State Conference of the NAACP?
      22       Q.    Have you ever spoken to him?                      22        A.     I am sitting before you as a member of
      23       A.    No, I have not.                                   23   the South Carolina State Conference.
      24       Q.    Okay. Do you have any information in              24        Q.     And I believe that you have identified
      25   front of you which would lead you to conclude that those    25   yourself publicly in public hearings as a member of the

                                                                                                               17 (Pages 62 - 65)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2                 Page 19 of 108
                                                    Brenda Murphy                                                February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                             Page 66                                                            Page 68
       1   South Carolina State Conference of the NAACP. Is that        1       A.     As was stated, we had meetings with the
       2   right?                                                       2   branch presidents as well as members from those areas.
       3        A.     I identify myself as the president of            3   And when I say that, I need to -- you know, is it a
       4   the South Carolina State Conference NAACP.                   4   meeting? Is it a seminar? When you meet with
       5        Q.     Okay. And so in the amended complaint --         5   individuals, you know, and you receive feedback, that
       6   and have you reviewed that amended complaint in              6   information is collected and shared as a whole with
       7   preparation for your testimony here today, Ms. Murphy?       7   the redistricting coalition in terms of the concerns.
       8        A.     No, I have not.                                  8       Q.     Okay. Do you have members that reside --
       9        Q.     Okay. When is the last time you looked           9   as you sit here today, can you tell me that you have a
      10   at that document to the best of your recollection?          10   member that resides in each of the challenged districts?
      11        A.     It's been at least a couple of weeks.           11       A.     Yes, I can.
      12        Q.     Okay. And there are a number of                 12       Q.     Okay. And how is it that you can tell me
      13   districts that are challenged districts. Is that right?     13   that you have a member that resides in each of the
      14        A.     Yes.                                            14   challenged districts?
      15        Q.     Okay. And what was your involvement in          15       A.     Because that data was validated by our
      16   choosing the challenged districts?                          16   national office.
      17        A.     As I stated earlier, we have presidents         17       Q.     Okay. Did you speak to a person from
      18   throughout the state of South Carolina. It is -- in         18   each of the challenged districts before filing this
      19   terms of where the challenges were, the presidents          19   complaint?
      20   from those areas were the individuals that identified       20       A.     We have representatives in every county
      21   areas of concern and their membership.                      21   of the state. Presidents from every county of the
      22              (Whereupon, Defendant's                          22   state. So each of those areas, there is a president.
      23              Exhibit 3 was marked for                         23       Q.     Well, there might be a president -- for
      24              identification.)                                 24   example, are the presidents -- so I live in Columbia
      25        Q.     Okay. And so I believe that we have             25   like you, okay. And so is there a president for the
                                                             Page 67                                                            Page 69
       1   Exhibit Number 2 up on the screen. Is that right?            1   city of Columbia or a president for Richland County?
       2   Excuse me. Exhibit Number 4 up on the screen. Three.         2       A.      There is a president for Columbia. As
       3   I'm sorry. That's why I do not like virtual depositions      3   a matter of fact, we have more -- in some places, we
       4   but so we have Exhibit Number 3 up on the screen -- but      4   have more than one president and that's a good example
       5   we've all had to learn how to do this. Some better than      5   that you're asking about. We have Lower Richland
       6   others. I'm a little older. The technology isn't my          6   which has a branch and we also have the Columbia
       7   favorite thing sometimes so I apologize.                     7   branch. So there are two, two in the Columbia area.
       8             With respect to Exhibit Number 3, do you           8       Q.      And so there would be two presidents for
       9   recognize that document, Ms. Murphy? I think it's up on      9   the entire Columbia area, Richland County. Is that
      10   your screen now. Is that right?                             10   right?
      11        A.    Yes, I'm trying to -- I can't read it.           11       A.      That's right.
      12        Q.    Well, when I go to a specific section,           12       Q.      Okay. Do you know how many challenged
      13   I'll make sure that we blow it up when I get to a           13   districts there are in Richland County?
      14   specific page.                                              14       A.      I don't have that right in front of me
      15        A.    Okay.                                            15   but --
      16        Q.    Okay. Because I can't read it either             16       Q.      I'm going to help you in a minute.
      17   from this distance. And so would you agree with me that     17       A.      Okay.
      18   the challenged districts were grouped into the areas of     18       Q.      But here's my question. Prior to filing
      19   Anderson, Chester, Sumter, Dillon, Horry, Lawrence and      19   this complaint, did you or anyone acting on your
      20   Williamsburg, Richland and Orangeburg? Would you agree      20   direction speak to a member, speak to someone who
      21   with me that the challenged districts are in those          21   resided in each and every challenged district and get
      22   areas?                                                      22   their input on how they were adversely affected by the
      23        A.    Yes.                                             23   drawing of the districts?
      24        Q.    Okay. And do you know how your                   24       A.      Yes.
      25   organization chose those challenged districts?              25       Q.      Who did that? Who spoke to a person from

                                                                                                                18 (Pages 66 - 69)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                                 www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22                Entry Number 194-2                Page 20 of 108
                                                     Brenda Murphy                                                February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                               Page 70                                                           Page 72
       1   each of the challenged districts?                              1       A.     Because we have members in every area
       2            MR. INGRAM: Objection. I'm instructing                2   that is identified.
       3   my client not to answer as it would disclose                   3       Q.     That's not -- my question is not whether
       4   confidential membership identity.                              4   you have members in every area that is identified. My
       5            MR. MOORE: I didn't ask her for the                   5   question is can you assure me that before this lawsuit
       6   names of anyone, Mr. Ingram. I simply asked the                6   was filed, either you or someone from your organization
       7   question -- and so I don't believe that objection is           7   spoke to a person who resided in each of the challenged
       8   well-founded.                                                  8   districts?
       9            (Simultaneous crosstalk.)                             9       A.     Yes.
      10       Q.     My question is --                                  10       Q.     Okay. How can you state that under oath,
      11            MR. MOORE: Are you instructing her not               11   Ms. Murphy?
      12   to answer, Mr. Ingram?                                        12       A.     Because as I just said, we have routine
      13            MR. INGRAM: Correct.                                 13   meetings with individuals. We participated in the
      14       Q.     Okay. My question is without identifying           14   redistricting process as a state conference. This was
      15   any person, okay, who spoke to a person who resided in        15   not just done by the coalition.
      16   each of the challenged districts?                             16       Q.     Ms. Murphy --
      17            MR. INGRAM: Objection. I don't know how              17       A.     Yes, sir.
      18   you respond to that question without identifying a            18       Q.     -- is there a record that your
      19   person. Same objection about membership lists.                19   organization maintains that indicates who spoke to
      20       Q.     Did you speak to anyone from any                   20   each -- to a person from each of the challenged
      21   challenged district, Ms. Murphy?                              21   districts and who was spoken to there? Is there a
      22       A.     I have to answer that with more than               22   record of that?
      23   just a yes or no.                                             23             MR. INGRAM: Objection. Asked and
      24       Q.     Please answer my question and then                 24   answered.
      25   elaborate.                                                    25             MR. MOORE: It's not been asked and
                                                               Page 71                                                           Page 73
       1        A.    As the president of the South Carolina              1   answered, Mr. Ingram.
       2   State Conference, we coordinated meetings with our --          2        Q.    Please respond, Ms. Murphy. Is there a
       3   ongoing meetings. That is a standard of practice for           3   record of that?
       4   us. We meet routinely.                                         4        A.    I did respond in terms of how we
       5             So in terms of meeting with leadership               5   interact with each other as a state conference. We
       6   from throughout the state, that is a routine. That             6   meet regularly, monthly. We review -- the maps were
       7   happens routine, not just regarding redistricting.             7   reviewed. Comments were made by those present. So
       8   It's about other issues of concern that are related to         8   nothing is here that is not known in our different --
       9   justice in all areas. Related to criminal justice,             9   the listed areas.
      10   education, et cetera. I won't go through all of them          10        Q.    My question is very simple. Is there a
      11   but this is a standard practice.                              11   record that your organization maintains that indicates
      12             So the question about meeting with                  12   who spoke to a representative of each of these
      13   leadership in the different areas, that it happens            13   challenged districts and on what date prior to the
      14   regarding -- and, yes, it does happen. We will not            14   filing of this amended complaint? Is there a record of
      15   list an area unless there was feedback regarding              15   that?
      16   concern.                                                      16        A.    There were two forums. I cannot say
      17        Q.    I didn't ask you about feedback from an            17   that we kept minutes because they were forums but
      18   area. I asked you specifically if you can tell me under       18   there was representation from all of these areas.
      19   oath today that either you or your someone from your          19        Q.    You keep using the words "all of these
      20   organization spoke to a person from each and every            20   areas". I'm asking about specific challenged districts
      21   challenged district before filing this amended                21   and I'm not getting --
      22   complaint?                                                    22        A.    I'm speaking --
      23        A.    Yes.                                               23        Q.    I'm asking --
      24        Q.    And how is it that you can assure me that          24        A.    I'm speaking on behalf of the listed
      25   that happened?                                                25   districts of concern.

                                                                                                                 19 (Pages 70 - 73)
                                                     Veritext Legal Solutions
     800.743.DEPO (3376)                         calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22              Entry Number 194-2                      Page 21 of 108
                                                    Brenda Murphy                                                     February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                             Page 74                                                               Page 76
       1        Q.    Can you tell me why your organization has         1     Q.     Yes, ma'am.
       2   not produced a list of the people who reside in each of      2     A.     No, I did not.
       3   the challenged districts who were spoken to prior to the     3     Q.     I'll come back to that in a few minutes.
       4   filing of this lawsuit?                                      4 Did you or to your knowledge anyone from the NAACP speak
       5        A.    I do not have authorization to provide            5 to anyone from any party about the positions that you
       6   a listing of anyone that's a member of the NAACP.            6 intended to take in this lawsuit?
       7        Q.    Is there a list -- is there a document            7     A.     No.
       8   that indicates that between the time of the passage of       8     Q.     Did you coordinate with anyone from the
       9   this legislation and the time of the filing of the           9 South Carolina Democratic or the South Carolina
      10   second amended complaint that you or someone else from      10 Republican Party?
      11   your agency spoke to a person who resides in each of the    11     A.     No.
      12   challenged districts and those people indicated that        12     Q.     Did you communicate with the League of
      13   they wanted to bring this lawsuit?                          13 Women Voters?
      14        A.    There is not a list.                             14     A.     They were a part of the coalition.
      15        Q.    Okay. As you sit here today, can you             15     Q.     Okay. And who determined who would be a
      16   assure me under oath that between the date this statute     16 part of this coalition?
      17   was passed, this act was passed and the date of your        17     A.     We invited members to participate and
      18   lawsuit that someone was spoken to from each and every      18 they agreed to participate based on the fact that they
      19   one of these challenged districts and a person from each    19 were nonprofit and they were advocacy groups for, you
      20   and every one of those challenged districts said they       20 know, for social justice.
      21   wanted to go forward with the challenged district?          21     Q.     When was the coalition formed?
      22             MR. INGRAM: Objection. Asked and                  22     A.     September. I think September. August,
      23   answered. It's privileged communication.                    23 September.
      24             MR. MOORE: That was not my specific               24     Q.     Of what year?
      25   question, Mr. Ingram.                                       25     A.     Last year.

                                                             Page 75                                                               Page 77
       1        Q.    Would you please answer my question, Ms.          1       Q.     2021?
       2   Murphy?                                                      2       A.     Yes.
       3        A.    I have answered the question to the               3       Q.     And who are the members of the coalition?
       4   best of my ability.                                          4       A.     I don't have all of those in front of
       5        Q.    Okay. Can you confirm under oath that             5   me. I think that they were listed for you.
       6   that was done?                                               6       Q.     Okay. And who decided to form this
       7             MR. INGRAM: Objection. Asked and                   7   coalition?
       8   answered.                                                    8       A.     We decided as a state conference to
       9        Q.    Ms. Murphy, that's a yes or no and then           9   invite other advocacy groups and we decided who to ask
      10   you can explain.                                            10   whether or not they wanted to be a member of the
      11        A.    I have answered the question to the              11   coalition.
      12   best of my ability. There were forums, two forums           12       Q.     Okay. And who made the determination as
      13   that were held with members that included -- that           13   to who would and who would not be invited?
      14   involved districts that there was representation.           14       A.     I don't think we thought about who we
      15        Q.    I'm going to take that as a no. I'm              15   would not invite. If there was someone that wanted to
      16   going to take that as a no and I'm going to move on and     16   be a part that was an advocacy group, we invited them
      17   I'm going to come back to it. Do you know the members       17   to participate.
      18   of your organization that reside in each of the             18       Q.     And how did you identify these advocacy
      19   challenged districts?                                       19   groups?
      20        A.    Yes, I know members that reside in the           20       A.     The ones that are -- well, there are a
      21   challenged districts.                                       21   number that we know of such as the League of Women
      22        Q.    Did you speak to any of them about this          22   Voters we interact with throughout -- you know,
      23   litigation?                                                 23   routinely. AFL-CIO, ACLU, the state president. We
      24        A.    No. In terms of this -- in terms of              24   had worked together. And so it was basically
      25   when you say -- you mean what we're doing today?            25   individuals that we have worked collaboratively

                                                                                                                    20 (Pages 74 - 77)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                                      www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                   Date Filed 03/21/22             Entry Number 194-2             Page 22 of 108
                                                   Brenda Murphy                                           February 4, 2022
                                  The South Carolina State Conference vs. McMaste,
                                                           Page 78                                                      Page 80
       1   together with throughout the years.                        1        Q.     Do you know Jerry Govan?
       2             Now if there was someone that -- a               2        A.     As a representative.
       3   group that wanted to join, then we welcomed them. So       3        Q.     Okay. Have you ever spoken to
       4   we didn't prohibit anyone from joining that was --         4   Representative Govan about redistricting?
       5   advocated for the social justice. There was no             5        A.     Not as a representative, no.
       6   criteria for eliminating.                                  6        Q.     I didn't ask you if you had spoken to him
       7       Q.     Do you know Representative John King?           7   as a representative. I asked you have you ever spoken
       8       A.     As a representative.                            8   to Representative Govan about any issue related to
       9       Q.     Have you ever spoken to him?                    9   redistricting?
      10       A.     Probably before redistricting, yes.            10              MR. INGRAM: Objection. Asked and
      11             (Simultaneous crosstalk.)                       11   answered.
      12       A.     -- this process, no.                           12              MR. MOORE: It hasn't been answered.
      13       Q.     You have not spoken to him about the           13   It's been asked.
      14   redistricting process. Is that right?                     14        Q.     Please answer my question.
      15       A.     No.                                            15        A.     Well, I will answer your question. I
      16       Q.     Okay. Do you know Representative Wendy         16   have made a statement in the presence -- I think one
      17   Brawley?                                                  17   of the meetings that, that -- I make it very clear in
      18       A.     Yes.                                           18   meetings our intent, the intent of this coalition is
      19       Q.     How do you know Representative Brawley?        19   not to be partisan, not to protect incumbents, and
      20       A.     She's a representative. I know her --          20   that is very clearly stated.
      21   I know the representatives for this state.                21              He may have been in my presence when I
      22       Q.     Do you know all the representatives for        22   said that. I can't say that he was but that is
      23   this state?                                               23   something that I make very clear. If the conversation
      24       A.     I wouldn't say all but I do know the           24   came up about redistricting and whether or not -- and
      25   African American ones.                                    25   it's just a general conversation regarding -- and it
                                                           Page 79                                                      Page 81
       1       Q.     Okay. How well do you know                      1   wasn't with just Representative Govan. I have
       2   Representative Brawley?                                    2   intentionally not included representatives in
       3       A.     I just -- I do not know her personally.         3   discussions about redistricting.
       4   I know her as a representative.                            4       Q.     Why is that?
       5       Q.     Okay. Have you ever had any                     5       A.     Because I didn't want -- it needed to
       6   conversations with her?                                    6   be about the people, not about the incumbent. When
       7       A.     Not as a representative. I will share           7   lines are drawn, it's opportunities for individuals,
       8   with you that when I became president, she did -- she      8   whoever it might be, to have that -- black individuals
       9   had someone from her private business to interview me.     9   to have the opportunity to decide whether or not they
      10   That's the only association that I have of really         10   want to run, campaign for a certain position or be a
      11   knowing her as a representative.                          11   candidate for a certain position. I take that very
      12       Q.     And so she offered your public submission      12   seriously.
      13   as an amendment on the House floor to the House map. Do   13       Q.     I'm going to move on for a moment. So
      14   you recall that?                                          14   you spoke at at least one of the public hearings,
      15       A.     Yes. She also offered the League of            15   correct?
      16   Women Voters as well.                                     16       A.     Yes.
      17       Q.     Okay. And how did she come to do that if       17       Q.     Okay. And I believe you provided some
      18   you know?                                                 18   written testimony. Is that right?
      19       A.     Well, the maps were all on display at          19       A.     Yes.
      20   the State House so I can't say how she came to that in    20             (Whereupon, Defendant's
      21   terms of making that recommendation. That's something     21             Exhibit 4 was marked for
      22   you will have to ask her. I don't know.                   22             identification.)
      23       Q.     So you don't know how she came to do           23             MR. MOORE: Okay. Let's pull up Exhibit
      24   that. Is that right?                                      24   Number 7, Ms. Rabon. Yes, ma'am. What's taking so
      25       A.     I do not.                                      25   long?

                                                                                                         21 (Pages 78 - 81)
                                                  Veritext Legal Solutions
     800.743.DEPO (3376)                      calendar-carolinas@veritext.com                            www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2               Page 23 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                             Page 82                                                          Page 84
       1       Q.    As she pulls up it, Ms. Murphy, you're             1      A.    That's day-to-day data that everybody
       2   familiar with that written testimony. Is that right?         2   knows.
       3       A.    Yes.                                               3      Q.       How did you arrive at that number?
       4       Q.    Did you prepare it yourself?                       4             MR. INGRAM: Objection. Asked and
       5       A.    Every document that was submitted was              5   answered.
       6   documented -- documents that the coalition reviewed          6        Q.     Can you give me a specific answer as to
       7   and we agreed upon as a coalition. I was the                 7   how you arrived at that number, President Murphy?
       8   representative to present the final document.                8        A.     I will. I can give you an answer.
       9       Q.    So my question is did you write it                 9        Q.     Yes, ma'am.
      10   yourself or did someone else write it for you?              10        A.     I do -- I do -- I do and I have looked
      11            MR. INGRAM: Objection. Asked and                   11   at the population throughout the state by county and I
      12   answered.                                                   12   know the percentage. That is something I have studied
      13            MR. MOORE: It was asked. It wasn't                 13   not only for the reasons of this deposition but I have
      14   answered.                                                   14   studied intensely during the COVID which we -- still
      15       Q.    Did you write it yourself or did someone          15   exist so it's something that I typically follow in
      16   else write it for you?                                      16   terms of population, percentages of blacks, percentage
      17       A.    I think I just answered the question.             17   of whites and other ethnic groups. So that is
      18   The coalition developed the written document. We all        18   something I routinely study, study.
      19   reviewed it. We all agreed to it and it was signed by       19        Q.     And so you're familiar I guess that there
      20   me as the representative of the coalition.                  20   are two different ways to gauge the number of black
      21       Q.    Okay. Was there a primary author of it?           21   voters. There's a phrase called any part black and DOJ
      22            MR. INGRAM: Objection. Asked and                   22   statistics, correct? Are you familiar with both of
      23   answered.                                                   23   those?
      24       Q.    Was there a primary author of it, Ms.             24        A.     Excuse me? What's your question again?
      25   Murphy?                                                     25        Q.     Are you familiar with the phrase -- that
                                                             Page 83                                                          Page 85
       1        A.    It was developed by the coalition,                1   there may be different ways to count whether these
       2   reviewed by the coalition, and finalized by the              2   percentages -- for example, there's a statistic that
       3   coalition and I presented it at the hearings.                3   uses the DOJ app and there's a statistic that uses the
       4        Q.    Okay. Do you know why that was emailed            4   phrase any part black. Are you familiar with those?
       5   instead of -- by the NAACP LDF counsel rather than you       5        A.     Let me just say when I study the
       6   sending it in directly? Do you know why it was done?         6   population, I studied in terms of ethnic groups.
       7        A.    They are part of the coalition. We are            7        Q.     Okay. All right. And have you reviewed
       8   not open because of COVID. Most of our meetings were         8   the figures based on the 2020 census data?
       9   done by Zoom. And in terms of having the resources to        9        A.     Yes, I have.
      10   type up and get these documents to you, the LDF has         10        Q.     Okay. And are you aware that if you look
      11   the resources to do that.                                   11   at the figures from the 2020 census data, the figure
      12        Q.    Okay. And do they represent you in               12   using the any part black criteria is 25.28 percent? Are
      13   addition to being part of the coalition?                    13   you familiar with that?
      14        A.    They're here today representing me.              14        A.     I can't say that I am.
      15   They're here representing the desires of the coalition      15        Q.     Okay. And are you familiar with the fact
      16   because I'm simply here as the president of the NAACP,      16   that if you use the 2020 census data using the DOJ
      17   one of the primary members for this coalition and who       17   criteria, the number is actually lower? It's 24.59
      18   spearheaded the initiative but they were a part of the      18   percent. Are you familiar with that?
      19   coalition, yes.                                             19        A.     Any part black?
      20        Q.    Okay. So in this written testimony, you          20        Q.     No, ma'am. I said if you use -- if you
      21   claim that among South Carolinians that are old enough      21   use the criteria for any part black, the figure is 25.28
      22   to vote, black voters make up approximately 29 percent.     22   percent, and if you use the DOJ criteria, it's 24.59
      23   Is that accurate?                                           23   percent. Are you familiar with that?
      24        A.    Yes.                                             24        A.     No. I'm familiar with the 27, 28. A
      25        Q.    Okay. How did you arrive at that number?         25   higher number.

                                                                                                              22 (Pages 82 - 85)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22                Entry Number 194-2                Page 24 of 108
                                                     Brenda Murphy                                                 February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                               Page 86                                                           Page 88
       1       Q.     Okay. Do you have any reason as we sit              1       A.     Yes, I did.
       2   here today to dispute that if you use the 2020 census          2       Q.     Okay. All right. And how did you
       3   data that using the criteria for any part black, the           3   prepare for that live testimony?
       4   figure is 25.28 percent?                                       4       A.     How did I prepare?
       5       A.     I'm not going to dispute it but I again             5       Q.     Yes, ma'am.
       6   state when I look at the data, I'm looking at black            6       A.     Basically the same as I did for others
       7   and white primarily and other ethnic groups.                   7   in terms of basically the coalition met, the coalition
       8       Q.     And do you have any reason to dispute the           8   had discussions, and my reports were based on what
       9   figure that when you use the DOJ criteria, black voters        9   we -- our decisions regarding what the mapping
      10   of voting age population are actually 24.59 percent of        10   revealed and the impressions of the coalition.
      11   the South Carolina population? Do you know that?              11             (Whereupon, Defendant's
      12       A.     When you're talking black voter                    12             Exhibit 5 was marked for
      13   population --                                                 13             identification.)
      14       Q.     Well, you claimed --                               14       Q.     Okay. And so I want to pull up your
      15       A.     No. No, let me clarify it. I know                  15   testimony for a minute. I believe it's loading and I
      16   about black voter population. Are we talking about            16   apologize that it takes so long to load. Technology is
      17   black voters that actually -- are we looking at age or        17   a wonderful thing when it works.
      18   are you -- what is it that you're inferring?                  18       A.     I agree.
      19       Q.     Well, you used the words in your                   19       Q.     I'm of an age where we didn't have so
      20   testimony among South Carolinians that are old enough to      20   much technology and I'm not so sure that all this
      21   vote, black voters make up approximately 29 percent.          21   technology is a good thing but I'm not going to ask you
      22   That was your testimony delivered on November 10, 2021        22   whether you agree or disagree with that statement, Ms.
      23   well after the census data had been published. Is that        23   Murphy.
      24   right?                                                        24       A.     I'm not going to tell you my age.
      25       A.     Yes, and I stand by that.                          25       Q.     And as I said, I didn't ask. As I said,
                                                               Page 87                                                           Page 89
       1        Q.    Okay. All right. But do you have any                1   I always hate to ask a lady her age. My mama taught me
       2   reason to disagree with me that when you actually look         2   better than that. Well, while we're trying to pull that
       3   at the census data numbers that the figures are actually       3   up, I'm just going to read you a section. You use the
       4   closer to 25 percent, a little over 25 percent if you          4   phrase "but we are at this time dependent on you in
       5   use the criteria for any part black, and 24.59 percent         5   terms of drawing maps that are competitive, maps that
       6   if you use that criteria? Do you have any reason to            6   looks to -- ensures communities of interest, not packing
       7   dispute that record, President Murphy?                         7   or cracking". Do you recall saying that?
       8        A.    At this point, I would say that I would             8       A.      Yes, I do.
       9   have to further review that data.                              9       Q.      Okay. How do you define the term
      10        Q.    Okay. All right. Well, if I'm correct,             10   communities of interest, Ms. Murphy?
      11   then the figure is closer to 25 percent than your 29          11             MR. INGRAM: Objection. Calls for a
      12   percent in your testimony, right?                             12   legal conclusion.
      13             MR. INGRAM: Objection. Argumentative.               13       Q.      Can you please answer the question, Ms.
      14        Q.    Please answer, Ms. Murphy.                         14   Murphy? I know you just looked at Mr. Ingram.
      15        A.    I am saying at this point -- you had               15       A.      The communities of interest --
      16   stated what you have reviewed. I at this point have           16       Q.      How do you define -- how do you define
      17   no reason to dispute what you are saying but I stand          17   it?
      18   beside those numbers in terms of the black voter              18       A.      It's defined by those individuals that
      19   population at the 28, 29 percent.                             19   live within the community that have similar values in
      20             MR. MOORE: So let's put up Number 6,                20   terms of ethics. They're areas contiguous of each
      21   Ms. Rabon.                                                    21   other and it's basically decided by those communities.
      22        Q.    Because you testified at another hearing.          22       Q.      And I guess you would agree with me like
      23   Is that right?                                                23   a municipality could have multiple communities of
      24        A.    Yes, I did.                                        24   interest, right?
      25        Q.    At least one other hearing?                        25       A.      Yes.

                                                                                                                 23 (Pages 86 - 89)
                                                     Veritext Legal Solutions
     800.743.DEPO (3376)                         calendar-carolinas@veritext.com                                 www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22                Entry Number 194-2                Page 25 of 108
                                                     Brenda Murphy                                               February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                              Page 90                                                           Page 92
       1         Q.     Okay. And the larger the municipality,           1       A.     Well, I'm going to say it becomes
       2   the larger perhaps the number of communities of interest      2   questionable when there's no need to when we're
       3   in that municipality, right?                                  3   greater than fifty percent or greater.
       4         A.     You mean may be based on the                     4       Q.     When you say the "we", who is the "we" to
       5   Constitution there may be more than one? Is that what         5   whom you refer?
       6   you're asking?                                                6       A.     Well, I guess what I'm saying fifty
       7         Q.     I guess maybe that was a bad question so         7   percent, when I say we -- I'm saying we have a
       8   I'll try to rephrase it.                                      8   population for a district that's 65 percent or 70
       9         A.     Okay.                                            9   percent black individuals when it could have been
      10         Q.     I believe you told me you lived in              10   configured in another way to allow the opportunity for
      11   Brooklyn once. Is that right?                                11   another individual to represent the community.
      12         A.     Yes.                                            12       Q.     Again I guess that depends on one's
      13         Q.     Okay. And Brooklyn is a part of New York        13   definition of community, right?
      14   City, right?                                                 14       A.     Yes.
      15         A.     Yes.                                            15       Q.     Okay. You use the word cracking, okay.
      16         Q.     Okay. There are a number of different           16   What does that term mean to you?
      17   communities of interest in Brooklyn. Is that right or        17       A.     Intentionally dividing a district in
      18   wrong? Would you agree or disagree?                          18   such a manner that there are -- and really these
      19         A.     Yeah. I would agree with that, yes.             19   communities are communities of interest, very similar
      20         Q.     And there are also a number of different        20   interests and they're divided.
      21   communities of interest in Manhattan which is right          21             The district is drawn in such a manner
      22   across the river, right?                                     22   and that happens in -- it could happen in cities or
      23         A.     Yes.                                            23   counties where they are divided and they have two
      24         Q.     Okay. The larger the municipality, the          24   representatives that may think totally different
      25   larger the number of communities of interest generally.      25   because they may be paired with someone that's not of
                                                              Page 91                                                           Page 93
       1   Would you agree or disagree with that?                        1   the same mindset that they are.
       2       A.     That may be true but we do have some               2       Q.     You used the word intentional. Is that
       3   guidelines that we must follow in terms of numbers            3   right?
       4   that -- constitutional numbers that are -- when we            4       A.     Did I use that, intentional? I said --
       5   look at numbers in terms of how large a Senate -- the         5       Q.     No. I believe you used the word -- when
       6   number of people that can be in a Senate district or          6   I asked you that question, you used the word
       7   House district, those are very different. So, you             7   intentional. Is that right?
       8   know, depending on the population, then that may              8       A.     I don't know. Did I -- what I intended
       9   change, yes.                                                  9   to say was that districts, they are drawn that way.
      10       Q.     I'm just asking you questions about               10   Whether it's intentional or not, I can't say but they
      11   municipalities so I'm going to get there later. You          11   are drawn in such a manner that it dilutes the black
      12   also use the phrase -- so after the word communities of      12   person's ability to vote. Not ability but in terms of
      13   interest -- and now this document is up on the screen --     13   the impact, influence of their vote.
      14   you use the words not packing, not cracking. Do you see      14       Q.     And then you went on to use the phrase,
      15   that?                                                        15   we hope you won't do that and we look to hopefully see
      16       A.     I can't see it but I recall using those           16   more of us sitting in these seats the next time we come
      17   words.                                                       17   around. What did you mean by that?
      18       Q.     Okay. What does packing mean to you?              18       A.     Well, that was explaining to them what
      19       A.     Packing means to me having a greater              19   the hope was in terms of redistricting that it would
      20   number of -- for example, a district that's composed         20   be done in a fair manner and it would be done to
      21   of 65 percent or 75, maybe even 80 percent of black          21   reflect constitutional requirements as well as not
      22   individuals when that dilutes the voting strength of         22   packing and cracking districts. That was a request.
      23   the black population in an area.                             23       Q.     When you use the term "us" and then you
      24       Q.     And is there a magic number that gets to          24   use the term "we", who is the term "us"? "Hopefully
      25   packing in your view?                                        25   more of us sitting in these seats."

                                                                                                                24 (Pages 90 - 93)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2               Page 26 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                              Page 94                                                         Page 96
       1       A.     Black people.                                      1   districts and there has been a decrease in the number
       2       Q.     Okay. So you're basically saying you               2   of opportunities for blacks to be represented.
       3   would like to see more African Americans or black people      3       Q.     I'm going to look at a document and I'm
       4   serving in the Legislature. Is that right?                    4   going to ask Ms. Rabon to pull up a document that we
       5       A.     At least have an opportunity to serve,             5   just got last night. Okay. And it's taking us a few
       6   yes. And with the current plan, that opportunity has          6   minutes, some time to digest them and we're not done
       7   decreased.                                                    7   digesting.
       8       Q.     Do you know -- and how about giving me             8             MR. MOORE: Could you pull up Number 23,
       9   some specific evidence to back that up?                       9   Ms. Rabon?
      10       A.     You can look at the Columbia or the               10       Q.     And do you recall if you were at a
      11   Richland County area. It's very evident. It's there.         11   meeting of the SC State Conference of the NAACP
      12       Q.     Give me some specific evidence to back            12   reapportionment committee minutes meeting that was on
      13   that up.                                                     13   June 21, 2021? Do you recall if you were at that
      14       A.     The way the lines are drawn now, we               14   meeting?
      15   have blacks that are -- will be competing against each       15       A.     What minutes are you talking about?
      16   other so that's one less representative for those            16       Q.     Minutes that were provided to us
      17   communities.                                                 17   yesterday. I'm trying to pull them up.
      18       Q.     Are you referring to Representative               18       A.     Okay.
      19   Brawley and Representative Johnson?                          19       Q.     So take a moment.
      20       A.     No. I'm talking about more than that              20       A.     Okay.
      21   in the Columbia area.                                        21             MR. MOORE: You have to show her
      22       Q.     Elaborate, please.                                22   documents through this -- we're probably going to take
      23       A.     I'm not talking about individuals. I'm            23   a lunch break after I get done with these questions.
      24   talking about opportunities for black people to be           24             THE DEPONENT: Okay.
      25   able to have the opportunity to decide whether or not        25             MR. MOORE: In fact, if you want to
                                                              Page 95                                                         Page 97
       1   they want to run for office and that opportunity no           1   take -- how long is it going to take for you to get
       2   longer exists. I'm not talking about individuals and          2   that up, Ms. Rabon? Ms. Rabon, if he clicks to
       3   I think I made that very clear from the onset.                3   refresh, should it be available to him? Is it
       4             I have never -- we have never -- we                 4   available to you, Ms. Mann?
       5   have not considered incumbents and their positions.           5             THE COURT REPORTER: No.
       6   We've looked at opportunities for representation.             6             MR. INGRAM: Let me check. What exhibit
       7        Q.     Do you know how many African American             7   number is it?
       8   representatives currently serve in the House of               8             MR. MOORE: Twenty-three. What do you
       9   Representatives after the 2020 election?                      9   mean it's 6 in this? I know but I marked it Exhibit
      10        A.     Yes, I know.                                     10   Number 23. So are you telling me now it has to be
      11        Q.     How many?                                        11   Exhibit Number 6? Exhibit Number 6 then.
      12        A.     Currently we have twenty-four which              12             MR. INGRAM: Yes, I have it pulled up.
      13   will be reduced by three.                                    13             (Whereupon, Defendant's
      14        Q.     Twenty-four or thirty-four?                      14             Exhibit 6 was marked for
      15        A.     We don't have thirty-four.                       15             identification.)
      16        Q.     I'm asking you.                                  16       Q.     Have you seen this document before, Ms.
      17        A.     No.                                              17   Murphy?
      18        Q.     You believe that there are twenty-four           18       A.     I'm sure I have.
      19   African American representatives in the House. Is that       19       Q.     And so are these minutes of a
      20   right?                                                       20   reapportionment committee meeting?
      21        A.     At least. At least that, yes.                    21       A.     Yes.
      22        Q.     When you say at least that, what do you          22       Q.     Okay. And it lists a number of people in
      23   mean?                                                        23   attendance including you. Is that right?
      24        A.     Well, I am saying I'm not looking at a           24       A.     Yes.
      25   document right now but I know that looking at those          25       Q.     Okay. It lists Attorney Charles Boykin.

                                                                                                              25 (Pages 94 - 97)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                 Date Filed 03/21/22               Entry Number 194-2                Page 27 of 108
                                                  Brenda Murphy                                               February 4, 2022
                                 The South Carolina State Conference vs. McMaste,
                                                          Page 98                                                           Page 100
       1   Who is he?                                          1         Academy. I think you have a list -- I think you do
       2       A.     He is a member of our executive          2         have that -- where we attended BVAPs training where it
       3   committee.                                          3         introduced us to mapping, how to do mapping. Some of
       4       Q.     Okay. When you say "ours", you mean your 4         our members were very, very interested in doing that,
       5   branch -- I mean your state conference's executive  5         learning how to do that. And it culminated eventually
       6   committee?                                          6         with this group being formed.
       7       A.     Yes. Yes.                                7                   Now as we look at the populations and
       8       Q.     And who is Amelia Glisson?               8         the BVAP and as we worked, you know, we have these
       9       A.     She is the administrative assistant.     9         individuals that are partners and we work to --
      10       Q.     Who is Jennifer Tague?                  10         towards as we work with the different learning how to
      11       A.     She's from AFL-CIO.                     11         create maps, how to make sure we're looking at that
      12       Q.     Who is John Ruoff?                      12         percentage there that was mentioned by Attorney
      13       A.     Ruoff. Dr. John Ruoff is our            13         Cepeda.
      14   consultant.                                        14             Q.     Cepeda?
      15       Q.     Consultant for whom?                    15             A.     Yeah, Cepeda.
      16       A.     For the state conference local          16             Q.     And so he used the term BVAP. That's his
      17   redistricting.                                     17         term. What does it mean to you?
      18       Q.     Okay. Is he also someone who consults   18             A.     Black voters at the age -- at the age
      19   with the League of Women Voters if you know?       19         to be able to vote.
      20       A.     Yes.                                    20             Q.     Okay. All right. So I'm going to ask
      21       Q.     Okay. And there are a number of         21         you to flip over to the second page. So scroll down,
      22   attorneys listed on here, correct?                 22         Ms. Rabon. Okay. You see at the bottom or close to the
      23       A.     Yes. Let me see. Yes, there are         23         bottom that has another statement from Attorney Cepeda
      24   several. Yes.                                      24         and I'll read it.
      25       Q.     Okay. And included in that list is Ms.  25                   It says we don't see an obvious
                                                          Page 99                                                           Page 101
       1   Aden who is in this call or in this deposition and Mr.    1   representational gap in the State House. Based on the
       2   Cusick, correct?                                          2   26.6 percent of black voters, we should have 33 black
       3       A.     Yes.                                           3   representatives to be proportional and it has 34. Do
       4       Q.     Okay. And there's also a person named          4   you see that?
       5   Adriel Cepeda. Who is Adriel Cepeda?                      5        A.     I see that.
       6       A.     He was with ACLU.                              6        Q.     Okay. And so Mr. Cepeda is saying, is he
       7       Q.     Okay. And so Mr. Cepeda states that            7   not, that after the 2010 election cycle there are 34
       8   their desire is to ensure SC maps that come out of the    8   African American representatives in the State House?
       9   cycle are as fair and equitable as possible. SC black     9        A.     I'm going to say that I -- yeah, I
      10   voter age population, BVAP, is 26.6 percent voting       10   don't know if it's a typo. I can't say but I do know
      11   population and desire for representation to be           11   that the number is not 34.
      12   proportional. Do you see that?                           12        Q.     Well, he also --
      13       A.     Yes.                                          13        A.     Unless he looked at -- unless he was
      14       Q.     Okay. And that was of course before the       14   looking at the House and the Senate. That may have
      15   census data was released, correct?                       15   been, you know. I'm not sure.
      16       A.     Yes.                                          16        Q.     But it says based on -- we don't see an
      17       Q.     Okay. All right.                              17   obvious representational gap in the State House, right?
      18       A.     And may I make a statement?                   18   He says that?
      19       Q.     Yes, ma'am.                                   19        A.     He says that but I would like to
      20       A.     As I mentioned, we started as a               20   comment this, to make a statement regarding whether
      21   group even before this coalition was formed. We          21   it's there -- whatever that reference is, that 34 is a
      22   started with our leadership group in terms of training   22   combination of the House and representatives. What
      23   and I think I mentioned this earlier regarding what      23   we're looking now at our representation in the House
      24   the -- what redistricting was all about, how -- even     24   and that opportunity has decreased.
      25   to the point of one -- South Carolina Proud (sic)        25              Also I can't -- you know, in terms

                                                                                                           26 (Pages 98 - 101)
                                                 Veritext Legal Solutions
     800.743.DEPO (3376)                     calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                   Date Filed 03/21/22               Entry Number 194-2                Page 28 of 108
                                                    Brenda Murphy                                              February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                           Page 102                                                          Page 104
       1   of -- yes, when we look at population, the current          1        A.    You are saying that there are 34
       2   maps, when we look at the population and the number         2   African American representatives in the House. Is
       3   that we will have the opportunity in terms of a black       3   that what you're saying?
       4   individual being -- running for an office or elected        4        Q.    Well, I'm asking a question. Mr. Cepeda
       5   for an office, then that number has decreased.              5   says that based on the 26 percent of black voters, we
       6             MR. MOORE: Okay. So we're going to                6   should have 33 black representatives which is a
       7   pause and have a lunch break here. So Ms. Mann, how         7   representative in the House and it has 34. His math
       8   long -- how much time has elapsed on our clock? You         8   agrees with mine. Do you have any reason to dispute
       9   can tell me when we come back from the lunch break.         9   that?
      10   Is that right?                                             10             MR. INGRAM: Objection. Argumentative
      11             THE COURT REPORTER: Yes.                         11   and asked and answered.
      12             MR. MOORE: Okay. So how long do y'all            12        Q.    Ms. Murphy, you may answer.
      13   need for lunch?                                            13        A.    My answer doesn't change from the
      14             THE DEPONENT: I'm good. You tell me              14   previous answer that I gave.
      15   what you need.                                             15        Q.    Okay. Well, would you agree with me that
      16             MR. MOORE: Do y'all want to take a               16   if there are 34 -- if there were 34 African American
      17   thirty minute lunch break?                                 17   representatives in the House of Representatives, then
      18             MR. INGRAM: That works.                          18   that would be a greater proportional number than the
      19             MR. MOORE: Okay. I certainly don't               19   26.8 figure that is referenced? Would you agree with
      20   think we need any longer than that, right?                 20   that, Ms. Murphy? And that's a yes or no.
      21             THE DEPONENT: Okay. No.                          21        A.    Thirty-four is greater than 26, 28.
      22             MR. MOORE: Okay. So we will reconvene            22        Q.    Okay. And it's pretty clear, is it not,
      23   then at 1:15.                                              23   if you read the next line that he's only talking -- in
      24             THE DEPONENT: Okay. Thank you.                   24   subparagraph one in your notes, he's only talking about
      25             MR. MOORE: Thank you.                            25   representatives in the House because he then goes on to
                                                           Page 103                                                          Page 105
       1             (Lunch recess.)                                   1   say the Senate just needs one more seat to be held by a
       2       Q.     (BY MR. MOORE:) So Ms. Murphy, during            2   black candidate to be proportional, correct? He breaks
       3   the lunch break, did you consult with either Mr. Ingram     3   it out in terms of House and Senate, does he not?
       4   or anybody else who is your counsel?                        4       A.      From what I'm reading, yes.
       5       A.     No.                                              5       Q.      Okay. And you told me earlier that you
       6       Q.     Did you have any discussions with them           6   studied the census figures. Is that right?
       7   about the substance of this testimony?                      7       A.      Yes, I did.
       8       A.     No.                                              8       Q.      Okay. And so you are aware that the
       9       Q.     Okay. All right. So I'm going to go              9   percentage of African Americans in the 2020 census, the
      10   back to that document. Thank you. And while we do, I'm     10   percentage of African Americans with respect to --
      11   assuming, Ms. Murphy, that you know Mr. Cepeda, correct?   11   African Americans over the age to vote has decreased
      12       A.     Yes, by virtue of being a part of this          12   rather than increased since the 2020 census, correct?
      13   coalition. He was for a while and then he was              13       A.      Yes.
      14   replaced by someone else in the organization.              14       Q.      Okay. And the 2020 census indicates that
      15       Q.     But you don't have any reason to believe        15   there are a fewer percentage of African Americans in
      16   that his counts would be inaccurate, do you?               16   South Carolina than were in the 2010 census. Correct or
      17       A.     You know, as I said before, the                 17   incorrect?
      18   numbers -- I don't know if he was considering all of       18       A.      Yes. That's correct.
      19   the -- you know, the Senate as well as the House.          19       Q.      Okay. And so if currently there are --
      20       Q.     Okay. Well, are you absolutely certain          20   if based on the -- well, I'm just going to move on. I'm
      21   that your count is correct because I will tell you that    21   going to move on. I think I've made my point. Let me
      22   Mr. Parente's count mirrors Mr. Cepeda's count with        22   ask you this question. Did you record a video?
      23   respect to the number of African Americans who were in     23       A.      I recorded -- yes, I have.
      24   the House after 2020 election. So do you have any          24       Q.      All right.
      25   reason to doubt Mr. Cepeda's figures?                      25       A.      It's not regarding redistricting per

                                                                                                           27 (Pages 102 - 105)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                           Date Filed 03/21/22              Entry Number 194-2              Page 29 of 108
                                                         Brenda Murphy                                               February 4, 2022
                                        The South Carolina State Conference vs. McMaste,
                                                                  Page 106                                                       Page 108
       1 se, no.                                                              1   members and others interested regarding the
       2     Q.     Did you record a video saying Behind the                  2   redistricting process. There is nothing in there
       3 Lines, Repercussions of Redistricting, Commentary and                3   derogatory about what has -- any outcome or anything
       4 Perspectives by Brenda Murphy, the NAACP dated December              4   else. It was just basically related to preparing the
       5 6, 2021? Did you record such a video?                                5   community to understand what redistricting is all
       6     A.     I would need to see what video you're                     6   about and how we did that.
       7 talking about.                                                       7        Q.    That wasn't in response to a question but
       8           (Whereupon, Defendant's                                    8   now are you familiar with the video that I'm talking
       9           Exhibit 7 was marked for                                   9   about, Ms. Murphy?
      10           identification.)                                          10        A.    Yes, I am.
      11     Q.     Put up Number 8 and show her -- what is                  11        Q.    Okay. All right. And that's you on the
      12 my Number 8. I guess this would be Number 7. Is that                12   video. Is that right?
      13 right? And we circulated the link. Are you going to                 13        A.    Yes, it is.
      14 need me to play this video in order for you to tell me              14        Q.    Okay. All right. And do you disagree
      15 if you recorded a video dated December 6th --                       15   with me you said that there was gerrymandering in the
      16     A.     I would need to see it, especially if                    16   process? Do you disagree with me that you used those
      17 it's regarding redistricting. Yes, I would.                         17   words?
      18     Q.     Okay. Do you see that video up on the                    18        A.    I said that here today.
      19 screen?                                                             19        Q.    So you say that there's gerrymandering.
      20     A.     We're trying to find it.                                 20   Is that correct? In the House districts?
      21     Q.     Is it on the screen now? I believe it's                  21        A.    Yes.
      22 on the screen. Is that you, Ms. Murphy?                             22        Q.    Okay. Do you mean political
      23     A.     Yes.                                                     23   gerrymandering or racial gerrymandering, Ms. Murphy?
      24     Q.     Okay. Commentary and Perspectives,                       24        A.    Racial gerrymandering.
      25 Behind the Lines, Repercussions of Redistricting. Did               25        Q.    You had to think for a moment. What does
                                                                  Page 107                                                       Page 109
       1   you -- pause the video for a minute. Okay. So Ms.                  1   the term --
       2   Murphy, you see here that it says Behind the Lines,                2       A.     No. I paused -- I paused to give my --
       3   Repercussions of Redistricting, Commentary and                     3   to -- I didn't stop to think. I stopped before I
       4   Perspective by Brenda Murphy, NAACP, and underneath it             4   answered because I needed to take a breath before I
       5   shows views, December 6, 2021. Is that right?                      5   answered your question because I wanted to answer in a
       6       A.     I think that's what it says but I think                 6   manner that is respective because I have said to you
       7   I need to hear the contents because that's the first               7   repeatedly over and over and over again that, yes, I
       8   I've seen it labeled that way.                                     8   do believe gerrymandering occurred. I have defined
       9            MR. MOORE: Okay. How long is it,                          9   splitting and gerrymandering so I think I made that
      10   Mr. Parente?                                                      10   clear.
      11       Q.     I'm not going to play the entire nineteen              11       Q.     Okay. Well, here's my question to you,
      12   minutes. I'm going to play a minute or two and then I'm           12   Ms. Murphy. What does the term racial gerrymandering
      13   going to ask you some questions.                                  13   mean to you?
      14            (Video playing.)                                         14       A.     With populations -- well, I'll tell
      15       A.     That is the not same video, sir.                       15   you. In terms of how neighborhoods have changed, in
      16            (Video playing.)                                         16   terms of the population ages and how lines are drawn
      17       A.     Sir?                                                   17   and -- I'm not going to say intentionally or
      18            MR. MOORE: Pause it. Pause it.                           18   unintentionally.
      19            (Video stopped.)                                         19             As I said before, it's what happens,
      20       A.     Unless you need to play that entire                    20   the end result, the outcome in terms of how those
      21   video --                                                          21   lines have been drawn. Maybe now we have communities
      22       Q.     I don't.                                               22   drawn in such a way that we are packing black people,
      23       A.     Okay. What it said on that video, it's                 23   too many together in a community which dilutes the
      24   basically what I've said throughout this meeting, that            24   potential for individuals to be a part of our
      25   we saw the importance of providing education to our               25   political process here in the state of South Carolina.

                                                                                                                28 (Pages 106 - 109)
                                                           Veritext Legal Solutions
     800.743.DEPO (3376)                               calendar-carolinas@veritext.com                             www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2                Page 30 of 108
                                                    Brenda Murphy                                                February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                            Page 110                                                          Page 112
       1        Q.     Do you believe that the NAACP's proposed         1   not occur. So maybe I do need to hear my own words.
       2   maps engage in racial gerrymandering, Ms. Murphy?            2       Q.     Well, we might do that at the end because
       3        A.     No, I do not.                                    3   I'm going to shift for a moment and I'll give you an
       4        Q.     And why not?                                     4   opportunity to listen to this entire video but here's my
       5        A.     Because I think they were drawn in such          5   question to you. Do you believe that communities were
       6   a way considering all of the factors that needed to be       6   split?
       7   considered.                                                  7       A.     In my opinion or the opinion of the
       8        Q.     Okay. So I want you to tell me why you           8   group?
       9   believe that the House maps were not drawn in a manner       9       Q.     I'm asking for you --
      10   based on considering all the facts that needed to be        10       A.     No, I'm not speaking on behalf of
      11   considered?                                                 11   myself here today. I'm speaking on behalf of the
      12        A.     I think I just answered that.                   12   coalition so I will say to you the coalition in terms
      13        Q.     To use your words. To use your words.           13   of our meetings, yes.
      14        A.     I just answered that.                           14       Q.     But you're being deposed individually,
      15        Q.     And I want you to answer it again. Why          15   okay. And so my question to you is do you believe that
      16   do you believe that the House maps failed to consider       16   communities were split?
      17   all of the factors that needed to be considered, to use     17             MR. INGRAM: Objection. Asked and
      18   your words?                                                 18   answered.
      19        A.     I'm not able to answer that because I           19             MR. MOORE: Asked. Not answered.
      20   don't know what was in the minds of that committee          20       Q.     Please answer the question, Ms. Murphy.
      21   when they drew the lines.                                   21   Do you believe communities were split?
      22        Q.     But you understand that racial                  22       A.     I am answering this as a member of the
      23   gerrymandering has a purposeful connotation, correct?       23   coalition, not as Brenda C. Murphy because I was asked
      24        A.     Yes, I do.                                      24   to be -- I'm here representing the South Carolina
      25        Q.     Okay. All right. So as we sit here              25   State Conference.
                                                            Page 111                                                          Page 113
       1   today and we are in February, your first lawsuit was         1       Q.     Ma'am, you're here because I issued --
       2   brought on October the 12th. Your amended complaint was      2   your lawyers agreed to produce you and we sent a notice.
       3   brought a couple of days before Christmas. I believe it      3   That's why you're here. And so my question -- and if
       4   was brought on December 23rd.                                4   you're not going to answer my question, just tell me
       5             As we sit here today, I would like you to          5   you're not going to answer it. Do you believe that
       6   tell me as we sit here today what facts or evidence you      6   communities were split?
       7   have to support the allegation that the House engaged in     7            MR. INGRAM: Objection. Asked and
       8   racial gerrymandering to the detriment of minority           8   answered and badgering the witness.
       9   votes.                                                       9       Q.     Are you going to answer my question, Ms.
      10             MR. INGRAM: Objection. President Murphy           10   Murphy?
      11   is not a lawyer. She's merely answering from her own        11       A.     I've answered your question.
      12   perspective.                                                12       Q.     Do you believe that communities were
      13             MR. MOORE: And I'm asking from her own            13   split?
      14   perspective, Mr. Ingram, so I'm expecting an answer.        14       A.     I've answered your first question, sir.
      15        A.    I am not an attorney but I do know that          15   My answers are based on the coalition.
      16   when you look at the maps in terms of how they are          16       Q.     Okay. And so if your answers are based
      17   presently drawn, the mapping, that there is packing in      17   on the coalition, which is a little inconsistent with
      18   some of the areas in terms of the community.                18   what Mr. Ingram said at the beginning of this
      19        Q.    You also said in this video presentation         19   deposition, but if your answers are on behalf of the
      20   that there was splitting of communities. Is that right?     20   coalition, can you explain exactly which communities the
      21        A.    You know, I think -- I think we do need          21   coalition identified prior to the filing of this lawsuit
      22   to listen at the whole -- you need to share that with       22   as communities that were split?
      23   me because I think what I talked about is we needed to      23       A.     I'm not -- I'm not prepared to answer
      24   be aware and, you know, we watch for -- you know,           24   that question today.
      25   gerrymandering could be an issue. Splitting should          25       Q.     So you can't answer that question. Is

                                                                                                            29 (Pages 110 - 113)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                                 www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2                Page 31 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                            Page 114                                                          Page 116
       1   that right, Ms. Murphy?                                      1       A.     That they were not transparent?
       2       A.     How many communities do we have listed?           2       Q.     Yes. Do you recall saying that you
       3       Q.     I'm not here to answer questions.                 3   believe that the ad hoc committee was not transparent in
       4       A.     Okay. That's why I'm not going to                 4   how they defined communities of interest?
       5   answer that question today.                                  5       A.     When did I say -- oh, you mean -- you
       6       Q.     Okay. When will you be able to answer             6   mean ad hoc committee for the House.
       7   that question, Ms. Murphy?                                   7       Q.     Do you recall saying that in the video
       8             MR. INGRAM: Objection. We've already               8   that the ad hoc committee was not transparent in how
       9   had a discussion about the challenged districts.             9   they defined communities of interest? Do you recall
      10   Overlap of the subject matter so asked and answered         10   saying that? Yes or no.
      11   objection applies here as well.                             11       A.     I recall -- and I probably said this
      12             MR. MOORE: You are giving speaking                12   during the hearing as well -- that we needed more
      13   objections to give hints to the witness on how to           13   transparency in terms of how communities were defined.
      14   respond, Mr. Ingram. Please stop it.                        14       Q.     How do you define communities of
      15       Q.     Ms. Murphy, can you identify any specific        15   interest?
      16   community that you or the coalition contends was            16       A.     Well, that could be several ways.
      17   inappropriately split today?                                17       Q.     Okay. And different people could define
      18       A.     Of course I can. Richland County.                18   communities of interest in different ways. Is that
      19       Q.     Richland County is a community, is that          19   right? Do you agree or disagree with that?
      20   right, to you?                                              20       A.     I agree with your definition.
      21       A.     There were areas in Richland County              21       Q.     Okay. I don't believe that was a
      22   that were split.                                            22   definition. My question was do you agree or disagree
      23       Q.     Okay. Can you explain all of the                 23   with me that different people can define communities of
      24   communities that you believe were split and how you         24   interest different ways?
      25   believe they were split?                                    25       A.     Yeah, that's true.
                                                            Page 115                                                          Page 117
       1       A.      I think that's an unfair question and I          1        Q.    Okay. And do you recall saying that the
       2   will not answer that because you are asking me to            2   ad hoc committee was not following the law?
       3   respond to information where there is quite a few            3        A.    No. When I spoke, I always said that
       4   districts that we're talking about that have already         4   the ad hoc committee, we ask that they follow the
       5   been identified. I have no access to my notes, no            5   Constitution and comply with their criteria in terms
       6   access to any written material, and I'm not going to         6   of defining districts.
       7   respond off the top of my head.                              7             MR. MOORE: You know, I hate to do this
       8       Q.      How would you be able to respond to that         8   but I think that we need -- I think she's correct that
       9   question? What would it take you to be able to respond       9   we need to listen to this video so we're going to
      10   to that question, Ms. Murphy?                               10   listen and then I'm going to pause and ask some
      11       A.      For you to give me -- you want to show          11   questions as we go along.
      12   the districts that were identified?                         12             (Video playing.)
      13       Q.      I'm going to go over a number of                13             MR. MOORE: Can you pause it for a
      14   districts, Ms. Murphy. I'm going to do that. Yes,           14   moment, Ms. Rabon?
      15   ma'am, I am. You told me a few minutes ago that you         15             (Video stopped.)
      16   weren't prepared to do it today. So what would it take      16        Q.    So you said there was gerrymandering.
      17   to allow you to be prepared to identify all of the          17   Okay. Again what evidence did you have to support that
      18   communities that you believe were split?                    18   when you went on to make this video, Ms. Murphy?
      19       A.      Review my documents.                            19        A.    Do you know in what context I said
      20       Q.      What documents are you talking about?           20   there was gerrymandering?
      21       A.      I'm talking about the testimony that            21        Q.    No. In what context did you say there
      22   was given.                                                  22   was gerrymandering?
      23       Q.      Okay. I believe -- do you agree that you        23        A.    I did not -- I did not reference any
      24   said that the ad hoc committee was not transparent in       24   House or House maps in terms of gerrymandering during
      25   how they defined communities of interest?                   25   that -- when I did that presentation or that

                                                                                                           30 (Pages 114 - 117)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22                Entry Number 194-2                 Page 32 of 108
                                                    Brenda Murphy                                                  February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                             Page 118                                                            Page 120
       1   interview.                                                    1   judge panel in that case, ruled --
       2       Q.     Okay. Well, you --                                 2       A.     I don't recall, sir.
       3       A.     Gerrymandering is based on my general              3       Q.     And are you -- let me finish. Are you
       4   knowledge. Gerrymandering does occur. It has                  4   aware that the Court ruled against those challenges?
       5   occurred in our black community. We know that it has.         5       A.     I don't recall, sir.
       6   And, you know, to even ask that question has                  6       Q.     Okay. Are you also aware that in the
       7   gerrymandering occurred, yes, it has. If you want a           7   2010 cycle when pre-clearance was still an issue that
       8   yes or no question, yes, it has.                              8   the justice department pre-cleared the maps? Are you
       9       Q.     Okay. My question is I believe you told            9   aware of that?
      10   him in response to a question about the House districts      10       A.     We have a different situation now.
      11   that had been criticized as gerrymandering that they         11       Q.     That wasn't my question, Ms. Murphy. I
      12   were gerrymandering. Is that what you were saying?           12   would really ask -- you can explain your answer, okay,
      13       A.     No, that was not what I was saying.               13   but an answer is yes or no and then an explanation. And
      14       Q.     And then I believe -- let's keep going.           14   so I'm going to ask you to answer my question and then
      15             (Video playing.)                                   15   explain your answer. Are you aware that in 2010 the
      16             MR. MOORE: Pause it for a moment.                  16   justice department pre-cleared the House district? Yes
      17             (Video stopped.)                                   17   or no.
      18       Q.     I believe that you told him a minute or           18       A.     Yes.
      19   two ago that you believe that communities had been           19       Q.     Okay. And are you aware that in 2010 the
      20   split. What communities were you referring to at that        20   challenged districts were upheld by a federal court?
      21   time?                                                        21   Are you aware of that? Yes or no.
      22       A.     I was not referring to -- I did not               22       A.     May I answer the question and then make
      23   respond House or Senate.                                     23   a statement?
      24       Q.     I know, ma'am. My question is when you            24       Q.     You may.
      25   said that you believe that communities were split, what      25       A.     Yes, in 2010, that is true but we are
                                                             Page 119                                                            Page 121
       1   communities were you referring to when you made that          1   dealing with a different situation now. We are
       2   statement to Mr. Bailey?                                      2   dealing with the census that has shifted significantly
       3       A.      It was an overall statement.                      3   in certain places.
       4       Q.      You didn't have any specific community in         4       Q.     And when you say that we're dealing with
       5   mind?                                                         5   a census that has shifted, we have areas of the state
       6       A.      He didn't ask me for a community.                 6   which have lost population, correct?
       7       Q.      Okay. My question to you is did you have          7       A.     I wouldn't say that they were the same.
       8   a specific community in mind?                                 8       Q.     I didn't say they were the same, ma'am.
       9       A.      Let me just say that gerrymandering has           9   I will restate my question. We have areas of the state
      10   been an issue -- it was an issue in the 2010                 10   that have lost population, correct?
      11   redistricting as well. So this is not a new idea or a        11       A.     Correct.
      12   new concept.                                                 12       Q.     Okay. And we have areas of the state
      13             So when we talk about gerrymandering               13   that have gained population, correct?
      14   and when we were talking about gerrymandering in this        14       A.     Yes.
      15   conversation, it was general -- a general statement          15       Q.     Okay. And those losses and gains dictate
      16   that, yes, it has occurred in this state. It had no          16   to a substantial extent where districts need to be drawn
      17   relationship to the outcome in terms of what we are          17   or re-drawn, correct?
      18   dealing with today.                                          18       A.     Yes.
      19       Q.      Okay. So I mean you agree with me that           19       Q.     And the African American population of
      20   there were allegations made of gerrymandering in 2010        20   South Carolina according to the census is less -- the
      21   and 2010 cycle, correct?                                     21   black voting population is less in the 2010 census than
      22       A.      In the 2010 cycle? There were                    22   it was in the 2010 (sic) census. Correct or incorrect?
      23   problems. There were issues.                                 23       A.     May I answer the question and make a
      24       Q.      Okay. And you recall that portions of            24   statement?
      25   that lawsuit were dismissed and the Court, the three         25       Q.     You may. Yes, ma'am, you may.

                                                                                                              31 (Pages 118 - 121)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                  www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                      Date Filed 03/21/22                Entry Number 194-2                Page 33 of 108
                                                     Brenda Murphy                                                 February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                               Page 122                                                          Page 124
       1       A.     Yes, it has but there are several                    1             MR. MOORE: Asked again. Not answered.
       2   variables that we need to be aware of.                          2       Q.      What's your response, Ms. Murphy? Are
       3       Q.     And what are those variables, ma'am?                 3   you going to identify those four districts for me?
       4       A.     In terms of the census, is it truly                  4       A.      What I said during this interview was
       5   reflective of the numbers of the black population and           5   basically there was the potential to lose
       6   maybe it's not. And I'm making a statement here that            6   representation of four -- of four potential
       7   are we saying -- or a question. Are we saying that              7   opportunities to have representation.
       8   because of the perceived decrease in the black                  8       Q.      And what are those four opportunities?
       9   population, we should decrease the number of African            9       A.      Well, you know --
      10   American or black representatives in our House or              10       Q.      Ma'am?
      11   should we do everything we can to maintain at least            11       A.      When you go through those counties,
      12   competitive districts.                                         12   those areas that have been defined, I will discuss
      13       Q.     Is that a statement?                                13   them at that time if it's okay.
      14       A.     That's a statement. I'm not asking for              14       Q.      So you're not going to answer my question
      15   an answer.                                                     15   as I sit here and ask you what four areas? You're not
      16       Q.     Okay. I believe that -- do you recall               16   going to answer that?
      17   using the phrase -- and we can listen to this whole            17             MR. INGRAM: Asked and answered.
      18   recording if we need to. Do you recall using the phrase        18       Q.      Is that right, Ms. Murphy? Is that
      19   we need opportunity districts?                                 19   right? You're not going to identify them for me now?
      20       A.     I say that often. I may have.                       20       A.      I will identify the counties if you
      21       Q.     Okay. What's an opportunity district?               21   want me to. Orangeberg County, Richland County, and
      22       A.     The opportunity for at least candidates             22   Florence County. I think those are the four, four
      23   of our race, black people at least have the                    23   areas -- three areas.
      24   opportunity to be considered as a candidate if they so         24       Q.      I think that's three. I'll move on. Ms.
      25   desire and have the potential of winning. That does            25   Murphy, you mentioned the coalition and I'm not going
                                                               Page 123                                                          Page 125
       1   not mean that they have to have a fifty plus                    1   to -- because I'm not going to take the time to show you
       2   percentage to win but at least a reasonable                     2   each and every one of these letters but you're aware
       3   opportunity to win.                                             3   that this coalition that you referred to, the redistrict
       4       Q.     And I believe -- correct me if I'm                   4   sent letters to the ad hoc committee. Is that right?
       5   wrong -- you said at some point in this video that there        5        A.     Yes.
       6   were at least four districts where you might lose               6        Q.     Okay. I believe that there was a
       7   representation. Do you recall saying that?                      7   letter -- give you the dates. There's one that's
       8       A.     Yeah, I did.                                         8   undated. There's one that's dated August 30, 2021. One
       9       Q.     Okay. What are those four districts?                 9   that's dated September 27, 2021. One that's dated
      10       A.     I didn't say district. I said there                 10   October 8, 2021. One that's dated November 15, 2021.
      11   are four -- that we have the potential of losing four          11   One that's dated November 19, 2021 and one that's dated
      12   representatives in the current districts that we have.         12   November 30th. Do you recall those letters?
      13       Q.     Who are those four representatives and in           13        A.     Yes, I remember -- I recall the letters
      14   which districts?                                               14   being forwarded.
      15       A.     I'm not going to give names of that                 15        Q.     Okay. And you were a signatory on those.
      16   because I don't deal with names. I'm dealing with              16   Is that correct?
      17   opportunities for individuals to be candidates.                17        A.     I've explained why I was earlier in
      18            (Simultaneous crosstalk.)                             18   testimony.
      19       A.     -- those opportunities.                             19        Q.     Okay. Well, my question is were you? Do
      20       Q.     I believe that you told me that there was           20   you agree with me you were a signatory on each of those
      21   four districts where you might lose representation.            21   letters?
      22   Okay. What four districts are you talking about?               22        A.     Yes.
      23       A.     No, no.                                             23        Q.     Okay. Did you write any of those
      24            MR. INGRAM: Objection. Asked and                      24   letters?
      25   answered.                                                      25              MR. INGRAM: Objection. Asked and

                                                                                                              32 (Pages 122 - 125)
                                                     Veritext Legal Solutions
     800.743.DEPO (3376)                         calendar-carolinas@veritext.com                                 www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22                Entry Number 194-2                Page 34 of 108
                                                     Brenda Murphy                                                 February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                              Page 126                                                           Page 128
       1   answered.                                                      1       Q.    Okay. Have you reviewed those
       2        Q.    Please answer my question, Ms. Murphy.              2   guidelines?
       3        A.    As I explained earlier, the letters                 3       A.    Yes, I have. I wouldn't say that I
       4   were drafted by the coalition. They were agreed upon.          4   reviewed them today or this past week, no.
       5   They were edited prior to my signature being placed on         5       Q.    Okay. Did you review those guidelines
       6   it.                                                            6   before signing on to any of these letters if you know?
       7        Q.    Were they drafted by lawyers for the                7       A.    Yes.
       8   coalition, Ms. Murphy?                                         8       Q.    And these letters talk about complying
       9        A.    They were drafted -- well, I think in               9   with section -- strike that. I'm just not going to ask
      10   terms of the letters being -- as I mentioned earlier,         10   that question. Your letters raise the issue of
      11   the letters were composed by the coalition. We put            11   transparency. Is that right?
      12   our ideas and thoughts together.                              12       A.    We always encourage transparency.
      13             The actual -- I stated to you earlier               13       Q.    You are aware that there were at least
      14   our office is closed due to COVID. I did not have the         14   twelve public hearings across the state. Is that right?
      15   resources to do those letters so they were done by I          15       A.    I am aware but I also need to mention
      16   think LDF in terms of the actual letter being                 16   that those hearings were held at times that were not
      17   forwarded to the committee, the committee chair,              17   convenient for many and there were only two actually
      18   committee members.                                            18   scheduled virtuals which was near the end. When you
      19        Q.    Well, and each of the letters, I guess a           19   look at that compared to what the Senate did, it was
      20   signature from one or more lawyers from the LDF is the        20   not as widespread in terms of the community being able
      21   first signature. Were they primarily drafted by the           21   to respond.
      22   LDF? Just a yes or no and you can explain if you would        22       Q.    Well --
      23   like.                                                         23       A.    Many more virtual opportunities for
      24             MR. INGRAM: Objection. Asked and                    24   Senate hearings than there was for the House.
      25   answered.                                                     25       Q.    Okay. I don't think that's in response
                                                              Page 127                                                           Page 129
       1        Q.    Can you answer my question, Ms. Murphy?             1   at all to my question and you keep adding as we go
       2        A.    Do you want to know if they typed the               2   along. You didn't answer the question yes or no.
       3   letters? Yes, they typed the letters.                          3   Here's my question. Are you aware that that's more
       4        Q.    All right. So are you --                            4   hearings than the House has held in other cycles? Are
       5        A.    And they were again -- and may I add                5   you aware of that? Yes or no.
       6   and they were again reviewed by the coalition to make          6       A.     What's your question again?
       7   sure that every point that we wanted included was              7       Q.     Are you aware that this is more hearings
       8   included.                                                      8   than the House has held previously? Are you aware of
       9        Q.    All right. So are you familiar with the             9   that? Yes or no.
      10   ad hoc committee's redistricting guidelines?                  10       A.     Ten years ago, I wasn't as involved.
      11        A.    You mean -- yes.                                   11       Q.     And are you aware that at least two of
      12        Q.    Okay.                                              12   the hearings included virtual testimony presentation --
      13        A.    Guidelines. In terms of compliance                 13   participation and allowed members of the public to
      14   with the Constitution, the one man, one vote,                 14   attend virtually for both of those hearings?
      15   communities of interest? Are you talking that                 15       A.     Yes.
      16   criteria?                                                     16       Q.     Yes or no.
      17        Q.    Ma'am, are you familiar that the ad                17       A.     I just stated that.
      18   hoc -- I mean you studied what the ad hoc redistricting       18       Q.     Okay. So have you taken the position
      19   committee put out on its website? Is that a yes or no?        19   that public input was not considered in the drafting of
      20        A.    Yes.                                               20   these maps?
      21        Q.    And are you familiar with the fact that            21       A.     I'm going to answer that public input,
      22   the ad hoc committee issued guidelines that they              22   yes, it was taken, but in terms of whether or not it
      23   intended to follow in performing their duty to comply         23   was enough, I'm going to say no.
      24   with the law? Are you familiar with that?                     24       Q.     Okay. And on what do you base that? On
      25        A.    Yeah, I'm familiar with that.                      25   what --

                                                                                                              33 (Pages 126 - 129)
                                                     Veritext Legal Solutions
     800.743.DEPO (3376)                         calendar-carolinas@veritext.com                                 www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2                Page 35 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                            Page 130                                                          Page 132
       1            (Simultaneous crosstalk.)                           1             MR. MOORE: What exhibit number is it on
       2       Q.     Let me finish, ma'am.                             2   the PDF list, 7 or 8?
       3       A.     Okay.                                             3             MR. PARENTE: Number 8.
       4       Q.     On what evidence do you base your                 4              (Whereupon, Defendant's
       5   position that public input was not appropriately             5              Exhibit 8 was marked for
       6   considered if that is in fact your position?                 6              identification.)
       7       A.     Oh, in terms of public input being                7             MR. MOORE: Is it not popping up? Can
       8   considered?                                                  8   you see it, Mr. Ingram?
       9       Q.     Yes.                                              9             MR. INGRAM: Yes.
      10       A.     If you look at the outcome of the maps.          10             MR. MOORE: You can see it?
      11   And that's from testimony given by not only the NAACP       11             MR. INGRAM: Correct.
      12   but others that were participated, that did                 12        Q.     Okay. All right. So on the first page,
      13   participate in the hearings.                                13   it says that you asked the committee to reconsider its
      14       Q.     Anything else that you have to add to            14   proposed boundary lines for House Districts 102, 103,
      15   that?                                                       15   and 111. Is that right?
      16       A.     Nothing else.                                    16        A.     Yes.
      17       Q.     One moment. In the letter dated November         17        Q.     Okay. None of those districts were among
      18   15, 2021, the letter that you signed onto, identified       18   the challenged districts. Is that right? If you know.
      19   certain districts that you asked the ad hoc committee to    19        A.     No. No. I can't -- I don't have my
      20   reconsider after the release of its plan, right?            20   list in here, sir, so I don't want to admit to any one
      21       A.     Sir, would you please not say that I             21   so -- do you have a listing of the districts that we
      22   asked. It was the coalition's overall agreement that        22   listed?
      23   those areas be identified.                                  23        Q.     Yes, ma'am. There's a complaint and it
      24       Q.     Okay. So your letter -- okay. You                24   was drafted by your lawyers and I'm going to go over it
      25   signed onto it, correct, ma'am?                             25   in minute. Do you know if those three districts are the
                                                            Page 131                                                          Page 133
       1        A.     I signed onto it with the input of the           1   in the challenged districts? As you sit here today, do
       2   coalition.                                                   2   you know? Yes or no.
       3        Q.     Okay. And so District 102, 103 and 111           3       A.     Berkeley County -- you said Charleston
       4   were listed first. Is that right? And they were in           4   County?
       5   Berkeley and Charleston Counties, correct?                   5       Q.     Those three districts are in Berkeley and
       6        A.     I can't remember. I don't have the               6   Charleston County. Do you know if you challenged any of
       7   letter in front of me. I didn't have the opportunity         7   the Berkeley or Charleston County districts in your
       8   to bring it up for review.                                   8   lawsuit, Ms. Murphy?
       9        Q.     It was provided to your counsel and it           9       A.     I know of challenges in those areas but
      10   was noted for your counsel several days ago that we         10   I'm not --
      11   intended to go over these with you. So I reject the         11       Q.     I'm going to move on. I'm going to move
      12   consideration that you didn't have the opportunity to       12   on and ask you about -- hold on for one moment.
      13   review it.                                                  13       A.     Okay.
      14        A.     Yes, sir.                                       14       Q.     I'm not going to spend a whole lot on
      15        Q.     But if you'd like to look at it, I'll be        15   discussing what she did or didn't do. So I'm going to
      16   glad to show it to you.                                     16   move on. Okay.
      17        A.     Go ahead. What is your question?                17       A.     Okay.
      18        Q.     Okay. So it's the November 15, 2021.            18       Q.     I'm going to move on because I could
      19        A.     Sir, what is your question?                     19   spend thirty minutes doing this and I don't know that at
      20        Q.     I'm going to put up the document and then       20   the end of the day that's the best use of our time.
      21   I'm going to ask you a question, okay, Ms. Murphy?          21       A.     Okay.
      22        A.     Okay.                                           22       Q.     So what do you believe are traditional
      23              MR. MOORE: It's loading. It should be            23   redistricting principles in South Carolina?
      24   in your folder, Mr. Ingram.                                 24       A.     What they should be?
      25              MR. INGRAM: One second.                          25       Q.     No. What are to you traditional

                                                                                                            34 (Pages 130 - 133)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                   Date Filed 03/21/22               Entry Number 194-2                Page 36 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                           Page 134                                                          Page 136
       1   redistricting principles? Are you familiar with that        1   greatest extent?
       2   phrase?                                                     2       A.     Yes.
       3        A.      No.                                            3       Q.     Okay. Would you agree with me that the
       4        Q.      Okay. All right.                               4   map that your organization proposed split way more
       5        A.      In terms of traditional redistricting          5   voting precincts than the map that was ultimately passed
       6   preferences? Is that --                                     6   by the House? Would you agree or disagree with that
       7        Q.      Principles. I used the words traditional       7   proposition?
       8   redistricting principles. Are you familiar with that        8       A.     I will agree that there may have been
       9   phrase?                                                     9   some more splitting but it provided the opportunity
      10        A.      No. No, I'm not.                              10   for more -- no. In terms of representation for
      11        Q.      Okay. Do you have any criticism of the        11   communities, there was an increase of opportunity to
      12   ad hoc committee's redistricting guidelines?               12   do that. So it was done in such a way to provide that
      13        A.      The only comment that I said regarding        13   opportunity to us as black folk, as black people.
      14   their guidelines was just in terms of being a little       14       Q.     Do you consider the city of Columbia to
      15   bit more in what I say transparent, just more -- being     15   be one entire community of interest?
      16   a little bit more clearer in terms of some of the          16       A.     We have to look -- I think what you
      17   criteria, especially as it related to how communities      17   have to look at -- when we say a community of
      18   were identified, communities of interest.                  18   interest, when you look at Columbia, South Carolina --
      19        Q.      Okay. And I believe we touched on this        19       Q.     As an entire city, yes, ma'am. Do you
      20   before but would you agree that a smaller geographic       20   consider that to be a community of interest, one entire
      21   area is more likely to consist of fewer communities of     21   community of interest? Yes or no.
      22   interest?                                                  22       A.     You're talking about the city of
      23        A.      A smaller area?                               23   Columbia or --
      24        Q.      Yes, ma'am.                                   24       Q.     Yes, ma'am. I'm talking about the city
      25        A.      Now we just -- you know, we have to           25   of Columbia.
                                                           Page 135                                                          Page 137
       1   consider not just communities of interest because when      1       A.     The city of Columbia, yes.
       2   we are dealing with criteria, we also have to be aware      2       Q.     Okay. Do you consider the city of
       3   of the population.                                          3   Anderson to be a community of interest?
       4        Q.    I wasn't asking -- I wasn't asking you           4       A.     Yes.
       5   about criteria at this point. I'm asking you about          5       Q.     But did your map split the city of
       6   communities of interest. Would you agree with me that       6   Columbia?
       7   it's important to keep communities of interest whole?       7       A.     There was some splitting.
       8   Is that right or wrong?                                     8       Q.     Okay. And on what basis do you claim
       9        A.    Yes, I agree with that. I do.                    9   that the city of Columbia is one solitary community of
      10        Q.    All right. And would you agree, for             10   interest? Please explain that to me.
      11   example, that the town of Ridge Spring which has a         11       A.     We have to consider population. We
      12   population of 579 might be a community of interest?        12   cannot consider totally in terms of -- you know, we
      13        A.    There may be -- Ridge Spring. There             13   have to follow the law. We can't just say Columbia
      14   may be other similar areas around that community. You      14   has 509 -- a population of 509 so we're going to let
      15   know, it may be a little bit more widespread. So           15   that be a district by itself when we know the number
      16   should a district be composed of -- just because it's      16   is greater in terms of what the law permits.
      17   579 individuals in Ridge Spring doesn't mean that that     17       Q.     Ma'am, I'm asking you a very simple
      18   community could be larger than that when you look at       18   question and I would appreciate a simple answer. On
      19   community of interest.                                     19   what specific facts do you rely on to support your
      20        Q.    Okay. Well, but you would agree with me         20   position that the city of Columbia is one community of
      21   that you should take pains not to split communities of     21   interest? And if you want to tell me that you no longer
      22   interest. Is that right?                                   22   take that position, fine, tell me that, but if you're
      23        A.    Yes.                                            23   going to take that position, I want to know what
      24        Q.    Okay. And you would agree with me that          24   specific facts support your assertion that the city of
      25   you shouldn't split voting precincts, right, to the        25   Columbia is one entire community of interest.

                                                                                                           35 (Pages 134 - 137)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22               Entry Number 194-2                Page 37 of 108
                                                     Brenda Murphy                                                February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                             Page 138                                                          Page 140
       1        A.    I need to ask you a question before I              1   NAACP or its local branches receive on redistricting if
       2   answer that. Do you live in Columbia?                         2   you know?
       3        Q.    Yes, ma'am, I do.                                  3       A.     I think I said that earlier. Regarding
       4        A.    Okay. The city of Columbia is pretty               4   the process, regarding the importance of us being
       5   large in terms of population. Would you agree to              5   involved in that process, and the importance of us
       6   that?                                                         6   giving feedback to those that represent us.
       7        Q.    Well, I'm not going to engage in a back            7       Q.     And --
       8   and forth do I agree or disagree.                             8       A.     I did not perform the training. The
       9        A.    Okay. All right. Well --                           9   training was done by primarily Dr. Ruoff.
      10             (Simultaneous crosstalk.)                          10       Q.     Okay. And so what sort of training did
      11        Q.    Let me stop you for a moment. My                  11   Dr. Ruoff put on?
      12   question was simply upon what do you rely to support         12       A.     It was a classroom setting in terms of
      13   your assertion that you just made a few minutes ago that     13   just the redistricting process, those things that I
      14   the city of Columbia is a community of interest? Just        14   just talked about.
      15   tell me quickly if you can.                                  15       Q.     Did you pay him to conduct that training?
      16        A.    The resources in the area. What                   16       A.     He's a consultant, not -- he's a
      17   happens in Columbia is different than what happens say       17   consultant for us. We pay him a minimal fee but just
      18   in maybe another part of the county. Interest,               18   for consultation.
      19   available resources to share.                                19       Q.     Okay. So who paid him a fee?
      20        Q.    How much time have you spent in Anderson?         20       A.     We did.
      21        A.    Let me -- I'll just share this with you           21       Q.     Who is the "we"?
      22   because I think you all need to know this and I think        22       A.     The South Carolina State Conference.
      23   I said this before. I have traveled the state of             23       Q.     Okay. And when did you begin paying him?
      24   South Carolina. I've gotten to know the presidents in        24       A.     Last year in June.
      25   the different areas. I visited different branches. I         25       Q.     2021?
                                                             Page 139                                                          Page 141
       1   have visited Anderson and the president from their            1       A.     Yes.
       2   membership up there several times, a number of times          2       Q.     Was he also paid by the League of Women
       3   so I'm very familiar with Anderson.                           3   Voters if you know?
       4       Q.     All right. And so --                               4       A.     I don't know.
       5       A.     Have I visited -- I have visited -- I              5       Q.     I believe you attended public hearings
       6   can frankly say I visited every county in the state.          6   where he has testified alongside Ms. Teague. Is that
       7       Q.     Okay. All right. So upon what specific             7   right?
       8   evidence do you rely on to support your assertion that        8       A.     Yes, I did.
       9   Anderson, the city of Anderson is one unitary community       9       Q.     And let me ask you this question. Was
      10   of interest?                                                 10   Mr. Ruoff involved at all in the drawing of the maps
      11       A.     You're talking the city or the county?            11   that you submitted for consideration?
      12       Q.     City. Yes, ma'am.                                 12       A.     No, he was not.
      13       A.     Again the same variables that I                   13       Q.     Okay. Who drew those maps?
      14   mentioned in Columbia that are very different in             14       A.     With our input, they were drawn by the
      15   Anderson but they are similar to those individuals           15   ACLU resource that had expertise in that area.
      16   that live in that area.                                      16       Q.     So who drew them? Who?
      17       Q.     Okay. I'm going to shift gears for a              17       A.     ACLU had a resource.
      18   moment. Okay. I believe that you provided some               18       Q.     Who was that resource? Who was the
      19   training. Is that correct?                                   19   person that did the drawing?
      20       A.     Training?                                         20       A.     I cannot answer that. All I know is we
      21       Q.     Yes, ma'am.                                       21   did not pay anyone for drawing up any lines and we
      22       A.     Regarding the redistricting process?              22   used individuals that had expertise that were on
      23       Q.     Yes, ma'am.                                       23   our -- a part of our coalition.
      24       A.     Yes.                                              24             You know, we learned the basics about
      25       Q.     Okay. What sort of training did the               25   methods, but in terms of that being critiqued and

                                                                                                             36 (Pages 138 - 141)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                 www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2               Page 38 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                            Page 142                                                         Page 144
       1   making us aware of certain variables that needed to be       1       Q.     Did you personally participate in the
       2   considered and make sure that we were inclusive, that        2   drawing of the maps?
       3   was done by ACLU with someone with expertise in that         3       A.     Yes. Not putting the pencil to the
       4   area.                                                        4   paper, but in terms of suggestions, what might needed
       5       Q.    So the ACLU drew your maps for you. Is             5   to be changed somewhat, if something was considered,
       6   that what you're telling me?                                 6   yes, I participated in this way. No, I did not
       7       A.    With our input, yes.                               7   actually draw a map. Were there people that looked at
       8       Q.    Okay. And do you know the name of the              8   drawing maps during this process? Yes, there were
       9   person who was involved in drawing of the maps?              9   people that looked at drawing maps and commenting
      10       A.    I don't -- no, I don't. I can't tell              10   about what their thoughts were.
      11   you off the top of my head, no.                             11       Q.     Did you have access to the addresses of
      12       Q.    Have you ever heard that name?                    12   incumbents in drawing those maps?
      13       A.    No, not the -- I can't tell you the               13       A.     No.
      14   name of the person. That is someone that has                14       Q.     Do you know if the members of the ACLU
      15   expertise in that area. We did not have the resources       15   that drew the maps who you can't identify had
      16   or the funding to do that. So you know that you have        16   information about the addresses of incumbents when
      17   to have certain programs to assist in that process and      17   drawing maps? Do you know? Yes or no.
      18   so ACLU had that -- had that resource.                      18       A.     No.
      19            So with them being a part of coalition,            19       Q.     Okay. So you can't tell me that --
      20   looking at past history, getting information from           20   strike that. Did you have election data available when
      21   those our presidents and others, then the maps were         21   drawing the maps?
      22   drawn. They were critiqued by NAACP members and             22       A.     No. We didn't per se, no.
      23   leadership and they were finalized before submission.       23       Q.     Do you know if the people who drew your
      24       Q.    Okay. But you don't know who did the map          24   maps had election data?
      25   drawing, right?                                             25       A.     Sir, that is something you will have to
                                                            Page 143                                                         Page 145
       1      A.     I can't give you a name, no.                       1   ask ACLU.
       2      Q.     Okay. Did you ever meet that person?               2       Q.     Okay. Do you know how many incumbents
       3            MR. INGRAM: Objection. Asked and                    3   your plan combined?
       4   answered.                                                    4       A.     That's public knowledge. It's been in
       5       Q.    Did you ever meet that person, Ms.                 5   the press.
       6   Murphy?                                                      6       Q.     Okay. So are you aware that your plan
       7       A.    No, I did not.                                     7   combined nineteen incumbents? Are you aware of that?
       8       Q.    Okay. Did you ever see a resume from               8       A.     That what, our plan combined nineteen
       9   that person?                                                 9   incumbents?
      10            MR. INGRAM: Objection. Asked and                   10       Q.     Combined nineteen incumbents. Yes,
      11   answered.                                                   11   ma'am.
      12       Q.    Did you ever see a resume from that               12       A.     I know our plan -- I think in terms of
      13   person?                                                     13   incumbents, there was greater opportunity for --
      14       A.    I do not know the person, sir.                    14       Q.     Ms. Murphy, Ms. Murphy --
      15       Q.    Okay. All right. So if you don't know             15       A.     Yes.
      16   the name of the person and if you've never seen a resume    16       Q.     -- I'm going to stop you. I'm sorry. I
      17   from the person, how can you tell me under oath that        17   asked you a very simple question. I would really
      18   that person had expertise in the drawing of maps?           18   appreciate an answer to the question. Do you agree that
      19       A.    Based on the member of our coalition              19   your plan combined nineteen incumbents? Yes, no or I
      20   that was ACLU.                                              20   don't know is an appropriate answer.
      21       Q.    You don't have any other evidence to              21       A.     I will answer but I would like to make
      22   support that. Is that right?                                22   a comment.
      23       A.    No.                                               23       Q.     Well, please do but how about answering
      24            MR. INGRAM: Objection. Asked and                   24   the question first and how about keeping the commentary
      25   answer.                                                     25   restricted to the subject matter of the question?

                                                                                                           37 (Pages 142 - 145)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2               Page 39 of 108
                                                    Brenda Murphy                                              February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                            Page 146                                                        Page 148
       1       A.     Okay.                                             1       A.      I need --
       2       Q.     Did your plan combine nineteen                    2       Q.      No, ma'am. I'm going to stop you, okay.
       3   incumbents?                                                  3   I'm sorry. I didn't ask you about when you spoke. So
       4       A.     Yes.                                              4   here's -- I mean if you mean when you spoke to me a few
       5       Q.     Now what do you want to say about that?           5   minutes ago, then, yes, explain. I'm not asking about
       6       A.     What I would like to say is maybe there           6   when you spoke to the House. I'm not asking --
       7   were less but there was greater opportunity for black        7       A.      No, no. I'm not -- that isn't my
       8   people to be involved in the political process or the        8   question.
       9   political decision-making regarding black people.            9       Q.      Okay. Then what's your question?
      10       Q.     Okay. Do you know --                             10       A.      My question is are you saying that with
      11             MR. INGRAM: Can we take a break?                  11   our plan there -- and this is for -- I'm trying to
      12             MR. MOORE: Excuse me?                             12   clarify it. Are you asking me that our plan has the
      13             MR. INGRAM: We would like a break.                13   potential for nineteen incumbents to remain? Is that
      14             MR. MOORE: Okay. Well, you're not                 14   your question?
      15   supposed to discuss her testimony during that break.        15       Q.      No, ma'am. Here's my question.
      16   I'm happy to give you a five-minute break.                  16       A.      Okay.
      17             (Brief recess.)                                   17       Q.      Are you aware -- and I believe this is
      18       Q.     (BY MR. MOORE:) Ms. Murphy, did you              18   the exact question I asked a few minutes ago. Are you
      19   speak to your counsel while you were away?                  19   aware that nineteen current incumbents were combined --
      20       A.     No, I did not.                                   20   that is, put against each other -- in your plan? Were
      21       Q.     Okay. So I believe we're at three hours          21   you aware of that?
      22   and thirty something minutes, and while I want to           22       A.      No.
      23   endeavor to keep my questions under to five hours, it       23       Q.      Okay. And are you aware that of those
      24   will be a lot easier for me to do that if I get             24   nineteen, seventeen of those incumbents were Republican?
      25   responsive answers to questions rather than                 25   Were you aware of that?
                                                            Page 147                                                        Page 149
       1   nonresponsive answers and so I'm going to be a little        1       A.     No. May I comment?
       2   more stringent perhaps in to trying to police that as we     2       Q.     Go ahead.
       3   go forward.                                                  3       A.     Our plan was developed without
       4             So I believe that you told me a few                4   considering incumbents.
       5   minutes ago that you understand -- you understood that       5       Q.     Ma'am, are you sure of that because that
       6   nineteen incumbents were in your plan combined. Is that      6   may contrast with public statements made by your lawyers
       7   right, Ms. Murphy? That's a yes or no.                       7   and other representatives so are you sure of that?
       8             MR. INGRAM: Objection. Asked and                   8   Ma'am?
       9   answered.                                                    9       A.     I'm thinking, sir. I don't want to
      10       Q.     Okay. Could you answer the question, Ms.         10   give an incorrect answer.
      11   Murphy?                                                     11       Q.     And I'm trying to be as fair as I can.
      12       A.     In our plan?                                     12   That's why I'm asking that question.
      13       Q.     Yes, ma'am. In the NAACP plan, yes,              13       A.     No. I'm sorry. I wasn't. I have to
      14   ma'am.                                                      14   say no.
      15       A.     That there were nineteen incumbents?             15       Q.     Okay. All right. Do you like that
      16       Q.     Yes, ma'am, combined. Do you agree -- I          16   figure, seventeen of nineteen are Republicans?
      17   believe you told me a minute ago that you agreed. Is        17       A.     Do I like it?
      18   that right?                                                 18       Q.     Yes, ma'am. Does that sound like
      19       A.     No.                                              19   something that looks like it was done -- that was not
      20       Q.     You don't agree now?                             20   the product of reverse political gerrymandering?
      21       A.     I may be interpreting what you're                21       A.     Let me say this. What we as the state
      22   saying differently. When I -- when I spoke -- if I          22   conference and our coalition -- our intent was not to
      23   can comment, sir.                                           23   consider incumbents but to look at drawing a map that
      24       Q.     Ma'am, I'm not -- let me ask the                 24   would provide opportunities for competition, okay.
      25   question.                                                   25   And that's all I can say because we didn't consider

                                                                                                           38 (Pages 146 - 149)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                              www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                   Date Filed 03/21/22               Entry Number 194-2                Page 40 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                           Page 150                                                          Page 152
       1   incumbents. I'm sorry.                                      1   2011 plan that was upheld by a federal district court
       2       Q.     Is it generally preferable to keep               2   split only 500 precincts, correct? Would you agree or
       3   smaller counties whole when possible? Would you             3   disagree with that?
       4   agree --                                                    4       A.     Yes.
       5       A.     Smaller counties?                                5       Q.     Okay. And you would agree that the
       6       Q.     Yes, ma'am.                                      6   number of precincts that were split by 117 was way less
       7       A.     If it's possible to keep them whole --           7   than that, 365, correct?
       8   small counties? Yes, I think that should be done.           8       A.     You're talking Berkeley?
       9       Q.     Is avoiding voter confusion one of the           9       Q.     No, ma'am, I didn't say Berkeley. I
      10   goals of your organization?                                10   said --
      11       A.     Yes.                                            11       A.     What county?
      12       Q.     Okay. And does splitting voter precincts        12       Q.     I said --
      13   increase or decrease voter confusion in your mind?         13       A.     I'm sorry.
      14             (Phone ringing.)                                 14       Q.     I said in 2011, the bill that was enacted
      15       Q.     We're sorry. My question was does               15   into law and upheld by a three judge federal panel split
      16   splitting voter precincts increase or decrease voter       16   500 precincts. Do you agree with that?
      17   confusion in your mind?                                    17       A.     Yes.
      18       A.     It depends. It could -- that's a maybe          18       Q.     Okay. The bill that was signed into law
      19   question and I will say that depending on the size of      19   here, the House plan, improves upon that by only
      20   the precinct.                                              20   splitting 365 precincts, correct?
      21             MR. MOORE: Okay. Can we pause for                21       A.     Yes.
      22   just one moment and put that on mute for just one          22       Q.     But your proposed plan would split 628
      23   second.                                                    23   precincts, correct?
      24             (Off-the-record discussion.)                     24       A.     Yes. May I comment?
      25       Q.     So let me ask you this question. And I'm        25       Q.     Yes, ma'am, you may.
                                                           Page 151                                                          Page 153
       1   sorry for that interruption. Are you aware that the         1       A.     I'm sorry. The population in South
       2   number of precincts that were split in Act Number 117,      2   Carolina has increased significantly, and when you
       3   the act that are here to talk about, is 365? Are aware      3   look at the number of precincts back then, it may have
       4   of that?                                                    4   been lower but we have a greater number of people to
       5       A.     Which -- it depends on the area.                 5   serve as well as even then there were some precincts
       6   What --                                                     6   that were problematic still with numbers increasing
       7       Q.     Let me ask this question. Do you have            7   since that 2010, 2011 in terms of when the plan --
       8   any reason to doubt that the plan that passed the House     8   precincts were -- the districts were determined and
       9   and Senate with respect to the House districts only         9   precincts were determined. So we had --
      10   split 365 districts, voting precincts? Do you have any     10            (Simultaneous crosstalk.)
      11   reason to doubt that figure?                               11       A.     Okay. That's it.
      12       A.     No.                                             12       Q.     Okay. And I believe you agreed with me a
      13       Q.     Okay. Do you have any reason to doubt           13   few minutes ago that splitting more voter precincts can
      14   the fact that 628 precincts were split in your plan?       14   lead to more voter confusion. Right or wrong?
      15       A.     I know they were. May I make a                  15       A.     It can. May I -- and I'm going to make
      16   comment? May I make a comment?                             16   a statement. It can if the information does not get
      17       Q.     Sure. Sure, you may.                            17   to the voters in the manner that it should.
      18       A.     Okay. There are certain communities             18       Q.     All right. I want to talk to you about
      19   greater in number and when you look at the number --       19   some challenged districts and you mentioned that you
      20   when you look at the number of precincts and numbers       20   were familiar with Anderson. Is that correct?
      21   that precinct may serve, it could contribute to            21       A.     Yes.
      22   problems in terms of voters being able to cast their       22       Q.     Okay. All right. And can you explain
      23   vote.                                                      23   the allegations in your complaint with regards to
      24       Q.     Okay. Well, let me ask you this, Ms.            24   Anderson and splitting the city of Anderson?
      25   Murphy. You would agree with me that the plan, that the    25       A.     I think -- and I don't have that right

                                                                                                           39 (Pages 150 - 153)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22               Entry Number 194-2               Page 41 of 108
                                                     Brenda Murphy                                               February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                             Page 154                                                         Page 156
       1   in front of me but I think it was related to in terms         1             MR. INGRAM: If you have the complaint to
       2   of how that was split, some on one side of the highway        2   clarify, that's helpful.
       3   and some on the other side of the highway. I mean             3             MR. MOORE: It just takes a few minutes
       4   that contributes to problems itself when someone may          4   to load the complaint. Hold on one second.
       5   be living across the street from each other and               5             MR. INGRAM: We need to be able to verify
       6   they're in different precincts.                               6   your question so we can wait.
       7       Q.     Ma'am, are you telling me that your plan           7             MR. MOORE: What exhibit -- what was the
       8   doesn't split people across streets and highways and the      8   complaint? The amended. Give me a page, Mr. Parente.
       9   like? Are you telling me that that doesn't happen in          9             (Off-the-record discussion.)
      10   your plan?                                                   10       Q.     Okay. Can you look page 34? And this is
      11       A.     I'm trying to say that we are doing               11   on page 34 of your complaint which lists the map that
      12   whatever we can not for it to occur.                         12   you submitted --
      13       Q.     Okay. Well, you take issue with the fact          13             MR. INGRAM: Give me one second. We're
      14   that Anderson, the city of Anderson is split between         14   scrolling. Give us one second. And just to clarify,
      15   four House districts. Is that right?                         15   when you say 34, UCF 34 or the actual pagination on the
      16       A.     Yes.                                              16   document?
      17       Q.     Is that right?                                    17             MR. MOORE: Pagination on this document.
      18       A.     Yes.                                              18             MR. INGRAM: Perfect.
      19       Q.     Okay. And would you agree with me that            19             MR. MOORE: I believe it's the same.
      20   it was split in a very thorough manner to the way that       20             MR. INGRAM: It is not. Here you go.
      21   it was split back in 2011?                                   21       Q.     Are you familiar with the district that
      22       A.     I'm going to say yes but, you know, I             22   is drawn here as District Number 7 in your proposed map,
      23   think my comment regarding how our state has changed         23   Ms. Murphy?
      24   is not being considered. We have a greater number of         24       A.     I'm looking at this -- I'm looking at
      25   people, yes, but in terms of maps, the district should       25   it now.
                                                             Page 155                                                         Page 157
       1   be contiguous of each other. We should make every             1       Q.     Okay.
       2   effort for that to be if possible.                            2       A.     Okay. Your question?
       3       Q.     Well, and would you agree with me that             3       Q.     Yes, ma'am. Can you explain to me how
       4   the plan that was passed in 2011 was upheld by a federal      4   this District Number 7 as drawn here is not packing, to
       5   court?                                                        5   borrow the phrase you have used previously? How is it
       6       A.     I will say yes but the situation is not            6   not packing?
       7   the same.                                                     7       A.     Considering the population and in terms
       8       Q.     How can you tell me that the situation is          8   of that county being -- has a high percentage of white
       9   not the same and requires a radical redrawing of the          9   population to a minimal -- when compared, it's very
      10   House districts in Anderson? Explain that to me.             10   low for a black population and in order to draw an
      11       A.     Did I say radical? Did we use the term            11   opportunistic or competitive district because of
      12   radical?                                                     12   numbers.
      13       Q.     No, ma'am. I used the term radical.               13       Q.     Do you agree or disagree that this
      14       A.     Okay. Well, I did not -- I would not              14   District Number 7 is surgically drawn around high black
      15   agree with that.                                             15   voting age population census blocks? Do you agree or
      16       Q.     Okay. Are you familiar with District              16   disagree with that statement?
      17   Number 7?                                                    17       A.     That's where the black folks live.
      18       A.     Okay. Location just to make sure I'm              18       Q.     Okay. And so was race the predominant
      19   in the right place. I don't have the list in front of        19   factor that you used in drawing that district?
      20   me.                                                          20       A.     That's an opportunistic district.
      21       Q.     Are you familiar with it?                         21            MR. INGRAM: Objection. Calls for a
      22       A.     Location. I asked if you would give me            22   legal conclusion.
      23   the location.                                                23       Q.     You may answer, Ms. Murphy. Was race the
      24             MR. MOORE: Should we pull up the                   24   predominant factor used to draw that district in your
      25   complaint or not? One moment.                                25   proposed map?

                                                                                                            40 (Pages 154 - 157)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22               Entry Number 194-2                Page 42 of 108
                                                     Brenda Murphy                                               February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                             Page 158                                                          Page 160
       1       A.      I will say race was considered.                   1   in Chester County across Districts 41 and 43. Do you
       2       Q.      That wasn't my question. Was it the               2   see that allegation?
       3   predominant factor used in drawing that district?             3        A.    That's based on the fact that, you
       4       A.      No.                                               4   know, that unusual shape as well as it should be
       5       Q.      Why not?                                          5   contiguous. Now and I -- may I make a statement?
       6       A.      We have to consider all factors. You              6        Q.    Yes, ma'am.
       7   know, race may in terms of drawing a competitive              7        A.    It will be brief. It will be brief. I
       8   district with such a low population of black                  8   promise you. When we look at how -- such as looking
       9   residents. Then in order for them to be able to be            9   at Chester County and we look back at Anderson, when
      10   influenced somewhat what happens in that district, it        10   you look at the populations within those two areas,
      11   would need to be drawn in such a manner.                     11   the populations of -- with the number of blacks are
      12       Q.      Are you familiar with the towns of Belton        12   significantly lower than it is -- well, significantly.
      13   and Honea Path?                                              13             We are talking maybe 70 percent white,
      14       A.      Yes, I am.                                       14   17 percent black. I'm using that figure. It may not
      15       Q.      Okay. Why did your plan put these two            15   be exactly right but we have to look at that and in
      16   towns in different House districts?                          16   terms of how representation can be done in certain
      17       A.      Now that's a question that I cannot              17   areas and do we have -- is that a factor? Yes, it is
      18   answer individually because that was a decision made         18   in some situations.
      19   by us as a whole. And I'm sure if -- Honea Path.             19        Q.    Do you support these allegations as we
      20   Belton, Belton sits -- the intent was to draw a              20   sit here today, Ms. Murphy?
      21   district that could be competitive but not totally           21        A.    You mean in terms of the lines being
      22   packed -- packing an area, any community.                    22   drawn in such a way that it's not a situation that
      23       Q.      Why did your map split the town of Belton        23   could be influential district?
      24   in half if you know?                                         24        Q.    No, ma'am. No, ma'am. No, ma'am. I'm
      25       A.      Well, I'd have to -- I can't say that            25   asking a very simple question. Your complaint -- and
                                                             Page 159                                                          Page 161
       1   right now. I really can't. I don't have an answer to          1   I'll rephrase it. Your complaint asks the Court to
       2   that.                                                         2   redraw the lines for Districts 41 and 43. Is that what
       3       Q.     Are you familiar with the allegations              3   you're asking for?
       4   that your plan has made with respect to Chester?              4         A.   Yes.
       5       A.     With respect to --                                 5         Q.   Okay. And you want the district that's
       6       Q.     Chester.                                           6   currently represented by Representative McDaniel to be
       7             MR. INGRAM: Are you referring to the                7   redrawn. Is that right? That's what you want?
       8   complaint?                                                    8         A.   No, I didn't ask that Ms. McDaniel's
       9             MR. MOORE: I'm going to refer to it when            9   line be drawn. I am asking that the lines be drawn in
      10   I ask a specific question.                                   10   such a fashion that there is an opportunity for there
      11       Q.     My question first is are you familiar             11   to be -- an opportunity for competitiveness.
      12   with the allegations that your lawsuit makes concerning      12         Q.   There's a difference between
      13   the county of Chester? Yes or no, Ms. Murphy.                13   competitiveness and purposeful racial discrimination,
      14       A.     Right now, I can't say because there              14   right?
      15   were so many different areas. I would hate to say --         15         A.   Yes, I agree to that.
      16   give an answer not looking at my records.                    16         Q.   Okay. And so did you attend the hearing
      17       Q.     All right. Let's look at page 36.                 17   in Columbia where Representative McDaniel spoke in
      18       A.     Thirty-six?                                       18   public?
      19       Q.     Yes, ma'am. This alleges that District            19         A.   Yes, I was there.
      20   41, a majority black district mostly made up of              20         Q.   Okay. And do you recall some concerns
      21   Fairfield County, reaches up past the Fairfield County       21   that she raised about only representing rural areas and
      22   line to create a bizarrely-shaped bunny ear appendage        22   concerns about Chester as a city? Do you recall her
      23   that grabs the black majority city of Chester as well as     23   raising those concerns that she was only representing
      24   other areas comprised heavily of black voters in Chester     24   rural districts and not -- do you recall any such
      25   County. In the process, defendant split eight precincts      25   concern expressed by her?

                                                                                                            41 (Pages 158 - 161)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22                Entry Number 194-2               Page 43 of 108
                                                     Brenda Murphy                                               February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                             Page 162                                                         Page 164
       1        A.     No, I don't recall that. That may have            1             MR. INGRAM: Objection. This is about
       2   been another session. No, I do not.                           2   the House maps.
       3        Q.     All right. Okay. Do you see that -- do            3             MR. MOORE: It is about the House maps,
       4   you understand that the House plan and the House plan         4   Mr. Ingram, and I'm going to put a document in front of
       5   that was passed keeps the city of Chester whole and puts      5   her. And I'm going to ask a question and I believe
       6   it in a district that is currently represented by             6   you'll see the relevance of it, but if not, you can
       7   Representative McDaniel? Do you understand that?              7   object. What is the exhibit, Michael?
       8        A.     So if I'm interpreting you correct,               8             (Off-the-record discussion.)
       9   you're saying -- and I think we need different --             9             MR. MOORE: I am very concerned about
      10   let's not talk names. I would prefer that we not do          10   Veritext and this Exhibit Share platform today and I
      11   that. When we're looking at this in terms of a rural         11   apologize for the fact that it's making it way more
      12   area, you are saying Chester and --                          12   difficult for us to do this deposition than it should.
      13        Q.     I'm talking about District Number 41,            13             THE DEPONENT: Thank you.
      14   okay. I'm talking District Number 41, okay.                  14             MR. INGRAM: Are we waiting for a
      15        A.     Okay.                                            15   document to load in the platform?
      16        Q.     And are you telling me that you think it         16             MR. MOORE: I'm trying to load a
      17   is a bad thing to include the city of Chester as a whole     17   document, yes, sir. I'm trying to load the NAACP's
      18   entity in that one district?                                 18   proposed map.
      19        A.     The intent -- well, the intent is to             19       Q.     And while I do, I'm going to ask you a
      20   keep as many counties whole but also the goal is to          20   question, Ms. Murphy, and you know the answer to it or
      21   ensure that we have representatives from that area --        21   not, okay. Do you agree with me or not agree with me
      22   if it's a possibility to have a representative from          22   that proposed District 6 in your map shares a similar
      23   the community of choice, that that is possible, at           23   bunny-shaped appendage as the map that you criticize in
      24   least an opportunity for that.                               24   the House district? Yes or no.
      25        Q.     Okay. Let's look on page 37 of that              25       A.     Do you have that up?
                                                             Page 163                                                         Page 165
       1   document.                                                     1      Q.       I'm trying to get it. I'm trying --
       2       A.     I'm having --                                      2             MR. INGRAM: She needs to see the
       3       Q.     Because I want to focus on the allegation          3   document you're referring to.
       4   about the bunny eared appendages.                             4             MR. MOORE: Okay. We're going to take a
       5       A.     Wait a minute. Wait a minute. Okay.                5   short break so we can see if we can pull up this
       6       Q.     You talked about the shape a few minutes           6   document.
       7   ago, right?                                                   7             (Brief recess.)
       8       A.     I'm sorry.                                         8              (Whereupon, Defendant's
       9       Q.     You talked about the shape.                        9              Exhibit 9 was marked for
      10       A.     Just a second.                                    10              identification.)
      11             MR. INGRAM: What page should she be on?            11        Q.     (BY MR. MOORE:) Does everyone see the
      12             MR. MOORE: Thirty-seven. Can you see               12   document that's in front of you? And this would be
      13   page 37, Mr. Ingram?                                         13   exhibit number what? Nine. Do you see that, Ms.
      14             MR. INGRAM: We're on 37, yes.                      14   Murphy?
      15       Q.     Okay. All right. You see this so-called           15        A.     Yes, I see it.
      16   bunny eared appendage. Is that right, Ms. Murphy?            16        Q.     Okay. And do you see the line that's
      17       A.     Yes.                                              17   drawn up through Fairfield and into Chester?
      18       Q.     And that's one of your criticisms. Is             18        A.     Yes, I do.
      19   that right?                                                  19        Q.     Okay. Would you agree with me that this
      20       A.     Yes.                                              20   is a very similar bunny-eared appendage as the one you
      21       Q.     Okay. Are you familiar with your plan             21   criticize in your amended complaint with respect to
      22   for the congressional districts?                             22   House District 41? Would you agree or disagree with me?
      23       A.     I don't have those in front of me.                23        A.     I think it's similar, yes.
      24       Q.     I'm about to put one in front of you,             24        Q.     Okay. And your plan here pairs portions
      25   okay?                                                        25   of the county of Chester with Fairfield County and puts

                                                                                                            42 (Pages 162 - 165)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2                Page 44 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                            Page 166                                                          Page 168
       1   it in District 6, correct?                                   1   see the comments? Bring it down, please, sir. The
       2        A.    Yes, that's District 6 congressional              2   figure below reveals how the irregular and noncompact
       3   map.                                                         3   district lines in Chester County were drawn to carve
       4        Q.    Okay. Explain to me, given this, what             4   out black communities in a manner that allowed map
       5   your specific complaint is about the House drawn             5   drawers to maintain black voters -- minimize black
       6   District 41. Explain to me -- and I want you to explain      6   voters' influence in neighboring districts. That's --
       7   to me what is your concern about it now having seen what     7       Q.      That's your allegation, right?
       8   you guys drew and proposed with respect to the               8       A.      Yes.
       9   congressional lines.                                         9       Q.      That's your allegation. Okay. I'm
      10             MR. INGRAM: Objection. Is this map from           10   asking you today what evidence do you have to support
      11   the amended complaint? I don't recognize this map.          11   the allegation that irregular noncompact district lines
      12             MR. MOORE: This map is the map that you           12   in Chester County were drawn to carve out black
      13   submitted in support of your position with respect to       13   communities in a manner that allowed map makers to
      14   the congressional maps. This is your congressional map      14   minimize black voters' influence in neighboring
      15   proposal.                                                   15   districts? Explain to me what evidence --
      16             MR. INGRAM: And this is introduced as an          16              (Simultaneous crosstalk.)
      17   exhibit today?                                              17       Q.      Let me finish my question, ma'am.
      18             MR. MOORE: Yes, it is.                            18   Explain to me what evidence you have to support that
      19             MR. INGRAM: For the record, you can't             19   specific allegation.
      20   spring last minute exhibits on us without proper            20       A.      The map itself.
      21   preparation.                                                21       Q.      Do you have any other evidence other
      22             MR. MOORE: It was sent to you on                  22   than, as you say, the map itself?
      23   Tuesday, Mr. Ingram. It's an attachment to your letter      23       A.      The population within those
      24   which is identified as Exhibit Number 16 in the batch       24   communities.
      25   that you were sent. So it wasn't sprung on you today        25       Q.      Okay. What evidence with respect to the
                                                            Page 167                                                          Page 169
       1   and I can ask questions about it. If you feel -- if you      1   population in those communities supports your
       2   had the opportunity to go out and talk to her about it,      2   allegation?
       3   you could but you don't have the opportunity to go out       3        A.    Well, if you look at the demographics
       4   and talk to her about it because I submitted this to you     4   and I don't have the demographics in front of me. If
       5   on Tuesday.                                                  5   you look at the demographics of Chester and where the
       6            MR. INGRAM: Proceed.                                6   population white versus black, where the communities
       7       A.     I would like to go back to the previous           7   are, that needs to be considered as well.
       8   map.                                                         8        Q.    My question again is you're alleging that
       9       Q.     I'd like an answer to my question before          9   there was purposeful drawing to carve out black
      10   you go back to the previous map, ma'am, but --              10   communities to minimize black voters' influence. Do you
      11       A.     Well, you know, I think what you're              11   have any evidence to support that other than what you
      12   asking me or what you're doing is you're comparing          12   just indicated?
      13   drawings for congressional maps with a House map which      13        A.    I am saying -- I don't know what was in
      14   is very different. Now you're talking about shape but       14   the minds of those folks but I'm talking about the
      15   more than just shape is considered when it comes to         15   outcome in terms of what happened, in terms of how the
      16   maps. So congressional may be very different than           16   map's drawn.
      17   what the House map is but I would like to go back to        17             That's all I can do is looking at
      18   the House map or the document that you showed me prior      18   demographics, trying to draw maps in a way that there
      19   to putting up this map.                                     19   at least may be some influence on the outcome of an
      20            MR. MOORE: Can you get it, Michael?                20   election. Maybe not fully what we want it to be but
      21   Do it.                                                      21   at least some influence by the black community. Now
      22       A.     It was page -- what are we on, 37?               22   that has to be considered and so I'm not reading the
      23            MR. MOORE: Thirty-six or 37, yes,                  23   minds of the people that drew this map. I'm looking
      24   ma'am.                                                      24   at what happened.
      25       A.     Okay. Okay. The comments -- do you               25        Q.    And you're drawing conclusions but

                                                                                                            43 (Pages 166 - 169)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2              Page 45 of 108
                                                    Brenda Murphy                                              February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                            Page 170                                                       Page 172
       1   without any evidence for those conclusions other than        1   several, Mr. Ingram.
       2   the alleged evidence that you just gave me. Is that          2             MR. INGRAM: Those are available on
       3   right or wrong, Ms. Murphy?                                  3   public websites and documents. You're asking for
       4            MR. INGRAM: Objection. Argumentative.               4   confidential names which she will not provide.
       5       Q.     Please answer my question, Ms. Murphy.            5             MR. MOORE: Then you're going to need to
       6       A.     Right now, I don't know exactly what              6   file a motion for protective order.
       7   the question was.                                            7             MR. INGRAM: I'm aware of the rules.
       8       Q.     I said you're drawing conclusions based           8        Q.    And I'm going to ask this question again.
       9   on your own suppositions without any actual evidence to      9   Can you give me -- and we go back to Anderson. Can you
      10   support it. Is that right or wrong?                         10   give me the names of the alleged NAACP members who live
      11       A.     Wrong.                                           11   in the challenged districts who are challenging those
      12            MR. INGRAM: Objection. Argumentative.              12   districts?
      13       Q.     Okay. And what specific evidence do you          13             MR. INGRAM: Asked and answered and
      14   have to support that conclusion? You just told me --        14   objection still stands.
      15       A.     I am saying we have to look at                   15        Q.    Okay. Are you going to answer that
      16   demographics for a community.                               16   question, Ms. Murphy?
      17       Q.     All right. Let's go down --                      17             MR. INGRAM: I'm instructing her not to
      18       A.     In order to create districts at least            18   answer that question.
      19   that black voters may have influence.                       19        Q.    Okay. With respect to Chester County,
      20       Q.     So let's look at your allegations                20   can you give me the name of any person who lives in
      21   concerning Sumter and we're going to stick with this        21   District Number 41 who alleges that their rights have
      22   complaint, Mr. Parente. Okay. Are you familiar with         22   been violated by the passage of this House plan? Ms.
      23   your allegations concerning Sumter?                         23   Murphy?
      24       A.     Sir, I think we're dealing with very             24        A.    I will not provide names of NAACP
      25   similar situations here so my answer will be the same.      25   members.
                                                            Page 171                                                       Page 173
       1       Q.     All right. So have you done a comparison          1        Q.   Okay. Well, let me ask you this
       2   between the districts that are drawn in the current          2   question, Ms. Murphy. Can you tell me on what date
       3   House plan as enacted and the lines that were drawn in       3   someone from District Number 41 was interviewed or
       4   2011? Have you done that?                                    4   contacted by you or a member of your coalition and who
       5       A.     No, I did not personally do that.                 5   told you that they wanted to challenge House District
       6       Q.     Okay. Do you think that it might be wise          6   Number 41?
       7   to look at that before making an allegation here?            7        A.   I have not had individual contact with
       8       A.     I did not -- this is not a personal               8   anyone.
       9   plan of Brenda Murphy, sir. This is a plan that was          9        Q.   Okay.
      10   developed with input from individuals from the Sumter       10            (Simultaneous crosstalk.)
      11   area, from the Chester area, from the Anderson County       11        Q.   Although -- correct me if I'm wrong -- I
      12   area. So this is not a Brenda Murphy plan.                  12   believe that you were on a committee that was
      13       Q.     Who are the individuals from Anderson            13   responsible for recruiting witnesses as plaintiffs, were
      14   County who gave you the information that --                 14   you not, Ms. Murphy? I'm going to go over that in a
      15       A.     I have said to you as much as I can.             15   minute but were you not on such committee?
      16   The president, the leadership from the branches,            16        A.   No, I was not on a committee that was
      17   members of the branches. That is all I can say to           17   responsible for recruiting names of witnesses.
      18   you, sir.                                                   18        Q.   Okay. All right. So if Brenda -- let me
      19       Q.     I'm asking you for names, Ms. Murphy.            19   ask you this question, Ms. Murphy. If Brenda Murphy
      20   Can you give me any names?                                  20   didn't contact anybody, okay, then how can Brenda Murphy
      21             MR. INGRAM: Objection. I'm instructing            21   tell me that someone was contacted with respect to House
      22   my client not to answer. We've already been through         22   District Number 41 who resides in that district and that
      23   this. We're not giving you names of members of the          23   person said I want to challenge this district because my
      24   NAACP.                                                      24   rights have been impacted by the passage of this plan?
      25             MR. MOORE: Well, you've already given me          25   How can Brenda Murphy tell me that today?

                                                                                                          44 (Pages 170 - 173)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                              www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                  Date Filed 03/21/22              Entry Number 194-2               Page 46 of 108
                                                   Brenda Murphy                                            February 4, 2022
                                  The South Carolina State Conference vs. McMaste,
                                                         Page 174                                                        Page 176
       1             MR. INGRAM: Objection. Misstates              1     Carolina NAACP would know the answer to that question,
       2   testimony.                                              2     Ms. Murphy?
       3       Q.     Can you answer that question, Ms. Murphy? 3            A.       Presidents throughout the state of
       4       A.     I will not answer that question.             4     South Carolina who are members of the state
       5       Q.     So you cannot or you will not?               5     conference.
       6       A.     My contacts are members of the NAACP         6         Q.       So are you telling me that I'd have to
       7   and I will not reveal the names of anyone.              7     talk to each and every one of your presidents to get the
       8       Q.     I didn't ask you to reveal a name, Ms.       8     answer to that question?
       9   Murphy, and so I'm going to repeat my question again 9            A.       You may. I don't know that they would
      10   just so we're crystal clear.                           10     give you a name. They would not give you a name of
      11       A.     Sir, I think I have been clear. I did       11     their members.
      12   not operate independently. This was a -- and not only 12          Q.       We'll see if the Court orders you to give
      13   a coalition but there was -- there were meetings with 13      us a name of a member, Ms. Murphy.
      14   presidents and leadership from throughout the state of 14                MR. MOORE: Let's take a short break.
      15   South Carolina. I did not contact anyone personally. 15                  (Brief recess.)
      16       Q.     So if you didn't contact anyone             16         Q.       (BY MR. MOORE:) So I'm going to go a few
      17   personally, you cannot attest under oath that someone 17      new exhibits and all of these exhibits are exhibits that
      18   who resides in each of these challenged districts was 18      were provided to us last night, but before I go to the
      19   contacted and asked you to challenge these districts, 19      new exhibits, I do want -- on this particular exhibit
      20   can you?                                               20     that's still in front of you, I want you to look at page
      21       A.     I can attest to the fact that someone       21     number 7.
      22   from all of these counties that are mentioned in -- as 22         A.       It's not on there.
      23   being concerned about the lines in their area have     23         Q.       He's trying to pull it up. Paragraph 18.
      24   stated in one way or another to members of their       24     Okay. All right. Do you see this page, Ms. Murphy?
      25   leadership that they were concerned.                   25         A.       I do.
                                                         Page 175                                                        Page 177
       1       Q.     Okay. And you believe that that's              1        Q.      Okay. All right. I'm going to read
       2   sufficient to give standing upon you and your             2   paragraph 18. It says -- and when you use the term
       3   organization to challenge these districts. Is that        3   "its", it's clearly referring to the South Carolina
       4   right?                                                    4   NAACP. And it says its member and constituents
       5            MR. INGRAM: Objection. Calls for a               5   currently live in racially gerrymandered and
       6   legal conclusion.                                         6   intentionally dilutive state legislative districts.
       7       Q.     You can answer that question, Ms. Murphy.      7   Specifically members live in the challenged districts.
       8       A.     Yes, because their leadership in the           8   Okay. Are you prepared to tell me which members live in
       9   NAACP state conference.                                   9   the challenged districts?
      10       Q.     And is there a record -- does the NAACP       10        A.      No.
      11   State Conference have any record of any such             11              MR. INGRAM: Objection. We've already
      12   communication with any such person to your knowledge?    12   discussed this.
      13   Yes or no.                                               13              MR. MOORE: I'm going to continue to
      14       A.     To my knowledge?                              14   discuss it, Mr. Ingram. I understand that that's your
      15       Q.     Yes, ma'am.                                   15   objection.
      16       A.     In a written document?                        16        Q.      You're refusing to answer that question,
      17       Q.     Yes, ma'am.                                   17   is that right, which members --
      18       A.     I don't know.                                 18              MR. INGRAM: Counsel, you can continue to
      19       Q.     Okay. So you can't tell me that there's       19   ask. We can take it to court, but if you're going to
      20   a record of that. Is that right?                         20   keep asking the witness, she will not provide you names
      21            MR. INGRAM: Objection. Asked and                21   in the NAACP membership list.
      22   answered.                                                22        Q.      Can you tell me what process was used to
      23       Q.     Can you tell me if there's a record?          23   support the allegation here, Ms. Murphy?
      24       A.     I don't know.                                 24        A.      Concerns voiced by members of the
      25       Q.     You don't know. Okay. Who at the South        25   coalition and NAACP leadership and members.

                                                                                                        45 (Pages 174 - 177)
                                                  Veritext Legal Solutions
     800.743.DEPO (3376)                      calendar-carolinas@veritext.com                             www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22                Entry Number 194-2                      Page 47 of 108
                                                     Brenda Murphy                                                       February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                              Page 178                                                                Page 180
       1       Q.      Okay. It then says, these members have             1      Q.       You cannot. All right.
       2   been and if H4493 is not enjoined will continue to be          2      A.       Now --
       3   harmed by H4493's assignment of them to unconstitutional       3             MR. INGRAM: Let her finish.
       4   racially gerrymandered districts and purposely dilutive        4       Q.      Sure.
       5   districts.                                                     5       A.      Let me make sure you understand what
       6              Can you tell me -- and I'm not asking for           6   I'm saying. When I say that I cannot, I mean I cannot
       7   names at this point but I'm asking you can you tell me         7   identify those names for you.
       8   if you had a list of members in each of these challenged       8       Q.      Because you don't know them? Because you
       9   districts that would be, according to your complaint,          9   don't know the names or because --
      10   continued to be harmed? Did you have such a list of           10       A.      No, that's not -- I'm not saying I
      11   those people before you filed this complaint?                 11   don't know the names.
      12              MR. INGRAM: Objection. Asked and                   12       Q.      Okay. Do you know the names? Here's my
      13   answered.                                                     13   next question. Do you know the names of someone who
      14       Q.      Did you have such a list, Ms. Murphy?             14   lives in each of those challenged districts who have
      15       A.      I don't have a list, sir, but I have              15   alleged to you that they have been harmed? Do you know
      16   members that live in these areas.                             16   the names of people from each of those challenged
      17       Q.      Okay. And you told me that --                     17   districts that said they've been harmed?
      18       A.      That have expressed concerns, yes.                18             MR. INGRAM: Objection. Asked and
      19       Q.      Okay. But you can't tell me specifically          19   answered.
      20   the name of a specific member or even the fact that you       20       Q.      Ms. Murphy?
      21   spoke to a specific member who was allegedly harmed by        21       A.      I will not answer that question.
      22   the passage of the act that relates to this District 41,      22       Q.      You will not answer that question. All
      23   can you?                                                      23   right.
      24              MR. INGRAM: Objection. Asked and                   24             MR. MOORE: So let's pull up the next
      25   answered.                                                     25   exhibit which is going to be what exhibit, Mr. Parente?
                                                              Page 179                                                                Page 181
       1        Q.    Can you, Ms. Murphy?                                1 Exhibit Number 10. Is that correct? And we did not
       2        A.    No, I cannot.                                       2 send this document to you this morning, Mr. Ingram. So
       3        Q.    Okay. And you mentioned a few minutes               3 if you want to take a minute --
       4   ago that the people who spoke to all of these various          4            MR. INGRAM: I object to a last minute
       5   people who you refuse to identify were state presidents.       5 exhibit.
       6   Is that right?                                                 6            MR. MOORE: Mr. Ingram, we weren't
       7        A.    State presidents or members.                        7 provided these exhibits until yesterday by your group.
       8        Q.    Okay. And who are those presidents that             8 I can ask her any question about any exhibit. My point
       9   spoke to these folks and who in turn spoke to you?             9 is if you want to pause and talk to her about this
      10        A.    I can't --                                         10 exhibit before I proceed to ask her questions, then
      11             MR. INGRAM: Objection. At this point,               11 despite the fact you didn't produce it until yesterday,
      12   this is badgering the witness.                                12 I'm giving you an opportunity to do that.
      13        Q.    Is it that you cannot answer or that you           13            So if you want to take that opportunity,
      14   will not, Ms. Murphy?                                         14 okay, then we'll stop. We'll break and you let us know
      15             MR. INGRAM: Objection. Asked and                    15 when you're ready to come back on the record, okay?
      16   answered. We already said we will not disclose the            16            (Brief recess.)
      17   names of the members. Our allegation is there are             17            (Whereupon, Defendant's
      18   members in every district. Asked and answered.                18            Exhibit 10 was marked for
      19        Q.    Okay. My question -- you may answer the            19            identification.)
      20   question, Ms. Murphy. Is it that you cannot or you will       20     Q.      (BY MR. MOORE:) I want to look at the
      21   not because those are two different things?                   21 second page. It says update from the desk of president.
      22             MR. INGRAM: Objection. Asked and                    22 Do you see that?
      23   answered.                                                     23     A.      Yes.
      24        Q.    Ms. Murphy?                                        24     Q.      Okay. It says President Murphy reported
      25        A.    I cannot.                                          25 she and SC NAACP Political Action Group would go through

                                                                                                                   46 (Pages 178 - 181)
                                                     Veritext Legal Solutions
     800.743.DEPO (3376)                         calendar-carolinas@veritext.com                                      www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                  Date Filed 03/21/22               Entry Number 194-2              Page 48 of 108
                                                   Brenda Murphy                                             February 4, 2022
                                  The South Carolina State Conference vs. McMaste,
                                                          Page 182                                                       Page 184
       1   identified areas to discuss and identify potential         1   minutes were requested, they were not redacted.
       2   plaintiffs from those areas. Attorney Boykin and           2       Q.     Okay. And is Mr. McLawhorn a member of
       3   Attorney Aden with LDF volunteered to work with the        3   the NAACP?
       4   plaintiffs to prepare them emotionally for testifying      4       A.     I will not answer that question. You
       5   during litigation should it become necessary.              5   see there who he represents.
       6             So my question is did you along with             6            MR. INGRAM: Objection.
       7   members of the SC NAACP Political Action Group go          7       Q.     I see a couple of other names here that
       8   through the identified areas to identify potential         8   identifies Eloise Fomby-Denson, Ph.D., SC State
       9   plaintiffs?                                                9   Conference NAACP. Is she a member of the South Carolina
      10       A.     I'm going to say there was an effort           10   State Conference of the NAACP?
      11   made to do that but there was concerns voiced. I          11       A.     She is identified on the document as a
      12   never received a list, I know that, in terms of           12   member of the coalition.
      13   identifying plaintiffs. So was that actualized? No.       13       Q.     Is she a member of the NAACP --
      14       Q.     Okay. So when there was a concern              14            MR. INGRAM: Objection. She is not
      15   voiced, a concern voiced by whom?                         15   confirming nonpublicly disclosed names of the NAACP.
      16       A.     About presidents regarding a listing of        16   They are publicly posted on websites.
      17   names.                                                    17       Q.     On what publically available websites is
      18       Q.     How many people are members of the             18   the name of Eloise Fomby-Denson disclosed?
      19   SC NAACP Political Action Group?                          19            MR. INGRAM: If you look at leadership --
      20       A.     I would say maybe ten.                         20            MR. MOORE: Mr. Ingram, the question is
      21       Q.     Okay. And who are those people?                21   directed to her, not you.
      22             MR. INGRAM: Objection insofar as these          22            MR. INGRAM: I'm sorry. I thought you
      23   are members of the NAACP whose names are not publicly     23   were talking to me.
      24   available. I'm instructing her not to answer --           24       A.     She is the assistant --
      25       Q.     I'd also like you to look at the last          25            MR. MOORE: I was not talking to you.
                                                          Page 183                                                       Page 185
       1   page where you identify a number of people. Meeting       1    You made a statement. I'm asking her.
       2   attendees and contact information. I take it you          2        Q.     What publicly available website is the
       3   identified the members of the NAACP who were involved in 3     name Eloise Fomby-Denson identified as belonging to the
       4   these meetings with the other members of your coalition,  4    SC State Conference of the NAACP?
       5   correct?                                                  5        A.     All of our officers are identified.
       6        A.     Yes.                                          6    She is --
       7        Q.     Okay. So, for example, you didn't hide        7        Q.     Is she an officer?
       8   the identities of NAACP members from people from the      8        A.     She is -- yeah, she's the assistant
       9   ACLU, did you?                                            9    secretary for the state conference.
      10        A.     Those were members of the coalition.         10        Q.     Okay. Is Elizabeth Kilgore an officer?
      11        Q.     Okay. So, for example, when I'm looking      11        A.     Yes, she is.
      12   at this list, there are a number of people identified.   12        Q.     What's her office?
      13   It lists Ms. Elizabeth Kilgore, SC State Conference      13        A.     She's the secretary.
      14   NAACP. This list which you produced to us identifies     14        Q.     Okay. Did you provide a list of members
      15   her as someone associated with the SC State Conference   15    of the SC NAACP to the other members of your coalition?
      16   of the NAACP. Is that right?                             16        A.     Only on the minutes. Do they have
      17        A.     Yes, it does.                                17    access to the minutes? Yes, they do.
      18        Q.     Okay. And it identifies Marvin Neal as       18        Q.     Let me ask you this. Were members of the
      19   the third vice president of the SC State Conference of   19    ACLU or other members of your coalition involved in
      20   the NAACP. Is that right?                                20    helping identify plaintiffs?
      21        A.     Yes, it does.                                21              MR. INGRAM: Objection. Privileged
      22        Q.     Okay. So you are identifying people by       22    communications related to litigation. I'm instructing
      23   producing these documents to us. Is that correct, Ms.    23    my client not to answer.
      24   Murphy?                                                  24              MR. MOORE: Okay. You're going to have
      25        A.     Well, admitting attendees and then           25    to file a motion for protective order on that point,

                                                                                                        47 (Pages 182 - 185)
                                                  Veritext Legal Solutions
     800.743.DEPO (3376)                      calendar-carolinas@veritext.com                              www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                   Date Filed 03/21/22               Entry Number 194-2                Page 49 of 108
                                                    Brenda Murphy                                              February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                           Page 186                                                          Page 188
       1   too. Let's look at the next document which is listed        1   perspective witnesses, correct? You told me that --
       2   October 7, 2021 and it's the former 49 (sic),               2            MR. INGRAM: Objection. Misstates
       3   Mr. Parente. Bear with us.                                  3   testimony. Misstates testimony.
       4             (Whereupon, Defendant's                           4       Q.    You may answer, Ms. Murphy.
       5             Exhibit 11 was marked for                         5       A.    I said this task was not completed by
       6             identification.)                                  6   myself or Attorney Boykin.
       7        Q.    Okay. I'm going to ask you questions.            7       Q.    Was it completed by anyone?
       8   Do you see this document in front of you, Ms. Murphy?       8            MR. INGRAM: Objection. Asked and
       9        A.    Yes.                                             9   answered.
      10        Q.    Okay. And there's an agenda here and it         10       Q.    Please answer my question, Ms. Murphy.
      11   says identification of perspective witnesses and it        11   Was it completed by anyone if you know?
      12   lists you and Attorney Charles Boykin as the speakers      12       A.    I think I mentioned earlier that
      13   with respect to that topic. Is that right?                 13   members that were impacted in those areas we
      14        A.    Yes, it does.                                   14   could emphatically state could be identified.
      15        Q.    Who is Attorney Charles Boykin?                 15       Q.    Was the project completed by anyone?
      16        A.    He's a member of the executive                  16            MR. INGRAM: Objection.
      17   committee.                                                 17       Q.    Yes or no. That's a yes or no with an
      18        Q.    Of what?                                        18   explanation if you want to.
      19        A.    I identified him previously. He is --           19            MR. INGRAM: Objection. Asked and
      20   he's a member of the South Carolina State Conference       20   answered. She's already said her answer multiple times.
      21   executive committee.                                       21   Stop badgering the witness.
      22        Q.    Okay. Fine. Did you and Mr. Boykin give         22            MR. MOORE: I'm not badgering the
      23   a presentation on the identification of perspective        23   witness, Mr. Ingram. I'm trying to get an answer to a
      24   witnesses on October 7, 2021 as is reflected in your       24   simple question.
      25   agenda?                                                    25       Q.    I'd like a yes or no answer. To your
                                                           Page 187                                                          Page 189
       1        A.    No.                                              1   knowledge --
       2        Q.    Why not?                                         2        A.    Repeat the question.
       3        A.    We didn't have the information.                  3        Q.    Let me finish. My question is a yes or
       4        Q.    Then why is it listed as something on an         4   no question. Was the project to your knowledge ever
       5   agenda?                                                     5   completed by someone other than you or Mr. Boykin?
       6        A.    It's listed there in hopes of being              6            MR. INGRAM: Objection. Asked and
       7   able to complete that task but it was not completed.        7   answered.
       8        Q.    Was that task ever completed, Ms. Murphy?        8            MR. MOORE: Asked but not answered.
       9        A.    No, it was not.                                  9        Q.    What's your answer, Ms. Murphy? Yes or
      10        Q.    Okay. But you still made that -- you            10   no and explain, please.
      11   still made that a representation in your amended           11        A.    I don't know.
      12   complaint, correct?                                        12        Q.    You don't know. All right.
      13        A.    Regarding?                                      13            MR. INGRAM: Objection.
      14        Q.    Regarding the fact that you have a member       14            MR. MOORE: What's your objection?
      15   who was harmed who resided in each one of the challenged   15            MR. INGRAM: Misstating testimony.
      16   districts?                                                 16            MR. MOORE: You could object to the form
      17             MR. INGRAM: Objection. Misstates                 17   and stop your speaking objections, please, Mr. Ingram.
      18   testimony.                                                 18   I think you might need to go read our local rules. I'm
      19        Q.    You may answer my question, Ms. Murphy.         19   about to ask my next question. All right. So
      20        A.    Okay. You're asking me in terms of the          20   Mr. Parente, we are going to turn to the minutes of
      21   listing of being able to state that we have witnesses      21   Thursday, November 18, 2021.
      22   or members within the districts that are mentioned?        22             (Whereupon, Defendant's
      23        Q.    Yes, ma'am. And let me just -- so we're         23             Exhibit 12 was marked for
      24   clear, you told me a moment ago that this project was      24             identification.)
      25   never completed with respect to the identification of      25        Q.    Do you recognize this document which is

                                                                                                          48 (Pages 186 - 189)
                                                  Veritext Legal Solutions
     800.743.DEPO (3376)                      calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                   Date Filed 03/21/22              Entry Number 194-2                Page 50 of 108
                                                    Brenda Murphy                                              February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                           Page 190                                                         Page 192
       1   exhibit number what, Mr. Parente? Twelve. Do you         1      go up to the previous line which says that President
       2   recognize Exhibit Number 12, Ms. Murphy?                 2      Murphy said a meeting would be scheduled with the SC
       3       A.     Yes.                                          3      Legislative Black Caucus to get their input. Do you see
       4       Q.     Okay. And what is it?                         4      that?
       5       A.     Yes.                                          5           A.     Yes.
       6       Q.     What is it?                                   6           Q.     Okay. Did you schedule a meeting with
       7       A.     They're minutes from the redistricting        7      the South Carolina Legislative Black Caucus to get
       8   committee.                                               8      input?
       9       Q.     Okay. And of course this redistricting        9           A.     No, we did not.
      10   committee did not only include members of the SC NAACP, 10           Q.     Can you tell me why not?
      11   correct?                                                11           A.     Well, at this point and if you look at
      12       A.     Sir, I have gone over the membership of      12      the date on this -- on these minutes, we were at a
      13   the committee and they have been identified under       13      point that our mapping had been completed. We never
      14   attachment in terms of who is present and their         14      met with the black caucus.
      15   specific role.                                          15                (Simultaneous crosstalk.)
      16       Q.     So you see here where it says update on      16           Q.     I'm sorry.
      17   mapping for redistricting. It says, Dr. Ruoff explained 17           A.     And because they were not met with
      18   on local redistricting, his focus with branches is on   18      initially to have input at the beginning, they did not
      19   county councils by drawing map proposals before         19      feel it necessary to meet with us.
      20   councils. He has been asked if he can draw a fifty      20           Q.     Was there ever a time when members of the
      21   percent black district in Kershaw County and said he    21      black caucus, any member of the black caucus requested
      22   could draw fifty percent plus two bodies plan. Do you   22      that they come and meet with your committee or your
      23   see that?                                               23      office to discuss redistricting?
      24       A.     Sir, may I comment?                          24           A.     I think -- and I have to give an
      25       Q.     I'm asking you first of all if you see       25      historical background on this and I can only say what
                                                           Page 191                                                         Page 193
       1   it.                                                         1   I was told. I don't know how true it was but it was
       2       A.    I see it. Yes, I do see it.                       2   stated to me that they were involved in the process.
       3       Q.    Okay. Do you know what he was talking             3   I don't know if that's true or not true.
       4   about is going to be my question. Do you know what he's     4             There was -- you know, I think there
       5   talking about?                                              5   were attempts to meet with us but I made it clear from
       6       A.    He's talking about local redistricting.           6   the outset we would not be discussing maps until
       7   Local. County, city, municipalities. This is in no          7   mapping was done because we were not going to accept I
       8   way related to the House.                                   8   would say feedback or any concerns from the black
       9       Q.    The next block however says -- is titled          9   caucus regarding the mapping because we were doing it
      10   update state redistricting, correct?                       10   without considering incumbents and that wasn't too
      11       A.    Yes.                                             11   pleasing to their ears.
      12       Q.    Okay. And let's flip to the second page.         12       Q.     To whose ears?
      13   It appears to be asking some questions. Is he asking       13       A.     The ones that asked to meet.
      14   questions about the Senate or the House?                   14       Q.     Who were those -- who were the ones that
      15       A.    I don't think he's asking -- I don't             15   asked to meet?
      16   know. I'd have to read that.                               16       A.     I will not give those names, sir.
      17       Q.    Why don't you take a minute and read it          17   That's not important. The thing is the attempt was
      18   and I'm going to ask you a question.                       18   made and because it was made, I made it very clear
      19       A.    Sir.                                             19   from the beginning that they would not be involved as
      20       Q.    Yes, ma'am.                                      20   those maps were being -- as the mapping was done.
      21       A.    I have to -- I have to defer back to --          21       Q.     President Murphy, you can't refuse to
      22   that question to someone else. I cannot answer that        22   give me names just because you don't want to give me
      23   question.                                                  23   names, okay. So you said that there were members of the
      24       Q.    Okay. I understand and I don't want you          24   Legislative Black Caucus who asked to meet with you.
      25   to answer questions you cannot answer. So I'm going to     25   What were the names of those people?

                                                                                                          49 (Pages 190 - 193)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22               Entry Number 194-2                Page 51 of 108
                                                     Brenda Murphy                                               February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                             Page 194                                                          Page 196
       1             MR. INGRAM: Objection as far as those               1   raise concerns repeatedly in the media?
       2   names overlap with the membership list of NAACP South         2       A.     No.
       3   Carolina conference.                                          3       Q.     Okay. Did you ever discuss with her
       4             THE DEPONENT: They do.                              4   launching some sort of media or public relations
       5             MR. INGRAM: I'm instructing her not to              5   campaign?
       6   answer.                                                       6       A.     No.
       7             MR. MOORE: All right. Again that's                  7       Q.     She's certainly spoken out in the media
       8   another issue for your protective order, Mr. Ingram. I        8   far more than you. Is that right, Ms. Murphy?
       9   want to go next, Mr. Parente to what's listed as 25 here      9       A.     Yes. And may I make a comment?
      10   which is the agenda for August 5, 2021.                      10       Q.     Yes, ma'am.
      11             (Whereupon, Defendant's                            11       A.     Ms. Teague did not join our group until
      12             Exhibit 13 was marked for                          12   after she completed her mapping so they are not
      13             identification.)                                   13   associated with each other.
      14       Q.     All right. So at the bottom of the page,          14       Q.     But Mr. Ruoff was involved in both her
      15   there are some statements about Mr. Ruoff. It says           15   map -- the map drawing for her and in consultations with
      16   Attorney Teague was present at the House meeting. Is         16   you. Is that right or wrong?
      17   that a reference to Lynn Teague?                             17       A.     Right.
      18       A.     Yes, it is.                                       18       Q.     I'm going to page 2. Do you see a
      19       Q.     Okay. Is Lynn Teague an attorney to your          19   reference to Attorney Leah Aden who's an attorney of
      20   knowledge?                                                   20   record in this case responding to Mr. Matthew's concern
      21       A.     I don't really know. I never -- I                 21   regarding how the House and Senate had different
      22   don't know.                                                  22   criteria and definitions of communities of interest and
      23       Q.     Okay. So you don't have any information           23   how it can be defined uniformly and is there community
      24   that suggests that she is actually an attorney, right?       24   input and access. And it says that Ms. Aden concluded
      25       A.     I'm saying -- well, he said attorney.             25   by stating it is exceedingly difficult to uniformly
                                                             Page 195                                                          Page 197
       1   That may have slipped by me. Maybe she is. I                  1   define communities of interest because of a host of
       2   don't -- I can't say that I knew that.                        2   community differences within the state. Do you recall
       3       Q.      But you do know Lynn Teague, right?               3   that?
       4       A.      Yes, I know her.                                  4        A.    When was this? What's the date on
       5       Q.      And --                                            5   this?
       6       A.      And, you know, as an associate, not               6        Q.    It's August 5th. Excuse me. The one at
       7   personally.                                                   7   the top says August 5th. The one at the bottom says
       8       Q.      Okay. And she's done a lot of speaking            8   August 12th. So it's hard for me to tell you what date
       9   out in the media about the issues of redistricting, has       9   it is.
      10   she not?                                                     10        A.    I'm going to say this. I was not the
      11       A.      Yes, she has.                                    11   chair of this committee nor the co-chair. There
      12       Q.      Okay. And --                                     12   were -- I don't recall those comments and sometimes I
      13       A.      She provided testimony.                          13   may not have been present at all of the meetings. I
      14       Q.      She's provided testimony but she's made a        14   do not recall that conversation.
      15   lot of comments to the press. Is that right?                 15        Q.    Okay. All right. And do you know if you
      16       A.      Yes.                                             16   were present for that discussion?
      17       Q.      Okay. And at one point, she made a               17        A.    No. I don't know. I don't know.
      18   comment indicating that she wasn't going to challenge        18        Q.    I mean it does describe a statement from
      19   the maps. Her role was out vocalizing concerns. Have         19   you about the Senate definition of communities of
      20   you read any such attribution to her, Ms. Murphy?            20   interest. Do you see that again on page 2?
      21       A.      I don't recall. I didn't read that               21        A.    Where?
      22   article, no.                                                 22        Q.    Before where I quoted the line that says
      23       Q.      Okay. All right. Let me ask you this             23   Attorney Leah Aden, LDF. It says President Murphy
      24   question. Did you participate in a discussion with Ms.       24   commented. Do you see that?
      25   Teague where it was decided that she would go out and        25        A.    Okay. My comment was in response to I

                                                                                                             50 (Pages 194 - 197)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2                Page 52 of 108
                                                    Brenda Murphy                                               February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                            Page 198                                                          Page 200
       1   guess Mr. Matthews who commented -- he questioned the        1       A.     Where are you at?
       2   legality of the two different housing processes,             2       Q.     Where it says update on mapping for
       3   different redistricting standards defining                   3   redistricting.
       4   communities, da-da-da, and whatever I said, it was in        4       A.     Oh, Attorney Lynn Teague?
       5   relationship to what he had said.                            5       Q.     Yes, ma'am.
       6             MR. MOORE: Okay. All right. So I'm                 6       A.     I see that.
       7   next going to go to August 26th, Mr. Parente, which is       7       Q.     Okay. Again she's identified as an
       8   Number 27 in here.                                           8   attorney there, correct?
       9             MR. INGRAM: We need a break.                       9       A.     I see. Uh-huh.
      10             MR. MOORE: Okay.                                  10       Q.     And it says that she attended the SC
      11             (Brief recess.)                                   11   State Democratic caucus meeting. Do you know if she --
      12              (Whereupon, Defendant's                          12   she takes the position that her organization is also
      13              Exhibit 14 was marked for                        13   nonpartisan. Is that right?
      14              identification.)                                 14       A.     That's a question -- we invited
      15             MR. MOORE: All right. So we're back on            15   nonpartisan participants.
      16   the record. I just have a couple of more questions, but     16       Q.     Okay. And do you know if she attended
      17   again before I finish my questions and cede the floor,      17   any Republican caucus meetings if you know?
      18   I'm going to note that we intend to keep this deposition    18             MR. INGRAM: Objection.
      19   open because we have not received all of the documents      19       Q.     Please answer.
      20   that might be relevant to a deposition of Ms. Murphy.       20       A.     No, I do not know. That's a question
      21             We just received a number of the                  21   you will have to ask Ms. Teague.
      22   documents. We barely had a chance to go over them last      22       Q.     Okay. Later it says Dr. Ruoff stated he
      23   night and I will say that -- we both said this for the      23   is working on state maps and his work reveals that
      24   record. I do not believe it is appropriate objection        24   Charleston, York, and Myrtle Beach would gain new
      25   and an appropriate position to take that you will not       25   districts based on population increases. As a result,
                                                            Page 199                                                          Page 201
       1   reveal information about members of the SC NAACP,            1   three districts will go away. Do you see that?
       2   particularly when there's a confidentiality order in         2       A.     I see that.
       3   place in this litigation and -- but we will deal with        3       Q.     And you understood, did you not,
       4   that at the appropriate time. So I'm going to pull up        4   President Murphy, that there were population increases
       5   the next exhibit which is exhibit number what, Mr.           5   in certain areas of the state like Charleston, York, and
       6   Parente? Is it 14? Okay. You can go down for just a          6   Myrtle Beach. Is that right? Did you understand that?
       7   moment.                                                      7       A.     Yes.
       8        Q.    Do you see this document, Ms. Murphy?             8       Q.     Okay. And did you also understand that
       9        A.    August the 26th?                                  9   there were population decreases in a number of areas?
      10        Q.    Yes, ma'am.                                      10       A.     Yes.
      11        A.    Yes, I do.                                       11       Q.     And when you have an increase in
      12        Q.    It's dated at the top August the 26th.           12   population, you sometimes have to draw new districts in
      13   It's dated at the bottom September 2nd. I'm assuming --     13   relation to that because the map is dictated by the
      14   you correct me if I'm wrong -- that the meeting was         14   population. Do you agree or disagree with that?
      15   actually held on August the 26th but maybe the other        15       A.     Yes.
      16   date is the date the minutes were done. Is that right?      16       Q.     All right. Now I'm going to ask maybe
      17   Do you know?                                                17   one or two more questions and then I'm done and I'll
      18        A.    Yes. The calendar -- I guess you could           18   cede the floor. Ms. Murphy, could you tell me -- can
      19   determine that by looking at the calendar, the day of       19   you identify for me the last time you voted for a
      20   the week it is. If it's a Thursday, that would be           20   Republican candidate for any office?
      21   correct.                                                    21             MR. INGRAM: Objection.
      22        Q.    Okay. And it first says that Attorney            22       Q.     Okay. Please answer my question, Ms.
      23   Teague identified as an attorney reported attending the     23   Murphy.
      24   SC Democratic caucus meeting as a nonpartisan observer.     24       A.     No.
      25   Is that what it says?                                       25       Q.     You cannot identify any such vote?

                                                                                                            51 (Pages 198 - 201)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                                 www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22                Entry Number 194-2                Page 53 of 108
                                                     Brenda Murphy                                                February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                              Page 202                                                          Page 204
       1        A.    No.                                                 1   already had a long day today.
       2        Q.    Okay. Do you think you voted for a                  2             MR. TYSON: I don't have a whole lot of
       3   Republican candidate for office in the last twenty             3   questions right now and it would be kind of following
       4   years?                                                         4   up. It's not going to be on new material. So Ms.
       5             MR. INGRAM: Objection. I'm instructing               5   Murphy, if you're okay, I've got some questions I can
       6   her not to answer. That's not relevant to her testimony        6   ask.
       7   as a representative of the South Carolina National             7             THE DEPONENT: Go ahead.
       8   Conference of NAACP.                                           8
       9             MR. MOORE: You can't instruct her not to             9   EXAMINATION BY MR. TYSON:
      10   answer a question because you don't believe it's              10       Q.     Ms. Murphy, thank you. Again I'm Rob
      11   relevant, Mr. Ingram, under our rules. And I believe          11   Tyson and I represent the Senate defendants in this
      12   that a number of your instructions have been                  12   case. I just want to -- I have a couple of -- several
      13   inappropriate.                                                13   buckets of questions.
      14        Q.    Are you going to answer that question or           14       A.     Buckets?
      15   not, Ms. Murphy?                                              15       Q.     But Mr. Moore kind of went from A to B to
      16        A.    Based on my instructions from the                  16   C to D so I'm going to try to stay in one bucket before
      17   attorney, I am not.                                           17   I go to another but I'm not promising I'm going to be
      18        Q.    Okay.                                              18   that organized.
      19             (Simultaneous crosstalk.)                           19            Let me just ask you a question to start
      20             MR. INGRAM: First amendment                         20   off. Mr. Moore asked right off the bat if you had ever
      21   constitutional rights, you can't -- especially in this        21   been deposed and you said you had been deposed
      22   case where it's not even relevant toward the claims of        22   previously one time in some case and I think Mr. Moore
      23   the case.                                                     23   asked you about whether Judge Lydon was the judge in
      24             MR. MOORE: You can take -- you will need            24   that case or something. Do you remember that?
      25   to file a motion for protective order with respect to         25       A.     I recall the question.
                                                              Page 203                                                          Page 205
       1   that, Mr. Ingram, okay. So with that, I think I'm done.        1       Q.      Okay. And do you recall your answer?
       2   So who is going next? Is it going to be counsel for any        2   That's what I'm interested in.
       3   of the other defendants? You, Mr. Ingram? How are we           3       A.      It was about the Myrtle Beach case,
       4   going to proceed?                                              4   yes.
       5             MR. INGRAM: I need to redirect but first             5       Q.      And the question was have you ever been
       6   see if there's any other questions from other                  6   deposed before. And do you remember you were deposed by
       7   defendants.                                                    7   me two years ago?
       8             MR. TYSON: I'd like to ask some                      8       A.      What was that in reference to?
       9   questions if this is a good time.                              9       Q.      Absentee ballot voting when you were a
      10             MR. INGRAM: Sure. You know we're                    10   plaintiff, the NAACP was the plaintiff in the Thomas
      11   already significantly over our five hour time frame           11   lawsuit?
      12   but -- and I don't believe you were noticed. Did you          12       A.      Absentee ballots. I may have.
      13   notice that you wanted to ask questions? We just had a        13       Q.      It was July the 27th.
      14   notice from the House defendants.                             14       A.      Okay.
      15             MR. TYSON: Yeah, he noticed the                     15       Q.      Yes, ma'am. 2020. I'm not a memorable
      16   deposition. I'm a defendant. I'm Rob Tyson. I                 16   person but I just wanted to make sure that the record
      17   represent the Senate. I'm allowed to ask questions.           17   was accurate that you have been deposed before.
      18             (Audio interference.)                               18       A.      Thank you. Thank you for reminding me
      19             MR. TYSON: Guys, you need to get on                 19   of that.
      20   mute. And, Mr. Ingram, since this thing is going to be        20       Q.      Yes, ma'am. This bucket that I wanted to
      21   held open, I think we're okay. Ms. Murphy, do you have        21   ask questions about is kind of about process. And some
      22   about fifteen minutes for me? I see you rolling your          22   of the complaints that the NAACP raised -- oh, let me
      23   eyes.                                                         23   ask you something. I'm really confused about how your
      24             MR. INGRAM: I would prefer we just wait             24   deposition is.
      25   to a later date since they don't seem to be -- we've          25             Sometimes you say you're representing --

                                                                                                             52 (Pages 202 - 205)
                                                     Veritext Legal Solutions
     800.743.DEPO (3376)                         calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22               Entry Number 194-2                Page 54 of 108
                                                     Brenda Murphy                                                February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                             Page 206                                                           Page 208
       1   you're there today representing the state conference.         1       A.     We did.
       2   Other times -- your attorney started off and said you're      2       Q.     So you did participate in a number of the
       3   just there individually. So I'm trying to figure out --       3   statewide hearings across the state, right?
       4   I think these questions are going to be addressed to you      4       A.     Me personally?
       5   individually. Is that okay?                                   5       Q.     No. The NAACP, your members, you and
       6        A.    How is it relevant to this conversation            6   your members.
       7   when we're here about the state conference?                   7       A.     I can't say what number. I can only
       8        Q.    Because there are two types of                     8   say that the time was difficult. In terms of virtual
       9   depositions and your attorney started off making sure --      9   capability because some could not come to the sites
      10   his first question, his first comment that he said was       10   where they were being held, they were unable to attend
      11   this wasn't a 30(b)(6) where you would be speaking on        11   because they were not virtual. There was not the
      12   behalf of the organization. And Mr. Moore said, no, I'm      12   virtual capability.
      13   not doing that. If I did that, I'd have to give you the      13       Q.     I understand that. But didn't you say
      14   topics. I'd have to do that.                                 14   earlier that you attended some of those meetings,
      15             And so you're here speaking, testifying            15   correct?
      16   individually. I just wanted to make sure that that's         16       A.     Yes, I did.
      17   clear so when I ask these questions, you're able to          17       Q.     And didn't you say earlier that you
      18   answer those?                                                18   attended some of the meetings held by the redistricting,
      19             MR. INGRAM: For clarification as I said            19   the ad hoc committee? Not the public meetings held
      20   before, she's here in her personal capacity as the           20   across the state but the ones back in Columbia once they
      21   president of the state conference. She is not here as        21   got here.
      22   Brenda Murphy. She's not a named plaintiff. She's here       22       A.     I did. I attended two meetings.
      23   representing the state conference. This is not a             23       Q.     And you testified at both of them?
      24   30(b)(6) deposition.                                         24       A.     Yes.
      25        Q.    Okay. So part of the complaint that's             25       Q.     And, you know, we've had -- Mr. Moore's
                                                             Page 207                                                           Page 209
       1   gone throughout and Mr. Moore asked you some questions        1   talked to you for a long time about all the different
       2   was about process and I just wanted to ask some               2   letters that you and I think you called your
       3   questions about that. Isn't it fair to say that the           3   coalition -- but y'all wrote a number of letters to the
       4   NAACP has been an active participant in the                   4   state House of Representatives concerning redistricting,
       5   redistricting process?                                        5   didn't you?
       6       A.     We have been an active participant in              6        A.    The letters were written, yes.
       7   terms of attending sessions. Not to the extent that           7        Q.    A number of them, correct?
       8   we would like to be but we have provided testimony            8        A.    The ones that were mentioned today.
       9   that's been -- you know, in terms of the testimony            9        Q.    I think it was at least a dozen but it
      10   being received, I will say we have been active in that       10   might be more.
      11   respect, yes.                                                11        A.    I don't think it was a dozen.
      12       Q.     And I think you testified earlier that            12        Q.    Okay. But it was a lot of letters. You
      13   you and/or your members participated in a significant        13   had an opportunity and you did take advantage of that
      14   number of the meetings that were held across the state,      14   opportunity, correct?
      15   right?                                                       15        A.    I would say me personally as
      16       A.     Oh, I didn't say that. I said a number            16   attending -- I attended two. I testified at two.
      17   was -- in terms of the hearings, yes, they were              17        Q.    Yeah, but I'm talking about --
      18   encouraged to participate but there was difficulty in        18        A.    Letters were written. Letters were
      19   terms of some attending the meetings because they were       19   written.
      20   during the day. You know, the majority of those              20        Q.    Yes, ma'am.
      21   sessions were done at the hours that were not good for       21        A.    I'm not saying that is adequate
      22   some of the membership of the NAACP.                         22   representation from the full body. I still as a
      23       Q.     And I think in each of those, you could           23   matter of record say the opportunities were not as
      24   have provided written comments. In fact, I think maybe       24   great to participate in testimony as was provided by
      25   the NAACP did provide comments on those, correct?            25   the Senate. It was a difference.

                                                                                                             53 (Pages 206 - 209)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                 www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22               Entry Number 194-2               Page 55 of 108
                                                     Brenda Murphy                                              February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                             Page 210                                                        Page 212
       1       Q.    And as the lawyer for the Senate, I say             1   but you are there to represent us as citizens of the
       2   thank you but today we're here about the House and you        2   state. The input that we provide should be not only a
       3   did write -- and your group did write a bunch of letters      3   consideration --
       4   and you also provided a number of maps, correct?              4       Q.    But --
       5       A.    Not a number of maps.                               5            MR. INGRAM: Let her finish.
       6       Q.    How many maps did you provide -- did your           6       A.    Not only considered but acted upon.
       7   organization --                                               7       Q.    Now what if somebody else said the same
       8       A.    That was provided for the House.                    8   thing? What if the ACLU said the same thing or the
       9       Q.    Right. More than one?                               9   League of Women Voters said the same thing or the South
      10       A.    I'm thinking one, maybe one revision.              10   Carolina Homebuilders said the same thing? If they said
      11       Q.    Yes, ma'am. So at least a couple. And              11   we're entitled to have our views heard and you must act
      12   you provided comments on various drafts of the House         12   on them, how would that work?
      13   maps, right?                                                 13       A.    Sir, you represent us.
      14       A.    I did. May I comment, sir?                         14       Q.    Correct. And that's what I'm just trying
      15       Q.    Yes, ma'am.                                        15   to make sure that you understand that you are able and
      16       A.    My -- we may have provided comments.               16   were afforded the opportunity to provide in the process
      17   The goal, it was not just to make comments but it was        17   and I appreciate you doing that.
      18   for our voices to be heard and at least considered and       18            Okay. Let me ask you questions about
      19   to see some type of outcome in terms of what we had          19   your membership. I know we've had a lot of discussion
      20   recommended.                                                 20   about that and your lawyer there has a whole bunch of
      21       Q.    And that was --                                    21   motions for protective order that he has to file here
      22       A.    That was the intent.                               22   shortly but let me ask you something. Mr. Moore asked
      23       Q.    And I appreciate that. But my point is             23   why did you sue the House? And your answer was
      24   just a simple one. You did express your right and you        24   opportunity districts are not there but could have been.
      25   did voice it, right?                                         25   And so he said why did you sue -- why did you bring the
                                                             Page 211                                                        Page 213
       1       A.     Yes.                                               1   suit? And you said we heard from members across the
       2       Q.     And in many ways. From meetings,                   2   state. Do you remember that?
       3   testimony, letters, letters from your lawyers, legal          3            MR. INGRAM: Objection. Misstates --
       4   positions, maps. You did a variety of things to provide       4            MR. TYSON: For what?
       5   input in the process, correct?                                5            MR. INGRAM: Misstates testimony.
       6       A.     Yes, we did.                                       6            MR. TYSON: Does she get to answer that
       7       Q.     Okay. But that doesn't mean that you               7   before you do?
       8   always get your way though, does it?                          8            MR. INGRAM: That's how objections work.
       9       A.     It's not just my way. There were many,             9       Q.    Ms. Murphy?
      10   many concerns that were expressed by many at those           10       A.    Yes.
      11   hearings.                                                    11            MR. TYSON: I don't think that's how
      12       Q.     I understand that but I'm talking about           12   objections work but I appreciate that late on a Friday
      13   you specifically at the NAACP, your comments.                13   afternoon.
      14       A.     This is not about me specifically or              14            MR. INGRAM: We can read back the
      15   the state conference. It's about outcomes.                   15   testimony if we want to quote what she earlier said in
      16       Q.     Okay. But isn't it fair to say that just          16   the deposition.
      17   generally speaking on legislative actions, the               17            MR. TYSON: I'm a pretty good transcriber
      18   legislative process takes in multiple views, correct?        18   because it took my attention. I'm glad if you want to
      19       A.     They may. I can't answer that for them            19   go back, Mr. Ingram, and make it -- read it but I want
      20   but --                                                       20   to ask her a question, not talk to you.
      21       Q.     Well, you know they do.                           21       Q.    Ms. Murphy, do you remember that
      22       A.     I cannot speak for the legislators.               22   testimony?
      23       Q.     You know people have different opinions           23       A.    I'm not --
      24   on different issues, right, Ms. Murphy?                      24            MR. INGRAM: Objection. She's not going
      25       A.     Yeah, everybody has different opinions            25   to respond to your summary of her words when there's a

                                                                                                            54 (Pages 210 - 213)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22                Entry Number 194-2               Page 56 of 108
                                                     Brenda Murphy                                              February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                             Page 214                                                         Page 216
       1   record that we can refer to.                                  1       A.    Of course I did, sir. I just said I
       2       Q.    Let's try it again, Ms. Murphy. Do you              2   did because we were --
       3   remember Mr. Moore's question why did you bring this          3       Q.    Okay. How did you hear from them? Did
       4   suit?                                                         4   you get written communications? Was it --
       5       A.    I remember the question but it was much             5       A.    Sir --
       6   more detailed than what you have just said.                   6            MR. INGRAM: Objection. Asked and
       7       Q.    Give me an answer then, whatever you                7   answered.
       8   believe the detailed question is. Why did you bring the       8       A.    Sir --
       9   suit?                                                         9            MR. TYSON: I just got here. I just
      10       A.    Why did I bring the suit? Why did the              10   started. Let me finish my question before you yell
      11   state conference bring the suit?                             11   that. So let's hold on, Mr. Ingram. Let me finish my
      12       Q.    Correct.                                           12   question. I know you and Mr. Moore didn't gee haw but
      13       A.    The suit was brought because of several            13   give me a second here.
      14   reasons. The maps are not representative of districts        14       Q.    The question is how did you hear from
      15   that provide the opportunity for representation,             15   those members? I'm not asking you to identify them.
      16   especially I will note black representation. There           16   I'm asking, Ms. Murphy --
      17   has been -- the numbers have been minimized in terms         17       A.    We have --
      18   of potential opportunities for representation.               18       Q.    Hold on. Let me ask my question. Did
      19       Q.    Did you hear from any members across the           19   you get emails from them? Did you get phone calls from
      20   state?                                                       20   them? Did you get -- were you at meetings? I'm just
      21       A.    I think I answered that, too.                      21   asking a simple question. When you say you heard from
      22       Q.    And what was your answer?                          22   members before you bought the suit, what does that
      23       A.    My answer is we have branches                      23   process look like?
      24   throughout the state which we regularly communicate          24       A.    Our membership meets at least monthly.
      25   with.                                                        25   We had symposiums and by virtue of meetings. And I
                                                             Page 215                                                         Page 217
       1       Q.     And so my question is did you hear from            1   don't know if symposium is the right word but it was
       2   those branches and those members before bringing this         2   where we came together to look at the maps that have
       3   lawsuit?                                                      3   been drawn and it was done in such a manner that
       4            MR. INGRAM: Objection. Asked and                     4   everyone had input that wanted to have input. And we
       5   answered.                                                     5   had representation from throughout the state and there
       6       Q.     Go ahead. You get to answer the                    6   were at least two of those sessions. By Zoom meetings
       7   question.                                                     7   if you want to know.
       8       A.     Let me say again we started planning               8       Q.      Ms. Murphy, here is just -- I'm sorry.
       9   and talking about redistricting long before the               9   Did I interrupt?
      10   numbers were in. We encouraged -- we met with our            10       A.      No. I'm listening.
      11   members. We encouraged them. We provided information         11       Q.      Here's the problem. You say you heard
      12   to make them more familiar with the process in order         12   from your membership and you heard from registered
      13   for them to be involved in the redistricting process         13   voters. That's in your complaint. And you say that
      14   also because of the importance of that.                      14   you've got specific members in each of these challenged
      15            How districts is drawn we know impacts              15   districts.
      16   on our citizens, particularly black citizens. And so         16              And what you're telling us today is just
      17   in terms of dilution of the vote, it's very important        17   trust us because you did, you heard from them. And what
      18   that they be drawn in such a way that the votes are          18   we're trying to figure out is there any way, any
      19   not diluted and that they are in compliance with the         19   communication, anybody that can tell us who in the world
      20   Constitution. One man, one vote. What else did I             20   lives in any of these 29 districts or who in the world
      21   have to say? Do you want me to repeat everything I           21   wanted to bring this lawsuit. Is there any way?
      22   said?                                                        22       A.      I cannot give you those names, sir,
      23       Q.     No. I just want you to be responsive to           23   because they are members of the NAACP so I cannot give
      24   my simple question. Did you hear from members across         24   you those names.
      25   the state?                                                   25       Q.      One of the comments that you responded

                                                                                                            55 (Pages 214 - 217)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22               Entry Number 194-2                Page 57 of 108
                                                     Brenda Murphy                                               February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                             Page 218                                                          Page 220
       1   when I was talking about your answer just a second ago,       1   you all instructed me not to have in front of me,
       2   you said that you wanted to -- the opportunity districts      2   beside me, behind me or whatever.
       3   are not there that could have been. How many                  3            MR. MOORE: Can I interpose a point? Who
       4   opportunity districts do you think there should have          4   is the "you all" who instructed you not to have any
       5   been?                                                         5   document in front of you? Because I can tell you that
       6       A.    Oh, I'm not going to answer that                    6   "you all" is not me.
       7   question because I think that was a group discussion          7            MR. TYSON: It's not me. I don't know
       8   about that. I don't have those notes in front of me           8   who she's talking about.
       9   and I wouldn't attempt to answer it.                          9            MR. MOORE: Who is "you all"?
      10       Q.    So not very much or a whole lot more or            10        A.    Well, I was asked that question from
      11   just --                                                      11   the beginning, did I have any documents with me.
      12            MR. INGRAM: Objection. Asked and                    12        Q.    I'm not asking that. I'm just trying
      13   answered.                                                    13   to -- your testimony was there were not enough
      14       Q.    I'm still waiting for the answer.                  14   opportunity districts that were drawn.
      15       A.    I don't have an answer for you, sir.               15        A.    I can only --
      16       Q.    Okay. So when you said that they are not           16        Q.    My question is -- and I hear you. I
      17   there but could have been, how would we get that answer?     17   respect your answer. I think what you're saying you
      18       A.    They are not there but could have been?            18   have the answer to that but you just don't have it there
      19       Q.    That's what you said. That was your                19   today with you because you don't have those materials --
      20   testimony.                                                   20        A.    That's right.
      21       A.    That's probably a part of a phrase that            21        Q.    -- that you're able to say that, right?
      22   you took, sir, but I think the opportunity for there         22        A.    Yes. I can review the documents and
      23   to have been more competitive districts does exist.          23   provide that information.
      24       Q.    And I hear you saying that and the                 24        Q.    Okay. I was just trying to -- the way
      25   question is how many more and what's that based on? How      25   that you first said it, it was just kind of like a I
                                                             Page 219                                                          Page 221
       1   do we factor that into --                                     1   just think there should have been more and I was just
       2        A.    Sir, I can't --                                    2   trying to find out if there was any documentation to
       3             MR. INGRAM: Objection. Asked and                    3   support it. So I appreciate that you don't have them
       4   answered.                                                     4   there. So we will figure out how to get that answer
       5        Q.    Ms. Murphy, I asked a question.                    5   from you when you can review your documentation, okay?
       6        A.    Sir?                                               6             One of the things that you went through
       7        Q.    I asked a question. How would we find              7   that was kind of a discussion and it rambles throughout
       8   that out? You just said -- you just testified --              8   the complaint and it was about this -- the prior history
       9        A.    Sir, I'm going to ask a question. Why              9   of South Carolina redistricting and how it has been
      10   am I being asked the same questions over and over            10   unfavorable to black voters. And so I want to make sure
      11   again when I've answered them?                               11   that I follow up on some of the questions that Mr. Moore
      12        Q.    Well, I'm just asking you is there -- I           12   said because that's not true for 2010, correct?
      13   want to know is there somebody that can testify that can     13       A.     The numbers increased in 2010 and we
      14   tell us because your testimony was there weren't enough      14   know why it did.
      15   opportunity districts there. I'm just asking is there        15       Q.     What does that mean, the numbers
      16   somebody that can tell us that answer? If it's not you       16   increased? What numbers?
      17   on a Friday afternoon, who else?                             17       A.     The number of black legislators.
      18        A.    I don't have -- I was instructed not to           18       Q.     Okay. So there were opportunities for
      19   bring any notes, any of my documents. I'm in the             19   more African American --
      20   office which is closed and I came in due to COVID. I         20       A.     Because there were even fewer than
      21   do not have access to those records. I cannot speak          21   there are currently.
      22   off the top of my head regarding this.                       22       Q.     I'm just trying to ask a question about
      23             There is -- there is a great deal of               23   in 2010. I want to be clear on this. When the
      24   information and I think it's very unfair to ask me           24   complaint makes these assertions about the prior
      25   questions and I not have access to information which         25   problems with racial gerrymandering in South Carolina,

                                                                                                            56 (Pages 218 - 221)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22                Entry Number 194-2                Page 58 of 108
                                                    Brenda Murphy                                                February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                             Page 222                                                          Page 224
       1   that's not accurate for 2010, correct?                        1   We look -- we had in terms of individuals that could
       2       A.     I can say and, you know, I base things             2   be helpful, in terms of looking at data, looking at
       3   on how -- and I say this word often -- in terms of            3   the variables that we needed to consider. It's not
       4   outcomes. The numbers did increase in 2010. So were           4   that we independently -- we're not attorneys. We are
       5   they better than before? Yes.                                 5   not demographers and so we had to depend on others
       6       Q.     Well, I'm speaking in legal terms.                 6   with those skills that could do that.
       7       A.     I'm not an attorney, sir.                          7             So with those skills that we -- that
       8       Q.     But it pre-cleared plans from President            8   they had that complimented us in terms of knowing how
       9   Obama's Department of Justice, correct?                       9   to evaluate these maps, the decision was made that --
      10             MR. INGRAM: Objection. Calls for legal             10   in relevance to what you're asking me.
      11   conclusion.                                                  11             So it was not an independent decision
      12             MR. TYSON: No, it doesn't.                         12   by the state conference. We had to use demographers.
      13       Q.     It's just a simple yes or no. Did these           13   We had to have individuals with expertise in certain
      14   plans, the House, the Senate and the congressional           14   areas. Legally. Even in terms of the need for legal
      15   plans, all get pre-cleared by the Department of Justice?     15   guidance, we needed that as well. We are not
      16   You've already testified yes.                                16   attorneys. There was one -- we have one attorney
      17       A.     In 2010.                                          17   that's a member of our committee but his expertise is
      18       Q.     In 2010.                                          18   not in redistricting.
      19       A.     '11.                                              19       Q.     But, Ms. Murphy, I just wanted to know --
      20       Q.     Right.                                            20   you said that you looked just at the outcomes and my
      21       A.     No.                                               21   question was did you look at --
      22       Q.     And then there was a complaint that was           22             (Simultaneous crosstalk.)
      23   brought in the United States District Court of South         23       Q.     And did you look at any of the other
      24   Carolina claiming that the districts were racially           24   redistricting criteria or did your consultants --
      25   gerrymandered in a section two plan (sic). Do you know       25       A.     Yes, of course. That's why I said we
                                                             Page 223                                                          Page 225
       1   anything about the Ficus (sic) case?                          1   used demographers. We used individuals with expertise
       2       A.     No, I don't.                                       2   in terms of redistricting and to ensure that we
       3       Q.     Okay. But --                                       3   considered all the factors that needed to be
       4       A.     Fifteen minutes, sir.                              4   considered. So this was -- this was a comprehensive
       5       Q.     I might have twenty. Mr. Moore asked you           5   look at this with the consultation of individuals that
       6   a question and I think you just kind of spoke on it a         6   have expertise in the area.
       7   few minutes ago. When you analyze these maps or               7       Q.      And Mr. Moore asked you about the -- I
       8   whatever, you testified -- or let me make sure. I don't       8   think he called it redistricting principles and you said
       9   want Mr. Ingram to say that I'm putting words in your         9   you weren't fully aware of that but you understood the
      10   mouth. I think it was something along the lines that --      10   criteria, right?
      11   help me if I'm not -- that when you analyzed these maps,     11       A.      Yes.
      12   you looked at the outcomes. Do you remember saying           12       Q.      And you know the House had a whole list
      13   anything like that or is that accurate?                      13   of criteria that they use that weren't race-related,
      14       A.     You mean me, Murphy, or Moore?                    14   traditional redistricting criteria, right? Compactness.
      15       Q.     You. You said you looked at the outcome           15   They needed to be contiguous, needed to protect
      16   of the maps, how --                                          16   communities, right? You know about all those, right?
      17       A.     Yes.                                              17       A.      Yeah. Yes, I do.
      18       Q.     -- they affected black districts and the          18       Q.      And so what I'm asking is this. You
      19   opportunity for black people to be in competitive            19   know, I know you looked at the numbers to see what the
      20   districts.                                                   20   feedback is. You've got that throughout your complaint.
      21       A.     Yes.                                              21   I'm trying to figure out did you look at any of those
      22       Q.     Okay. And so did you look at any other            22   factors to analyze those specific 29 challenged
      23   factors when you analyzed these before your organization     23   districts and why they were drawn that way?
      24   brought the lawsuit?                                         24       A.      Of course they were -- we did look at
      25       A.     Let me say this. We looked at data.               25   that. That's why I said this was not looked at just

                                                                                                             57 (Pages 222 - 225)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2                Page 59 of 108
                                                    Brenda Murphy                                                February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                            Page 226                                                          Page 228
       1   as a specific district did one way or the other.             1   comprehensive standpoint considering all of the
       2   Factors were or variables were considered and that was       2   variables that needed to be considered, and if a
       3   with the expertise of demographers, individuals              3   district could be mapped in such a way that it could
       4   experienced in mapping.                                      4   be reflective or competitive, then that's the way the
       5             So it's not just a shot in the dark                5   mapping was done by our group.
       6   regarding potential for mapping to increase                  6       Q.     So let me just -- so you recognize that
       7   opportunities for representation by black people.            7   the House used traditional redistricting criteria to
       8        Q.    I think Mr. Moore asked you some                  8   draw some of these districts, right?
       9   questions about District 95 which Representative Govan's     9       A.     Traditional?
      10   is a member of that but --                                  10       Q.     Compactness, continuity, communities of
      11        A.    He didn't ask me about that, not 95,             11   interest, deviation, all of those traditional issues.
      12   but what is your question about 95?                         12       A.     I hope that was the intent.
      13        Q.    So for District 95, there were questions         13       Q.     I'm sorry?
      14   and there is all kinds of data throughout the complaint     14       A.     I hope that was the --
      15   about the BVAP and I was just wondering what are these      15       Q.     Let me ask that question again. Isn't it
      16   other redistricting criteria used by the state              16   clear that the House used those criteria for drawing
      17   conference to analyze whether those were used to draw       17   some of these districts?
      18   District 95?                                                18             MR. INGRAM: Objection. Asked and
      19        A.    Let me just say and I said this before           19   answered.
      20   no district was drawn in such a way it was reflective       20       A.     I cannot answer that question because
      21   or to ensure an incumbent. That was not considered as       21   it was -- I was not sitting on the committee when they
      22   one of the factors that we used.                            22   drew the maps.
      23        Q.    But what I'm asking about is do you know         23       Q.     But somebody in your group has looked at
      24   whether you or your experts analyzed whether the            24   them and they can tell that they're compact, right?
      25   district was compact? Did you analyze --                    25       A.     Oh, I'm certain, yes.
                                                            Page 227                                                          Page 229
       1       A.     I'm sure that -- well, I'm certain that           1       Q.     And they can tell that they're
       2   was considered, yes.                                         2   contiguous, right?
       3       Q.     Did they look to see whether it was               3       A.     Yes, they are.
       4   contiguous?                                                  4       Q.     And they can tell they preserve
       5       A.     That was one of the consistent                    5   communities of interest, right?
       6   criteria.                                                    6       A.     Yes, they did.
       7       Q.     Did they look to see whether the                  7       Q.     Okay. That's my point. Mr. Moore went
       8   population fell within the deviation?                        8   through a whole bunch of examples of communities of
       9       A.     Sir, I just said to you that all of the           9   interest so let me try this one last time. Is it fair
      10   variables were considered.                                  10   to say or accurate to say that the House did follow its
      11       Q.     And so who would we ask to determine if          11   criteria when drawing its districts?
      12   these 29 challenged districts that you have said you        12             MR. INGRAM: Objection. Asked and
      13   just looked at the results, who would be able to --         13   answered.
      14       A.     I did not say --                                 14       Q.     Go ahead and answer that, please.
      15       Q.     Hold on. Hold on.                                15       A.     I was not a member of the subcommittee
      16       A.     Well, I just don't want you putting              16   so I don't know if they were consistent or not.
      17   words in my mouth because I did not say that I just         17       Q.     Do you have any reason to think that they
      18   looked at results.                                          18   weren't?
      19       Q.     I thought we just went through this. Do          19       A.     I don't know.
      20   you want me to repeat those?                                20       Q.     You looked at the maps. You said you
      21       A.     We look at outcomes. Outcomes.                   21   studied them. They're compact. You can tell me that,
      22       Q.     Outcomes. Okay. And tell me how outcome          22   can't you? You can look at a map and tell me. We can
      23   is different than results.                                  23   pull one of those up that's still over there. We can go
      24       A.     It may have more variables. I may -- I           24   back through it ourselves.
      25   know. Let's just say we looked at it from a                 25       A.     Sir. Sir, right now the attorney

                                                                                                            58 (Pages 226 - 229)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                   Date Filed 03/21/22              Entry Number 194-2               Page 60 of 108
                                                    Brenda Murphy                                            February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                           Page 230                                                       Page 232
       1   doesn't have to speak for me but I'm telling you you      1               MR. LIMEHOUSE: I'm sorry. The reference
       2   are badgering me. Would you please be succinct in         2     to badgering?
       3   your questions so we can get on with this and I can go    3               MR. INGRAM: No.
       4   home. We've been at this since 10:00 a.m. It is now       4               (Simultaneous crosstalk.)
       5   five o'clock and I was told this deposition would only    5               MR. INGRAM: Your question about who made
       6   take five hours.                                          6     the decision to sue the governor.
       7             MR. TYSON: Ms. Murphy, can I just say           7               MR. LIMEHOUSE: I'm sorry. You were
       8   one thing? I appreciate your patience. This isn't an      8     speaking over the witness. The witness' reference to
       9   easy issue. So with that, I will take your advice. I      9     badgering.
      10   apologize if I was badgering you. I was trying to        10         Q.     Ms. Murphy, what were you referring to?
      11   make sure I understood your answer, but with that, I     11         A.     The voice in the background, not you.
      12   don't have any more questions. I hope you have a good    12         Q.     Okay. Got you. Okay. Try that again.
      13   weekend. Thank you for your time.                        13     Who made the decision to sue the governor?
      14             THE DEPONENT: Thank you.                       14               MR. INGRAM: Objection. Calls for a
      15             MR. INGRAM: Does counsel for the               15     legal conclusion.
      16   governor or any other defendants have questions before I 16         Q.     You can answer.
      17   redirect?                                                17         A.     The coalition decided.
      18             MR. LIMEHOUSE: Yes, I do. This is              18         Q.     Which members of the coalition?
      19   Thomas Limehouse for Governor McMaster. I have a couple19           A.     The coalition that's listed on our
      20   of quick questions.                                      20     correspondence.
      21                                                            21         Q.     Okay. When was the decision made to file
      22   EXAMINATION BY MR. LIMEHOUSE:                            22     this lawsuit?
      23       Q.     Good afternoon, Ms. Murphy. My name is        23               MR. INGRAM: Objection. This is
      24   Thomas Limehouse. I represent Governor Henry McMaster. 24       attorney-client privilege. Legal strategy. I'm going
      25   I have a few quick questions for you. It shouldn't be    25     to direct my client not to answer.
                                                           Page 231                                                       Page 233
       1   fifteen. Try to keep it as quick as possible. Are you       1      Q.      Why did the NAACP sue the governor?
       2   aware that Governor McMaster is named as a defendant in     2            MR. INGRAM: Objection. Privileged. I'm
       3   this lawsuit?                                               3   going to direct my client not to answer.
       4        A.    Yes.                                             4       Q.     What do you or the NAACP claim the
       5        Q.    Both in the original complaint and the           5   governor did or didn't do related to the claims in this
       6   amended complaint, right?                                   6   lawsuit?
       7        A.    Yes.                                             7       A.     The governor has ultimate
       8        Q.    I believe you testified that you were            8   responsibility for the final House plan which has been
       9   involved in the NAACP's decision to file this lawsuit.      9   signed off.
      10   Is that correct?                                           10       Q.     Anything else?
      11        A.    Involved in the decision to? Yes.               11       A.     Because the plan as we see it as a
      12        Q.    Who else was involved in the decision, if       12   coalition still has -- we still have concerns about
      13   anyone?                                                    13   specific areas and we want our voices to be heard.
      14        A.    The coalition. We made a group                  14            MR. LIMEHOUSE: All right. Thank you.
      15   decision to do it.                                         15   I have no further questions. Appreciate your time.
      16        Q.    Okay. Who made the decision to sue the          16            THE DEPONENT: Thank you.
      17   governor?                                                  17            MR. INGRAM: Okay. I need five minutes
      18        A.    The governor has final overall                  18   to clear my thoughts for redirect.
      19   authority, responsibility.                                 19            (Brief recess.)
      20             MR. TYSON: I was badgering.                      20
      21             MR. INGRAM: Can you put it on mute?              21   EXAMINATION BY MR. INGRAM:
      22             THE DEPONENT: Yes, you were badgering            22       Q.    Ms. Murphy or President Murphy, I have
      23   me.                                                        23   just a few questions for you. First, earlier today, you
      24             MR. INGRAM: And objection. Objection.            24   were asked questions about your preparation for a
      25   Calls for a legal conclusion.                              25   deposition. You testified to meeting twice. Do you

                                                                                                         59 (Pages 230 - 233)
                                                  Veritext Legal Solutions
     800.743.DEPO (3376)                      calendar-carolinas@veritext.com                              www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2             Page 61 of 108
                                                     Brenda Murphy                                            February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                             Page 234                                                     Page 236
       1   remember if that was once or twice a day on either of         1       A.     They are reflected in the minutes. The
       2   those days?                                                   2   coalition -- I don't want to miss anybody.
       3            MR. MOORE: Object to the form.                       3       Q.     Okay.
       4       Q.     You may answer.                                    4       A.     You know, I would rather you refer to
       5       A.     Twice on one day.                                  5   the listings on the minutes to have an accurate
       6       Q.     On which day?                                      6   membership.
       7       A.     My days running -- today is Friday?                7       Q.     And just to clarify, the coalition is
       8   Thursday.                                                     8   different from the South Carolina NAACP?
       9       Q.     Okay. And I have a couple of questions             9       A.     Yes, it is.
      10   about discovery. So you were asked about discovery in        10       Q.     And what role in the coalition would the
      11   this case and about your role in discovery. So without       11   South Carolina NAACP have?
      12   disclosing specifically what you discussed, do you           12       A.     Your question again?
      13   recall whether you worked with an attorney in this case      13       Q.     What role in the coalition does the South
      14   to respond to different questions that the defendants        14   Carolina NAACP have?
      15   were seeking from the South Carolina NAACP?                  15       A.     Ask that -- could you rephrase it?
      16            (Audio interference.)                               16       Q.     The South Carolina NAACP is a part of a
      17            THE DEPONENT: Somebody is talking in the            17   broader coalition, correct?
      18   background.                                                  18       A.     That's a different organization.
      19            MR. INGRAM: Can we please go on mute?               19       Q.     Correct. You would say the coalition is
      20   Someone is speaking.                                         20   an umbrella group of different groups, right?
      21       Q.     I'll repeat the question. Without                 21       A.     That's correct. Yes.
      22   disclosing specifically what you discussed, do you           22       Q.     And what role does the South Carolina
      23   recall when you worked with any attorney in this case to     23   NAACP have within that larger group?
      24   respond to different questions that the defendants were      24       A.     We are participants.
      25   seeking of you?                                              25       Q.     Are you -- would you consider yourself a
                                                             Page 235                                                     Page 237
       1       A.     No.                                                1   leader of the coalition? Is it a democracy? How does
       2       Q.     Do you remember discussing discovery               2   that work?
       3   responses with any of your attorneys?                         3        A.    It is a democracy. We spearheaded the
       4       A.     No.                                                4   initiative but it was a group pulled together to work
       5       Q.     Do you remember your attorneys asking you          5   together on the redistricting process.
       6   to collect documents for this case?                           6        Q.    Thank you. Now I'm going to turn to a
       7             MR. MOORE: Object to the form.                      7   few questions about the legislative cycle to get some
       8       Q.     You may respond.                                   8   clarification. You testified about individuals not
       9       A.     In terms of documents that were needed?            9   being able to participate in legislative proceedings.
      10       Q.     Correct.                                          10   What do you mean by that?
      11       A.     I was requested by someone by email               11        A.    Some were not able to participate
      12   that the documents were needed and I instructed the          12   because of the scheduled time for the hearing.
      13   staff to send those forms that were requested.               13        Q.    What time were the hearings scheduled?
      14       Q.     Thank you. I have a couple of questions           14        A.    During the day.
      15   about the distinction between the coalition and the          15        Q.    Do you remember what hours?
      16   South Carolina NAACP. President Murphy, you testified        16        A.    Ten a.m. Maybe 1:00 p.m.
      17   about working with the coalition on redistricting or         17        Q.    Does the conflict with many of the
      18   what otherwise may be reapportionment, slash,                18   schedules of the NAACP members?
      19   redistricting committee. Are these one and the same?         19        A.    Yes, it does. Many of them work. The
      20   That is, is the coalition and the reapportionment            20   only individuals that were able to attend were those
      21   committee the same thing or are they separate things?        21   that were retired pretty much.
      22       A.     They are the same.                                22        Q.    How many proceedings were at night or on
      23       Q.     Can you describe off the top of your head         23   the weekend?
      24   if you can the various groups who are part of the            24        A.    None on the weekend. At night? I
      25   coalition?                                                   25   don't recall any at night.

                                                                                                         60 (Pages 234 - 237)
                                                    Veritext Legal Solutions
     800.743.DEPO (3376)                        calendar-carolinas@veritext.com                             www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                    Date Filed 03/21/22               Entry Number 194-2                Page 62 of 108
                                                    Brenda Murphy                                                February 4, 2022
                                   The South Carolina State Conference vs. McMaste,
                                                            Page 238                                                           Page 240
       1       Q.     And did you attend hearings by the House          1          MR. MOORE: Mr. Lambert. Excuse me.
       2   on proposed state House maps?                                2   Mr. Limehouse.
       3       A.     Yes.                                              3          MR. LIMEHOUSE: I do not.
       4       Q.     What do you recall from those meetings            4
       5   regarding concerns people had about the impact of the        5   EXAMINATION BY MR. MOORE:
       6   maps on black voters?                                        6        Q.     So Ms. Murphy, do you believe that you
       7       A.     There were many concerns expressed,               7   shouldn't have to disclose the names of your members in
       8   disagreements in terms of how the maps had been drawn.       8   discovery? Is that correct?
       9   Not just from the members that did participate that          9        A.     Well, not only is it a personal belief,
      10   were giving testimony but also from others. Concerns        10   it is a national -- in terms of our constitution and
      11   and disagreements regarding with how lines were drawn.      11   bylaws, we cannot disclose the names of members and
      12       Q.     And did those concerns overlap with some         12   it's for a reason such as I have stated that we do
      13   of the challenged House districts in the amended            13   not.
      14   complaint?                                                  14        Q.     You also don't want to disclose the
      15       A.     They did.                                        15   process by which you say trust us, we have people in
      16       Q.     And do you recall if your plans combined         16   these challenged districts. You don't want to disclose
      17   nineteen incumbents?                                        17   that process either, do you, ma'am?
      18            MR. MOORE: Objection as to form.                   18              MR. INGRAM: Objection. Misstating
      19       Q.     You may respond.                                 19   testimony.
      20       A.     Okay. You're asking me if --                     20        Q.     Please answer my question, Ms. Murphy.
      21       Q.     Do you remember if the map submitted by          21        A.     I stated as a requirement of our
      22   the South Carolina conference combined nineteen             22   national office, we are not to disclose the names of
      23   incumbents against each other?                              23   our membership.
      24       A.     No. I think I said no before. That's             24        Q.     I didn't ask you a question about names.
      25   something I would have to look at. I can't -- I can't       25   I asked a question about process because -- I'm going to
                                                            Page 239                                                           Page 241
       1   state yes or no on that.                                     1   ask you again. Can you tell me what process and what
       2       Q.     Thank you. I just have a few last                 2   records there are at the SC NAACP that can identify
       3   questions about South Carolina NAACP membership. So          3   these members for names in the challenged districts?
       4   you've been asked about the identity of South Carolina       4            MR. INGRAM: Objection. Asked and
       5   NAACP members by Mr. Moore and you stated your               5   answered.
       6   unwillingness to disclose names. Why are you concerned       6       Q.     Yes or no.
       7   about disclosing the names of your membership?               7            MR. INGRAM: Objection. Asked and
       8       A.     I'm very concerned about disclosing the           8   answered.
       9   names because I have to look at the history in this          9       Q.     The answer is yes or no, ma'am. Can you
      10   state in terms of what happened to people in past           10   describe that for me?
      11   years in some of these counties where their names were      11       A.     No.
      12   disclosed. They lost their jobs. Some even had to           12       Q.     Okay. However --
      13   move out of state so that is a big concern, a great         13       A.     No. Excuse me. I cannot answer that
      14   concern for not disclosing the names of our                 14   because of my restrictions because of policy from the
      15   membership.                                                 15   national organization that we do not disclose that
      16       Q.     Thank you. And do you have concerns              16   information.
      17   today about the same sort of reprisal that you just         17       Q.     But yet you're aware that your counsel
      18   described?                                                  18   has taken the position that the House by virtue of your
      19       A.     I will and I always will.                        19   challenge must subject all of its documents that are
      20             MR. INGRAM: Thank you. That is all I              20   arguably shielded by legislative privilege to scrutiny
      21   have on redirect.                                           21   by you. Is that correct?
      22             MR. MOORE: Mr. Tyson, do you have any             22            MR. INGRAM: Objection. Objection.
      23   questions before I begin because I only have one or two?    23   Calls for a legal conclusion.
      24             MR. TYSON: No, I don't have any                   24       Q.     You may answer that question, Ms. Murphy.
      25   questions.                                                  25       A.     I would have to refer you to our

                                                                                                            61 (Pages 238 - 241)
                                                   Veritext Legal Solutions
     800.743.DEPO (3376)                       calendar-carolinas@veritext.com                                 www.veritext.com
3:21-cv-03302-MGL-TJH-RMG                     Date Filed 03/21/22                Entry Number 194-2               Page 63 of 108
                                                     Brenda Murphy                                                February 4, 2022
                                    The South Carolina State Conference vs. McMaste,
                                                              Page 242                                                         Page 244
       1   general counsel, the NAACP national office.                    1   deposition open provided -- pending resolution by the
       2       Q.     And, Ms. Murphy, again as we sit here               2   Court of the issues surrounding the unanswered questions
       3   today, you can't give me a bit of evidence that you have       3   and the providing of other documents. I don't have
       4   to support your claim of purposeful racial                     4   anything further. Mr. Tyson?
       5   discrimination, can you?                                       5            MR. TYSON: No. I'm good. Thanks,
       6             MR. INGRAM: Objection. Asked and                     6   everybody. It's been a long day. Thank you.
       7   answered.                                                      7            MR. INGRAM: Thank you.
       8       Q.     You can answer, Ms. Murphy.                         8
       9       A.     I will again say in terms of looking at             9          FURTHER DEPONENT SAITH NOT
      10   the districts and how the lines have been drawn and           10
      11   who live in those areas which is the outcome, the vote        11
      12   for black people has been diluted. That's the outcome         12
      13   statement.                                                    13
      14       Q.     There's a difference between outcome --            14
      15   and that's your opinion that the votes of black people        15
      16   have been diluted, right? That's an opinion by you?           16
      17       A.     Well --                                            17
      18             MR. INGRAM: Objection.                              18
      19       A.     I again respond I'm a member of a                  19
      20   coalition. We have evaluated these mappings, the              20
      21   drawings, the mapping that has been done and that is          21
      22   our opinion based on consultation with individuals            22
      23   that have expertise in the area.                              23
      24             MR. MOORE: I don't have any further                 24
      25   questions. Thank you. As I said earlier, we're                25
                                                              Page 243                                                         Page 245
       1   leaving this deposition open because of the late               1            CERTIFICATE
       2   production of documents.                                       2
       3             Ms. Murphy, I didn't tell you this                   3
       4   deposition would only take five hours. It was a goal           4   STATE OF ALABAMA)
       5   but I will also say that in my opinion the reason this         5   MOBILE COUNTY)
       6   deposition went so long is because instead of giving           6
       7   responses, direct responses to questions, you engaged          7            I hereby certify that the above
       8   in soliloquy rather than answering the question.               8   proceedings were taken down by me and transcribed by me
       9   That's my opinion.                                             9   and that the above is a true and correct transcript of
      10             MR. INGRAM: This is harassment at this              10   the said proceedings given by said witness.
      11   point.                                                        11            I further certify that I am neither of
      12             MR. MOORE: I just wanted to say that.               12   counsel nor of kin to the parties nor in anywise
      13             MR. INGRAM: This is harassment at this              13   financially interested in the outcome of this case.
      14   point. I want to make a record that you just launched a       14
      15   diatribe at my client.                                        15
      16             MR. MOORE: I didn't want to diatribe.               16
      17   This is in response to her comments about the length of       17               <%18286,Signature%>
      18   the deposition so --                                          18
      19             MR. INGRAM: Can I get on the record by              19               JAN A. MANN
      20   the court reporter about how long this deposition has         20               COMMISSIONER - NOTARY PUBLIC
      21   taken?                                                        21               ACCR NO. 321
      22             THE COURT REPORTER: Just a second. Six              22
      23   hours and six minutes.                                        23
      24             MR. INGRAM: Thank you.                              24
      25             MR. MOORE: Again we will leave this                 25

                                                                                                             62 (Pages 242 - 245)
                                                     Veritext Legal Solutions
     800.743.DEPO (3376)                         calendar-carolinas@veritext.com                                www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 64 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [& - 6]                                                                                Page 1

              &              17 160:14              2022 1:24 3:7 7:6         321 245:21
     & 4:4 5:2,8             18 176:23 177:2        204 6:4                   33 101:2 104:6
                               189:21               21 96:13                  34 101:3,7,11,21
              0
                             1800 5:10              23 46:23 47:8               104:1,7,16,16
     03302 1:5               181 6:21                 56:11 96:8 97:10          156:10,11,15,15
              1              18286 245:17           XX-XXXXXXX 41:24          36 159:17
     1 6:10 22:22 39:23      186 6:22                 43:13 44:2 45:18        365 151:3,10 152:7
       40:1,7                189 6:23               230 6:5                     152:20
     10 6:21 86:22           19 125:11              233 6:6                   36603 2:5
       181:1,18              1939 42:22             23rd 57:1 111:4           37 162:25 163:13
     10-7-21 6:22            194 6:24               24.59 85:17,22              163:14 167:22,23
     10006 4:9               1975 33:4                86:10 87:5              39 6:10
     102 131:3 132:14        198 6:25               240 6:7                   3:21 1:5
     103 131:3 132:14        1985 35:8              25 87:4,4,11 194:9                 4
     106 6:18                1:00 237:16            25.28 85:12,21
                                                                              4 1:24 6:14 7:6
     10:00 230:4             1:15 102:23              86:4
                                                                                43:2 67:2 81:21
     10th 56:25                        2            26 104:5,21
                                                                              40 4:8
     11 6:22 186:5                                  26.6 99:10 101:2
                             2 6:12 44:6,9 67:1                               41 159:20 160:1
       222:19                                       26.8 104:19
                               196:18 197:20                                    161:2 162:13,14
     11-10-21 6:14                                  260 2:4
                             2000 29:16 30:17                                   165:22 166:6
     11-18-21 6:23                                  26th 198:7 199:9
                               31:1,13                                          172:21 173:3,6,22
     1100 4:24                                        199:12,15
                             2010 101:7 105:16                                  178:22
     111 131:3 132:15                               27 85:24 125:9
                               119:10,20,21,22                                43 160:1 161:2
     115 20:7                                         198:8
                               120:7,15,19,25                                 44 6:12
     117 56:20 151:2                                27th 205:13
                               121:21,22 153:7                                49 186:2
       152:6                                        28 85:24 87:19
                               221:12,13,23                                   4th 3:6
     12 6:23 189:23                                   104:21
                               222:1,4,17,18                                           5
       190:2                                        29 83:22 86:21
                             2011 152:1,14
     1221 5:10                                        87:11,19 217:20         5 6:15 88:12
                               153:7 154:21
     1230 4:15                                        225:22 227:12             194:10
                               155:4 171:4
     12th 111:2 197:8                               29201 4:16,25 5:11        500 152:2,16
                             2020 85:8,11,16
     13 6:24 194:12                                 29211 5:5                 501 43:2
                               86:2 95:9 103:24
     1310 5:4                                       2nd 199:13                509 137:14,14
                               105:9,12,14
     132 6:19                                                3                57 46:23 47:7
                               205:15
     14 6:25 198:13                                                           XX-XXXXXXX 45:14
                             2021 21:12 55:10       3 6:13 66:23 67:4
       199:6                                                                  579 135:12,17
                               56:11 77:1 86:22       67:8
     15 125:10 130:18                                                         5th 4:8 197:6,7
                               96:13 106:5 107:5    30 13:10,11,14,17
       131:18                  125:8,9,10,10,11       22:22 125:8                      6
     16 166:24                 130:18 131:18          206:11,24               6 6:16 13:10,11,14
     165 6:20                  140:25 186:2,24      30th 125:12                 13:17 87:20 97:9
                               189:21 194:10                                    97:11,11,14 106:5
                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 65 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [6 - ago]                                                                              Page 2

       107:5 164:22          ability 9:4 75:4,12    activities 38:22          advisor 35:15
       166:1,2 206:11,24       93:12,12             actual 126:13,16          advocacy 76:19
     6/10/2021 45:23         able 12:6 38:9           156:15 170:9              77:9,16,18
     611 45:9                  51:5 94:25 100:19    actualized 182:13         advocate 38:23
     628 151:14 152:22         110:19 114:6         ad 62:25 115:24           advocated 78:5
     65 91:21 92:8             115:8,9 128:20         116:3,6,8 117:2,4       affairs 33:11
     66 6:13                   151:22 156:5           125:4 127:10,17         affiliate 29:24
     6th 106:15                158:9 187:7,21         127:18,22 130:19        affiliated 29:21
              7                206:17 212:15          134:12 208:19             36:2
                               220:21 227:13        add 34:13 127:5           affiliates 51:15
     7 6:3,18 81:24
                               237:9,11,20            130:14                  afforded 212:16
       106:9,12 132:2
                             absentee 205:9,12      adding 129:1              afl 27:8 77:23
       155:17 156:22
                             absolutely 103:20      addition 83:13              98:11
       157:4,14 176:21
                             academy 100:1          address 20:6              african 48:21 64:9
       186:2,24
                             accept 193:7           addressed 206:4             64:10,11,13 78:25
     70 92:8 160:13
                             acceptable 24:2        addresses 144:11            94:3 95:7,19
     700 4:15
                             access 115:5,6           144:16                    101:8 103:23
     75 91:21
                               144:11 185:17        aden 4:6 13:25              104:2,16 105:9,10
     77 20:13
                               196:24 219:21,25       14:9 99:1 182:3           105:11,15 121:19
              8              accr 245:21              196:19,24 197:23          122:9 221:19
     8 6:19 41:14,15,15      accurate 83:23         adequate 55:4             afternoon 213:13
       43:11 106:11,12         205:17 222:1           209:21                    219:17 230:23
       125:10 132:2,3,5        223:13 229:10        administration            age 33:24,25 86:10
     8-26-21 6:25              236:5                  33:14                     86:17 88:19,24
     8-5-21 6:24             aclu 14:15 26:19       administrative              89:1 99:10 100:18
     80 91:21                  27:8 77:23 99:6        98:9                      100:18 105:11
     81 6:14                   141:15,17 142:3,5    admission 43:1              157:15
     85 35:9                   142:18 143:20        admissions 6:11           agency 47:11
     88 6:15                   144:14 145:1           39:18 40:20               52:10 74:11
              9                183:9 185:19         admit 41:23 42:13         agenda 6:22,24
     9 6:20 42:8,9 43:6        212:8                  43:19,20,22               38:24 186:10,25
       43:12 165:9           act 56:20,25 74:17       132:20                    187:5 194:10
     9-30-21 6:21              151:2,3 178:22       admits 43:12 44:2         agent 45:7
     95 226:9,11,12,13         212:11               admitted 42:8             ages 109:16
       226:18                acted 55:20 212:6        45:18                   ago 44:24 115:15
     97 6:16                 acting 7:2 69:19       admitting 183:25            118:19 129:10
     9:05 1:24 7:7           action 181:25          adriel 99:5,5               131:10 138:13
                               182:7,19             advantage 209:13            147:5,17 148:5,18
              a
                             actions 211:17         adversely 69:22             153:13 163:7
     a.m. 1:24 7:7           active 207:4,6,10      advice 230:9                179:4 187:24
       230:4 237:16                                                             205:7 218:1 223:7

                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2     Page 66 of 108
                                            Brenda Murphy                      February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [agree - answered]                                                                  Page 3

     agree 42:25 43:12       allege 59:24             139:1,3,9,9,15       164:20 167:9
       43:25 54:12,14        alleged 170:2            153:20,24,24         170:5,25 171:22
       55:8 57:4 67:17         172:10 180:15          154:14,14 155:10     172:15,18 174:3,4
       67:20 88:18,22        allegedly 178:21         160:9 171:11,13      175:7 176:1,8
       89:22 90:18,19        alleges 59:4             172:9                177:16 179:13,19
       91:1 104:15,19          159:19 172:21        announced 24:20        180:21,22 182:24
       115:23 116:19,20      alleging 169:8           24:22,22             184:4 185:23
       116:22 119:19         allow 47:3 92:10       annual 36:21           187:19 188:4,10
       125:20 134:20           115:17               annually 45:4          188:20,23,25
       135:6,9,10,20,24      allowed 11:1           answer 9:15 10:3       189:9 191:22,25
       136:3,6,8 138:5,8       129:13 168:4,13        10:14,15,20 11:8     191:25 194:6
       145:18 147:16,20        203:17                 12:23,25 22:12,16    200:19 201:22
       150:4 151:25          alongside 141:6          22:18 30:7,11,12     202:6,10,14 205:1
       152:2,5,16 154:19     amelia 98:8              30:21,22 31:10,14    206:18 211:19
       155:3,15 157:13       amended 17:1,2           31:17,19,22,24       212:23 213:6
       157:15 161:15           55:9,11 56:10,21       32:6,13 35:1         214:7,22,23 215:6
       164:21,21 165:19        57:1,8 59:4 60:3       39:13 46:7 47:2,5    218:1,6,9,14,15,17
       165:22 201:14           66:5,6 71:21           47:15,16,20 50:11    219:16 220:17,18
     agreed 3:3,8,14,20        73:14 74:10 111:2      50:12 55:16 57:25    221:4 228:20
       76:18 82:7,19           156:8 165:21           58:15,16 59:21       229:14 230:11
       113:2 126:4             166:11 187:11          60:10,22 61:4,14     232:16,25 233:3
       147:17 153:12           231:6 238:13           61:15,22,23 62:5     234:4 240:20
     agreement 17:12         amendment 57:7           62:17 65:13,17       241:9,13,24 242:8
       130:22                  79:13 202:20           70:3,12,22,24 75:1 answered 31:16
     agrees 104:8            american 36:5            80:14,15 84:6,8      47:1 50:10 57:24
     ahead 131:17              48:21 64:9,10,12       87:14 89:13          59:23 60:7,9 61:6
       149:2 204:7 215:6       64:13 78:25 95:7       104:12,13,14         61:13,21 62:4,16
       229:14                  95:19 101:8 104:2      109:5 110:15,19      72:24 73:1 74:23
     al 1:15                   104:16 121:19          111:14 112:20        75:3,8,11 80:11,12
     alabama 2:5 7:2           122:10 221:19          113:4,5,9,23,25      82:12,14,17,23
       22:23 245:4           americans 94:3           114:3,5,6 115:2      84:5 104:11 109:4
     allegation 59:14          103:23 105:9,10        120:12,13,14,15      109:5 110:12,14
       59:17 60:19 62:1        105:11,15              120:22 121:23        112:18,19 113:8
       62:10 111:7 160:2     analytical 27:1          122:15 124:14,16     113:11,14 114:10
       163:3 168:7,9,11      analytics 28:18          126:2 127:1 129:2    123:25 124:1,17
       168:19 169:2          analyze 223:7            129:21 137:18        126:1,25 143:4,11
       171:7 177:23            225:22 226:17,25       138:2 141:20         147:9 172:13
       179:17                analyzed 223:11          143:25 145:18,20     175:22 178:13,25
     allegations 119:20        223:23 226:24          145:21 147:10        179:16,18,23
       153:23 159:3,12       anderson 67:19           149:10 157:23        180:19 188:9,20
       160:19 170:20,23        137:3 138:20           158:18 159:1,16      189:7,8 214:21

                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com            www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 67 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [answered - attachment]                                                                Page 4

       215:5 216:7           approved 48:7          article 195:22              111:13 112:9
       218:13 219:4,11       approximate 37:6       asked 18:2,4,7,16           115:2 122:14
       228:19 229:13         approximately            18:23,24 19:4,16          135:4,4,5 137:17
       241:5,8 242:7           16:13 25:2,4           28:3 31:15 41:5           148:5,6,12 149:12
     answering 9:21            36:12 37:16 83:22      46:25 50:9 57:23          160:25 161:3,9
       111:11 112:22           86:21                  59:13,20,22 60:6,9        167:12 168:10
       145:23 243:8          april 42:24,24           61:12,20 62:4,15          171:19 172:3
     answers 8:20,21         area 34:6,8,24           65:9 70:6 71:18           177:20 178:6,7
       113:15,16,19            41:11 63:7 69:7,9      72:23,25 74:22            185:1 187:20
       146:25 147:1            71:15,18 72:1,4        75:7 80:7,10,13           190:25 191:13,13
     antonio 4:5               91:23 94:11,21         82:11,13,22 84:4          191:15 216:15,16
     anybody 103:4             134:21,23 138:16       93:6 104:11               216:21 219:12,15
       173:20 217:19           139:16 141:15          112:17,19,23              220:12 224:10
       236:2                   142:4,15 151:5         113:7 114:10              225:18 226:23
     anywise 245:12            158:22 162:12,21       123:24 124:1,17           235:5 238:20
     apologize 67:7            171:11,11,12           125:25 126:24           asks 161:1
       88:16 164:11            174:23 225:6           130:19,22 132:13        assertion 137:24
       230:10                  242:23                 143:3,10,24               138:13 139:8
     app 85:3                areas 35:3 66:20         145:17 147:8            assertions 221:24
     apparently 51:25          66:21 67:18,22         148:18 155:22           assign 3:17
     appearing 4:3,11          68:2,22 71:9,13        172:13 174:19           assignment 178:3
       4:18 5:1,7              73:9,18,20 89:20       175:21 178:12,24        assist 51:18
     appears 191:13            111:18 114:21          179:15,18,22              142:17
     appendage 159:22          121:5,9,12 124:12      180:18 188:8,19         assistant 98:9
       163:16 164:23           124:15,23,23           189:6,8 190:20            184:24 185:8
       165:20                  130:23 133:9           193:13,15,24            assisting 28:7,19
     appendages 163:4          135:14 138:25          204:20,23 207:1         associate 33:12
     application 36:15         159:15,24 160:10       212:22 215:4              195:6
     applies 114:11            160:17 161:21          216:6 218:12            associated 28:5
     apportion 53:16           178:16 182:1,2,8       219:3,5,7,10              50:19 183:15
     apportioned 54:9          188:13 201:5,9         220:10 223:5              196:13
     appreciate 137:18         224:14 233:13          225:7 226:8             association 36:6,6
       145:18 210:23           242:11                 228:18 229:12             38:11 43:2 79:10
       212:17 213:12         arguably 241:20          233:24 234:10           assume 9:15
       221:3 230:8           argumentative            239:4 240:25            assuming 7:22
       233:15                  58:14 60:21 87:13      241:4,7 242:6             103:11 199:13
     appropriate 62:7          104:10 170:4,12      asking 9:8 13:8           assure 71:24 72:5
       145:20 198:24,25      army 34:14               22:11,13 23:10,11         74:16
       199:4                 arrive 83:25 84:3        65:14 69:5 73:20        attachment
     appropriately           arrived 84:7             73:23 90:6 91:10          166:23 190:14
       130:5                                          95:16 104:4

                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22    Entry Number 194-2        Page 68 of 108
                                             Brenda Murphy                         February 4, 2022
                            The South Carolina State Conference vs. McMaste,
    [attempt - berkeley]                                                                    Page 5

     attempt 193:17           audio 203:18            229:24                   beach 8:8 200:24
       218:9                    234:16               background 32:19            201:6 205:3
     attempted 19:6           august 14:4 76:22       192:25 232:11            bear 186:3
     attempts 193:5             125:8 194:10          234:18                   began 18:21,25
     attend 24:10,24            197:6,7,8 198:7      bad 9:24 90:7             beginning 7:6
       54:2 129:14              199:9,12,15           162:17                     113:18 192:18
       161:16 208:10          author 82:21,24        badgering 62:3,16           193:19 220:11
       237:20 238:1           authority 231:19        113:8 179:12             begun 54:20
     attendance 26:21         authorization 74:5      188:21,22 230:2          behalf 1:9 4:3,11
       27:16,17,22 97:23      available 51:18         230:10 231:20,22           4:18 5:1,7 17:7
     attended 23:7,13           97:3,4 138:19         232:2,9                    73:24 112:10,11
       23:14,14 24:25           144:20 172:2         bailey 119:2                113:19 206:12
       29:6,8 53:23             182:24 184:17        ballot 205:9              belief 240:9
       64:16 65:10 100:2        185:2                ballots 205:12            believe 9:1 12:6
       141:5 200:10,16        avoiding 150:9         ballpark 34:2               13:14 14:5 22:14
       208:14,18,22           aware 53:1,3,5,9       bamberg 63:19               45:22 55:19 60:8
       209:16                   85:10 105:8           64:11                      65:2,24 66:25
     attendees 183:2,25         111:24 120:4,6,9     barely 198:22               70:7 81:17 88:15
     attending 22:3             120:15,19,21         base 129:24 130:4           90:10 93:5 95:18
       199:23 207:7,19          122:2 125:2           222:2                      103:15 106:21
       209:16                   128:13,15 129:3,5    based 43:21 76:18           109:8 110:1,9,16
     attention 213:18           129:7,8,11 135:2      85:8 88:8 90:4             111:3 112:5,15,21
     attest 174:17,21           142:1 145:6,7         101:1,16 104:5             113:5,12 114:24
     attorney 14:7              148:17,19,21,23       105:20 110:10              114:25 115:18,23
       55:17 97:25              148:25 151:1,3        113:15,16 118:3            116:3,21 118:9,14
       100:12,23 111:15         172:7 225:9 231:2     143:19 160:3               118:18,19,25
       182:2,3 186:12,15        241:17                170:8 200:25               122:16 123:4,20
       188:6 194:16,19                  b             202:16 218:25              125:6 133:22
       194:24,25 196:19                               242:22                     134:19 139:18
                              b 13:10,11,14,17
       196:19 197:23                                 basically 15:8,11           141:5 146:21
                                22:22 204:15
       199:22,23 200:4,8                              15:18 25:18 51:15          147:4,17 148:17
                                206:11,24
       202:17 206:2,9                                 77:24 88:6,7               153:12 156:19
                              bachelor's 32:21
       222:7 224:16                                   89:21 94:2 107:24          164:5 173:12
                              back 29:10 42:15
       229:25 232:24                                  108:4 124:5                175:1 198:24
                                75:17 76:3 94:9
       234:13,23                                     basics 141:24               202:10,11 203:12
                                94:12 102:9
     attorneys 7:17                                  basis 12:25 20:23           214:8 231:8 240:6
                                103:10 138:7
       13:23 14:1,2,10,24                             20:25,25 21:9            belonging 185:3
                                153:3 154:21
       45:18 98:22 224:4                              31:23,24 137:8           belton 158:12,20
                                160:9 167:7,10,17
       224:16 235:3,5                                bat 204:20                  158:20,23
                                172:9 181:15
     attribution 195:20                              batch 166:24              berkeley 131:5
                                191:21 198:15
                                                                                 133:3,5,7 152:8,9
                                208:20 213:14,19
                                        Veritext Legal Solutions
     800.743.DEPO (3376)            calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 69 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [bernstein - carolina]                                                                 Page 6

     bernstein 63:7            223:18,19 226:7      brenda 1:23 3:5           bvaps 100:2
     best 9:8,12,25            238:6 242:12,15        7:7,11 8:1 106:4        bylaws 240:11
       30:14 33:1 66:10      blacks 84:16 94:15       107:4 112:23                      c
       75:4,12 133:20          96:2 160:11            171:9,12 173:18
                                                                              c 4:1,13 43:2
     beth 63:6               block 191:9              173:19,20,25
                                                                                112:23 204:16
     better 67:5 89:2        blocks 157:15            206:22
                                                                                245:1,1
       222:5                 blow 67:13             brief 52:17 146:17
                                                                              calendar 199:18
     beyond 32:3             bodies 190:22            160:7,7 165:7
                                                                                199:19
     big 40:17 239:13        body 209:22              176:15 181:16
                                                                              call 99:1
     bikers 8:8              born 19:24 20:2          198:11 233:19
                                                                              called 19:25 84:21
     bill 152:14,18          borrow 157:5           bring 11:24 49:8
                                                                                163:15 209:2
     bit 19:21 27:21         bottom 45:22             74:13 131:8 168:1
                                                                                225:8
       32:18 134:15,16         100:22,23 194:14       212:25 214:3,8,10
                                                                              calls 55:14,22
       135:15 242:3            197:7 199:13           214:11 217:21
                                                                                89:11 157:21
     bizarrely 159:22        bought 216:22            219:19
                                                                                175:5 216:19
     black 8:8 23:23         boundary 132:14        bringing 215:2
                                                                                222:10 231:25
       48:8,13,17,18,22      boykin 97:25           brings 8:1
                                                                                232:14 241:23
       59:9,9 60:14 61:2       182:2 186:12,15      broader 19:15,17
                                                                              campaign 39:9
       62:21,21 64:7           186:22 188:6           236:17
                                                                                81:10 196:5
       81:8 83:22 84:20        189:5                brooklyn 33:16,19
                                                                              campus 32:23
       84:21 85:4,12,19      branch 30:20             33:19,21,22 90:11
                                                                              candidate 30:16
       85:21 86:3,6,9,12       52:11 68:2 69:6,7      90:13,17
                                                                                31:1,13 39:10
       86:16,17,21 87:5        98:5                 brought 54:13
                                                                                81:11 105:2
       87:18 91:21,23        branches 24:12           111:2,3,4 214:13
                                                                                122:24 201:20
       92:9 93:11 94:1,3       37:10,11,12,14,15      222:23 223:24
                                                                                202:3
       94:24 99:9 100:18       37:15 42:20          bryant 13:12
                                                                              candidates 30:8
       101:2,2 102:3           138:25 140:1         bucket 204:16
                                                                                39:2,7 55:5
       104:5,6 105:2           171:16,17 190:18       205:20
                                                                                122:22 123:17
       109:22 118:5            214:23 215:2         buckets 204:13,14
                                                                              capability 208:9
       121:21 122:5,8,10     brawley 78:17,19       bunch 210:3
                                                                                208:12
       122:23 136:13,13        79:2 94:19             212:20 229:8
                                                                              capacity 1:14 32:2
       146:7,9 157:10,14     break 10:17,19,20      bunny 159:22
                                                                                206:20
       157:17 158:8            10:21,24 52:15,19      163:4,16 164:23
                                                                              carefully 50:5
       159:20,23,24            96:23 102:7,9,17       165:20
                                                                              carolina 1:2,7,15
       160:14 168:4,5,5        103:3 146:11,13      bureau 53:9
                                                                                4:16,20,25 5:5,11
       168:12,14 169:6,9       146:15,16 165:5      burr 5:8
                                                                                8:8 11:14,17 13:9
       169:10,21 170:19        176:14 181:14        business 79:9
                                                                                14:6 17:8 18:13
       190:21 192:3,7,14       198:9                busy 16:10
                                                                                19:25 20:8 26:16
       192:21,21 193:8       breaks 105:2           buy 36:21
                                                                                27:5 30:20 31:7
       193:24 214:16         breath 109:4           bvap 99:10 100:8
                                                                                32:2,22 33:17
       215:16 221:10,17                               100:16 226:15
                                                                                34:2,4,6,20 35:4
                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22    Entry Number 194-2        Page 70 of 108
                                             Brenda Murphy                         February 4, 2022
                            The South Carolina State Conference vs. McMaste,
    [carolina - clear]                                                                      Page 7

       36:1,6,10 37:8,23      cede 198:17              120:20 132:18           chose 67:25
       39:1 42:19,20            201:18                 133:1,6 153:19          christmas 111:3
       45:6,10 48:1           census 53:1,9,13         172:11 174:18           cio 27:8 77:23
       49:14,21,23 50:1,2       54:8 85:8,11,16        177:7,9 178:8             98:11
       65:1,15,21,23 66:1       86:2,23 87:3           180:14,16 187:15        circle 36:2
       66:4,18 71:1 76:9        99:15 105:6,9,12       217:14 225:22           circulated 106:13
       76:9 86:11 99:25         105:14,16 121:2,5      227:12 238:13           cities 92:22
       105:16 109:25            121:20,21,22           240:16 241:3            citizens 23:22,23
       112:24 121:20            122:4 157:15         challenges 66:19            212:1 215:16,16
       133:23 136:18          cepeda 99:5,5,7          120:4 133:9             city 33:16 69:1
       138:24 140:22            100:13,14,15,23      challenging                 90:14 136:14,19
       153:2 174:15             101:6 103:11           172:11                    136:22,24 137:1,2
       176:1,4 177:3            104:4                chance 198:22               137:5,9,20,24
       184:9 186:20           cepeda's 103:22        change 46:5,8 91:9          138:4,14 139:9,11
       192:7 194:3 202:7        103:25                 104:13                    139:12 153:24
       212:10 221:9,25        certain 10:13 11:5     changed 58:18,19            154:14 159:23
       222:24 234:15            59:15 81:10,11         109:15 144:5              161:22 162:5,17
       235:16 236:8,11          103:20 121:3           154:23                    191:7
       236:14,16,22             130:19 142:1,17      chapter 13:10             civil 7:4 8:20
       238:22 239:3,4           151:18 160:16          14:6                      22:21
     carolinian 19:24           201:5 224:13         charge 52:5               claim 83:21 137:8
     carolinians 83:21          227:1 228:25         charles 97:25               233:4 242:4
       86:20                  certainly 20:21          186:12,15               claimed 86:14
     carve 168:3,12             102:19 196:7         charleston 33:17          claiming 222:24
       169:9                  certify 7:3 245:7        34:7,7 131:5            claims 202:22
     case 1:5 8:9 14:19         245:11                 133:3,6,7 200:24          233:5
       17:24 22:22 28:11      cetera 71:10             201:5                   clarification 13:7
       51:22 52:1 120:1       chair 126:17           check 97:6                  15:19 35:23
       196:20 202:22,23         197:11,11            chester 67:19               206:19 237:8
       204:12,22,24           chairman 48:3,3          159:4,6,13,23,24        clarified 38:13
       205:3 223:1            challenge 173:5,23       160:1,9 161:22          clarify 57:18
       234:11,13,23             174:19 175:3           162:5,12,17               86:15 148:12
       235:6 245:13             195:18 241:19          165:17,25 168:3           156:2,14 236:7
     cast 151:22              challenged 66:13         168:12 169:5            classroom 140:12
     categories 36:25           66:16 67:18,21,25      171:11 172:19           clear 9:9 11:6 15:8
     caucus 192:3,7,14          68:10,14,18 69:12    chi 36:7                    32:8 37:24 80:17
       192:21,21 193:9          69:21 70:1,16,21     chief 33:12                 80:23 95:3 104:22
       193:24 199:24            71:21 72:7,20        children 34:21,22           109:10 174:10,11
       200:11,17                73:13,20 74:3,12     choice 162:23               187:24 193:5,18
     cause 7:7                  74:19,20,21 75:19    choosing 66:16              206:17 221:23
                                75:21 114:9                                      228:16 233:18

                                        Veritext Legal Solutions
     800.743.DEPO (3376)            calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22    Entry Number 194-2        Page 71 of 108
                                             Brenda Murphy                         February 4, 2022
                            The South Carolina State Conference vs. McMaste,
    [clearance - community]                                                                 Page 8

     clearance 120:7            184:12 185:15,19     comment 23:16             communication
     cleared 120:8,16           209:3 231:14           101:20 134:13             74:23 175:12
       222:8,15                 232:17,18,19           145:22 147:23             217:19
     clearer 134:16             233:12 235:15,17       149:1 151:16,16         communications
     clearly 80:20              235:20,25 236:2,7      152:24 154:23             11:7 185:22 216:4
       177:3                    236:10,13,17,19        190:24 195:18           communities
     clicks 97:2                237:1 242:20           196:9 197:25              28:10 48:23 89:6
     client 22:12,15          coalition's 48:6         206:10 210:14             89:10,15,21,23
       31:22,24 65:12,14        130:22               commentary                  90:2,17,21,25
       70:3 171:22            collaboratively          106:3,24 107:3            91:12 92:19,19
       185:23 232:24,25         77:25                  145:24                    94:17 109:21
       233:3 243:15           collect 19:6 235:6     commented                   111:20 112:5,16
     clinical 33:11           collected 19:9,16        197:24 198:1              112:21 113:6,12
     clock 102:8                68:6                 commenting 144:9            113:20,22 114:2
     close 100:22             college 35:16          comments 73:7               114:24 115:18,25
     closed 126:14            columbia 1:3 4:16        167:25 168:1              116:4,9,13,14,18
       219:20                   4:25 5:5,11 7:21       195:15 197:12             116:23 118:19,20
     closer 87:4,11             7:22 11:17 20:1,3      207:24,25 210:12          118:25 119:1
     coalition 14:3,11          20:6,7 32:23           210:16,17 211:13          127:15 134:17,18
       14:15,16,18 17:9         33:14,16 34:6,20       217:25 243:17             134:21 135:1,6,7
       17:10,15,16,22           34:23 35:2 54:6      commissioner 3:6            135:21 136:11
       18:9,11 19:15,17         63:7 68:24 69:1,2      3:21 7:3 245:20           151:18 168:4,13
       22:7 25:15,18,24         69:6,7,9 94:10,21    committee 6:17              168:24 169:1,6,10
       26:3,12,18 27:10         136:14,18,23,25        18:14 50:15 62:25         196:22 197:1,19
       28:15 49:9,12,13         137:1,6,9,13,20,25     96:12 97:20 98:3          198:4 225:16
       49:22,24 56:14,17        138:2,4,14,17          98:6 110:20               228:10 229:5,8
       68:7 72:15 76:14         139:14 161:17          115:24 116:3,6,8        community 22:2
       76:16,21 77:3,7,11       208:20                 117:2,4 125:4             28:13 30:6,15
       80:18 82:6,7,18,20     combination              126:17,17,18              89:19 92:11,13
       83:1,2,3,7,13,15         101:22                 127:19,22 130:19          108:5 109:23
       83:17,19 88:7,7,10     combine 146:2            132:13 173:12,15          111:18 114:16,19
       99:21 103:13           combined 48:20           173:16 186:17,21          118:5 119:4,6,8
       112:12,12,23             145:3,7,8,10,19        190:8,10,13               128:20 135:12,14
       113:15,17,20,21          147:6,16 148:19        192:22 197:11             135:18,19 136:15
       114:16 124:25            238:16,22              208:19 224:17             136:17,20,21
       125:3 126:4,8,11       come 29:10 75:17         228:21 235:19,21          137:3,9,20,25
       127:6 131:2              76:3 79:17 93:16     committee's                 138:14 139:9
       141:23 142:19            99:8 102:9 181:15      127:10 134:12             158:22 162:23
       143:19 149:22            192:22 208:9         communicate                 169:21 170:16
       173:4 174:13           comes 27:11 37:13        76:12 214:24              196:23 197:2
       177:25 183:4,10          167:15

                                        Veritext Legal Solutions
     800.743.DEPO (3376)            calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22    Entry Number 194-2        Page 72 of 108
                                             Brenda Murphy                         February 4, 2022
                            The South Carolina State Conference vs. McMaste,
    [compact - considered]                                                                  Page 9

     compact 226:25           complaints 16:24         238:5,7,10,12           conference's 98:5
       228:24 229:21            17:4,10,11,13          239:16                  confidential 11:6
     compactness                205:22               concert 17:21               70:4 172:4
       225:14 228:10          complete 12:16         concise 9:9               confidentiality
     compared 128:19            36:15 58:7 187:7     conclude 12:6               199:2
       157:9                  completed 50:8,13        63:25                   configured 92:10
     comparing 167:12           58:4,17 187:7,8,25   concluded 196:24          confirm 46:19
     comparison 171:1           188:5,7,11,15        conclusion 55:15            65:14 75:5
     compelling 22:23           189:5 192:13           55:23 89:12             confirming 65:6
     competing 94:15            196:12                 157:22 170:14             184:15
     competition              completion 58:1          175:6 222:11            conflict 237:17
       149:24                 compliance 3:11          231:25 232:15           confused 205:23
     competitive 59:11          127:13 215:19          241:23                  confusion 150:9
       59:13 60:16 61:3       complimented           conclusions                 150:13,17 153:14
       62:22,23 89:5            224:8                  169:25 170:1,8          congressional
       122:12 157:11          comply 117:5           conduct 140:15              163:22 166:2,9,14
       158:7,21 218:23          127:23               conducted 16:1              166:14 167:13,16
       223:19 228:4           complying 128:8          17:17                     222:14
     competitively            composed 91:20         conducts 53:13            connotation
       62:23                    126:11 135:16        conference 1:7              110:23
     competitiveness          comprehensive            11:14 17:8 18:14        consider 24:2
       161:11,13                225:4 228:1            26:11 27:5 31:7           38:16,19 110:16
     complaint 6:13           comprised 159:24         32:2 36:10 37:8           135:1 136:14,20
       17:1,2,2 21:11,17      concept 119:12           37:10,12,14,15,17         137:2,11,12
       55:8,9,19 56:2,8       concern 51:2             37:18,23 38:3             149:23,25 158:6
       56:11,12,21 57:1,8       66:21 71:8,16          39:1 42:19,20             224:3 236:25
       59:4,14 60:3 66:5        73:25 161:25           43:10 45:6,11           consideration
       66:6 68:19 69:19         166:7 182:14,15        48:1 49:15,21,24          50:25 57:11
       71:22 73:14 74:10        196:20 239:13,14       50:1 65:1,16,21,23        131:12 141:11
       111:2 132:23           concerned 23:22          66:1,4 71:2 72:14         212:3
       153:23 155:25            48:7 58:6 164:9        73:5 77:8 96:11         considered 24:5
       156:1,4,8,11 159:8       174:23,25 239:6,8      98:16 112:25              95:5 110:7,11,17
       160:25 161:1           concerning 159:12        140:22 149:22             122:24 129:19
       165:21 166:5,11          170:21,23 209:4        175:9,11 176:5            130:6,8 142:2
       170:22 178:9,11        concerns 50:3,6          183:13,15,19              144:5 154:24
       187:12 206:25            51:6 57:17 68:7        184:9,10 185:4,9          158:1 167:15
       217:13 221:8,24          161:20,22,23           186:20 194:3              169:7,22 210:18
       222:22 225:20            177:24 178:18          202:8 206:1,7,21          212:6 225:3,4
       226:14 231:5,6           182:11 193:8           206:23 211:15             226:2,21 227:2,10
       238:14                   195:19 196:1           214:11 224:12             228:2
                                211:10 233:12          226:17 238:22

                                        Veritext Legal Solutions
     800.743.DEPO (3376)            calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG          Date Filed 03/21/22    Entry Number 194-2       Page 73 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [considering - criteria]                                                              Page 10

     considering               continued 178:10        173:11 181:1             138:18 139:6,11
       103:18 110:6,10         continuity 228:10       183:5,23 187:12          152:11 157:8
       149:4 157:7             contrast 149:6          188:1 190:11             159:13,21,21,25
       193:10 228:1            contribute 151:21       191:10 199:14,21         160:1,9 165:25,25
     consist 134:21            contributes 154:4       200:8 207:25             168:3,12 171:11
     consistent 227:5          contributions           208:15 209:7,14          171:14 172:19
       229:16                    29:19                 210:4 211:5,18           190:19,21 191:7
     constituents 48:23        convenient 128:17       212:14 214:12            245:5
       177:4                   conversation            221:12 222:1,9         couple 66:11
     constitution 90:5           52:20 80:23,25        231:10 235:10            111:3 184:7
       117:5 127:14              119:15 197:14         236:17,19,21             198:16 204:12
       215:20 240:10             206:6                 240:8 241:21             210:11 230:19
     constitutional            conversations           245:9                    234:9 235:14
       91:4 93:21 202:21         10:25 11:2 15:4     correspondence           course 99:14
     consult 103:3               79:6                  232:20                   114:18 190:9
     consultant 98:14          coordinate 76:8       cost 36:20,23 37:2         216:1 224:25
       98:15 140:16,17         coordinated 71:2        50:19,21 51:19           225:24
     consultants               copies 17:4           councils 190:19,20       court 1:1 3:12 7:1
       224:24                  copy 41:17            counsel 3:4,16 7:5         9:21 10:4 16:25
     consultation              corps 34:14             9:20 10:25 11:8          17:14 22:22 32:13
       140:18 225:5            correct 10:10           12:5 44:24 52:19         35:23 55:21 58:12
       242:22                    13:22 15:2,24         83:5 103:4 131:9         97:5 102:11
     consultations               19:13 22:17 32:7      131:10 146:19            119:25 120:4,20
       196:15                    32:9 40:21,25         177:18 203:2             152:1 155:5 161:1
     consulting 27:12            43:21 46:11,21,23     230:15 241:17            176:12 177:19
     consults 98:18              47:8 49:5,16,17       242:1 245:12             222:23 243:20,22
     contact 173:7,20            50:8 52:11 53:16    count 85:1 103:21          244:2
       174:15,16 183:2           56:2 58:8,12          103:22,22              covid 28:8 83:8
     contacted 173:4             70:13 81:15 84:22   counted 30:13              84:14 126:14
       173:21 174:19             87:10 98:22 99:2    counties 37:13             219:20
     contacts 174:6              99:15 103:11,21       92:23 124:11,20        cracking 89:7
     contends 114:16             105:2,12,16,18        131:5 150:3,5,8          91:14 92:15 93:22
     contents 107:7              108:20 110:23         162:20 174:22          create 100:11
     context 117:19,21           117:8 119:21          239:11                   159:22 170:18
     contiguous 89:20            121:6,10,11,13,17   country 33:10            created 48:12
       155:1 160:5               121:22 123:4        counts 103:16            criminal 71:9
       225:15 227:4              125:16 130:25       county 68:20,21          criteria 78:6 85:12
       229:2                     131:5 132:11          69:1,9,13 84:11          85:17,21,22 86:3,9
     continue 55:3,24            139:19 152:2,7,20     94:11 114:18,19          87:5,6 117:5
       177:13,18 178:2           152:23 153:20         114:21 124:21,21         127:16 134:17
                                 162:8 166:1           124:22 133:3,4,6,7       135:2,5 196:22

                                         Veritext Legal Solutions
     800.743.DEPO (3376)             calendar-carolinas@veritext.com             www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22    Entry Number 194-2        Page 74 of 108
                                             Brenda Murphy                         February 4, 2022
                            The South Carolina State Conference vs. McMaste,
    [criteria - deponent]                                                                 Page 11

       224:24 225:10,13                 d            decide 81:9 94:25           116:4,9,13 124:12
       225:14 226:16          d 1:13 6:1 204:16      decided 48:2,25             196:23
       227:6 228:7,16         da 198:4,4,4             49:20 77:6,8,9          defining 117:6
       229:11                 dark 226:5               89:21 195:25              198:3
     criticism 134:11         data 53:1,6,10,12        232:17                  definition 92:13
     criticisms 163:18          53:15 54:8 68:15     decision 28:24,25           116:20,22 197:19
     criticize 164:23           84:1 85:8,11,16        48:6 49:8,9,11          definitions 196:22
       165:21                   86:3,6,23 87:3,9       50:7 57:14 146:9        degree 32:21,22
     criticized 118:11          99:15 144:20,24        158:18 224:9,11         delay 57:17 58:3,7
     critiqued 141:25           223:25 224:2           231:9,11,12,15,16         58:12
       142:22                   226:14                 232:6,13,21             delayed 54:23
     crosstalk 47:18          date 7:3 12:15         decisions 88:9            delivered 86:22
       70:9 78:11 123:18        45:20,21 46:9        decrease 48:21            democracy 237:1
       130:1 138:10             53:3 73:13 74:16       96:1 122:8,9              237:3
       153:10 168:16            74:17 173:2            150:13,16               democratic 30:2
       173:10 192:15            192:12 197:4,8       decreased 62:20             30:14,24 76:9
       202:19 224:22            199:16,16 203:25       94:7 101:24 102:5         199:24 200:11
       232:4                  dated 106:4,15           105:11                  demographers
     crystal 174:10             125:8,9,9,10,11,11   decreases 201:9             224:5,12 225:1
     csr 2:2 7:1                130:17 199:12,13     defendant 4:18              226:3
     culminated 100:5         dates 56:22 125:7        159:25 203:16           demographics
     current 20:14 94:6       daughters 36:1           231:2                     169:3,4,5,18
       102:1 123:12           day 3:6 7:21 8:2       defendant's 6:9             170:16
       148:19 171:2             18:24 84:1,1           39:22 44:5 66:22        denson 184:8,18
     currently 20:1             133:20 199:19          81:20 88:11 97:13         185:3
       21:2 36:11 95:8          204:1 207:20           106:8 132:4 165:8       denying 65:6
       95:12 105:19             234:1,5,6 237:14       181:17 186:4            department 33:10
       161:6 162:6 177:5        244:6                  189:22 194:11             120:8,16 222:9,15
       221:21                 days 16:6 44:24          198:12                  depend 27:2 224:5
     cusick 4:7 13:25           111:3 131:10         defendants 1:16           dependent 26:2
       14:8 99:2                234:2,7                4:11 5:1,7 7:18           89:4
     cut 28:21                deal 123:16 199:3        203:3,7,14 204:11       depending 91:8
     cv 1:5                     219:23                 230:16 234:14,24          150:19
     cycle 99:9 101:7         dealing 119:18         defending 10:10           depends 92:12
       119:21,22 120:7          121:1,2,4 123:16     defense 4:4 38:3            150:18 151:5
       237:7                    135:2 170:24         defer 46:3 191:21         deponent 96:24
     cycles 129:4             december 49:5          define 89:9,16,16           102:14,21,24
     cynthia 5:15               55:10 56:11,25         116:14,17,23              164:13 194:4
                                57:1 106:4,15          197:1                     204:7 230:14
                                107:5 111:4          defined 89:18               231:22 233:16
                                                       109:8 115:25              234:17 244:9

                                        Veritext Legal Solutions
     800.743.DEPO (3376)            calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22    Entry Number 194-2         Page 75 of 108
                                             Brenda Murphy                         February 4, 2022
                            The South Carolina State Conference vs. McMaste,
    [deposed - districts]                                                                  Page 12

     deposed 8:4,12,14        deviation 227:8        direct 9:19 232:25        discussing 133:15
       8:17 112:14              228:11                 233:3 243:7               193:6 235:2
       204:21,21 205:6,6      diamond 37:2           directed 184:21           discussion 23:21
       205:17                 diatribe 243:15,16     direction 69:20             23:25 56:5 114:9
     deposition 1:21          dictate 121:15         directly 42:5 83:6          150:24 156:9
       3:5,9,10,18,21         dictated 201:13        directs 12:24               164:8 195:24
       8:18 9:19 10:10        difference 161:12      disagree 56:24              197:16 212:19
       11:25 12:3,7,9,13        209:25 242:14          87:2 88:22 90:18          218:7 221:7
       12:14 13:10,12,15      differences 197:2        91:1 108:14,16          discussions 23:20
       13:17 15:5,13          different 36:25          116:19,22 136:6           81:3 88:8 103:6
       16:23 64:25 84:13        37:13 42:14 45:17      138:8 152:3             dismissed 119:25
       99:1 113:19              50:14 71:13 73:8       157:13,16 165:22        display 79:19
       164:12 198:18,20         84:20 85:1 90:16       201:14                  dispute 86:2,5,8
       203:16 205:24            90:20 91:7 92:24     disagreements               87:7,17 104:8
       206:24 213:16            100:10 116:17,18       238:8,11                distance 67:17
       230:5 233:25             116:23,24 120:10     disclose 32:10            distinction 235:15
       243:1,4,6,18,20          121:1 138:17,25        64:21 70:3 179:16       district 1:1,2 20:9
       244:1                    138:25 139:14          239:6 240:7,11,14         20:12,15 60:15
     depositions 3:13           154:6 158:16           240:16,22 241:15          61:3 69:21 70:21
       13:14 67:3 206:9         159:15 162:9         disclosed 184:15            71:21 74:21 91:6
     derogatory 108:3           167:14,16 179:21       184:18 239:12             91:7,20 92:8,17,21
     describe 197:18            196:21 198:2,3       disclosing 234:12           120:16 122:21
       235:23 241:10            209:1 211:23,24        234:22 239:7,8,14         123:10 131:3
     described 239:18           211:25 227:23        disclosure 22:19            135:16 137:15
     desire 36:15 99:8          234:14,24 236:8        22:24                     152:1 154:25
       99:11 122:25             236:18,20            discovery 17:23             155:16 156:21,22
     desires 83:15            differently 147:22       64:23 234:10,10           157:4,11,14,19,20
     desk 181:21              difficult 164:12         234:11 235:2              157:24 158:3,8,10
     despite 8:16               196:25 208:8           240:8                     158:21 159:19,20
       181:11                 difficulties 44:16     discrimination              160:23 161:5
     detailed 214:6,8         difficulty 207:18        59:5,8,16 60:5,20         162:6,13,14,18
     determination            digest 96:6              60:24,25 61:11,19         164:22,24 165:22
       77:12                  digesting 96:7           62:2,11 64:2              166:1,2,6 168:3,11
     determine 199:19         dillon 67:19             161:13 242:5              172:21 173:3,5,22
       227:11                 diluted 215:19         discuss 21:13,21            173:22,23 178:22
     determined 76:15           242:12,16              124:12 146:15             179:18 190:21
       153:8,9                dilutes 91:22            177:14 182:1              222:23 226:1,9,13
     detriment 111:8            93:11 109:23           192:23 196:3              226:18,20,25
     detrimental 48:8         dilution 215:17        discussed 13:16             228:3
     developed 82:18          dilutive 177:6           17:10 25:5 29:3         districts 48:16,19
       83:1 149:3 171:10        178:4                  177:12 234:12,22          53:20,24 55:6

                                        Veritext Legal Solutions
     800.743.DEPO (3376)            calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22     Entry Number 194-2       Page 76 of 108
                                             Brenda Murphy                         February 4, 2022
                            The South Carolina State Conference vs. McMaste,
    [districts - eight]                                                                    Page 13

       57:7,15 59:11,15       division 1:3 35:16      dollar 36:20               225:23 226:20
       60:15 62:22,23         doctor's 33:7           dollars 37:5               238:8,11 242:10
       66:13,13,16 67:18      document 12:15          doubt 103:25             drew 110:21
       67:21,25 68:10,14        39:20 40:8,9,10,23      151:8,11,13              141:13,16 142:5
       68:18 69:13,23           41:4,6,17,18 43:21    dozen 209:9,11             144:15,23 166:8
       70:1,16 72:8,21          44:1,3,22,23 45:3     dr 98:13 140:9,11          169:23 228:22
       73:13,20,25 74:3         45:17,18 66:10          190:17 200:22          drive 20:7
       74:12,19,20 75:14        67:9 74:7 82:5,8      drafted 126:4,7,9        due 49:6 126:14
       75:19,21 93:9,22         82:18 91:13 95:25       126:21 132:24            219:20
       96:1 108:20 114:9        96:3,4 97:16          drafting 129:19          dues 36:16,18,19
       115:4,12,14 117:6        103:10 131:20         drafts 210:12              37:4
       118:10 120:20            156:16,17 163:1       draw 51:10,11,13         duly 7:12
       121:16 122:12,19         164:4,15,17 165:3       144:7 157:10,24        duty 127:23
       123:6,9,12,14,21         165:6,12 167:18         158:20 169:18                    e
       123:22 124:3             175:16 181:2            190:20,22 201:12
                                                                               e 4:1,1 5:3 6:1
       130:19 132:14,17         184:11 186:1,8          226:17 228:8
                                                                                 245:1,1
       132:18,21,25             189:25 199:8          drawers 168:5
                                                                               ear 159:22
       133:1,5,7 151:9,10       220:5                 drawing 51:18
                                                                               eared 163:4,16
       153:8,19 154:15        documentation             57:20 59:14 69:23
                                                                                 165:20
       155:10 158:16            221:2,5                 89:5 141:10,19,21
                                                                               earlier 28:18
       160:1 161:2,24         documented 82:6           142:9,25 143:18
                                                                                 38:15 66:17 99:23
       163:22 168:6,15        documents 12:8            144:2,8,9,12,17,21
                                                                                 105:5 125:17
       170:18 171:2             12:12 16:16,19          149:23 157:19
                                                                                 126:3,10,13 140:3
       172:11,12 174:18         17:3,9 18:3,4,5,6,7     158:3,7 169:9,25
                                                                                 188:12 207:12
       174:19 175:3             18:11,16,20 19:4,7      170:8 190:19
                                                                                 208:14,17 213:15
       177:6,7,9 178:4,5        19:9,16 40:14,16        196:15 228:16
                                                                                 233:23 242:25
       178:9 180:14,17          40:22 41:10 44:4        229:11
                                                                               ears 193:11,12
       187:16,22 200:25         58:12 64:23 65:5      drawings 167:13
                                                                               easier 146:24
       201:1,12 212:24          82:6 83:10 96:22        242:21
                                                                               eastern 35:24
       214:14 215:15            115:19,20 172:3       drawn 81:7 92:21
                                                                               easy 230:9
       217:15,20 218:2,4        183:23 198:19,22        93:9,11 94:14
                                                                               edited 126:5
       218:23 219:15            219:19 220:11,22        109:16,21,22
                                                                               educate 28:10
       220:14 222:24            235:6,9,12 241:19       110:5,9 111:17
                                                                               education 71:10
       223:18,20 225:23         243:2 244:3             121:16,17 141:14
                                                                                 107:25
       227:12 228:8,17        dog 8:1,3                 142:22 156:22
                                                                               educational 4:4
       229:11 238:13          doing 75:25 100:4         157:4,14 158:11
                                                                                 32:19
       240:16 241:3             133:19 154:11           160:22 161:9,9
                                                                               effect 3:11
       242:10                   167:12 193:9            165:17 166:5
                                                                               effort 155:2
     divided 92:20,23           206:13 212:17           168:3,12 169:16
                                                                                 182:10
     dividing 92:17           doj 84:21 85:3,16         171:2,3 215:15,18
                                                                               eight 159:25
                                85:22 86:9              217:3 220:14

                                        Veritext Legal Solutions
     800.743.DEPO (3376)            calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 77 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [eighty - extent]                                                                    Page 14

     eighty 35:8             engage 38:21             130:4 139:8               194:12 198:13
     ein 42:1,2,3 43:10        110:2 138:7            143:21 168:10,15          199:5,5
       43:13,15,16,20,23     engaged 59:15            168:18,21,25            exhibits 6:8,9
       44:2 45:17,19           60:4 61:9,18 62:2      169:11 170:1,2,9          166:20 176:17,17
       46:5,11,14,15           111:7 243:7            170:13 242:3              176:17,19 181:7
     either 19:1 67:16       engaging 64:1          evident 94:11             exist 84:15 218:23
       71:19 72:6 103:3      enjoined 178:2         exact 46:9 148:18         exists 48:17 95:2
       234:1 240:17          ensure 99:8            exactly 113:20            expect 15:9,9,20
     elaborate 70:25           162:21 225:2           160:15 170:6              15:21
       94:22                   226:21               examination 6:2           expecting 111:14
     elapsed 102:8           ensures 89:6             7:8,15 204:9            experienced 226:4
     elected 102:4           ensuring 23:23           230:22 233:21           expert 51:10,11,22
     election 5:7 29:17      entire 69:9 107:11       240:5                     51:25 52:1
       30:17 95:9 101:7        107:20 112:4         examined 7:12             expertise 141:15
       103:24 144:20,24        136:15,19,20         example 26:19               141:22 142:3,15
       169:20                  137:25                 27:16 63:6 68:24          143:18 224:13,17
     elections 29:15         entitled 212:11          69:4 85:2 91:20           225:1,6 226:3
     eliminating 78:6        entity 162:18            135:11 183:7,11           242:23
     elizabeth 183:13        equitable 99:9         examples 229:8            experts 51:13,21
       185:10                erin 44:12             exceedingly                 51:24 52:4 226:24
     eloise 184:8,18         especially 106:16        196:25                  explain 37:20
       185:3                   134:17 202:21        excuse 67:2 84:24           38:19 45:16 55:18
     email 12:3 235:11         214:16                 146:12 197:6              75:10 113:20
     emailed 83:4            established 42:21        240:1 241:13              114:23 120:12,15
     emails 216:19             42:22,23             executive 18:14             126:22 137:10
     emotionally 182:4       et 1:15 71:10            98:2,5 186:16,21          148:5 153:22
     emphatically            eta 36:7               exhibit 6:10,12,13          155:10 157:3
       188:14                ethics 89:20             6:14,15,16,18,19          166:4,6,6 168:15
     employee 41:24          ethnic 84:17 85:6        6:20,21,22,23,24          168:18 189:10
     employers 45:13           86:7                   6:25 39:23,25           explained 125:17
     employment 43:3         evaluate 57:9            40:7 44:6,8,17            126:3 190:17
     enacted 152:14            224:9                  66:23 67:1,2,4,8        explaining 93:18
       171:3                 evaluated 242:20         81:21,23 88:12          explanation
     enactment 54:9          evaluating 58:18         97:6,9,11,11,14           120:13 188:18
       56:20 57:17           eventually 100:5         106:9 132:1,5           express 210:24
     encourage 128:12        everybody 84:1           156:7 164:7,10          expressed 161:25
     encouraged                211:25 244:6           165:9,13 166:17           178:18 211:10
       207:18 215:10,11      evidence 3:19 60:2       166:24 176:19             238:7
     endeavor 146:23           60:18 61:7,17,25       180:25,25 181:1,5       extent 12:23
     endorse 39:2              62:9 94:9,12           181:8,10,18 186:5         121:16 136:1
                               111:6 117:17           189:23 190:1,2            207:7

                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2         Page 78 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [eyes - forward]                                                                      Page 15

     eyes 203:23             favorite 8:2 67:7      filed 16:25 43:20         flip 42:7 100:21
               f             february 1:24 3:7         45:23 46:6 54:20          191:12
                                7:6 111:1              55:9 56:11 60:3        floor 4:8 79:13
     f 245:1
                             federal 7:4 8:19          72:6 178:11               198:17 201:18
     fact 8:16 26:21
                                16:25 17:14 22:21   files 45:25               florence 124:22
       51:13,21 69:3
                                41:24 45:13         filing 3:21 50:12         focus 41:12 163:3
       76:18 85:15 96:25
                                120:20 152:1,15        54:24 68:18 69:18         190:18
       127:21 130:6
                                155:4                  71:21 73:14 74:4       folder 44:17
       151:14 154:13
                             fee 140:17,19             74:9 113:21               131:24
       160:3 164:11
                             feedback 25:8,9        final 62:13 82:8          folk 136:13
       174:21 178:20
                                25:20 26:22 51:3       231:18 233:8           folks 26:19 37:7
       181:11 187:14
                                68:5 71:15,17       finalized 83:2               157:17 169:14
       207:24
                                140:6 193:8            142:23                    179:9
     factor 53:8 157:19
                                225:20              financially 245:13        follow 84:15 91:3
       157:24 158:3
                             feel 167:1 192:19      find 106:20 219:7            117:4 127:23
       160:17 219:1
                             fell 227:8                221:2                     137:13 221:11
     factors 60:23
                             fewer 60:15            fine 7:20 137:22             229:10
       110:6,17 158:6
                                105:15 134:21          186:22                 following 7:8
       223:23 225:3,22
                                221:20              finish 9:21 10:2             117:2 204:3
       226:2,22
                             ficus 223:1               12:14 120:3 130:2      follows 7:13
     facts 110:10 111:6
                             fifteen 52:14             168:17 180:3           fomby 184:8,18
       137:19,24
                                203:22 223:4           189:3 198:17              185:3
     failed 110:16
                                231:1                  212:5 216:10,11        force 3:10
     fair 93:20 99:9
                             fifty 37:4 92:3,6      first 6:10 7:12           ford 5:16
       149:11 207:3
                                123:1 190:20,22        8:18 12:10 16:11       foregoing 7:5
       211:16 229:9
                             figure 27:15 37:7         16:12 21:11 39:17      form 3:16 10:13
     fairfield 159:21,21
                                85:11,21 86:4,9        40:20 41:6 45:3           12:24 47:9 62:7
       165:17,25
                                87:11 104:19           49:8,24 107:7             77:6 189:16 234:3
     familiar 35:4
                                149:16 151:11          111:1 113:14              235:7 238:18
       51:21 52:1 82:2
                                160:14 168:2           126:21 131:4           forman 5:8
       84:19,22,25 85:4
                                206:3 217:18           132:12 145:24          formed 14:3 28:15
       85:13,15,18,23,24
                                221:4 225:21           159:11 190:25             76:21 99:21 100:6
       108:8 127:9,17,21
                             figures 85:8,11           199:22 202:20          former 186:2
       127:24,25 134:1,8
                                87:3 103:25 105:6      203:5 206:10,10        forms 235:13
       139:3 153:20
                             file 23:1 32:14           220:25 233:23          forth 138:8
       155:16,21 156:21
                                45:4 50:7 56:20     five 34:4 51:21,24        forum 29:4,6
       158:12 159:3,11
                                57:1,7 58:12           52:15 146:16,23        forums 73:16,17
       163:21 170:22
                                172:6 185:25           203:11 230:5,6            75:12,12
       215:12
                                202:25 212:21          233:17 243:4           forward 74:21
     far 194:1 196:8
                                231:9 232:21        flexibility 13:13            147:3
     fashion 161:10

                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2       Page 79 of 108
                                            Brenda Murphy                       February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [forwarded - going]                                                                 Page 16

     forwarded 125:14        gears 139:17           given 16:22 46:2          31:21 32:14 33:25
       126:17                gee 216:12               46:13,14,20 47:5        39:20 48:24 50:23
     founded 70:8            general 25:17            50:20 51:3 57:11        52:13 58:25 61:5
     founding 36:7             52:20 80:25 118:3      62:11 115:22            62:8,13,14,18
     four 33:22 35:12          119:15,15 242:1        130:11 166:4            64:20,24 69:16
       95:12,14,14,15,18     generally 90:25          171:25 245:10           75:15,16,16,17
       104:21 123:6,9,11       150:2 211:17         giving 94:8 114:12        81:13 86:5 88:21
       123:11,13,21,22       generate 43:15           140:6 171:23            88:24 89:3 91:11
       124:3,6,6,8,15,22     geographic 134:20        181:12 238:10           92:1 96:3,4,22
       124:22 154:15         gerrymandered            243:6                   97:1 100:20 101:9
     frame 203:11              177:5 178:4          glad 131:16               102:6 103:9
     frankly 139:6             222:25                 213:18                  105:20,21 106:13
     friday 213:12           gerrymandering         glass 10:18               107:11,12,13
       219:17 234:7            108:15,19,23,23      glisson 98:8              109:17 112:3
     front 11:21 25:12         108:24 109:8,9,12    go 8:17 10:18 15:3        113:4,5,9 114:4
       42:5 60:18 61:7         110:2,23 111:8,25      32:19 67:12 71:10       115:6,13,14 117:9
       61:17 63:25 69:14       117:16,20,22,24        74:21 103:9             117:10 118:14
       77:4 131:7 154:1        118:3,4,7,11,12        115:13 117:11           120:14 123:15
       155:19 163:23,24        119:9,13,14,20         124:11 129:1            124:3,14,16,19,25
       164:4 165:12            149:20 221:25          131:11,17 132:24        125:1 128:9
       169:4 176:20          gervais 4:24             147:3 149:2             129:21,23 131:20
       186:8 218:8 220:1     getting 11:9 50:23       156:20 167:2,3,7        131:21 132:24
       220:5                   58:3 62:5 73:21        167:10,17 170:17        133:11,11,14,15
     full 3:11 209:22          142:20                 172:9 173:14            133:18 137:14,23
     fully 169:20 225:9      give 8:20 10:3 34:2      176:16,18 181:25        138:7 139:17
     fund 4:4 38:4             44:13 46:7,9 47:4      182:7 189:18            145:16 147:1
     funding 50:16             62:13 84:6,8           192:1 194:9             148:2 153:15
       142:16                  94:12 109:2 112:3      195:25 198:7,22         154:22 159:9
     further 3:8,14,20         114:13 115:11          199:6 201:1 204:7       164:4,5,19 165:4
       48:20 87:9 233:15       123:15 125:7           204:17 213:19           170:21 172:5,8,15
       242:24 244:4,9          143:1 146:16           215:6 229:14,23         173:14 174:9
       245:11                  149:10 155:22          230:3 234:19            176:16 177:1,13
              g                156:8,13,14          goal 162:20               177:19 180:25
                               159:16 171:20          210:17 243:4            182:10 185:24
     gadsden 5:4
                               172:9,10,20 175:2    goals 150:10              186:7 189:20
     gain 200:24
                               176:10,10,12         goes 104:25               191:4,18,25 193:7
     gained 121:13
                               186:22 192:24        going 9:7,8,15,24         195:18 196:18
     gains 121:15
                               193:16,22,22           10:9 11:1 12:6,13       197:10 198:7,18
     gap 101:1,17
                               206:13 214:7           14:17,18 16:23          199:4 201:16
     gather 53:20
                               216:13 217:22,23       22:12,25 27:21          202:14 203:2,2,4
     gauge 84:20
                               242:3                  28:24 30:4 31:10        203:20 204:4,16

                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com             www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2         Page 80 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [going - house]                                                                       Page 17

       204:17 206:4            210:3 218:7 228:5      187:15                  henry 1:13 4:21
       213:24 218:6            228:23 231:14        hate 28:21 33:24            230:24
       219:9 232:24            236:20,23 237:4        89:1 117:7 159:15       hide 183:7
       233:3 237:6           grouped 67:18          haw 216:12                high 157:8,14
       240:25                groups 76:19 77:9      head 115:7 142:11         higher 85:25
     golden 36:2               77:19 84:17 85:6       219:22 235:23           highway 154:2,3
     good 7:16,18,20           86:7 235:24          hear 107:7 112:1          highways 154:8
       52:16 69:4 88:21        236:20                 214:19 215:1,24         hints 114:13
       102:14 203:9          guess 13:13,24           216:3,14 218:24         historical 192:25
       207:21 213:17           16:25 17:17 28:3       220:16                  history 142:20
       230:12,23 244:5         32:12 49:25 84:19    heard 50:3 62:13            221:8 239:9
     gotten 31:17              89:22 90:7 92:6        142:12 210:18           hoc 62:25 115:24
       138:24                  92:12 106:12           212:11 213:1              116:3,6,8 117:2,4
     govan 64:19 65:9          126:19 198:1           216:21 217:11,12          125:4 127:10,18
       80:1,4,8 81:1           199:18                 217:17 233:13             127:18,22 130:19
     govan's 226:9           guidance 224:15        hearing 31:6                134:12 208:19
     governor 1:14           guidelines 91:3          87:22,25 116:12         hold 12:13 133:12
       4:19,20 31:1,13         127:10,13,22           161:16 237:12             156:4 216:11,18
       230:16,19,24            128:2,5 134:12,14    hearings 51:4,4,5           227:15,15
       231:2,17,18 232:6     guys 166:8 203:19        53:24 54:2 57:13        home 230:4
       232:13 233:1,5,7               h               65:25 81:14 83:3        homebuilders
     grabs 159:23                                     128:14,16,24              212:10
                             h4493 178:2
     graduate 32:24                                   129:4,7,12,14           honea 158:13,19
                             h4493's 178:3
     graduated 33:2,4                                 130:13 141:5            hope 93:15,19
                             half 158:24
     granted 56:1,7                                   207:17 208:3              228:12,14 230:12
                             hall 36:2
     gray 5:2                                         211:11 237:13           hopefully 93:15,24
                             happen 71:14
     grayson 4:23                                     238:1                   hopes 187:6
                               92:22 154:9
     great 209:24                                   heavily 159:24            horry 67:19
                             happened 27:13
       219:23 239:13                                held 24:7 75:13           hospital 33:6,14
                               71:25 169:15,24
     greater 91:19 92:3                               105:1 128:16              33:15
                               239:10
       92:3 104:18,21                                 129:4,8 199:15          host 197:1
                             happening 27:6
       137:16 145:13                                  203:21 207:14           hour 16:13 52:14
                             happens 71:7,13
       146:7 151:19                                   208:10,18,19              203:11
                               92:22 109:19
       153:4 154:24                                 help 26:24 69:16          hours 146:21,23
                               138:17,17 158:10
     greatest 136:1                                   223:11                    207:21 230:6
                             happy 22:20
     ground 8:18                                    helpful 156:2               237:15 243:4,23
                               146:16
     grounds 3:17                                     224:2                   house 4:11 7:18
                             harassment
     group 77:16 78:3                               helping 185:20              20:9,12,15 21:2,13
                               243:10,13
       99:21,22 100:6                               henegan 63:14               21:17,18,19 23:5,6
                             hard 41:17 197:8
       112:8 181:7,25                                 64:8                      23:9,12 25:7
                             harmed 178:3,10
       182:7,19 196:11                                                          47:13,14 48:4
                               178:21 180:15,17
                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22    Entry Number 194-2         Page 81 of 108
                                             Brenda Murphy                         February 4, 2022
                            The South Carolina State Conference vs. McMaste,
    [house - influenced]                                                                   Page 18

       49:4 53:24 54:17         44:7 45:14 66:24     impacts 215:15              145:2,7,9,10,13,19
       54:20 57:7 59:5          81:22 88:13 97:15    impairs 9:4                 146:3 147:6,15
       59:15 60:4 61:8          106:10 132:6         importance 28:12            148:13,19,24
       61:17 62:1 79:13         165:10 181:19          107:25 140:4,5            149:4,23 150:1
       79:13,20 91:7            186:6,11,23            215:14                    193:10 238:17,23
       95:8,19 101:1,8,14       187:25 189:24        important 9:23            independent
       101:17,22,23             194:13 198:14          58:23 135:7               224:11
       103:19,24 104:2,7      identifications          193:17 215:17           independently
       104:17,25 105:3          64:25                impressions 88:10           174:12 224:4
       108:20 110:9,16        identified 65:24       improves 152:19           index 6:8
       111:7 116:6              66:20 72:2,4         inaccurate 103:16         indicate 59:8
       117:24,24 118:10         113:21 115:5,12      inappropriate             indicated 74:12
       118:23 120:16            130:18,23 134:18       202:13                    169:12
       122:10 128:24            166:24 182:1,8       inappropriately           indicates 72:19
       129:4,8 132:14           183:3,12 184:11        114:17                    73:11 74:8 105:14
       136:6 148:6 151:8        185:3,5 186:19       include 162:17            indicating 195:18
       151:9 152:19             188:14 190:13          190:10                  individual 32:3
       154:15 155:10            199:23 200:7         included 18:11              92:11 102:4 173:7
       158:16 162:4,4         identifies 183:14        24:13 75:13 81:2        individually
       164:2,3,24 165:22        183:18 184:8           98:25 127:7,8             112:14 158:18
       166:5 167:13,17        identify 29:1,2          129:12                    206:3,5,16
       167:18 171:3             61:16 66:3 77:18     including 97:23           individuals 25:9
       172:22 173:5,21          114:15 115:17        inclusive 142:2             48:14 51:5 57:12
       191:8,14 194:16          124:3,19,20          inconsistent                64:4 66:20 68:5
       196:21 203:14            144:15 179:5           113:17                    72:13 77:25 81:7
       209:4 210:2,8,12         180:7 182:1,8        incorrect 58:9,13           81:8 89:18 91:22
       212:23 222:14            183:1 185:20           105:17 121:22             92:9 94:23 95:2
       225:12 228:7,16          201:19,25 216:15       149:10                    100:9 109:24
       229:10 233:8             241:2                increase 136:11             123:17 135:17
       238:1,2,13 241:18      identifying 70:14        150:13,16 201:11          139:15 141:22
     housing 198:2              70:18 182:13           222:4 226:6               171:10,13 224:1
     howard 20:18,19            183:22               increased 105:12            224:13 225:1,5
     huh 200:9                identities 183:8         153:2 221:13,16           226:3 237:8,20
     hundred 25:2,4           identity 22:13         increases 200:25            242:22
       37:4,4                   65:14 70:4 239:4       201:4                   inferring 86:18
     husband 34:16            ii 4:5                 increasing 153:6          influence 48:11
               i              impact 57:14 64:6      incumbent 24:5              93:13 168:6,14
                                64:6 93:13 238:5       64:15,17 81:6             169:10,19,21
     idea 119:11
                              impacted 173:24          226:21                    170:19
     ideas 126:12
                                188:13               incumbents 80:19          influenced 158:10
     identification
                                                       95:5 144:12,16
       39:24 41:24 43:3
                                        Veritext Legal Solutions
     800.743.DEPO (3376)            calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 82 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [influential - involved]                                                             Page 19

     influential 160:23     146:13 147:8            initiator 49:24             115:25 116:4,9,15
     information 11:7       156:1,5,13,18,20        input 12:2 53:20            116:18,24 127:15
       11:9 28:6,9 59:2     157:21 159:7              69:22 129:19,21           134:18,22 135:1,6
       62:12 63:24 68:6     163:11,13,14              130:5,7 131:1             135:7,12,19,22
       115:3 142:20         164:1,4,14 165:2          141:14 142:7              136:15,18,20,21
       144:16 153:16        166:10,16,19,23           171:10 192:3,8,18         137:3,10,21,25
       171:14 183:2         167:6 170:4,12            196:24 211:5              138:14,18 139:10
       187:3 194:23         171:21 172:1,2,7          212:2 217:4,4             196:22 197:1,20
       199:1 215:11         172:13,17 174:1         insofar 182:22              228:11 229:5,9
       219:24,25 220:23     175:5,21 177:11         instruct 22:12            interested 22:3
       241:16               177:14,18 178:12          31:21 202:9               100:4 108:1 205:2
     informed 57:13         178:24 179:11,15        instructed 219:18           245:13
     ingram 4:5 6:6         179:22 180:3,18           220:1,4 235:12          interests 92:20
       10:6,8,9,12 11:19    181:2,4,6 182:22        instructing 22:15         interference
       12:20 13:7,18,21     184:6,14,19,20,22         31:24 32:5 65:12          203:18 234:16
       13:22,25 14:7,7,21   185:21 187:17             70:2,11 171:21          interpose 220:3
       22:11,18 30:10,18    188:2,8,16,19,23          172:17 182:24           interpretation
       31:2,15,18,21 32:1   189:6,13,15,17            185:22 194:5              28:20
       32:7,9 34:25         194:1,5,8 198:9           202:5                   interpreting
       39:11 40:2,5,7,19    200:18 201:21           instructions 13:1           147:21 162:8
       40:22,25 41:3        202:5,11,20 203:1         202:12,16               interrupt 217:9
       44:13 46:17,25       203:3,5,10,20,24        instructs 10:15           interruption 151:1
       47:9 50:9 52:16      206:19 212:5            intend 12:19              interview 79:9
       55:14,22 57:23       213:3,5,8,14,19,24        198:18                    118:1 124:4
       58:14 59:22 60:6     215:4 216:6,11          intended 76:6 93:8        interviewed 173:3
       60:9,21 61:12,20     218:12 219:3              127:23 131:11           introduced 100:3
       62:3,15 64:20,22     222:10 223:9            intensely 84:14             166:16
       65:4,12 70:2,6,12    228:18 229:12           intent 80:18,18           introduces 44:15
       70:13,17 72:23       230:15 231:21,24          149:22 158:20           invite 24:23 77:9
       73:1 74:22,25        232:3,5,14,23             162:19,19 210:22          77:15
       75:7 80:10 82:11     233:2,17,21               228:12                  invited 24:9 26:19
       82:22 84:4 87:13     234:19 239:20           intentional 93:2,4          26:19 28:16 76:17
       89:11,14 97:6,12     240:18 241:4,7,22         93:7,10                   77:13,16 200:14
       102:18 103:3         242:6,18 243:10         intentionally 81:2        involved 25:17
       104:10 111:10,14     243:13,19,24              92:17 109:17              28:12 47:12 49:7
       112:17 113:7,18      244:7                     177:6                     49:10 51:16 75:14
       114:8,14 123:24    initial 17:1 21:17        interact 73:5               129:10 140:5
       124:17 125:25        56:1,8                    77:22                     141:10 142:9
       126:24 131:24,25 initially 192:18            interest 89:6,10,15         146:8 183:3
       132:8,9,11 143:3   initiative 27:4             89:24 90:2,17,21          185:19 193:2,19
       143:10,24 146:11     83:18 237:4               90:25 91:13 92:19         196:14 215:13

                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22     Entry Number 194-2       Page 83 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [involved - lawsuit]                                                                 Page 20

       231:9,11,12           justin 63:18              78:20,21,22,24           219:13 220:7
     involvement 66:15                 k               79:1,3,4,18,22,23        221:14 222:2,25
     irregular 168:2,11                                80:1 83:4,6 84:12        224:19 225:12,16
                             keep 25:23,25 26:4
     issue 50:14 80:8                                  86:11,15 89:14           225:19,19 226:23
                               46:16 73:19
       111:25 119:10,10                                91:8 93:8 94:8           227:25 229:16,19
                               118:14 129:1
       120:7 128:10                                    95:7,10,25 97:9          236:4
                               135:7 146:23
       154:13 194:8                                    98:19 100:8            knowing 79:11
                               150:2,7 162:20
       230:9                                           101:10,10,15,25          224:8
                               177:20 198:18
     issued 113:1                                      103:11,17,18,19        knowledge 12:20
                               231:1
       127:22                                          110:20 111:15,21         13:9 19:7,10,16
                             keeping 145:24
     issues 52:25 71:8                                 111:24,24 117:7          50:20 76:4 118:4
                             keeps 162:5
       119:23 195:9                                    117:19 118:5,6,24        145:4 175:12,14
                             kept 19:19 25:14
       211:24 228:11                                   124:9 127:2 128:6        189:1,4 194:20
                               25:16 26:6,8
       244:2                                           132:18,25 133:2,6      known 73:8
                               73:17
     items 12:17                                       133:9,19 134:25        knows 84:2
                             kershaw 190:21
               j                                       135:15 137:12,15                 l
                             kilgore 183:13
                                                       137:23 138:22,24
     jan 2:2 3:5 7:1           185:10                                         l 3:1
                                                       140:2 141:3,4,20
       245:19                kin 245:12                                       labeled 107:8
                                                       141:24 142:8,16
     jane 5:9                kind 204:3,15                                    lady 33:24 89:1
                                                       142:24 143:14,15
     jennifer 98:10            205:21 220:25                                  laffittee 5:2
                                                       144:14,17,23
     jerry 64:19 80:1          221:7 223:6                                    lag 54:7
                                                       145:2,12,20
     jmc 1:5                 kinds 226:14                                     lambert 4:23
                                                       146:10 151:15
     joachim 2:4             king 78:7                                          240:1
                                                       154:22 158:7,24
     jobs 239:12             knew 195:2                                       large 91:5 138:5
                                                       160:4 164:20
     john 4:7 78:7           know 11:10 14:13                                 larger 90:1,2,24
                                                       167:11 169:13
       98:12,13                16:9 19:17,18,21                                 90:25 135:18
                                                       170:6 175:18,24
     johnson 94:19             20:9,14,19,20 21:1                               236:23
                                                       175:25 176:1,9
     join 24:14 36:15          21:4,5 25:3,3,13                               late 18:1 25:21
                                                       180:8,9,11,12,13
       78:3 196:11             28:7 36:9 38:4,6                                 53:1,5 213:12
                                                       180:15 181:14
     joining 78:4              38:10 41:25 43:8                                 243:1
                                                       182:12 188:11
     jordan 48:3               43:8 44:9 45:2                                 launched 243:14
                                                       189:11,12 191:3,4
     judge 8:10,11             46:3,4,20 48:18                                launching 196:4
                                                       191:16 193:1,3,4
       120:1 152:15            49:18 51:2,4,6,23                              law 22:22 56:25
                                                       194:21,22 195:3,4
       204:23,23               52:4,7 55:5 56:19                                117:2 127:24
                                                       195:6 197:15,17
     july 205:13               62:24 63:3,4,4,6,8                               137:13,16 152:15
                                                       197:17 199:17
     june 96:13 140:24         63:11,13,18 64:8                                 152:18
                                                       200:11,16,17,20
     junior 37:1               64:10,11,13,23                                 lawmakers 53:20
                                                       203:10 207:9,20
     justice 23:24 71:9        67:24 68:3,5                                   lawrence 67:19
                                                       208:25 211:21,23
       71:9 76:20 78:5         69:12 70:17 75:17                              laws 3:12
                                                       212:19 215:15
       120:8,16 222:9,15       75:20 76:20 77:21                              lawsuit 14:13
                                                       216:12 217:1,7
                               77:22 78:7,16,19                                 47:23 49:8 54:13
                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22     Entry Number 194-2        Page 84 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [lawsuit - look]                                                                      Page 21

       54:19,24 72:5            211:3 222:6,10          110:21 132:14         live 33:19,21 34:7
       74:4,13,18 76:6          224:14 231:25           141:21 160:21            34:10,23,24 68:24
       111:1 113:21             232:15,24 241:23        161:2,9 166:9            88:3 89:19 138:2
       119:25 133:8          legality 198:2             168:3,11 171:3           139:16 157:17
       159:12 205:11         legally 224:14             174:23 223:10            172:10 177:5,7,8
       215:3 217:21          legislation 61:9           238:11 242:10            178:16 242:11
       223:24 231:3,9           74:9                 link 106:13              lived 20:1 34:1,5
       232:22 233:6          legislative 177:6       list 22:20 27:10            90:10
     lawyer 111:11              192:3,7 193:24          65:8 71:15 74:2,7     lives 172:20
       210:1 212:20             211:17,18 237:7,9       74:14 98:25 100:1        180:14 217:20
     lawyers 15:4 18:3          241:20                  132:2,20 155:19       living 32:15 154:5
       27:16 28:4 59:2       legislator 29:1            177:21 178:8,10       llc 4:12 5:2
       113:2 126:7,20        legislators 211:22         178:14,15 182:12      load 88:16 156:4
       132:24 149:6             221:17                  183:12,14 185:14         164:15,16,17
       211:3                 legislature 94:4           194:2 225:12          loading 88:15
     ldf 14:2 15:17 27:8     legislatures 53:16      listed 73:9,24 77:5         131:23
       38:10,14 83:5,10      length 243:17              98:22 114:2 131:4     loads 40:3
       126:16,20,22          leon 20:18                 132:22 186:1          local 12:22 98:16
       182:3 197:23          letter 6:19 125:7          187:4,6 194:9            140:1 189:18
     lead 63:25 153:14          126:16 130:17,18        232:19                   190:18 191:6,7
     leader 237:1               130:24 131:7         listen 9:4 26:12         located 11:12,13
     leadership 24:12           166:23                  111:22 112:4             37:12
       25:19 26:15 35:14     letters 125:2,4,12         117:9,10 122:17       location 155:18,22
       71:5,13 99:22            125:13,21,24         listening 217:10            155:23
       142:23 171:16            126:3,10,11,15,19    listing 74:6 132:21      long 15:16 16:7,11
       174:14,25 175:8          127:3,3 128:6,8,10      182:16 187:21            33:21 34:10 35:6
       177:25 184:19            209:2,3,6,12,18,18   listings 236:5              35:10 56:19 57:6
     leading 3:16 49:25         210:3 211:3,3        lists 45:6,9,13,17          57:22 81:25 88:16
     league 76:12 77:21      level 38:12                64:21 65:7 70:19         97:1 102:8,12
       79:15 98:19 141:2     life 20:1 34:3 37:1        97:22,25 156:11          107:9 204:1 209:1
       212:9                 lifetime 36:22,23          183:13 186:12            215:9 243:6,20
     leah 4:6 196:19         limehouse 4:22          litigation 8:7              244:6
       197:23                   6:5 230:18,19,22        32:11 47:12 50:16     longer 48:17 55:20
     learn 55:6 67:5            230:24 232:1,7          50:21 57:21 58:6         58:5,11,12 95:2
     learned 141:24             233:14 240:2,3          58:7 75:23 182:5         102:20 137:21
     learning 100:5,10       line 104:23 159:22         185:22 199:3          look 40:8 42:15
     leave 243:25               161:9 165:16         little 19:21,25             43:11 44:18 45:1
     leaving 243:1              192:1 197:22            27:21 32:18 67:6         45:22 48:15 59:18
     legal 2:3 4:4 38:3      lines 6:18 81:7            87:4 113:17              60:13,23,25 62:18
       55:15,23 89:12           94:14 106:3,25          134:14,16 135:15         62:19 64:4 85:10
       157:22 175:6             107:2 109:16,21         147:1                    86:6 87:2 91:5

                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 85 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [look - maps]                                                                        Page 22

       93:15 94:10 96:3      losing 123:11           167:10,24 168:17          166:14 167:8,10
       100:7 102:1,2         losses 121:15           175:15,17 187:23          167:13,17,18,19
       111:16 128:19         lost 121:6,10           191:20 196:10             168:4,13,20,22
       130:10 131:15           239:12                199:10 200:5              169:23 190:19
       135:18 136:16,17      lot 13:13 133:14        205:15,20 209:20          196:15,15 201:13
       136:18 149:23           146:24 195:8,15       210:11,15 240:17          229:22 238:21
       151:19,20 153:3         204:2 209:12          241:9                    map's 169:16
       156:10 159:17           212:19 218:10        magic 91:24               mapped 228:3
       160:8,9,10,15         low 157:10 158:8       main 4:15 5:10            mapping 25:7,20
       162:25 169:3,5        lower 69:5 85:17        45:9                      26:23 28:19 48:7
       170:15,20 171:7         153:4 160:12         maintain 122:11            50:5,8,13 57:10
       176:20 181:20         lucas 48:3              168:5                     62:19 64:5 88:9
       182:25 184:19         lunch 96:23 102:7      maintains 72:19            100:3,3 111:17
       186:1 192:11            102:9,13,17 103:1     73:11                     190:17 192:13
       216:23 217:2            103:3                majority 159:20            193:7,9,20 196:12
       223:22 224:1,21       luxury 26:25            159:23 207:20             200:2 226:4,6
       224:23 225:5,21       lydon 8:10 204:23      makers 168:13              228:5 242:21
       225:24 227:3,7,21     lynn 194:17,19         making 79:21              mappings 26:23
       229:22 238:25           195:3 200:4           122:6 142:1 146:9         242:20
       239:9                          m              164:11 171:7             maps 25:7 49:1,4
     looked 66:9 84:10                               206:9                     50:24 51:10,11,13
                             ma'am 23:17
       89:14 95:6 101:13                            mama 89:1                  51:18 54:9 57:17
                               27:14 31:4,5
       144:7,9 223:12,15                            man 127:14                 57:21 58:2,2,4,4
                               34:16 35:25 36:4
       223:25 224:20                                 215:20                    58:16,19 59:7,19
                               37:25 40:12 42:10
       225:19,25 227:13                             manhattan 90:21            61:1 73:6 79:19
                               43:18 59:20 76:1
       227:18,25 228:23                             mann 2:2 3:6 7:1           89:5,5 99:8
                               81:24 84:9 85:20
       229:20                                        97:4 102:7 245:19         100:11 102:2
                               88:5 99:19 113:1
     looking 40:13 41:4                             manner 23:22               110:2,9,16 111:16
                               115:15 118:24
       41:17,18 43:6,7                               58:24 92:18,21            117:24 120:8
                               121:8,25 122:3
       45:21 46:17,18                                93:11,20 109:6            129:20 130:10
                               124:10 127:17
       48:20 56:22 60:17                             110:9 153:17              141:10,13 142:5,9
                               130:2,25 132:23
       86:6,17 95:24,25                              154:20 158:11             142:21 143:18
                               134:24 136:19,24
       100:11 101:14,23                              168:4,13 217:3            144:2,8,9,12,15,17
                               137:17 138:3
       142:20 156:24,24                             map 6:20 51:1,3            144:21,24 154:25
                               139:12,21,23
       159:16 160:8                                  57:20 79:13 136:4         164:2,3 166:14
                               145:11 147:13,14
       162:11 169:17,23                              136:5 137:5               167:13,16 169:18
                               147:16,24 148:2
       183:11 199:19                                 142:24 144:7              193:6,20 195:19
                               148:15 149:5,8,18
       224:2,2 242:9                                 149:23 156:11,22          200:23 210:4,5,6
                               150:6 152:9,25
     looks 89:6 149:19                               157:25 158:23             210:13 211:4
                               154:7 155:13
     lose 123:6,21                                   164:18,22,23              214:14 217:2
                               157:3 159:19
       124:5                                         166:3,10,11,12,12         223:7,11,16 224:9
                               160:6,24,24,24
                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 86 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [maps - met]                                                                         Page 23

      228:22 229:20           119:19 123:1           200:17 207:14,19          182:18,23 183:3,4
      238:2,6,8               127:11,18 135:17       208:14,18,19,22           183:8,10 185:14
     march 42:24              148:4,4 154:3          211:2 216:20,25           185:15,18,19
     mark 4:13 7:17           160:21 180:6           217:6 238:4               187:22 188:13
      13:8                    197:18 211:7          meets 216:24               190:10 192:20
     marked 39:23             221:15 223:14         melissia 5:16              193:23 199:1
      44:6,17 66:23           237:10                member 21:25,25            207:13 208:5,6
      81:21 88:12 97:9       meaningful 12:16        22:1,13,19 23:4,6         213:1 214:19
      97:14 106:9 132:5      means 28:11 55:18       23:7,15 24:16             215:2,11,24
      165:9 181:18            58:12 65:5 91:19       27:23 35:7,17,21          216:15,22 217:14
      186:5 189:23           meant 43:1              35:22 36:5,8,13,14        217:23 232:18
      194:12 198:13          media 195:9 196:1       37:3 47:13 49:12          237:18 238:9
     married 34:12,13         196:4,7                65:15,20,22,25            239:5 240:7,11
     marvin 183:18           medication 9:3          68:10,13 69:20            241:3
     masonic 36:3            meet 15:12,15           74:6 77:10 98:2          membership
     master's 32:22           21:8,12,18,21 26:2     112:22 143:19             22:20 25:19,19
     material 115:6           68:4 71:4 73:6         173:4 176:13              26:13,14 36:21,22
      204:4                   143:2,5 192:19,22      177:4 178:20,21           36:24 37:11,13
     materials 11:21,24       193:5,13,15,24         184:2,9,12,13             50:1,3,6 64:21
      18:17 220:19           meeting 6:17 23:5       186:16,20 187:14          65:6,14 66:21
     math 104:7               23:12 24:6,7,8,14      192:21 224:17             70:4,19 139:2
     matter 26:21             24:17 25:1,11,14       226:10 229:15             177:21 190:12
      51:13 63:1 69:3         25:15,17 26:6,9,11     242:19                    194:2 207:22
      114:10 145:25           26:11,12 27:18        members 14:14,15           212:19 216:24
      209:23                  28:2,25 64:16          21:12,19 22:3             217:12 236:6
     matters 21:14            65:10,13 68:4          23:13 24:9,13,17          239:3,7,15 240:23
     matthew's 196:20         71:5,12 96:11,12       24:21,24 25:18           memorable
     matthews 198:1           96:14 97:20            26:17,18 28:10,12         205:15
     mcdaniel 161:6,17        107:24 183:1           36:9 37:8,16 61:8        mention 128:15
      162:7                   192:2,6 194:16         62:25 64:1 65:1          mentioned 7:24
     mcdaniel's 161:8         199:14,24 200:11       68:2,8 72:1,4             13:12 18:18 25:24
     mclawhorn 184:2          233:25                 75:13,17,20 76:17         34:7 38:15 99:20
     mcmaster 1:13           meetings 15:22,25       77:3 83:17 100:4          99:23 100:12
      4:19,21 230:19,24       18:9,10,11 21:24       108:1 126:18              124:25 126:10
      231:2                   22:2,2 23:8 25:22      129:13 142:22             139:14 153:19
     mean 47:23 50:22         25:23 26:1,3           144:14 171:17,23          174:22 179:3
      51:23 75:25 90:4        28:23 54:21 68:1       172:10,25 174:6           187:22 188:12
      91:18 92:16 93:17       71:2,3 72:13           174:24 176:4,11           209:8
      95:23 97:9 98:4,5       80:17,18 83:8          177:7,8,17,24,25         merely 111:11
      100:17 108:22           112:13 174:13          178:1,8,16 179:7         met 22:16 23:4,10
      109:13 116:5,6          183:4 197:13           179:17,18 182:7           23:11 88:7 192:14

                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 87 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [met - murphy]                                                                       Page 24

      192:17 215:10           185:16,17 189:20       146:14,18 150:21         moving 37:2
     methods 141:25           190:7 192:12           155:24 156:3,7,17        multiple 89:23
     michael 4:14             199:16 203:22          156:19 159:9              188:20 211:18
      164:7 167:20            223:4,7 233:17         163:12 164:3,9,16        municipalities
     midnight 57:2            236:1,5 243:23         165:4,11 166:12           91:11 191:7
     mind 119:5,8            mirrors 103:22          166:18,22 167:20         municipality
      150:13,17              misstates 174:1         167:23 171:25             89:23 90:1,3,24
     minds 64:3 110:20        187:17 188:2,3         172:5 176:14,16          murphy 1:23 3:5
      169:14,23               213:3,5                177:13 180:24             7:7,11,18 8:1,3
     mindset 93:1            misstating 189:15       181:6,20 184:20           13:6 14:1 17:3
     mine 104:8               240:18                 184:25 185:24             19:22 23:2 30:21
     minimal 140:17          mobile 2:5 245:5        188:22 189:8,14           30:21 31:20,20
      157:9                  moment 48:25            189:16 194:7              32:16 33:19 34:12
     minimize 168:5,14        81:13 96:19            198:6,10,15 202:9         35:1 36:24 39:13
      169:10                  108:25 112:3           202:24 204:15,20          40:8,10,24 41:4
     minimized 48:12          117:14 118:16          204:22 206:12             42:4 43:5 44:23
      214:17                  130:17 133:12          207:1 212:22              47:2 48:3 49:11
     minority 111:8           138:11 139:18          216:12 220:3,9            50:11 52:18 55:16
     mintues 6:21             150:22 155:25          221:11 223:5,14           55:24 56:13 57:25
     minute 29:10             187:24 199:7           225:7 226:8 229:7         58:15 60:11,22
      50:24 52:15 69:16      monday 19:1,2           234:3 235:7               61:14,22 62:6,9,17
      88:15 102:17           monthly 73:6            238:18 239:5,22           65:16,17 66:7
      107:1,12 118:18         216:24                 240:1,5 242:24            67:9 70:21 72:11
      132:25 146:16          moore 4:13 6:3,7        243:12,16,25              72:16 73:2 75:2,9
      147:17 163:5,5          7:15,17 13:11,19      moore's 208:25             82:1,25 84:7 87:7
      166:20 173:15           22:14,25 31:17,23      214:3                     87:14 88:23 89:10
      181:3,4 191:17          32:5,8,12 39:25       mooted 55:9,12             89:14 97:17 103:2
     minutes 6:16,23          40:4,6,21,25 41:5     morning 7:16,18            103:11 104:12,20
      6:25 18:9,13,17         44:12 52:13,18         7:20 10:6 181:2           106:4,22 107:2,4
      19:18,21 25:12,14       60:8 62:5 64:22       motion 22:21 23:1          108:9,23 109:12
      25:16,22,23,25          70:5,11 72:25          32:14 172:6               110:2 111:10
      26:4,6,8 27:20,22       74:24 80:12 81:23      185:25 202:25             112:20,23 113:10
      28:2,23,25 29:1,3       82:13 87:20 96:8      motions 212:21             114:1,7,15 115:10
      52:14 65:11 73:17       96:21,25 97:8         mouth 223:10               115:14 117:18
      76:3 96:6,12,15,16      102:6,12,16,19,22      227:17                    120:11 124:2,18
      97:19 107:12            102:25 103:2          move 20:3 62:14            124:25 126:2,8
      115:15 133:19           107:9,18 111:13        75:16 81:13               127:1 131:21
      138:13 146:22           112:19 114:12          105:20,21 124:24          133:8 143:6
      147:5 148:5,18          117:7,13 118:16        133:11,11,16,18           145:14,14 146:18
      153:13 156:3            124:1 131:23           239:13                    147:7,11 151:25
      163:6 179:3 184:1       132:1,7,10 146:12                                156:23 157:23

                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 88 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [murphy - nineteen]                                                                  Page 25

      159:13 160:20       37:9,18 38:3 39:2         names 64:21,25              156:5 158:11
      163:16 164:20       42:20 43:1 44:1             65:5,6 70:6               162:9 172:5
      165:14 170:3,5      45:6,11 48:2                123:15,16 162:10          189:18 198:9
      171:9,12,19         49:15,21 65:2,13            171:19,20,23              202:24 203:5,19
      172:16,23 173:2     65:16,21 66:1,4             172:4,10,24               224:14 233:17
      173:14,19,19,20     74:6 76:4 83:5,16           173:17 174:7            needed 55:20 81:5
      173:25 174:3,9      96:11 106:4 107:4           177:20 178:7              109:4 110:6,10,17
      175:7 176:2,13,24   130:11 140:1                179:17 180:7,9,11         111:23 116:12
      177:23 178:14       142:22 147:13               180:12,13,16              142:1 144:4 224:3
      179:1,14,20,24      171:24 172:10,24            182:17,23 184:7           224:15 225:3,15
      180:20 181:24       174:6 175:9,10              184:15 193:16,22          225:15 228:2
      183:24 186:8        176:1 177:4,21,25           193:23,25 194:2           235:9,12
      187:8,19 188:4,10   181:25 182:7,19             217:22,24 239:6,7       needs 27:1 30:5,6
      189:9 190:2 192:2   182:23 183:3,8,14           239:9,11,14 240:7         30:15 105:1 165:2
      193:21 195:20       183:16,20 184:3,9           240:11,22,24              169:7
      196:8 197:23        184:10,13,15                241:3                   neighborhoods
      198:20 199:8        185:4,15 190:10           national 37:18              109:15
      201:4,18,23         194:2 199:1 202:8           38:3,9,10,14,14         neighboring 168:6
      202:15 203:21       205:10,22 207:4             43:17 46:2,3,15           168:14
      204:5,10 206:22     207:22,25 208:5             68:16 202:7             neither 245:11
      211:24 213:9,21     211:13 217:23               240:10,22 241:15        never 31:17 95:4,4
      214:2 216:16        233:1,4 234:15              242:1                     143:16 182:12
      217:8 219:5         235:16 236:8,11           nature 36:17                187:25 192:13
      223:14 224:19       236:14,16,23              neal 183:18                 194:21
      230:7,23 232:10     237:18 239:3,5            near 128:18               new 4:9,9 27:4,13
      233:22,22 235:16    241:2 242:1               necessary 3:15              33:16,16 53:16
      240:6,20 241:24    naacp's 110:1                12:14 54:25 182:5         57:7 90:13 119:11
      242:2,8 243:3       164:17 231:9                192:19                    119:12 176:17,19
     mute 150:22         name 7:17 8:11             need 10:17,20               200:24 201:12
      203:20 231:21       22:19 27:9 42:18            19:21 20:25 21:9          204:4
      234:19              45:8 64:17 142:8            23:1 26:2 27:12         nexsen 4:12
     myrtle 8:8 200:24    142:12,14 143:1             30:22 32:14 38:12       night 12:11,13
      201:6 205:3         143:16 172:20               38:13 44:14 47:20         25:22 64:24 96:5
             n            174:8 176:10,10             65:16 68:3 92:2           176:18 198:23
                          176:13 178:20               102:13,15,20              237:22,24,25
     n 3:1 4:1 6:1
                          184:18 185:3                106:6,14,16 107:7       nine 34:11 165:13
     naacp 1:8 4:4 13:9
                          230:23                      107:20 111:21,22        nineteen 35:8
      14:6,25,25 21:25
                         named 8:1 49:13              112:1 117:8,9             107:11 145:7,8,10
      22:1,13,22 23:7,15
                          49:15 99:4 206:22           121:16 122:2,18           145:19 146:2
      24:16,18,21 25:19
                          231:2                       122:19 128:15             147:6,15 148:13
      26:15 27:23 30:20
                                                      138:1,22 148:1            148:19,24 149:16
      35:7,11 36:10
                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 89 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [nineteen - office]                                                                  Page 26

      238:17,22               81:24 83:25 84:3                o                 189:6,13,14 194:1
     non 23:15                84:7,20 85:17,25      o 3:1                       198:24 200:18
     noncompact 168:2         87:20 90:2,16,20      o'clock 230:5               201:21 202:5
      168:11                  90:25 91:6,20,24      oath 8:19 9:1               213:3,24 215:4
     nonpartisan 23:18        96:1,8 97:7,10,11       71:19 72:10 74:16         216:6 218:12
      23:20 38:16,20          97:11,22 98:21          75:5 143:17               219:3 222:10
      199:24 200:13,15        101:11 102:2,5          174:17                    228:18 229:12
     nonprofit 23:19          103:23 104:18         obama's 222:9               231:24,24 232:14
      76:19                   106:11,12,12          object 10:12 12:22          232:23 233:2
     nonpublicly              115:13 122:9            12:22 13:21 47:9          238:18 240:18
      184:15                  132:1,3 137:15          62:6 164:7 181:4          241:4,7,22,22
     nonresponsive            139:2 151:2,2,19        189:16 234:3              242:6,18
      147:1                   151:19,20 152:6         235:7                   objections 3:15,17
     north 2:4 45:9           153:3,4 154:24        objection 6:10              12:24 39:17
     notary 7:2 245:20        155:17 156:22           10:14 22:11 30:10         114:13 189:17
     note 198:18              157:4,14 160:11         30:18 31:2,15             213:8,12
      214:16                  162:13,14 165:13        34:25 39:11 40:15       objects 12:21
     noted 12:5 131:10        166:24 172:21           40:19 41:25 46:25       observer 199:24
     notes 104:24 115:5       173:3,6,22 176:21       50:9 55:14,22           obvious 100:25
      218:8 219:19            181:1 183:1,12          57:23 58:14 59:22         101:17
     notice 3:21 13:15        190:1,2 198:8,21        60:6,21 61:12,20        occasion 21:8,24
      16:22 113:2             199:5 201:9             62:3,15 64:20             22:4
      203:13,14               202:12 207:14,16        65:3 70:2,7,17,19       occur 112:1 118:4
     noticed 203:12,15        208:2,7 209:3,7         72:23 74:22 75:7          154:12
     november 86:22           210:4,5 221:17          80:10 82:11,22          occurred 109:8
      125:10,11,12           numbers 43:15,16         84:4 87:13 89:11          118:5,7 119:16
      130:17 131:18           46:20 48:15 87:3        104:10 111:10           october 21:12 49:3
      189:21                  87:18 91:3,4,5          112:17 113:7              54:13 111:2
     number 1:5 13:23         103:18 122:5            114:8,11 123:24           125:10 186:2,24
      14:18 25:22,22          151:20 153:6            125:25 126:24           offered 3:19 79:12
      27:20 28:23 30:13       157:12 214:17           143:3,10,24 147:8         79:15
      39:25 41:16,21,24       215:10 221:13,15        157:21 164:1            office 4:20 11:15
      42:1,2,3,14,16          221:16 222:4            166:10 170:4,12           33:7 38:14 43:17
      43:3,4,8,10,13,14       225:19                  171:21 172:14             45:10 46:2,3,15
      43:21,22,23 44:2,9     nurse 32:17 33:5         174:1 175:5,21            47:4 68:16 95:1
      45:14,17,19 46:1,5      33:11,12,12 34:14       177:11,15 178:12          102:4,5 126:14
      46:11,12,12,13,14      nurses 36:5,6            178:24 179:11,15          185:12 192:23
      46:14,15,16,17,23      nursing 36:7             179:22 180:18             201:20 202:3
      47:4,7,8 50:24         nygord 5:15              182:22 184:6,14           219:20 240:22
      56:20 66:12 67:1                                185:21 187:17             242:1
      67:2,4,8 77:21                                  188:2,8,16,19
                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22     Entry Number 194-2       Page 90 of 108
                                             Brenda Murphy                         February 4, 2022
                            The South Carolina State Conference vs. McMaste,
    [officer - opinions]                                                                   Page 27

     officer 47:13              59:13 61:5,16           132:12,17 133:13         195:8,12,17,23
       185:7,10                 62:7 63:3,10,13,16      133:16,17,21             196:3 197:15,25
     officers 185:5             63:18,24 64:19          134:4,11,19              198:6,10 199:6,22
     official 1:13 42:18        66:5,9,12,15,25         135:20,24 136:3          200:7,16,22 201:8
     oh 31:4 116:5              67:15,16,24 68:8        137:2,8 138:4,9          201:22 202:2,18
       130:7 200:4              68:12,17,25 69:12       139:7,17,18,25           203:1,21 204:5
       205:22 207:16            69:17 70:14,15          140:10,19,23             205:1,14 206:5,25
       218:6 228:25             72:10 74:15 75:5        141:13 142:8,24          209:12 211:7,16
     okay 8:6,25 9:3,12         76:15 77:6,12           143:2,8,15 144:19        212:18 216:3
       9:18,25 10:1,9,12        78:16 79:1,5,17         145:2,6 146:1,10         218:16 220:24
       10:17,24 11:10,12        80:3 81:17,23           146:14,21 147:10         221:5,18 223:3,22
       11:16,18,21,24           82:21 83:4,12,20        148:2,9,16,23            227:22 229:7
       12:19,20 13:6,23         83:25 85:7,10,15        149:15,24 150:12         231:16 232:12,12
       14:8,12,17,21,24         86:1 87:1,10 88:2       150:21 151:13,18         232:21 233:17
       15:3,12,22 16:6,11       88:14 89:9 90:1,9       151:24 152:5,18          234:9 236:3
       16:14,16,19,24           90:13,16,24 91:18       153:11,12,22             238:20 241:12
       17:6,16,19 18:23         92:15,15 94:2           154:13,19 155:14       old 20:4 83:21
       19:3,12,20 20:2,5        96:5,18,20,24           155:16,18 156:10         86:20
       20:9,14,19,22 21:6       97:22,25 98:4,18        157:1,2,18 158:15      older 67:6
       21:8,10,16 22:8          98:21,25 99:4,7,14      161:5,16,20 162:3      once 90:11 208:20
       24:9,20 26:6             99:17 100:20,22         162:14,14,15,25          234:1
       27:20 28:1 29:8          101:6 102:6,12,19       163:5,15,21,25         one's 92:12
       29:15,18,21 30:1,7       102:21,22,24            164:21 165:4,16        ones 15:17 36:8
       30:11,25 32:5,18         103:9,20 104:15         165:19,24 166:4          77:20 78:25
       33:3,5,18,24 34:5        104:22 105:5,8,14       167:25,25 168:9          193:13,14 208:20
       34:10,12,19,21,23        105:19 106:18,24        168:25 170:13,22         209:8
       35:3,6,13,17 36:13       107:1,9,23 108:11       171:6 172:15,19        ongoing 71:3
       36:16,19,23 37:6         108:14,22 109:11        173:1,9,18,20          online 15:18
       37:20 38:1,6,15,19       110:8,25 112:15         175:1,19,25            onset 95:3
       39:9,15,20 41:2,9        113:16 114:4,6,23       176:24 177:1,8         open 12:13 24:17
       41:10,15,16,20,23        115:23 116:17,21        178:1,17,19 179:3        29:4,5,5 83:8
       42:9,11,13,21            117:1,17 118:2,9        179:8,19 180:12          198:19 203:21
       43:11 44:18,22,25        119:7,19,24 120:6       181:14,15,24             243:1 244:1
       44:25 45:5,13,16         120:12,19 121:12        182:14,21 183:7        operate 174:12
       45:24 46:10 47:11        121:15 122:16,21        183:11,18,22           operative 55:20
       47:22 48:24 49:13        123:9,22 124:13         184:2 185:10,14        opinion 59:19
       49:18,20 50:22           125:6,15,19,23          185:24 186:7,10          112:7,7 242:15,16
       51:8 52:4,7,10,15        127:12 128:1,5,25       186:22 187:10,20         242:22 243:5,9
       53:9,18,23 54:5,12       129:18,24 130:3         190:4,9 191:3,12       opinions 211:23
       54:15 55:12 56:6         130:24,24 131:3         191:24 192:6             211:25
       56:16,19 58:11,21        131:18,21,22            193:23 194:19,23

                                        Veritext Legal Solutions
     800.743.DEPO (3376)            calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 91 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [opportunistic - partners]                                                           Page 28

     opportunistic           orders 36:3            overlap 114:10             189:20 190:1
       157:11,20               176:12                 194:2 238:12             194:9 198:7 199:6
     opportunities           organization           oversight 37:22           parente's 103:22
       15:19 62:12,21          19:12 23:18 38:16             p                part 14:3 17:16
       81:7 94:24 95:6         38:20,25 42:18                                  38:24 58:22 59:5
                                                    p 3:1 4:1,1
       96:2 123:17,19          43:2,20 47:24                                   76:14,16 77:16
                                                    p.m. 237:16
       124:7,8 128:23          49:3 50:22,24                                   83:7,13,18 84:21
                                                    packed 158:22
       149:24 209:23           57:19 58:6 59:17                                85:4,12,19,21 86:3
                                                    packing 89:6
       214:18 221:18           59:24 67:25 71:20                               87:5 90:13 103:12
                                                      91:14,18,19,25
       226:7                   72:6,19 73:11                                   109:24 138:18
                                                      93:22 109:22
     opportunity 9:22          74:1 75:18 103:14                               141:23 142:19
                                                      111:17 157:4,6
       12:16 48:16,21          136:4 150:10                                    206:25 218:21
                                                      158:22
       57:15 59:9,10           175:3 200:12                                    235:24 236:16
                                                    page 6:2 41:14,15
       60:13 61:2,3            206:12 210:7                                   partial 22:19
                                                      41:15 42:7,8,9
       62:14,20 81:9           223:23 236:18                                  participant 207:4
                                                      43:6,11,12 45:23
       92:10 94:5,6,25         241:15                                          207:6
                                                      67:14 100:21
       95:1 101:24 102:3     organization's                                   participants 27:9
                                                      132:12 156:8,10
       112:4 122:19,21         39:16 57:16                                     200:15 236:24
                                                      156:11 159:17
       122:22,24 123:3       organizationally                                 participate 51:5
                                                      162:25 163:11,13
       131:7,12 136:9,11       37:22                                           60:14 76:17,18
                                                      167:22 176:20,24
       136:13 145:13         organizations                                     77:17 130:13
                                                      181:21 183:1
       146:7 161:10,11         35:18,20 38:5                                   144:1 195:24
                                                      191:12 194:14
       162:24 167:2,3        organized 204:18                                  207:18 208:2
                                                      196:18 197:20
       181:12,13 209:13      original 231:5                                    209:24 237:9,11
                                                    pagination 156:15
       209:14 212:16,24      outcome 59:7,18                                   238:9
                                                      156:17
       214:15 218:2,4,22       60:13,18 64:4                                  participated 22:1
                                                    paid 14:25 51:10
       219:15 220:14           108:3 109:20                                    72:13 130:12
                                                      140:19 141:2
       223:19                  119:17 130:10                                   144:6 207:13
                                                    pains 8:22 135:21
     option 29:4               169:15,19 210:19                               participation
                                                    paired 92:25
     oral 7:8                  223:15 227:22                                   129:13
                                                    pairs 165:24
     orangeberg                242:11,12,14                                   particular 26:9
                                                    panel 120:1
       124:21                  245:13                                          28:2 29:22 38:22
                                                      152:15
     orangeburg 67:20        outcomes 60:25                                    39:7,10 41:8,11
                                                    paper 144:4
     order 23:1 32:14          62:19 211:15                                    176:19
                                                    paragraph 176:23
       35:24 106:14            222:4 223:12                                   particularly 199:2
                                                      177:2
       157:10 158:9            224:20 227:21,21                                215:16
                                                    paralegals 7:24
       170:18 172:6            227:22                                         parties 3:4,17
                                                    parente 4:14
       185:25 194:8          outset 193:6                                      245:12
                                                      40:17 44:14
       199:2 202:25          outside 30:18                                    partisan 80:19
                                                      107:10 132:3
       212:21 215:12         overall 61:1 119:3                               partners 14:15
                                                      156:8 170:22
                               130:22 231:18                                   27:2 28:5 51:15
                                                      180:25 186:3
                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 92 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [partners - please]                                                                   Page 29

       100:9                   180:16 182:18,21       173:23 175:12             182:2,4,9,13
     parts 8:2                 183:1,8,12,22          205:16                    185:20
     party 29:22,24            193:25 211:23        person's 93:12            plan 21:18 51:25
       30:2,3,9 38:22,23       223:19 226:7         personal 12:20              94:6 130:20 145:3
       64:1 76:5,10            238:5 239:10           13:8 30:19 32:10          145:6,8,12,19
     passage 23:8 74:8         240:15 242:12,15       171:8 206:20              146:2 147:6,12,13
       172:22 173:24         perceived 122:8          240:9                     148:11,12,20
       178:22                percent 83:22          personally 17:19            149:3 151:8,14,25
     passed 21:18 49:1         85:12,18,22,23         21:4,5 49:19              152:1,19,22 153:7
       49:4 61:9 74:17         86:4,10,21 87:4,4      56:13 79:3 144:1          154:7,10 155:4
       74:17 136:5 151:8       87:5,11,12,19          171:5 174:15,17           158:15 159:4
       155:4 162:5             91:21,21 92:3,7,8      195:7 208:4               162:4,4 163:21
     pat 63:13                 92:9 99:10 101:2       209:15                    165:24 171:3,9,9
     path 158:13,19            104:5 160:13,14      persons 1:10 54:5           171:12 172:22
     patience 230:8            190:21,22            perspective 107:4           173:24 190:22
     pause 102:7 107:1       percentage 84:12         111:12,14 186:11          222:25 233:8,11
       107:18,18 117:10        84:16 100:12           186:23 188:1            planning 215:8
       117:13 118:16           105:9,10,15 123:2    perspectives 106:4        plans 23:9 48:4
       150:21 181:9            157:8                  106:24                    222:8,14,15
     paused 109:2,2          percentages 84:16      ph.d. 184:8                 238:16
     pay 36:16 37:3            85:2                 phi 36:7                  platform 40:3
       51:10,12 140:15       perfect 156:18         phone 12:3 16:1             55:7 164:10,15
       140:17 141:21         perform 140:8            150:14 216:19           play 106:14
     paying 14:19,21         performing             phrase 84:21,25             107:11,12,20
       50:18 52:7 140:23       127:23                 85:4 89:4 91:12         playing 49:25
     pdf 132:2               period 16:10             93:14 122:17,18           107:14,16 117:12
     penalties 8:22            53:19 54:8 57:21       134:2,9 157:5             118:15
     pencil 144:3            periods 54:17            218:21                  please 9:10,11,20
     pending 10:21           perjury 8:22           physically 11:13            10:2,3 11:9 31:13
       244:1                 permits 137:16         piece 61:25 62:12           31:19 47:2,20
     people 24:4,25          person 15:25 16:2      place 155:19 199:3          50:11 55:3,18,24
       51:2 55:1 56:16         19:22 23:14 30:4     placed 56:15                56:6 57:18 58:15
       60:14 61:2 62:21        30:15 48:22 54:3       126:5                     60:10,22 61:14,22
       64:7 74:2,12 81:6       64:16,17 65:10       places 22:23 69:3           70:24 73:2 75:1
       91:6 94:1,3,24          68:17 69:25 70:15      121:3                     80:14 87:14 89:13
       97:22 109:22            70:15,19 71:20       plaintiff 4:3 30:19         94:22 112:20
       116:17,23 122:23        72:7,20 74:11,19       32:3 49:14,22             114:14 126:2
       136:13 144:7,9,23       99:4 141:19 142:9      205:10,10 206:22          130:21 137:10
       146:8,9 153:4           142:14 143:2,5,9     plaintiffs 1:11             145:23 168:1
       154:8,25 169:23         143:13,14,16,17        12:7,11 13:24             170:5 188:10
       178:11 179:4,5          143:18 172:20          49:16 173:13              189:10,17 200:19

                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2        Page 93 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [please - probably]                                                                  Page 30

       201:22 229:14         populations 100:7      prefer 162:10             presidents 22:3
       230:2 234:19            109:14 160:10,11       203:24                    24:11,13,23 26:15
       240:20                portion 41:3,8         preferable 150:2            66:17,19 68:2,21
     pleasing 193:11         portions 119:24        preferences 32:10           68:24 69:8 138:24
     plus 123:1 190:22         165:24                 134:6                     142:21 174:14
     point 9:9 13:7 41:7     posed 31:11            premature 54:13             176:3,7 179:5,7,8
       62:16 65:5,9 87:8     position 33:12         preparation 66:7            182:16
       87:15,16 99:25          57:20 81:10,11         166:21 233:24           press 145:5 195:15
       105:21 123:5            129:18 130:5,6       prepare 15:5,13           pretty 16:10
       127:7 135:5 178:7       137:20,22,23           16:20 82:4 88:3,4         104:22 138:4
       179:11 181:8            166:13 198:25          182:4                     213:17 237:21
       185:25 192:11,13        200:12 241:18        prepared 113:23           prevention 22:24
       195:17 210:23         positions 58:8           115:16,17 177:8         previous 104:14
       220:3 229:7             76:5 95:5 211:4      preparing 108:4             167:7,10 192:1
       243:11,14             possibility 162:22     presence 80:16,21         previously 47:12
     police 147:2            possible 99:9          present 5:13 25:10          60:12 129:8 157:5
     policy 241:14             150:3,7 155:2          62:20 73:7 82:8           186:19 204:22
     political 24:1            162:23 231:1           190:14 194:16           price 50:20
       29:18,22 32:10        posted 184:16            197:13,16               primarily 33:11
       38:21 108:22          potential 48:13        presentation                38:11 86:7 126:21
       109:25 146:8,9          64:6 109:24            111:19 117:25             140:9
       149:20 181:25           122:25 123:11          129:12 186:23           primary 36:8
       182:7,19                124:5,6 148:13       presented 21:17             82:21,24 83:17
     politics 24:1             182:1,8 214:18         83:3                    prince 36:2
     popped 40:5               226:6                presently 111:17          principles 133:23
     popping 132:7           potentially 48:16      preserve 229:4              134:1,7,8 225:8
     population 84:11        practice 71:3,11       president 13:9            prior 3:19 17:11
       84:16 85:6 86:10      pre 120:7,8,16           30:20,23 35:11            17:14 21:11 23:8
       86:11,13,16 87:19       222:8,15               47:17,21,23 66:3          35:13 69:18 73:13
       91:8,23 92:8          precedent 22:23          68:22,23,25 69:1,2        74:3 113:21 126:5
       99:10,11 102:1,2      precinct 150:20          69:4 71:1 77:23           167:18 221:8,24
       109:16 121:6,10         151:21                 79:8 83:16 84:7         private 79:9
       121:13,19,21          precincts 135:25         87:7 111:10 139:1       privilege 12:25
       122:5,9 135:3,12        136:5 150:12,16        171:16 181:21,24          232:24 241:20
       137:11,14 138:5         151:2,10,14,20         183:19 192:1            privileged 22:15
       153:1 157:7,9,10        152:2,6,16,20,23       193:21 197:23             31:25 74:23
       157:15 158:8            153:3,5,8,9,13         201:4 206:21              185:21 233:2
       168:23 169:1,6          154:6 159:25           222:8 233:22            probably 54:16
       200:25 201:4,9,12     predominant              235:16                    78:10 96:22
       201:14 227:8            157:18,24 158:3      presidential 30:17          116:11 218:21


                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG        Date Filed 03/21/22    Entry Number 194-2     Page 94 of 108
                                            Brenda Murphy                      February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [problem - question]                                                              Page 31

     problem 217:11          promise 160:8            215:11 244:1        131:20 140:11
     problematic 153:6       promising 204:17       providing 12:2        148:20 150:22
     problems 119:23         proper 166:20            28:6,8,9 107:25     158:15 163:24
       151:22 154:4          properly 53:15           244:3               164:4 231:21
       221:25                  54:9                 pruet 4:12           puts 162:5 165:25
     procedure 7:4           proportional           public 7:2 24:9      putting 144:3
       22:21                   99:12 101:3            53:20,24 54:20      167:19 223:9
     proceed 7:16              104:18 105:2           65:4,25 79:12       227:16
       167:6 181:10          proposal 166:15          81:14 128:14                q
       203:4                 proposals 190:19         129:13,19,21
                                                                         question 9:10,14
     proceeding 8:20         propose 53:20            130:5,7 141:5
                                                                          9:16,21 10:3,14,20
     proceedings 7:8         proposed 110:1           145:4 149:6
                                                                          11:8 13:20 17:17
       237:9,22 245:8,10       132:14 136:4           161:18 172:3
                                                                          17:20 19:8 21:10
     process 31:11             152:22 156:22          196:4 208:19
                                                                          28:22,22 30:8
       51:17 53:19 54:20       157:25 164:18,22       245:20
                                                                          31:3,4,10,12,19
       57:20 58:22 59:10       166:8 238:2          publically 184:17
                                                                          32:13 41:5,7,13
       72:14 78:12,14        proposition 136:7      publicly 24:20
                                                                          42:17 43:19 45:3
       108:2,16 109:25       protect 55:1 80:19       65:25 182:23
                                                                          47:2,5,6,15,20
       139:22 140:4,5,13       225:15                 184:16 185:2
                                                                          49:7,10 50:11
       142:17 144:8          protective 23:1        published 86:23
                                                                          51:7,9,20 55:12
       146:8 159:25            32:14 172:6          pull 81:23 88:14
                                                                          59:1,4,12,13,21
       177:22 193:2            185:25 194:8           89:2 96:4,8,17
                                                                          60:10,22 61:6,14
       205:21 207:2,5          202:25 212:21          155:24 165:5
                                                                          61:22 62:6,8
       211:5,18 212:16       proud 99:25              176:23 180:24
                                                                          65:18,19 69:18
       215:12,13 216:23      provide 25:20            199:4 229:23
                                                                          70:7,10,14,18,24
       237:5 240:15,17         62:12 64:25 74:5     pulled 97:12 237:4
                                                                          71:12 72:3,5
       240:25 241:1            136:12 149:24        pulls 82:1
                                                                          73:10 74:25 75:1
     processes 58:3            172:4,24 177:20      purchase 36:21
                                                                          75:3,11 80:14,15
       198:2                   185:14 207:25          37:1
                                                                          82:9,17 84:24
     produce 18:2,4            210:6 211:4 212:2    purpose 54:15
                                                                          89:13 90:7 93:6
       113:2 181:11            212:16 214:15          60:1
                                                                          104:4 105:22
     produced 12:8,12          220:23               purposeful 59:4
                                                                          108:7 109:5,11
       25:21 74:2 183:14     provided 7:3             59:16 60:4,20
                                                                          112:5,15,20 113:3
     producing 183:23          13:15 42:2,3,4,16      61:9,10,18 62:2,10
                                                                          113:4,9,11,14,24
     product 149:20            43:10,16 57:12         64:1 110:23
                                                                          113:25 114:5,7
     production 12:10          59:3 64:23 81:17       161:13 169:9
                                                                          115:1,9,10 116:22
       12:15 243:2             96:16 131:9 136:9      242:4
                                                                          118:6,8,9,10,24
     programs 142:17           139:18 176:18        purposely 178:4
                                                                          119:7 120:11,14
     prohibit 78:4             181:7 195:13,14      put 39:20,25 44:1
                                                                          120:22 121:9,23
     project 187:24            207:8,24 209:24        44:8 87:20 106:11
                                                                          122:7 124:14
       188:15 189:4            210:4,8,12,16          126:11 127:19
                                                                          125:19 126:2
                                       Veritext Legal Solutions
     800.743.DEPO (3376)           calendar-carolinas@veritext.com            www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22    Entry Number 194-2        Page 95 of 108
                                            Brenda Murphy                         February 4, 2022
                           The South Carolina State Conference vs. McMaste,
    [question - reconsider]                                                               Page 32

      127:1 128:10            questioned 198:1      racial 59:5,16 60:5         229:17 240:12
      129:1,2,3,6 131:17      questions 3:16          60:20 61:10,18            243:5
      131:19,21 137:18          8:21 9:5,8,18,20      62:2,10 64:2            reasonable 123:2
      138:1,12 141:9            10:13 11:5 12:12      108:23,24 109:12        reasons 84:13
      145:17,18,24,25           12:19,21 13:3,8       110:2,22 111:8            214:14
      147:10,25 148:8,9         14:18 31:11 32:3      161:13 221:25           recall 8:11 25:2
      148:10,14,15,18           91:10 96:23           242:4                     54:16 79:14 89:7
      149:12 150:15,19          107:13 114:3        racially 177:5              91:16 96:10,13
      150:25 151:7              117:11 146:23,25      178:4 222:24              116:2,7,9,11 117:1
      156:6 157:2 158:2         167:1 181:10        radical 155:9,11            119:24 120:2,5
      158:17 159:10,11          186:7 191:13,14       155:12,13                 122:16,18 123:7
      160:25 164:5,20           191:25 198:16,17    rainy 7:21                  125:12,13 161:20
      167:9 168:17              201:17 203:6,9,13   raise 128:10 196:1          161:22,24 162:1
      169:8 170:5,7             203:17 204:3,5,13   raised 161:21               195:21 197:2,12
      172:8,16,18 173:2         205:21 206:4,17       205:22                    197:14 204:25
      173:19 174:3,4,9          207:1,3 212:18      raising 161:23              205:1 234:13,23
      175:7 176:1,8             219:10,25 221:11    rally 39:10                 237:25 238:4,16
      177:16 179:19,20          226:9,13 230:3,12   rambles 221:7             receive 68:5 140:1
      180:13,21,22              230:16,20,25        reaches 159:21            received 12:10
      181:8 182:6 184:4         233:15,23,24        read 64:3 67:11,16          17:4 18:1 32:21
      184:20 187:19             234:9,14,24           89:3 100:24               182:12 198:19,21
      188:10,24 189:2,3         235:14 237:7          104:23 177:1              207:10
      189:4,19 191:4,18         239:3,23,25           189:18 191:16,17        receiving 26:22
      191:22,23 195:24          242:25 243:7          195:20,21 213:14        recess 52:17 103:1
      200:14,20 201:22          244:2                 213:19                    146:17 165:7
      202:10,14 204:19        quick 230:20,25       reading 3:9 105:4           176:15 181:16
      204:25 205:5              231:1                 169:22                    198:11 233:19
      206:10 213:20           quickly 138:15        ready 7:16 181:15         recognize 67:9
      214:3,5,8 215:1,7       quite 115:3           really 26:10 28:21          166:11 189:25
      215:24 216:10,12        quote 213:15            30:7 79:10 92:18          190:2 228:6
      216:14,18,21            quoted 197:22           120:12 145:17           recollection 33:1
      218:7,25 219:5,7,9                r             159:1 194:21              66:10
      220:10,16 221:22                                205:23                  recommendation
                              r 4:1 245:1
      223:6 224:21                                  realm 13:20                 79:21
                              rabon 5:14 40:1
      226:12 228:15,20                              reapportionment           recommendations
                                44:16 81:24 87:21
      232:5 234:21                                    6:16 96:12 97:20          26:23
                                96:4,9 97:2,2
      236:12 240:20,24                                235:18,20               recommended
                                100:22 117:14
      240:25 241:24                                 reason 8:25 86:1,8          210:20
                              race 122:23
      243:8                                           87:2,6,17 103:15        reconsider 130:20
                                157:18,23 158:1,7
     questionable 92:2                                103:25 104:8              132:13
                                225:13
                                                      151:8,11,13

                                        Veritext Legal Solutions
     800.743.DEPO (3376)            calendar-carolinas@veritext.com              www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22    Entry Number 194-2        Page 96 of 108
                                             Brenda Murphy                         February 4, 2022
                            The South Carolina State Conference vs. McMaste,
    [reconvene - representation]                                                          Page 33

     reconvene 102:22           207:5 208:18           88:9 99:23 101:20       rely 137:19 138:12
     record 43:24 56:5          209:4 215:9,13         105:25 106:17             139:8
       72:18,22 73:3,11         221:9 224:18,24        108:1 134:13            remain 148:13
       73:14 87:7 105:22        225:2,8,14 226:16      139:22 140:3,4          remember 125:13
       106:2,5 150:24           228:7 235:17,19        146:9 154:23              131:6 204:24
       156:9 164:8              237:5                  182:16 187:13,14          205:6 213:2,21
       166:19 175:10,11       redraw 161:2             193:9 196:21              214:3,5 223:12
       175:20,23 181:15       redrawing 155:9          219:22 226:6              234:1 235:2,5
       196:20 198:16,24       redrawn 161:7            238:5,11                  237:15 238:21
       205:16 209:23          reduced 60:16          regards 153:23            reminding 205:18
       214:1 243:14,19          61:4 95:13           registered 45:7           repeat 50:12 174:9
     recorded 105:23          refer 22:6,9 24:6        217:12                    189:2 215:21
       106:15                   28:4 92:5 159:9      regular 20:22,25            227:20 234:21
     recording 122:18           214:1 236:4          regularly 73:6            repeatedly 109:7
     records 159:16             241:25                 214:24                    196:1
       219:21 241:2           reference 101:21       reject 131:11             repercussions
     recruiting 173:13          117:23 194:17        relate 28:19                106:3,25 107:3
       173:17                   196:19 205:8         related 31:8 37:17        rephrase 9:10,12
     rector 4:8                 232:1,8                50:13 71:8,9 80:8         90:8 161:1 236:15
     redacted 184:1           referenced 104:19        108:4 134:17            replaced 103:14
     redirect 203:5           referred 125:3           154:1 185:22            report 6:12 45:4
       230:17 233:18          referring 39:1           191:8 225:13              45:20,24 46:6
       239:21                   94:18 118:20,22        233:5                   reported 2:1 46:13
     redistrict 125:3           119:1 159:7 165:3    relates 178:22              181:24 199:23
     redistricting 18:10        177:3 232:10         relating 3:12             reporter 7:1 9:22
       18:13,15 21:13,22      reflect 27:22 93:21    relation 201:13             10:4 35:23 97:5
       24:3 25:5,6 27:4       reflected 186:24       relations 196:4             102:11 243:20,22
       28:7,11 31:8,9           236:1                relationship 37:21        reports 51:22,25
       51:17 53:6,19,21       reflective 30:5          38:2 119:17 198:5         88:8
       68:7 71:7 72:14          51:3 122:5 226:20    release 53:5 54:8         represent 14:9,19
       78:10,14 80:4,9,24       228:4                  130:20                    30:5 83:12 92:11
       81:3 93:19 98:17       refresh 44:14 97:3     released 99:15              140:6 203:17
       99:24 105:25           refreshing 40:2        releases 53:10,12           204:11 212:1,13
       106:3,17,25 107:3      refuse 29:2 64:17      relevance 30:10             230:24
       108:2,5 119:11           179:5 193:21           164:6 224:10            representation
       127:10,18 133:23       refusing 177:16        relevant 12:8               48:10,13 73:18
       134:1,5,8,12           regarding 8:7,7          198:20 202:6,11           75:14 95:6 99:11
       139:22 140:1,13          18:10,12,12,15         202:22 206:6              101:23 123:7,21
       190:7,9,17,18            25:20 28:10,19       relied 61:25 62:10          124:6,7 136:10
       191:6,10 192:23          31:7 38:13 50:14     relief 56:1,7               160:16 187:11
       195:9 198:3 200:3        71:7,14,15 80:25                                 209:22 214:15,16

                                        Veritext Legal Solutions
     800.743.DEPO (3376)            calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22    Entry Number 194-2         Page 97 of 108
                                             Brenda Murphy                         February 4, 2022
                            The South Carolina State Conference vs. McMaste,
    [representation - right]                                                               Page 34

       214:18 217:5             76:10 148:24           105:10 151:9            resume 143:8,12
       226:7                    200:17 201:20          159:4,5 165:21            143:16
     representational           202:3                  166:8,13 168:25         retired 32:17
       101:1,17               republicans              172:19 173:21             33:10 34:17,18
     representative             149:16                 186:13 187:25             237:21
       20:15,20 22:8          request 6:11 39:18       202:25 207:11           reveal 22:18 174:7
       24:15 31:20 32:1         40:13,15,20 41:16      220:17                    174:8 199:1
       48:22 63:7,9,13,15       41:21 42:25 43:19    respective 3:4            revealed 88:10
       63:18,21 64:8,19         93:22                  55:5 109:6              reveals 168:2
       65:9 73:12 78:7,8      requested 25:9         respond 70:18               200:23
       78:16,19,20 79:2,4       42:16 43:23 184:1      73:2,4 114:14           reverse 149:20
       79:7,11 80:2,4,5,7       192:21 235:11,13       115:3,7,8,9 118:23      review 12:17
       80:8 81:1 82:8,20      required 8:17 9:19       128:21 213:25             16:16,24 17:6,7,17
       94:16,18,19 104:7        10:4 36:18             234:14,24 235:8           17:19,23 56:12
       161:6,17 162:7,22      requirement              238:19 242:19             57:21 58:2 73:6
       202:7 214:14             240:21               responded 217:25            87:9 115:19 128:5
       226:9                  requirements           responding 196:20           131:8,13 220:22
     representatives            93:21                response 41:7,13            221:5
       21:1,2,13,19 23:5      requires 155:9           46:4 108:7 118:10       reviewed 16:19,21
       23:6,12 47:13,14       reserve 34:15            124:2 128:25              17:3,9,13,15,21
       48:18 59:6,15          reside 20:6,10           197:25 243:17             39:16,17 56:14,17
       60:4 61:8,18 62:1        68:8 74:2 75:18      responses 10:4              58:17 66:6 73:7
       63:5 68:20 78:21         75:20                  39:16,17 235:3            82:6,19 83:2 85:7
       78:22 81:2 92:24       resided 69:21            243:7,7                   87:16 127:6 128:1
       95:8,9,19 101:3,8        70:15 72:7 187:15    responsibility              128:4
       101:22 104:2,6,17      residents 158:9          231:19 233:8            reviewing 40:11
       104:17,25 122:10       resides 68:10,13       responsible               revision 210:10
       123:12,13 149:7          74:11 173:22           173:13,17               rhetorical 65:18
       162:21 209:4             174:18               responsive 28:22            65:19
     represented 96:2         resolution 244:1         146:25 215:23           richland 67:20
       161:6 162:6            resource 141:15        restate 56:6 60:12          69:1,5,9,13 94:11
     representing               141:17,18 142:18       121:9                     114:18,19,21
       14:25 83:14,15         resourcefulness        restricted 145:25           124:21
       112:24 161:21,23         28:16                restrictions              ridge 135:11,13,17
       205:25 206:1,23        resources 26:24          241:14                  ridgeway 19:25
     represents 14:5,12         27:8 51:17 83:9      restroom 10:18              20:2
       184:5                    83:11 126:15         result 109:20             right 15:1,23 19:3
     reprisal 239:17            138:16,19 142:15       200:25                    19:20 20:5 21:16
     republic 30:14           respect 13:16          results 64:5                27:24 37:9 38:17
     republican 30:3            52:25 53:21 56:10      227:13,18,23              38:18 39:15 41:20
       30:16,25 31:12           67:8 103:23                                      43:5 44:8 45:5,7

                                        Veritext Legal Solutions
     800.743.DEPO (3376)            calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22    Entry Number 194-2        Page 98 of 108
                                             Brenda Murphy                         February 4, 2022
                            The South Carolina State Conference vs. McMaste,
    [right - second]                                                                      Page 35

       46:24 47:6,7,22,24       180:1,23 183:16      run 62:22 81:10           sc 43:1 96:11 99:8
       49:1 50:25 52:23         183:20 186:13          95:1                      99:9 181:25 182:7
       53:2,7,10,13,21,25       189:12,19 194:7      running 102:4               182:19 183:13,15
       54:10 56:8 58:25         194:14,24 195:3        234:7                     183:19 184:8
       59:6 60:1 62:24          195:15,23 196:8      ruoff 98:12,13,13           185:4,15 190:10
       64:14 66:2,13            196:16,17 197:15       140:9,11 141:10           192:2 199:1,24
       67:1,10 69:10,11         198:6,15 199:16        190:17 194:15             200:10 241:2
       69:14 78:14 79:24        200:13 201:6,16        196:14 200:22           schedule 16:9
       81:18 82:2 85:7          204:3,20 207:15      rural 161:21,24             192:6
       86:24 87:1,10,12         208:3 210:9,13,24      162:11                  scheduled 26:1,2
       87:23 88:2 89:24         210:25 211:24                  s                 128:18 192:2
       90:3,11,14,17,21         217:1 220:20,21                                  237:12,13
                                                     s 3:1,1 4:1
       90:22 92:13 93:3         222:20 225:10,14                               schedules 237:18
                                                     saith 244:9
       93:7 94:4 95:20          225:16,16 228:8                                scheduling 13:14
                                                     saw 25:21 43:4
       95:25 97:23 99:17        228:24 229:2,5,25                              school 32:20
                                                       107:25
       100:20 101:17            231:6 233:14                                   scnaacp's 41:23
                                                     saxonbury 20:7
       102:10,20 103:9          236:20 242:16                                    42:1
                                                     saying 87:15,17
       105:6,24 106:13        rights 23:24 55:1                                scope 30:19 32:4
                                                       89:7 92:6,7 94:2
       107:5 108:11,12          172:21 173:24                                    32:11
                                                       95:24 101:6 104:1
       108:14 110:25            202:21                                         scott 1:9 49:15,18
                                                       104:3 106:2 116:2
       111:20 114:1,20        ringing 150:14                                   screen 39:21 40:18
                                                       116:7,10 117:1
       116:19 124:18,19       river 90:22                                        41:18,19 44:9,10
                                                       118:12,13 122:7,7
       125:4 127:4,9          rmg 1:5                                            44:20 67:1,2,4,10
                                                       123:7 147:22
       128:11,14 130:20       rob 203:16 204:10                                  91:13 106:19,21
                                                       148:10 162:9,12
       131:4 132:12,15        robert 5:3                                         106:22
                                                       169:13 170:15
       132:18 134:4           robinson 5:2                                     scroll 42:15
                                                       180:6,10 194:25
       135:8,10,22,25         role 35:10,14                                      100:21
                                                       209:21 218:24
       138:9 139:4,7            49:25 190:15                                   scrolling 156:14
                                                       220:17 223:12
       141:7 142:25             195:19 234:11                                  scrutiny 241:20
                                                     says 41:20,23 42:8
       143:15,22 147:7          236:10,13,22                                   se 106:1 144:22
                                                       44:1,3 45:5,23
       147:18 149:15          rolling 203:22                                   seat 105:1
                                                       100:25 101:16,18
       153:14,18,22,25        room 11:18                                       seats 93:16,25
                                                       101:19 104:5
       154:15,17 155:19       routine 71:6,7                                   second 16:14 17:2
                                                       107:2,6 132:13
       159:1,14,17              72:12                                            42:9 44:13 74:10
                                                       177:2,4 178:1
       160:15 161:7,14        routinely 71:4                                     100:21 131:25
                                                       181:21,24 186:11
       162:3 163:7,15,16        77:23 84:18                                      150:23 156:4,13
                                                       190:16,17 191:9
       163:19 168:7           ruled 120:1,4                                      156:14 163:10
                                                       192:1 194:15
       170:3,6,10,17          rules 3:12 7:4 8:18                                181:21 191:12
                                                       196:24 197:7,7,22
       171:1 173:18             12:21,22 22:21                                   216:13 218:1
                                                       197:23 199:22,25
       175:4,20 176:24          62:7 172:7 189:18                                243:22
                                                       200:2,10,22
       177:1,17 179:6           202:11

                                        Veritext Legal Solutions
     800.743.DEPO (3376)            calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG           Date Filed 03/21/22    Entry Number 194-2        Page 99 of 108
                                               Brenda Murphy                         February 4, 2022
                              The South Carolina State Conference vs. McMaste,
    [secretaries - sitting]                                                                 Page 36

     secretaries 24:23            203:17 204:11        shielded 241:20             210:24 215:24
     secretary 185:9,13           209:25 210:1         shift 112:3 139:17          216:21 222:13
     section 67:12 89:3           222:14               shifted 121:2,5           simply 28:22
       128:9 222:25             send 181:2 235:13      short 165:5 176:14          36:14 51:9 65:9
     see 8:3 40:1,3,17          sending 83:6           shortly 212:22              70:6 83:16 138:12
       41:16,21 42:8,12         sent 44:23 113:2       shot 226:5                simultaneous
       42:14 43:4 44:20           125:4 166:22,25      show 96:21 106:11           47:18 70:9 78:11
       45:14,21 91:14,16        separate 15:22           115:11 125:1              123:18 130:1
       93:15 94:3 98:23           38:5 235:21            131:16                    138:10 153:10
       99:12 100:22,25          september 76:22        showed 167:18               168:16 173:10
       101:4,5,16 106:6           76:22,23 125:9       showing 44:17               192:15 202:19
       106:16,18 107:2            199:13               shows 107:5                 224:22 232:4
       132:8,10 143:8,12        seriously 81:12        sic 13:12 62:6            sir 13:19 29:23
       160:2 162:3              serve 35:13 94:5         99:25 121:22              64:3 72:17 107:15
       163:12,15 164:6            95:8 151:21 153:5      186:2 222:25              107:17 113:14
       165:2,5,11,13,15         served 34:14             223:1                     120:2,5 130:21
       165:16 168:1               62:25                side 154:2,3                131:14,19 132:20
       176:12,24 181:22         serves 30:15           signatory 125:15            143:14 144:25
       184:5,7 186:8            serving 94:4             125:20                    147:23 149:9
       190:16,23,25             session 16:12,14       signature 3:9               164:17 168:1
       191:2,2 192:3              54:17 162:2            56:15 126:5,20,21         170:24 171:9,18
       196:18 197:20,24         sessions 16:17           245:17                    174:11 178:15
       199:8 200:6,9              207:7,21 217:6       signed 56:12,25             190:12,24 191:19
       201:1,2 203:6,22         set 6:10 39:18           82:19 130:18,25           193:16 210:14
       210:19 225:19              40:20                  131:1 152:18              212:13 216:1,5,8
       227:3,7 233:11           setting 140:12           233:9                     217:22 218:15,22
     seeking 11:6               seven 37:4 163:12      significant 207:13          219:2,6,9 222:7
       234:15,25                seventeen 148:24       significantly 121:2         223:4 227:9
     seen 25:21 27:20             149:16                 153:2 160:12,12           229:25,25
       40:9,9,23 41:6           shape 160:4 163:6        203:11                  sit 46:10,22 47:7
       44:22 45:2 97:16           163:9 167:14,15      signing 128:6               61:24 68:9 74:15
       107:8 143:16             shaped 159:22          silver 37:2                 86:1 110:25 111:5
       166:7                      164:23               similar 89:19               111:6 124:15
     seminar 68:4               share 59:2 79:7          92:19 135:14              133:1 160:20
     senate 5:1 21:18             111:22 138:19,21       139:15 164:22             242:2
       23:8 25:8 49:4             164:10                 165:20,23 170:25        site 43:4
       91:5,6 101:14            shared 51:14 68:6      similarly 1:10            sites 208:9
       103:19 105:1,3           shares 164:22          simple 43:19              sits 158:20
       118:23 128:19,24         sharing 25:6             59:13,20 73:10          sitting 65:22 93:16
       151:9 191:14             sheree 5:14              137:17,18 145:17          93:25 228:21
       196:21 197:19                                     160:25 188:24

                                          Veritext Legal Solutions
     800.743.DEPO (3376)              calendar-carolinas@veritext.com               www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22 Entry Number 194-2 Page 100 of
                                             108
                                           Brenda Murphy                   February 4, 2022
                          The South Carolina State Conference vs. McMaste,
   [situated - state]                                                                Page 37

    situated 1:10             139:25 140:10        speaking 17:7         spoke 69:25 70:15
    situation 8:12            196:4 239:17           73:22,24 112:10       71:20 72:7,19
      48:12 120:10          sound 149:18             112:11 114:12         73:12 74:11 81:14
      121:1 155:6,8         sounds 52:16             189:17 195:8          117:3 147:22
      160:22                south 1:2,7,15           206:11,15 211:17      148:3,4,6 161:17
    situations 160:18         4:16,20,25 5:5,11      222:6 232:8           178:21 179:4,9,9
      170:25                  8:8 11:14,17 13:9      234:20                223:6
    six 20:4 37:4 41:16       14:6 17:8 18:13      spearheaded           spoken 63:10,16
      41:21 159:18            19:24,25 20:7          83:18 237:3           63:22 72:21 74:3
      167:23 243:22,23        26:16 27:5 30:20     specific 41:3 61:7      74:18 78:9,13
    size 150:19               31:6 32:2,22           61:16,25 62:9         80:3,6,7 196:7
    skills 224:6,7            33:17 34:1,3,6,20      67:12,14 73:20      spring 135:11,13
    slash 235:18              35:4 36:1,6,10         74:24 84:6 94:9       135:17 166:20
    slipped 195:1             37:8,23 39:1           94:12 114:15        sprung 166:25
    small 150:8               42:19,20 45:5,10       119:4,8 137:19,24   staff 15:17 19:19
    smaller 134:20,23         48:1 49:14,21,23       139:7 159:10          26:25 235:13
      150:3,5                 49:25 50:2 65:1        166:5 168:19        stand 86:25 87:17
    social 76:20 78:5         65:15,20,23 66:1,4     170:13 178:20,21    standard 71:3,11
    socialize 21:6            66:18 71:1 76:9,9      190:15 217:14       standards 198:3
    soliloquy 243:8           83:21 86:11,20         225:22 226:1        standing 175:2
    solitary 137:9            99:25 105:16           233:13              standpoint 228:1
    solutions 2:3             109:25 112:24        specifically 71:18    stands 172:14
    somebody 24:1             121:20 133:23          177:7 178:19        stars 35:24
      56:3 212:7 219:13       136:18 138:24          211:13,14 234:12    start 204:19
      219:16 228:23           140:22 153:1           234:22              started 13:4 54:22
      234:17                  174:15 175:25        specifics 48:25         99:20,22 206:2,9
    somewhat 144:5            176:4 177:3 184:9    spend 133:14,19         215:8 216:10
      158:10                  186:20 192:7         spent 138:20          starting 33:11
    soon 41:12                194:2 202:7 212:9    split 112:6,16,21     state 1:7 7:2 11:14
    sorority 36:7,8           221:9,25 222:23        113:6,13,22           17:8 18:14 23:23
    sorry 8:14 11:16          234:15 235:16          114:17,22,24,25       24:12 26:11,16
      47:19,19 55:3           236:8,11,13,16,22      115:18 118:20,25      27:5 31:7 32:2
      67:3 145:16 148:3       238:22 239:3,4         135:21,25 136:4       34:1 35:3 36:10
      149:13 150:1,15       speak 20:22,24           137:5 151:2,10,14     37:8,11,17,23
      151:1 152:13            68:17 69:20,20         152:2,6,15,22         38:11 39:1 42:19
      153:1 163:8             70:20 75:22 76:4       154:2,8,14,20,21      42:20 43:10 45:6
      184:22 192:16           146:19 211:22          158:23 159:25         45:10 48:1 49:14
      217:8 228:13            219:21 230:1         splitting 109:9         49:21,23 50:1,2,4
      232:1,7               speaker 48:3             111:20,25 136:9       53:12 54:21 65:1
    sort 11:9 22:23         speakers 186:12          137:7 150:12,16       65:21,23 66:1,4,18
      33:6,7 35:14                                   152:20 153:13,24      68:21,22 71:2,6

                                      Veritext Legal Solutions
    800.743.DEPO (3376)           calendar-carolinas@veritext.com           www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22 Entry Number 194-2 Page 101 of
                                             108
                                           Brenda Murphy                   February 4, 2022
                          The South Carolina State Conference vs. McMaste,
   [state - take]                                                                  Page 38

      72:10,14 73:5         statements 149:6        241:19                143:22 160:19
      77:8,23 78:21,23        194:15              submission 17:11        166:13 168:10,18
      79:20 84:11 86:6      states 1:1 44:4         17:14 18:21,25        169:11 170:10,14
      96:11 98:5,16           53:15 99:7 222:23     21:11 79:12           177:23 221:3
      101:1,8,17 109:25     statewide 208:3         142:23                242:4
      112:25 119:16         stating 196:25        submit 18:16,20       supports 169:1
      121:5,9,12 128:14     statistic 85:2,3        18:23,24 22:20      supposed 146:15
      138:23 139:6          statistics 84:22        51:1                suppositions 170:9
      140:22 149:21         statute 74:16         submitted 17:24       supreme 22:22
      154:23 174:14         stay 204:16             18:5,7,8,15 42:13   sure 13:21 15:8
      175:9,11 176:3,4      stepp 5:2               50:24 51:22,25        23:20 67:13 88:20
      177:6 179:5,7         stick 170:21            57:10 58:17 82:5      97:18 100:11
      183:13,15,19          stipulated 3:3,8,14     141:11 156:12         101:15 127:7
      184:8,10 185:4,9        3:20                  166:13 167:4          142:2 149:5,7
      186:20 187:21         stipulation 7:5         238:21                151:17,17 155:18
      188:14 191:10         stop 47:20 109:3      subparagraph            158:19 180:4,5
      197:2 200:11,23         114:14 138:11         104:24                203:10 205:16
      201:5 206:1,7,21        145:16 148:2        substance 10:25         206:9,16 212:15
      206:23 207:14           181:14 188:21         52:22 103:7           221:10 223:8
      208:3,20 209:4          189:17              substantial 121:16      227:1 230:11
      211:15 212:2          stopped 107:19        succinct 230:2        surgically 157:14
      213:2 214:11,20         109:3 117:15        sue 48:2,25 212:23    surrounding
      214:24 215:25           118:17                212:25 231:16         244:2
      217:5 224:12          strategy 232:24         232:6,13 233:1      sworn 7:12
      226:16 238:2          street 2:4 4:8,15     sued 49:3             symposium 217:1
      239:1,10,13 245:4       4:24 5:4,10 45:10   sufficient 175:2      symposiums
    stated 27:19 57:17        154:5               suggestions 144:4       216:25
      66:17 68:1 80:20      streets 154:8         suggests 12:23                  t
      87:16 126:13          strength 91:22          194:24
                                                                        t 3:1,1 245:1,1
      129:17 174:24         strike 128:9          suit 213:1 214:4,9
                                                                        tague 98:10
      193:2 200:22            144:20                214:10,11,13
                                                                        taiwan 1:9 49:15
      239:5 240:12,21       stringent 147:2         216:22
                                                                          49:18
    statement 43:7          studied 84:12,14      suite 4:15 5:10
                                                                        take 9:22 10:4,17
      80:16 88:22 99:18       85:6 105:6 127:18   summary 213:25
                                                                          10:19,20,21,24
      100:23 101:20           229:21              sumter 67:19
                                                                          40:8 52:14 58:7
      119:2,3,15 120:23     study 84:18,18          170:21,23 171:10
                                                                          75:15,16 76:6
      121:24 122:6,13         85:5                supplies 28:9
                                                                          81:11 96:19,22
      122:14 153:16         subcommittee          support 39:6
                                                                          97:1,1 102:16
      157:16 160:5            25:8,8 229:15         60:19 111:7
                                                                          109:4 115:9,16
      185:1 197:18          subject 8:21            117:17 137:19,24
                                                                          125:1 135:21
      242:13                  114:10 145:25         138:12 139:8
                                                                          137:22,23 146:11
                                      Veritext Legal Solutions
    800.743.DEPO (3376)           calendar-carolinas@veritext.com          www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22 Entry Number 194-2 Page 102 of
                                             108
                                           Brenda Murphy                   February 4, 2022
                          The South Carolina State Conference vs. McMaste,
   [take - thank]                                                                  Page 39

      154:13 165:4          task 187:7,8 188:5 term 22:5 89:9            214:17 215:17
      176:14 177:19         taught 89:1           92:16 93:23,24,24      222:3,6 224:1,2,8
      181:3,13 183:2        teague 141:6          100:16,17 109:1        224:14 225:2
      191:17 198:25           194:16,17,19        109:12 155:11,13       235:9 238:8
      202:24 209:13           195:3,25 196:11     177:2                  239:10 240:10
      230:6,9 243:4           199:23 200:4,21   terms 13:13 15:19        242:9
    taken 3:5 57:19,22      technical 44:16       15:20 16:9 17:9      testified 7:12
      129:18,22 241:18      technology 67:6       21:23 23:24 24:3       87:22 141:6
      243:21 245:8            88:16,20,21         26:22 28:6,7,8,17      207:12 208:23
    takes 53:19 58:5        tell 8:6 9:11 15:5    28:18 46:4 48:10       209:16 219:8
      58:11,16,19 88:16       16:6 19:22 26:8     48:10 49:25 50:5       222:16 223:8
      156:3 200:12            32:18 33:2 35:20    51:2,4,16 55:2,4       231:8 233:25
      211:18                  43:9 46:10,22       57:10 58:1,18          235:16 237:8
    talk 9:23 24:1            47:7 48:2 56:23     59:8,11 60:24,25     testify 9:1 219:13
      47:22 52:18,22          57:6 60:2 61:7,25   61:1 62:22 64:4      testifying 182:4
      119:13 128:8            68:9,12 71:18       66:19 68:7 71:5        206:15
      151:3 153:18            74:1 88:24 102:9    73:4 75:24,24        testimony 6:14,15
      162:10 167:2,4          102:14 103:21       79:21 83:9 84:16       11:1 16:20 52:23
      176:7 181:9             106:14 109:14       85:6 87:18 88:7        57:12 66:7 81:18
      213:20                  110:8 111:6 113:4   89:5,20 91:3,5         82:2 83:20 86:20
    talked 15:10 19:20        137:21,22 138:15    93:12,19 99:22         86:22 87:12 88:3
      25:6 111:23             142:10,13 143:17    101:25 102:3           88:15 103:7
      140:14 163:6,9          144:19 155:8        105:3 109:15,16        115:21 125:18
      209:1                   173:2,21,25         109:20 111:16,18       129:12 130:11
    talking 19:22 22:7        175:19,23 177:8     112:12 116:13          146:15 174:2
      47:19 56:3 86:12        177:22 178:6,7,19   117:5,24 119:17        187:18 188:3,3
      86:16 94:20,23,24       192:10 197:8        122:4 126:10,16        189:15 195:13,14
      95:2 96:15 104:23       201:18 217:19       127:13 128:20          202:6 207:8,9
      104:24 106:7            219:14,16 220:5     129:22 130:7           209:24 211:3
      108:8 115:4,20,21       227:22 228:24       134:5,14,16            213:5,15,22
      119:14 123:22           229:1,4,21,22       136:10 137:12,16       218:20 219:14
      127:15 136:22,24        241:1 243:3         138:5 140:12           220:13 238:10
      139:11 152:8          telling 60:17 97:10   141:25 144:4           240:19
      160:13 162:13,14        142:6 154:7,9       145:12 151:22        text 12:3
      167:14 169:14           162:16 176:6        153:7 154:1,25       thank 7:20 9:7
      184:23,25 191:3,5       217:16 230:1        157:7 158:7            13:6,18 41:1
      191:6 209:17          ten 53:10 54:9        160:16,21 162:11       47:11 102:24,25
      211:12 215:9            129:10 182:20       169:15,15 182:12       103:10 164:13
      218:1 220:8             237:16              187:20 190:14          204:10 205:18,18
      234:17                tend 30:1,2,8         207:7,9,17,19          210:2 230:13,14
                                                  208:8 210:19           233:14,16 235:14

                                      Veritext Legal Solutions
    800.743.DEPO (3376)           calendar-carolinas@veritext.com         www.veritext.com
3:21-cv-03302-MGL-TJH-RMG          Date Filed 03/21/22 Entry Number 194-2 Page 103 of
                                              108
                                            Brenda Murphy                   February 4, 2022
                           The South Carolina State Conference vs. McMaste,
   [thank - true]                                                                    Page 40

      237:6 239:2,16,20        207:12,23,24           96:6 102:8 118:21     170:14 173:5
      242:25 243:24            209:2,9,11 213:11      124:13 125:1          178:17 187:24
      244:6,7                  214:21 218:4,7,22      133:20 138:20         188:1 193:1 230:5
    thanks 244:5               219:24 220:17          192:20 199:4        tools 28:17
    thereto 3:19               221:1 223:6,10         201:19 203:9,11     top 115:7 142:11
    thing 10:19 15:7           225:8 226:8            204:22 208:8          197:7 199:12
      45:25 67:7 88:17         229:17 238:24          209:1 229:9           219:22 235:23
      88:21 162:17           thinking 35:9            230:13 233:15       topic 186:13
      193:17 203:20            149:9 210:10           237:12,13           topics 13:16,16
      212:8,8,9,10 230:8     third 183:19          timeliness 49:6          206:14
      235:21                 thirteen 36:12           50:14               totally 92:24
    things 15:10 58:23         37:7,16             timely 58:24             137:12 158:21
      140:13 179:21          thirty 27:7 36:20     times 30:13 46:19      touched 134:19
      211:4 221:6 222:2        95:14,15 102:17        128:16 139:2,2      town 19:25 135:11
      235:21                   104:21 133:19          188:20 206:2          158:23
    think 13:20 14:3           146:22 159:18       timing 52:25           towns 158:12,16
      16:8 18:21 19:1          163:12 167:23       titled 191:9           traditional 133:22
      21:24 25:16 27:9       thomas 4:22           tjh 1:5                  133:25 134:5,7
      33:22 42:24 46:18        205:10 230:19,24    today 8:19 9:1           225:14 228:7,9,11
      51:14 54:3 62:11       thorough 154:20          11:13 12:7 13:24    training 18:11,12
      67:9 76:22 77:5        thought 77:14            14:7,22 15:6,18       18:17 99:22 100:2
      77:14 80:16 82:17        184:22 227:19          16:20,23 27:17        139:19,20,25
      92:24 95:3 99:23       thoughts 126:12          46:11,22 61:24        140:8,9,10,15
      100:1,1 102:20           144:10 233:18          66:7 68:9 71:19     transcribed 245:8
      105:21 107:6,6         thousand 36:12           74:15 75:25 83:14   transcriber
      108:25 109:3,9           37:7,16                86:2 108:18 111:1     213:17
      110:5,12 111:21        three 17:1 34:22         111:5,6 112:11      transcript 245:9
      111:21,23 115:1          36:25 64:1 67:2        113:24 114:5,17     transparency
      117:8,8 124:22,24        95:13 97:8 119:25      115:16 119:18         116:13 128:11,12
      126:9,16 128:25          124:23,24 132:25       128:4 133:1         transparent
      136:16 138:22,22         133:5 146:21           160:20 164:10         115:24 116:1,3,8
      140:3 145:12             152:15 201:1           166:17,25 168:10      134:15
      150:8 153:25           thursday 189:21          173:25 204:1        traveled 138:23
      154:1,23 162:9,16        199:20 234:8           206:1 209:8 210:2   treasurer 45:25
      165:23 167:11          time 3:18,18 8:13        217:16 220:19       trial 3:18 8:9
      170:24 171:6             8:14 16:22 19:3        233:23 234:7        trinkley 5:9
      174:11 188:12            21:16 28:8 34:8        239:17 242:3        true 13:14 91:2
      189:18 191:15            35:13 53:19 54:18   told 53:8 56:24          116:25 120:25
      192:24 193:4             54:19 55:4 58:2        90:10 105:5           193:1,3,3 221:12
      202:2 203:1,21           58:16,20 66:9          115:15 118:9,18       245:9
      204:22 206:4             74:8,9 89:4 93:16      123:20 147:4,17

                                       Veritext Legal Solutions
    800.743.DEPO (3376)            calendar-carolinas@veritext.com           www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22 Entry Number 194-2 Page 104 of
                                             108
                                           Brenda Murphy                   February 4, 2022
                          The South Carolina State Conference vs. McMaste,
   [truly - virtual]                                                                  Page 41

    truly 122:4               217:6 222:25         understanding          uses 85:3,3
    trust 217:17              239:23                 15:8                 utilize 51:17
      240:15                type 83:10 210:19      understood 9:15                  v
    truthful 8:20           typed 127:2,3            11:4 147:5 201:3
                                                                          v 22:22
    try 9:8,23,24 90:8      types 206:8              225:9 230:11
                                                                          va 33:15
      204:16 214:2          typically 30:1         unfair 115:1
                                                                          valid 65:2
      229:9 231:1             84:15                  219:24
                                                                          validate 43:7,14
      232:12                typo 101:10            unfavorable
                                                                          validated 68:15
    trying 27:15 67:11      tyson 5:3 6:4            221:10
                                                                          values 89:19
      89:2 96:17 106:20       203:8,15,16,19       uniformly 196:23
                                                                          variables 122:2,3
      147:2 148:11            204:2,9,11 213:4,6     196:25
                                                                            139:13 142:1
      149:11 154:11           213:11,17 216:9      unincorporated
                                                                            224:3 226:2
      164:16,17 165:1,1       220:7 222:12           43:1
                                                                            227:10,24 228:2
      169:18 176:23           230:7 231:20         unintelligible
                                                                          variety 211:4
      188:23 206:3            239:22,24 244:4,5      35:22
                                                                          various 179:4
      212:14 217:18                   u            unintentionally
                                                                            210:12 235:24
      220:12,24 221:2                                109:18
                            u 3:1                                         veers 13:20
      221:22 225:21                                unit 34:15
                            u.s. 34:14                                    verbal 10:3
      230:10                                       unitary 139:9
                            ucf 156:15                                    verify 156:5
    tuesday 16:8                                   united 1:1 222:23
                            uh 200:9                                      veritext 2:3 40:4
      166:23 167:5                                 university 32:22
                            ultimate 233:7                                  164:10
    turn 41:13 179:9                               unusual 160:4
                            ultimately 136:5                              versus 169:6
      189:20 237:6                                 unwillingness
                            umbrella 236:20                               veterans 33:9,10
    twelve 128:14                                    239:6
                            unable 208:10                                   33:13
      190:1                                        update 181:21
                            unanswered 244:2                              vice 183:19
    twenty 95:12,14                                  190:16 191:10
                            unconstitutional                              video 6:18 105:22
      95:18 97:8 202:3                               200:2
                              178:3                                         106:2,5,6,14,15,18
      223:5                                        upfront 11:4
                            undated 125:8                                   107:1,14,15,16,19
    twice 233:25 234:1                             upheld 120:20
                            underneath 107:4                                107:21,23 108:8
      234:5                                          152:1,15 155:4
                            understand 8:19                                 108:12 111:19
    two 15:18,22 38:5                              use 10:18 22:5
                              8:22 9:5,10,11,16                             112:4 116:7 117:9
      46:19 54:3,3,5                                 26:24 53:15 61:10
                              10:5,15,22 11:2                               117:12,15,18
      69:7,7,8 73:16                                 85:16,20,21,22
                              12:17,25 27:14                                118:15,17 123:5
      75:12 84:20 92:23                              86:2,9 87:5,6 89:3
                              43:18 53:18 54:7                            videoconference
      107:12 118:19                                  91:12,14 92:15
                              54:11 55:6 56:4                               3:6 7:6
      128:17 129:11                                  93:4,14,23,24
                              108:5 110:22                                view 55:13 91:25
      158:15 160:10                                  110:13,13,17
                              147:5 162:4,7                               views 107:5
      179:21 190:22                                  133:20 155:11
                              177:14 180:5                                  211:18 212:11
      198:2 201:17                                   177:2 224:12
                              191:24 201:6,8                              violated 172:22
      205:7 206:8                                    225:13
                              208:13 211:12                               virtual 67:3
      208:22 209:16,16
                              212:15                                        128:23 129:12
                                      Veritext Legal Solutions
    800.743.DEPO (3376)           calendar-carolinas@veritext.com            www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22 Entry Number 194-2 Page 105 of
                                             108
                                           Brenda Murphy                   February 4, 2022
                          The South Carolina State Conference vs. McMaste,
   [virtual - word]                                                                Page 42

      208:8,11,12             221:10 238:6        wanted 24:13,24      weekend 230:13
    virtually 54:4          votes 111:9 215:18     29:7 74:13,21        237:23,24
      129:14                  242:15               77:10,15 78:3       weekly 25:25 26:1
    virtuals 128:18         voting 86:10 91:22     109:5 127:7 173:5    26:3
    virtue 103:12             99:10 121:21         203:13 205:16,20    weeks 66:11
      216:25 241:18           135:25 136:5         206:16 207:2        welcomed 78:3
    visited 138:25            151:10 157:15        217:4,21 218:2      wendy 78:16
      139:1,5,5,6             205:9                224:19 243:12       went 8:9 93:14
    vocalizing 195:19       vs 1:12               watch 111:24          117:18 204:15
    voice 210:25                     w            watched 50:4          221:6 227:19
      232:11                                      water 10:18           229:7 243:6
                            w 5:9
    voiced 177:24                                 way 12:22 24:2,4     white 86:7 157:8
                            wait 9:20 10:2
      182:11,15,15                                 31:8 55:21 92:10     160:13 169:6
                              156:6 163:5,5
    voices 210:18                                  93:9 94:14 107:8    whites 84:17
                              203:24
      233:13                                       109:22 110:6        widespread
                            waiting 164:14
    volunteered 182:3                              136:4,12 144:6       128:20 135:15
                              218:14
    vote 29:11,13,14                               152:6 154:20        william 4:23
                            waived 3:10,22
      30:1,2,4,8,12,14                             160:22 164:11       williamsburg
                            want 11:4,6 15:3
      30:23 31:8 48:11                             169:18 174:24        67:20
                              41:11 44:25 47:22
      48:11 83:22 86:21                            191:8 211:8,9       win 123:2,3
                              59:1,1,3 81:5,10
      93:12,13 100:19                              215:18 217:18,21    winning 122:25
                              88:14 95:1 96:25
      105:11 127:14                                220:24 225:23       wise 171:6
                              102:16 110:8,15
      151:23 201:25                                226:1,20 228:3,4    witness 3:10 7:7
                              115:11 118:7
      215:17,20 242:11                            ways 84:20 85:1       62:4,16 113:8
                              124:21 127:2
    voted 29:16,17                                 116:16,18,24         114:13 177:20
                              132:20 137:21,23
      30:14,16,25 31:12                            211:2                179:12 188:21,23
                              146:5,22 149:9
      201:19 202:2                                we've 12:16 19:20     232:8,8 245:10
                              153:18 161:5,7
    voter 86:12,16                                 21:23 46:2 51:15    witnesses 52:1
                              163:3 166:6
      87:18 99:10 150:9                            52:13 67:5 95:6      173:13,17 186:11
                              169:20 173:23
      150:12,13,16,16                              114:8 171:22         186:24 187:21
                              176:19,20 181:3,9
      153:13,14                                    177:11 203:25        188:1
                              181:13,20 188:18
    voters 48:8 59:9,9                             208:25 212:19       woman 7:25
                              191:24 193:22
      76:13 77:22 79:16                            230:4               women 76:13
                              194:9 204:12
      83:22 84:21 86:9                            website 127:19        77:21 79:16 98:19
                              213:15,18,19
      86:17,21 98:19                               185:2                141:2 212:9
                              215:21,23 217:7
      100:18 101:2                                websites 172:3       wonderful 88:17
                              219:13 221:10,23
      104:5 141:3                                  184:16,17           wondering 28:1
                              223:9 227:16,20
      151:22 153:17                               wednesday 16:9        226:15
                              233:13 236:2
      159:24 168:5,6,14                            18:22               word 61:10 91:12
                              240:14,16 243:14
      169:10 170:19                               week 8:8 16:5 19:2    92:15 93:2,5,6
                              243:16
      212:9 217:13                                 128:4 199:20         217:1 222:3

                                      Veritext Legal Solutions
    800.743.DEPO (3376)           calendar-carolinas@veritext.com         www.veritext.com
3:21-cv-03302-MGL-TJH-RMG         Date Filed 03/21/22 Entry Number 194-2 Page 106 of
                                             108
                                           Brenda Murphy                   February 4, 2022
                          The South Carolina State Conference vs. McMaste,
   [words - zoom]                                                                  Page 43

    words 73:19 86:19                 y
     91:14,17 108:17        y'all 102:12,16
     110:13,13,18             209:3
     112:1 134:7            yeah 90:19 100:15
     213:25 223:9             101:9 116:25
     227:17                   123:8 127:25
    work 8:1 24:3             185:8 203:15
     27:1 31:7 33:5,6,6       209:17 211:25
     33:7,7,13 38:6,7,8       225:17
     38:8,10,13 50:15       year 14:4 27:13
     100:9,10 182:3           49:4 76:24,25
     200:23 212:12            140:24
     213:8,12 237:2,4       years 20:4 27:3,7
     237:19                   27:11 28:5 33:23
    worked 27:2,10            34:1,4,11 35:12
     33:9,15 77:24,25         51:16 53:10 54:9
     100:8 234:13,23          78:1 129:10 202:4
    working 33:11,18          205:7 239:11
     200:23 235:17          yell 216:10
    works 7:25 88:17        yesterday 16:10
     102:18                   96:17 181:7,11
    world 217:19,20         york 4:9,9 33:16
    write 82:9,10,15          33:16 90:13
     82:16 125:23             200:24 201:5
     210:3,3                youth 35:15
    written 6:14 81:18
                                      z
     82:2,18 83:20
     115:6 175:16           zoom 16:1,3 24:8
     207:24 209:6,18          83:9 217:6
     209:19 216:4
    wrong 15:1 46:24
     90:18 123:5 135:8
     153:14 170:3,10
     170:11 173:11
     196:16 199:14
    wrote 209:3
             x
    x 6:1




                                      Veritext Legal Solutions
    800.743.DEPO (3376)           calendar-carolinas@veritext.com         www.veritext.com
3:21-cv-03302-MGL-TJH-RMG    Date Filed 03/21/22   Entry Number 194-2   Page 107 of
                                       108



                      Federal Rules of Civil Procedure

                                        Rule 30



          (e) Review By the Witness; Changes.

          (1) Review; Statement of Changes. On request by the

          deponent or a party before the deposition is

          completed, the deponent must be allowed 30 days

          after being notified by the officer that the

          transcript or recording is available in which:

          (A) to review the transcript or recording; and

          (B) if there are changes in form or substance, to

          sign a statement listing the changes and the

          reasons for making them.

          (2) Changes Indicated in the Officer's Certificate.

          The officer must note in the certificate prescribed

          by Rule 30(f)(1) whether a review was requested

          and, if so, must attach any changes the deponent

          makes during the 30-day period.




          DISCLAIMER:       THE FOREGOING FEDERAL PROCEDURE RULES

          ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

          THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

          2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

          OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
3:21-cv-03302-MGL-TJH-RMG   Date Filed 03/21/22   Entry Number 194-2   Page 108 of
                                      108

                    VERITEXT LEGAL SOLUTIONS
          COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

     Veritext Legal Solutions represents that the
     foregoing transcript is a true, correct and complete
     transcript of the colloquies, questions and answers
     as submitted by the court reporter. Veritext Legal
     Solutions further represents that the attached
     exhibits, if any, are true, correct and complete
     documents as submitted by the court reporter and/or
     attorneys in relation to this deposition and that
     the documents were processed in accordance with
     our litigation support and production standards.

     Veritext Legal Solutions is committed to maintaining
     the confidentiality of client and witness information,
     in accordance with the regulations promulgated under
     the Health Insurance Portability and Accountability
     Act (HIPAA), as amended with respect to protected
     health information and the Gramm-Leach-Bliley Act, as
     amended, with respect to Personally Identifiable
     Information (PII). Physical transcripts and exhibits
     are managed under strict facility and personnel access
     controls. Electronic files of documents are stored
     in encrypted form and are transmitted in an encrypted
     fashion to authenticated parties who are permitted to
     access the material. Our data is hosted in a Tier 4
     SSAE 16 certified facility.

     Veritext Legal Solutions complies with all federal and
     State regulations with respect to the provision of
     court reporting services, and maintains its neutrality
     and independence regardless of relationship or the
     financial outcome of any litigation. Veritext requires
     adherence to the foregoing professional and ethical
     standards from all of its subcontractors in their
     independent contractor agreements.

     Inquiries about Veritext Legal Solutions'
     confidentiality and security policies and practices
     should be directed to Veritext's Client Services
     Associates indicated on the cover of this document or
     at www.veritext.com.
